       Case: 2:24-cv-01519-EAS-CMV
         Franklin                        Doc of
                  County Ohio Clerk of Courts #:the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 1
                                                                             01of 213AM-24CV001784
                                                                                10:22 PAGEID #: 255
0G750 - 058




              SUMMARY PLAN DESCRIPTION
              Jones Lang LaSalle
              PPO Plus Plan

              Effective: January 1 20.221



              Group Number: 712525
              Passport Connect

              Provider Networks: If you reside in New Hampshire, Massachusetts or Maine, the provider
              network is established by HPHC fnsura:nce Company wtthin New Hampshire,
              Massachusetts or Maine, and the provider network is established by UnitedHealthcare
              Insurance Company network outside New Hampshire, Massachtisetts or Maine.

              If you reside outside of New Hampshire, Massachusetts or Maine, the provider network is
              established by UnitedHea!thcare Insurance Company in all states,




                                 EXHIBIT B
       Case: 2:24-cv-01519-EAS-CMV
         Franklin                        Docof#:the
                  County Ohio Clerk of Courts    1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024     2 of
                                                                         Mar 01   213AM-24CV001784
                                                                                10:22 PAGEID #: 256
0G750 - 059
                                                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN



           TABLE OF CONTENTS
           SECTION 1 - WELCOME ..................................................................................................................1
           SECTION 2 - INTRODUCTION ..........................................................................................................3
                 Eligibility ......................................................................................................................................... 3
                 Cost of Coverage ........................................................................................................................... 3
                 How to Enroll ................................................................................................................................ 4
                 When Coverage Begins ................................................................................................................ 4
                 Changing Your Coverage ............................................................................................................. 5

           SECTION 3 - HOW THE PLAN WORKS ...........................................................................................7
                 Benefit Rewards ............................................................................................................................. 7
                 Accessing Benefits ......................................................................................................................... 8
                 Eligible Expenses ........................................................................................................................ 12
                 Annual Deductible ...................................................................................................................... 16
                 Copaymen t ................................................................................................................................... 16
                 Coinsurance .................................................................................................................................. 16
                 Out-of-Pocket Maximum .......................................................................................................... 16

           SECTION 4 - PERSONAL HEALTH SUPPORT and PRIOR AUTHORIZATION ........................... 18
                 Care Management ....................................................................................................................... 18
                 Prior Authorization ..................................................................................................................... 19
                 Special Note Regarding Medicare ............................................................................................. 20

           SECTION 5 - PLAN HIGHLIGHTS ..................................................................................................21
                 Payment Terms and Features .................................................................................................... 21
                 Schedule of Benefits ................................................................................................................... 24

           SECTION 6 - ADDITIONAL COVERAGE DETAILS .......................................................................37
                 Acupuncture Services ................................................................................................................. 3 7
                 Ambulance Services - Emergency Only .................................................................................. 38
                 Ambulance Services - Non-Emergency ................................................................................... 38
                 Cellular and Gene Therapy ........................................................................................................ 38
                 Clinical Trials ............................................................................................................................... 39
                 Congenital Heart Disease (CHD) Surgeries ........................................................................... .41
                 Dental Services - Accident Only ............................................................................................... 42
                 Diabetes Services ......................................................................................................................... 43



                                                                                                                                        TABLE OF CONTENTS
       Case: 2:24-cv-01519-EAS-CMV
         Franklin                        Docof#:the
                  County Ohio Clerk of Courts    1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024     3 of
                                                                         Mar 01   213AM-24CV001784
                                                                                10:22 PAGEID #: 257
0G750 - 060
                                                                                           JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                Durable Medical Equipment (DME), Orthotics and Supplies ........................................... .44
                Emergency Health Services - Outpatient ............................................................................... .46
                Enteral Nutrition ......................................................................................................................... 47
                Gender Dysphoria ...................................................................................................................... 48
                Hearing Aids ................................................................................................................................ 50
                Home Health Care ...................................................................................................................... 50
                Hospice Care ................................................................................................................................ 51
                Hospital - Inpatient Stay ............................................................................................................ 51
                Infertility Services ........................................................................................................................ 52
                Injections in a Physician's Office .............................................................................................. 54
                Lab, X-Ray and Diagnostics - Outpatient ............................................................................... 55
                Lab, X-Ray and Major Diagnostics - CT, PET Scans, MRI, MRA and Nuclear Medicine
                - Outpatient .................................................................................................................................. 56
                Mental Health Services ............................................................................................................... 56
                Neurobiological Disorders - Autism Spectrum Disorder Services ..................................... 58
                Obesity Surgery ........................................................................................................................... 59
                Orthognathic Surgery ................................................................................................................. 60
                Ostomy Supplies ......................................................................................................................... 61
                Physician Fees for Surgical and Medical Services .................................................................. 61
                Physician's Office Services - Sickness and Injury .................................................................. 61
                Pregnancy - Maternity Services ................................................................................................. 62
                Preventive Care Services ............................................................................................................ 63
                Private Duty Nursing - Outpatient........................................................................................... 65
                Prosthetic Devices ...................................................................................................................... 65
                Reconstructive Procedures ........................................................................................................ 66
                Rehabilitation Services - Outpatient Therapy and Manipulative Treatment ..................... 67
                Scopic Procedures - Outpatient Diagnostic and Therapeutic .............................................. 69
                Skilled Nursing Facility /Inpatient Rehabilitation Facility Services ..................................... 69
                Spine and Joint Surgeries ........................................................................................................... 71
                Substance-Related and Addictive Disorders Services ........................................................... 71
                Surgery - Outpatient ................................................................................................................... 72
                Temporomandibular Joint Dysfunction (TMJ) ...................................................................... 73
                Therapeutic Treatments - Outpatient ...................................................................................... 73



           II                                                                                                                      TABLE OF CONTENTS
       Case: 2:24-cv-01519-EAS-CMV
         Franklin                        Docof#:the
                  County Ohio Clerk of Courts    1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024     4 of
                                                                         Mar 01   213AM-24CV001784
                                                                                10:22 PAGEID #: 258
OG750 - 061
                                                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                  Transplantation Services ............................................................................................................ 74
                  Urgent Care Center Services ..................................................................................................... 75
                  Urinary Catheters ........................................................................................................................ 75
                  Virtual Care Services ................................................................................................................... 7 6
                  Vision ............................................................................................................................................ 76
                  Wigs ............................................................................................................................................... 76

           SECTION 7 - CLINICAL PROGRAMS AND RESOURCES ............................................................78
                  Consumer Solutions and Self-Service Tools ........................................................................... 78
                  Disease Management Services ................................................................................................... 81
                  Complex Medical Conditions Programs and Services .......................................................... 82
                  Wellness Programs ...................................................................................................................... 87
                  Women's Health/Reproductive ................................................................................................ 89

           SECTION 8 - EXCLUSIONS AND LIMITATIONS: WHAT THE MEDICAL PLAN WILL NOT
           COVER .............................................................................................................................................92
                  Alternative Treatments ............................................................................................................... 92
                  Comfort and Convenience ........................................................................................................ 92
                  Dental ............................................................................................................................................ 93
                  Drugs ............................................................................................................................................. 94
                  Experimental or Investigational or Unproven Services ........................................................ 95
                  Foot Care ...................................................................................................................................... 95
                  Gender Dysphoria ...................................................................................................................... 96
                  Medical Supplies and Appliances .............................................................................................. 97
                  Mental Health, Neurobiological Disorders - Autism Spectrum Disorder Services and
                  Substance-Related and Addictive Disorders Services ........................................................... 97
                  Nutrition and Health Education ............................................................................................... 98
                  Physical Appearance ................................................................................................................... 99
                  Procedures and Treatments ....................................................................................................... 99
                  Providers .................................................................................................................................... 101
                  Reproduction ............................................................................................................................. 101
                  Services Provided under Another Plan .................................................................................. 102
                  Transplants ................................................................................................................................. 103
                  Travel .......................................................................................................................................... 103
                  Vision and Hearing ................................................................................................................... 103




           Ill                                                                                                                           TABLE OF CONTENTS
       Case: 2:24-cv-01519-EAS-CMV
         Franklin                        Docof#:the
                  County Ohio Clerk of Courts    1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024     5 of
                                                                         Mar 01   213AM-24CV001784
                                                                                10:22 PAGEID #: 259
OG750 - 062
                                                                                            JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                All Other Exclusions ................................................................................................................ 104

           SECTION 9 - CLAIMS PROCEDURES .........................................................................................107
                 Network Benefits ...................................................................................................................... 107
                 Non-Network Benefits ............................................................................................................ 107
                Prescription Drug Benefit Claims .......................................................................................... 107
                 If Your Provider Does Not File Your Claim ....................................................................... 107
                 Health Statements ..................................................................................................................... 109
                 Explanation of Benefits (EOB) .............................................................................................. 109
                 Claim Denials and Appeals ...................................................................................................... 110
                 External Review Program ........................................................................................................ 111
                Limitation of Action ................................................................................................................. 11 7

           SECTION 10 - COORDINATION OF BENEFITS (COB) ...............................................................118
           SECTION 11 - SUBROGATION AND REIMBURSEMENT ...........................................................125
                 Right of Recovery ..................................................................................................................... 128

           SECTION 12 - WHEN COVERAGE ENDS ....................................................................................130
                 Coverage for a Disabled Dependent Child ........................................................................... 131
                 Extended Coverage for Total Disability ................................................................................ 131
                 Continuing Coverage Through COBRA ............................................................................... 132
                When COBRA Ends ................................................................................................................ 136
                 Uniformed Services Employment and Reemployment Rights Act .................................. 136

           SECTION 13 - OTHER IMPORTANT INFORMATION ..................................................................138
                 Qualified Medical Child Support Orders (Q MCSOs) ......................................................... 138
                Your Relationship with UnitedHealthcare and Jones Lang LaSalle .................................. 138
                 Relationship with Providers .................................................................................................... 139
                Your Relationship with Providers .......................................................................................... 140
                 Interpretation of Benefits ........................................................................................................ 140
                Review and Determine Benefits in Accordance with UnitedHealthcare Reimbursement
                Policies ........................................................................................................................................ 141
                 Information and Records ........................................................................................................ 141
                 Incentives to Providers ............................................................................................................ 142
                 Incentives to You ...................................................................................................................... 143
                 Rebates and Other Payments .................................................................................................. 143
                Workers' Compensation Not Affected .................................................................................. 143


           IV                                                                                                                         TABLE OF CONTENTS
       Case: 2:24-cv-01519-EAS-CMV
         Franklin                        Docof#:the
                  County Ohio Clerk of Courts    1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024     6 of
                                                                         Mar 01   213AM-24CV001784
                                                                                10:22 PAGEID #: 260
OG750 - 063
                                                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                 Future of the Plan ..................................................................................................................... 143
                 Plan Document ......................................................................................................................... 144
                 Medicare Eligibility ................................................................................................................... 144

           SECTION 14 - GLOSSARY ...........................................................................................................145
           SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS ..............................................................163
                 Benefits for Prescription Drug Products .............................................................................. 163
                 What You Must Pay ................................................................................................................. 163
                 Payment Terms and Features - Outpatient Prescription Drugs ........................................ 164
                 Schedule of Benefits - Outpatient Prescription Drugs ....................................................... 166
                 Identification Card (ID Card) - Network Pharmacy ........................................................... 168
                 Benefit Levels ............................................................................................................................ 168
                 Retail ........................................................................................................................................... 169
                 Mail Order .................................................................................................................................. 170
                 Benefits for Preventive Care Medications ............................................................................. 171
                 Designated Pharmacies ............................................................................................................ 171
                 Specialty Prescription Drug Products .................................................................................... 171
                 Assigning Prescription Drug Products to the Prescription Drug List (PDL) ................. 172
                 Prescription Drug Benefit Claims .......................................................................................... 173
                 Limitation on Selection of Pharmacies .................................................................................. 173
                 Supply Limits ............................................................................................................................. 173
                 Special Programs ....................................................................................................................... 173
                 Maintenance Medication Program ......................................................................................... 173
                 Prescription Drug Products Prescribed by a Specialist Physician ..................................... 17 4
                 Step Therapy .............................................................................................................................. 174
                 Prescription Drug Products that are Chemically Equivalent ............................................. 17 4
                 Rebates and Other Discounts ................................................................................................. 17 4
                 Coupons, Incentives and Other Communications .............................................................. 17 5
                 Exclusions - What the Prescription Drug Plan Will Not Cover ....................................... 17 5
                 Glossary - Outpatient Prescription Drugs ............................................................................ 178

           SECTION 16 - IMPORTANT ADMINISTRATIVE INFORMATION: ERISA ................................... 182
           ATTACHMENT I - HEALTH CARE REFORM NOTICES ..............................................................186
                 Patient Protection and Affordable Care Act ("PPACA") ................................................... 186




           V                                                                                                                           TABLE OF CONTENTS
       Case: 2:24-cv-01519-EAS-CMV
         Franklin                        Docof#:the
                  County Ohio Clerk of Courts    1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024     7 of
                                                                         Mar 01   213AM-24CV001784
                                                                                10:22 PAGEID #: 261
OG750 - 064
                                                                                           JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           ATTACHMENT II - LEGAL NOTICES ...........................................................................................187
                 Women's Health and Cancer Rights Act of 1998 ................................................................ 187
                 Statement of Rights under the Newborns' and Mothers' Health Protection Act ........... 187

           ATTACHMENT Ill - HEALTH SAVINGS ACCOUNT ....................................................................188
                 Introduction ............................................................................................................................... 188
                 About Health Savings Accounts ............................................................................................. 188
                 Who Is Eligible And How To Enroll .................................................................................... 189
                 Contributions ............................................................................................................................. 189
                 Reimbursable Expenses ........................................................................................................... 190
                 Additional Medical Expense Coverage Available with Your Health Savings Account .190
                 Using the HSA for Non-Qualified Expenses ....................................................................... 191
                 Rollover Feature ........................................................................................................................ 191
                 Additional Information About the HSA ............................................................................... 191

           ATTACHMENT IV- NONDISCRIMINATION AND ACCESSIBILITY REQUIREMENTS ............. 193
           ATTACHMENT V- GETTING HELP IN OTHER LANGUAGES OR FORMATS ......................... 195
           ADDENDUM - hi Healthlnnovations™ HEARING AID PROGRAM ............................................203
                 Introduction ............................................................................................................................... 203
                 The hi Healthlnnovations Hearing Aid Program ................................................................ 203
                 Accessing Program Benefits .................................................................................................... 203
                 Customer Support Services ..................................................................................................... 204
                 Hearing Aid Description .......................................................................................................... 204




           VI                                                                                                                      TABLE OF CONTENTS
       Case: 2:24-cv-01519-EAS-CMV
         Franklin                        Docof#:the
                  County Ohio Clerk of Courts    1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024     8 of
                                                                         Mar 01   213AM-24CV001784
                                                                                10:22 PAGEID #: 262
0G750 - 065
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN



           SECTION 1 - WELCOME
               Quick Reference Box
               ■ Member services, claim inquiries, Personal Health Support and Mental
                  Health/Substance-Related and Addictive Disorder Administrator: 1-800-996-2057.
               ■    Claims submittal address: UnitedHealthcare - Claims, P.O. Box 30555, Salt Lake City,
                    UT 84130-0555.
               ■    Online assistance: www.myuhc.com.

           Jones Lang LaSalle is pleased to provide you with this Summary Plan Description (SPD),
           which describes the health Benefits available to you and your covered family members under
           the Jones Lang LaSalle Welfare Benefit Plan. It includes summaries of:

           ■       Who is eligible.
           ■       Services that are covered, called Covered Health Services.
           ■       Services that are not covered, called Exclusions and Limitations.
           ■       How Benefits are paid.
           ■       Your rights and responsibilities under the Plan.
           This SPD is designed to meet your information needs and the disclosure requirements of the
           Emplqyee Retirement Income Security Act of 1974 (BRISA). It supersedes any previous printed or
           electronic SPD for this Plan.

               IMPORTANT
               The healthcare service, supply or Pharmaceutical Product is only a Covered Health
               Service if it is Medically Necessary. (See definitions of Medically Necessary and Covered
               Health Service in Section 14, Glossary.) The fact that a Physician or other provider has
               performed or prescribed a procedure or treatment, or the fact that it may be the only
               available treatment for a Sickness, Injury, Mental Illness, substance-related and addictive
               disorders, disease or its symptoms does not mean that the procedure or treatment is a
               Covered Health Service under the Plan.



              Jones Lang LaSalle intends to continue this Plan, but reserves the right, in its sole
              discretion, to modify, change, revise, amend or terminate the Plan at any time, for any
              reason, and without prior notice subject to any collective bargaining agreements between
              the Employer and various unions, if applicable. This SPD is not to be construed as a
              contract of or for employment. If there should be an inconsistency between the contents
              of this summary and the contents of the Plan, your rights shall be determined under the
              Plan and not under this summary.




                                                                                        SECTION 1 - WELCOME
       Case: 2:24-cv-01519-EAS-CMV
         Franklin                        Docof#:the
                  County Ohio Clerk of Courts    1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024     9 of
                                                                         Mar 01   213AM-24CV001784
                                                                                10:22 PAGEID #: 263
OG750 - 066
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



           Employees who live in Massachusetts, Maine and New Hampshire (and their covered
           Dependents regardless of where those Dependents live) will receive in Network coverage
           through the Harvard Pilgrim Health Care Network when seeking Covered Health Services in
           Massachusetts, Maine and New Hampshire or through the UnitedHealthcare Network when
           seeking Covered Health Services outside Massachusetts, Maine and New Hampshire.

           Employees who live outside Massachusetts, Maine and New Hampshire (and their covered
           Dependents regardless of where those Dependents live) will receive in Network coverage
           through the UnitedHealthcare Network.

           UnitedHealthcare is a private healthcare claims administrator. UnitedHealthcare's goal is to
           give you the tools you need to make wise healthcare decisions. UnitedHealthcare also helps
           your employer to administer claims. Although UnitedHealthcare will assist you in many
           ways, it does not guarantee any Benefits. Jones Lang LaSalle is solely responsible for paying
           Benefits described in this SPD.

           Please read this SPD thoroughly to learn how the Jones Lang LaSalle Welfare Benefit Plan
           works. If you have questions contact your local Benefit Solutions Group or call the number
           on your ID card.

                                                How To Use This SPD
               ■   Read the entire SPD, and share it with your family. Then keep it in a safe place for
                   future reference.
               ■   Many of the sections of this SPD are related to other sections. You may not have all
                   the information you need by reading just one section.
               ■   You can find copies of your SPD and any future amendments or request printed
                   copies by contacting your local Benefit Solutions Group.
               ■   Capitalized words in the SPD have special meanings and are defined in Section 14,
                   Glossary.
               ■   If eligible for coverage, the words 11 you" and '1your" refer to Covered Persons as
                   defined in Section 14, Glossary.
               ■   Jones Lang LaSalle is also referred to as Company.
               ■   If there is a conflict between this SPD and any benefit summaries (other than
                   Summaries of Material Modifications) provided to you, this SPD will control.




           2                                                                             SECTION 1 - WELCOME
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 10 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 264
0G750 - 067
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN



           SECTION 2 - INTRODUCTION
               What this section includes:
               ■ Who's eligible for coverage under the Plan.

               ■    The factors that impact your cost for coverage.
               ■    Instructions and timeframes for enrolling yourself and your eligible Dependents.
               ■    When coverage begins.
               ■    When you can make coverage changes under the Plan.

           Eligibility
           You are eligible to enroll in the Plan if you are a regular full-time Employee who is scheduled
           to work at least 30 hours per week.

           Your eligible Dependents may also participate in the Plan. An eligible Dependent is
           considered to be:

           ■       Your Spouse, as defined in Section 14, Glossary.
           ■       Your or your Spouse's child who is under age 26, including a natural child, stepchild, a
                   legally adopted child, a child placed for adoption or a child for whom you or your
                   Spouse are the legal guardian.
           ■       An unmarried child age 26 or over who is or becomes disabled and dependent upon you.
           To be eligible for coverage under the Plan, a Dependent must reside within the United
           States.

           Note: Your Dependents may not enroll in the Plan unless you are also enrolled. If you and
           your Spouse are both covered under the Jones Lang LaSalle Welfare Benefit Plan, you may
           each be enrolled as an Employee or be covered as a Dependent of the other person, but not
           both. In addition, if you and your Spouse are both covered under the Jones Lang LaSalle
           Welfare Benefit Plan, only one parent may enroll your child as a Dependent.

           A Dependent also includes a child for whom health care coverage is required through a
           Qualified Medical Child Support Order or other court or administrative order, as described
           in Section 13, Other Important Information.

           Cost of Coverage
           You and Jones Lang LaSalle share in the cost of the Plan. Your contribution amount
           depends on the Plan you select and the family members you choose to enroll.

           Your contributions are deducted from your paychecks on a before-tax basis. Before-tax
           dollars come out of your pay before federal income and Social Security taxes are
           withheld----and in most states, before state and local taxes are withheld. This gives your
           contributions a special tax advantage and lowers the actual cost to you.




           3                                                                         SECTION 2- INTRODUCTION
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 11 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 265
OG750 - 068
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Note: The Internal Revenue Service generally does not consider Domestic Partners and
           their children eligible Dependents. Therefore, the value of Jones Lang LaSalle's cost in
           covering a Domestic Partner may be imputed to the Employee as income. In addition, the
           share of the Employee's contribution that covers a Domestic Partner and their children may
           be paid using after-tax payroll deductions.

           Your contributions are subject to review and Jones Lang LaSalle reserves the right to change
           your contribution amount from time to time.

           You can obtain current contribution rates by calling your local Benefit Solutions Group.

           How to Enroll
           To enroll, call your local Benefit Solutions Group within 30 days of the date you first
           become eligible for medical Plan coverage. If you do not enroll within 30 days, you will need
           to wait until the next annual Open Enrollment to make your benefit elections.

           Each year during annual Open Enrollment, you have the opportunity to review and change
           your medical election. Any changes you make during Open Enrollment will become effective
           the following January 1.

               Important
               If you wish to change your benefit elections following a birth, adoption of a child or
               placement for adoption of a child, you must contact your local Benefit Solutions Group
               within 60 days of the event; your marriage or other family status change, 30 days of the
               event. Otherwise, you will need to wait until the next annual Open Enrollment to change
               your elections.

           When Coverage Begins
           Once your local Benefit Solutions Group receives your properly completed enrollment,
           coverage will begin on the date of hire if the date of hire is the first day of the month. If date
           of hire is on any other day of the month, then coverage will begin on first day of the month.
           Coverage for your Dependents will start on the date your coverage begins, provided you
           have enrolled them in a timely manner.

           Coverage for a Spouse or Dependent stepchild that you acquire via marriage becomes
           effective the date of your marriage, provided you notify your local Benefit Solutions Group
           within 30 days of your marriage. Coverage for Dependent children acquired through birth,
           adoption, or placement for adoption is effective the date of the family status change,
           provided you notify your local Benefit Solutions Group within 60 days of the birth,
           adoption, or placement.

           If You Are Hospitalized W:ben Your Coverage Begins
           If you are an inpatient in a Hospital, Skilled Nursing Facility or Inpatient Rehabilitation
           Facility on the day your coverage begins, the Plan will pay Benefits for Covered Health
           Services that you receive on or after your first day of coverage related to that Inpatient Stay
           as long as you receive Covered Health Services in accordance with the terms of the Plan.
           These Benefits are subject to any prior carrier's obligations under state law or contract.


           4                                                                        SECTION 2- INTRODUCTION
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 12 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 266
OG750 - 069
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           You should notify UnitedHealthcare of your hospitalization within 48 hours of the day your
           coverage begins, or as soon as is reasonably possible. For Benefit plans that have a Network
           Benefit level, Network Benefits are available only if you receive Covered Health Services
           from Network providers.

           Changing Your Coverage
           You may make coverage changes during the year only if you experience a change in family
           status. The change in coverage must be consistent with the change in status (e.g., you cover
           your Spouse following your marriage, your child following an adoption, etc.). The following
           are considered family status changes for purposes of the Plan:

           ■   Your marriage, divorce, legal separation or annulment.
           ■   Registering a Domestic Partner.
           ■   The birth, legal adoption, placement for adoption or legal guardianship of a child.
           ■   A change in your Spouse's employment or involuntary loss of health coverage (other
               than coverage under the Medicare or Medicaid programs) under another employer's plan.
           ■   Loss of coverage due to the exhaustion of another employer's COBRA benefits,
               provided you were paying for premiums on a timely basis.
           ■   Your death or the death of a Dependent.
           ■   Your Dependent child no longer qualifying as an eligible Dependent.
           ■   A change in your or your Spouse's position or work schedule that impacts eligibility for
               health coverage.
           ■   Contributions were no longer paid by the employer (this is true even if you or your
               eligible Dependent continues to receive coverage under the prior plan and to pay the
               amounts previously paid by the employer).
           ■   You or your eligible Dependent who were enrolled in an HMO no longer live or work in
               that HM O's service area and no other benefit option is available to you or your eligible
               Dependent.
           ■   Benefits are no longer offered by the Plan to a class of individuals that include you or
               your eligible Dependent.
           ■   Termination of your or your Dependent's Medicaid or Children's Health Insurance Program
               (CHIP) coverage as a result ofloss of eligibility (you must contact your local Benefit
               Solutions Group within 60 days of termination).
           ■   You or your Dependent become eligible for a premium assistance subsidy under Medicaid
               or CHIP (you must contact your local Benefit Solutions Group within 60 days of the
               date of determination of subsidy eligibility).
           ■   You or your Dependent lose eligibility for coverage in the individual market, including
               coverage purchased through a public exchange or other public market established under
               the Affordable Care Act (Marketplace) (other than loss of eligibility for coverage due to
               failure to pay premiums on a timely basis or termination of coverage for cause, such as
               making a fraudulent claim or an intentional misrepresentation of a material fact)


           5                                                                      SECTION 2- INTRODUCTION
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 13 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 267
0G750 - 070
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                regardless of whether you or your Dependent may enroll in other individual market
                coverage, through or outside of a Marketplace.
           ■    A strike or lockout involving you or your Spouse.
           ■    A court or administrative order.
           Unless otherwise noted above, if you wish to change your elections, you must contact your
           local Benefit Solutions Group within 30 days of the change in family status. Otherwise, you
           will need to wait until the next annual Open Enrollment.

           While some of these changes in status are similar to qualifying events under COBRA, you, or
           your eligible Dependent, do not need to elect COBRA continuation coverage to take
           advantage of the special enrollment rights listed above. These will also be available to you or
           your eligible Dependent if COBRA is elected.

           Note: Any child under age 26 who is placed with you for adoption will be eligible for
           coverage on the date the child is placed with you, even if the legal adoption is not yet final. If
           you do not legally adopt the child, all medical Plan coverage for the child will end when the
           placement ends. No provision will be made for continuing coverage (such as COBRA
           coverage) for the child.

              Change in Fami1y Status - Example
              Jane is married and has two children who qualify as Dependents. At annual Open
              Enrollment, she elects not to participate in Jones Lang LaSalle's medical plan, because her
              husband, Tom, has family coverage under his employer's medical plan. In June, Tom
              loses his job as part of a downsizing. As a result, Tom loses his eligibility for medical
              coverage. Due to this family status change, Jane can elect family medical coverage under
              Jones Lang LaSalle's medical plan outside of annual Open Enrollment.




           6                                                                       SECTION 2- INTRODUCTION
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 14 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 268
0G750 - 071
                                                             JONES LANG LASALLE MEDICAL PPO PLUS PLAN



           SECTION 3 - HOW THE PLAN WORKS
               What this section includes:
               ■   Benefit Contribution Credits.
               ■   Accessing Benefits.
               ■   Eligible Expenses.
               ■   Annual Deductible.
               ■   Copayment.
               ■   Coinsurance.
               ■   Out-of-Pocket Maximum.

           Benefit Rewards
           Jones Lang LaSalle offers you and your Spouse or Domestic Partner a way to receive a
           Health Bonus for participating in or completing certain activities in the "Health Rewards
           Program powered by UnitedHealth Personal Rewards." By completing a sequence or
           number of identified activities, you and your Spouse or Domestic Partner will earn points
           that will be converted to credits and applied as a bonus, known as a Health Bonus.

           Each point you or your Spouse or Domestic Partner earn will accumulate credit toward your
           Health Bonus and then, after reaching the maximum allowed for a bonus.

           Points accumulate throughout the period of time, called the Program Earning Period, that
           you and your Spouse or Domestic Partner are eligible to earn points for activities. At the end
           of the Program Earning Period, the points you or your Spouse or Domestic Partner have
           met, based on the number of points accumulated, determines the amount of money that will
           be paid as a Health Bonus.

           Dependent on your annual election for health rewards, if you elected cash, any Health Bonus
           you or your Spouse or Domestic Partner earns will be taxable and will be shown on your
           Form W-2         and Tax Statement) each year. If you elected HSA contribution, it will be
           deposited        r Health Savings Account and treated with the same tax exempt treatment
           as all othe      ontributions.

           A Health Bonus is earned only while you or your Spouse or Domestic Partner is enrolled in
           the Plan and are employed by Jones Lang LaSalle. All credits are forfeited on the date your
           employment with Jones Lang LaSalle terminates.

           If you are unable to meet a standard for a reward under the Health Rewards Program, you
           might qualify for an opportunity to earn the same reward by different means. Contact the
           number shown on your ID card and the Claims Administrator will work with you (and, if
           necessary, with your doctor) to find another way for you to earn the same reward.




           7                                                             SECTION 3 - How THE PLAN WORKS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 15 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 269
0G750 - 072
                                                                     JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           The below table shows the point thresholds:

                                          Category                           Point Maximums
                                                                         $1 per point earned up to a
                             ■   Employee only enrolled
                                                                             maximum of $800*

                                                                        $1 per point earned up to a
                             ■   Employee and Spouse or
                                                                       maximum of $800* per person
                                 Domestic Partner enrolled
                                                                               (total $1,600)

           *The Point Maximum is $500, however you may be eligible for an additional $75 for
           diabetes/ cancer screenings.

           Additional information regarding Health Rewards Program is identified in Section 7, Clinical
           Programs and Resources.

           You must submit the Provider notification Form with your biometric values to
           UnitedHealthcare by December 31 st of the plan year.

           Appeals Rights under the Health Rewards Program
           You and your Spouse or Domestic Partner can appeal the screening results and/ or total
           credits applied by providing evidence from your physician certifying the corrected results
           and/ or services or tests received that qualify for points under the Health Rewards Program.
           Appeals must be made during the program year.

               Earn Points and get Money
              You earn points for completing the screening and achieving target biometric values. Each
              point you earn equals $1 towards a Health Bonuses (up to $800* per person**). Bonuses
              will be paid out monthly. Depending on your annual election health rewards will be paid
              as cash through payroll or as a contribution to your Health Savings Account.

               *The Point Maximum is $500, however you may be eligible for an additional $75 for
               diabetes/ cancer screenings.
               **Remember,you must submit the Provider notification Form with your biometn"c values to United
               HealthCare to receive the associatedpoints unlessyou complete an onsite screening.

           Accessing Benefits
           As a participant in this Plan, you have the freedom to choose the Physician or health care
           professional you prefer each time you need to receive Covered Health Services. The choices
           you make affect the amounts you pay, as well as the level of Benefits you receive and any
           benefit limitations that may apply.

           You are eligible for the Network level of Benefits under this Plan when you receive Covered
           Health Services from Physicians and other health care professionals who have contracted
           with UnitedHealthcare to provide those services.




           8                                                                     SECTION 3 - How THE PLAN WORKS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 16 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 270
0G750 - 073
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           You can choose to receive Designated Network Benefits, Network Benefits or Non-
           Network Benefits.

           Designated Network Benefits apply to Covered Health Services that are provided by a
           Network Physician or other provider that is identified as a Designated Provider. Only certain
           Physicians and providers have been identified as a Designated Provider. Designated
           Network Benefits are available only for specific Covered Health Services as identified in
           Section 5, Plan Highlights. When Designated Network Benefits apply, they are included in and
           subject to the same Annual Deductible and Out-of-Pocket Maximum requirements as all
           other Covered Health Services provided by Network providers.

           Network Benefits apply to Covered Health Services that are provided by a Network
           Physician or other Network provider. You are not required to select a Primary Physician in
           order to obtain Network Benefits. In general health care terminology, a Primary Physician
           may also be referred to as a Primary Care Pi?Jsician or PCP.

           Non-Network Benefits apply to Covered Health Services that are provided by a non-
           Network Physician or other non-Network provider, or Covered Health Services that are
           provided at a non-Network facility. In general health care terminology, Non-Network
           Benefits may also be referred to as Out-of-Network Benefits.

           Emergency Health Services provided by a non-Network provider will be reimbursed as set
           forth under Eligible Expenses as described at the end of this section.

           Covered Health Services provided at certain Network facilities by a non-Network Physician,
           when not Emergency Health Services, will be reimbursed as set forth under Eligible Expenses
           as described at the end of this section. For these Covered Health Services, "certain Network
           facility" is limited to a hospital (as defined in 1861 (e) of the Social Security ActJ, a hospital
           outpatient department, a critical access hospital (as defined in 1861 (mm)(1) of the Social Security
           ActJ, an ambulatory surgical center as described in section 1833 (i)(1 )(A) of the Social Security
           Act, and any other facility specified by the Secretary.

           Air Ambulance transport provided by a non-Network provider will be reimbursed as set
           forth under Eligible Expenses as described at the end of this section.

           You must show your identification card (ID card) every time you request health care services
           from a Network provider. If you do not show your ID card, Network providers have no way
           of knowing that you are enrolled under the Plan. As a result, they may bill you for the entire
           cost of the services you receive.

           Generally, when you receive Covered Health Services from a Network provider, you pay less
           than you would if you receive the same care from a non-Network provider. Therefore, in
           most instances, your out-of-pocket expenses will be less if you use a Network provider.

           If you choose to seek care outside the Network, the Plan generally pays Benefits at a lower
           level. You are required to pay the amount that exceeds the Eligible Expense. The amount in
           excess of the Eligible Expense could be significant, and this amount does not apply to the
           Out-of-Pocket Maximum. You may want to ask the non-Network provider about their billed
           charges before you receive care.


           9                                                                 SECTION 3 - How THE PLAN WORKS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 17 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 271
0G750 - 074
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Employees who live in Massachusetts, Maine and New Hampshire (and their covered
           dependents regardless of where those dependents live) will receive in network coverage
           through the Harvard Pilgrim Health Care network when seeking covered health services in
           Massachusetts, Maine and New Hampshire or through the UnitedHealthcare network when
           seeking covered health services outside Massachusetts, Maine and New Hampshire.

           Employees who live outside Massachusetts, Maine and New Hampshire (and their covered
           dependents regardless of where those dependents live) will receive in network coverage
           through the UnitedHealthcare network.

           Health Services from Non-Network Providers Paid as Network Bene.its
           If specific Covered Health Services are not available from a Network provider, you may be
           eligible to receive Network Benefits when Covered Health Services are received from a non-
           Network provider. In this situation, your Network Physician will notify UnitedHealthcare,
           and if UnitedHealthcare confirms that care is not available from a Network provider,
           UnitedHealthcare will work with you and your Network Physician to coordinate care
           through a non-Network provider.

              Looking for a Network Provider?
              In addition to other helpful information, www.myuhc.com, UnitedHealthcare 1s
              consumer website, contains a directory of health care professionals and facilities in
              UnitedHealthcare 1s Network. While Network status may change from time to time,
              www.myuhc.com has the most current source of Network information. Use
              www.myuhc.com to search for Physicians available in your Plan.

           Network Providers
           UnitedHealthcare or its affiliates arrange for health care providers to participate in a
           Network. At your request, UnitedHealthcare will send you a directory of Network providers
           free of charge. Keep in mind, a provider's Network status may change. To verify a provider's
           status or request a provider directory, you can call UnitedHealthcare at the number on your
           ID card or log onto www.myuhc.com.

           Network providers are independent practitioners and are not employees of Jones Lang
           LaSalle or UnitedHealthcare.

           UnitedHealthcare's credentialing process confirms public information about the providers'
           licenses and other credentials, but does not assure the quality of the services provided.

           Before obtaining services you should always verify the Network status of a provider. A
           provider's status may change. You can verify the provider's status by calling
           UnitedHealthcare. A directory of providers is available online at www.myuhc.com or by
           calling the number on your ID card to request a copy. If you receive a Covered Health
           Service from a non-Network provider and were informed incorrectly prior to receipt of the
           Covered Health Service that the provider was a Network provider, either through a database,
           provider directory, or in a response to your request for such information (via telephone,
           electronic, web-based or internet-based means), you may be eligible for Network Benefits.




           10                                                              SECTION 3 - How THE PLAN WORKS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 18 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 272
0G750 - 075
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           It is possible that you might not be able to obtain services from a particular Network
           provider. The network of providers is subject to change. Or you might find that a particular
           Network provider may not be accepting new patients. If a provider leaves the Network or is
           otherwise not available to you, you must choose another Network provider to get Network
           Benefits. However, if you are currently receiving treatment for Covered Health Services
           from a provider whose network status changes from Network to non-Network during such
           treatment due to expiration or nonrenewal of the provider's contract, you may be eligible to
           request continued care from your current provider at the Network Benefit level for specified
           conditions and timeframes. This provision does not apply to provider contract terminations
           for failure to meet applicable quality standards or for fraud. If you would like help to find
           out if you are eligible for continuity of care Benefits, please call the telephone number on
           your ID card.

           If you are currently undergoing a course of treatment utilizing a non-Network Physician or
           health care facility, you may be eligible to receive transition of care Benefits. This transition
           period is available for specific medical services and for limited periods of time. If you have
           questions regarding this transition of care reimbursement policy or would like help
           determining whether you are eligible for transition of care Benefits, please contact
           UnitedHealthcare at the number on your ID card.

           Do not assume that a Network provider's agreement includes all Covered Health Services.
           Some Network providers contract with UnitedHealthcare to provide only certain Covered
           Health Services, but not all Covered Health Services. Some Network providers choose to be
           a Network provider for only some of UnitedHealthcare's products. Refer to your provider
           directory or contact UnitedHealthcare for assistance.

           Designated Providers
           If you have a medical condition that UnitedHealthcare believes needs special services,
           UnitedHealthcare may direct you to a Designated Provider chosen by UnitedHealthcare. If
           you require certain complex Covered Health Services for which expertise is limited,
           UnitedHealthcare may direct you to a Network facility or provider that is outside your local
           geographic area. If you are required to travel to obtain such Covered Health Services from a
           Designated Provider, UnitedHealthcare may reimburse certain travel expenses at
           UnitedHealthcare's discretion.

           In both cases, Network Benefits will only be paid if your Covered Health Services for that
           condition are provided by or arranged by the Designated Provider or other provider chosen
           by UnitedHealthcare.

           You or your Network Physician must notify UnitedHealthcare of special service needs (such
           as transplants or cancer treatment) that might warrant referral to a Designated Provider. If
           you do not notify UnitedHealthcare in advance, and if you receive services from a non-
           Network facility (regardless of whether it is a Designated Provider) or other non-Network
           provider, Network Benefits will not be paid. Non-Network Benefits may be available if the
           special needs services you receive are Covered Health Services for which Benefits are
           provided under the Plan.




           11                                                               SECTION 3 - How THE PLAN WORKS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 19 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 273
0G750 - 076
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Limitations on Selection ofProviders
           If UnitedHealthcare determines that you are using health care services in a harmful or
           abusive manner, or with harmful frequency, your selection of Network providers may be
           limited. If this happens, you may be required to select a single Network Physician to provide
           and coordinate all of your future Covered Health Services.

           If you don't make a selection within 31 days of the date you are notified, UnitedHealthcare
           will select a single Network Physician for you. In the event that you do not use the selected
           Network Physician, Covered Health Services will be paid as Non-Network Benefits.

           Eligible Expenses
           Jones Lang LaSalle has delegated to UnitedHealthcare the discretion and authority to decide
           whether a treatment or supply is a Covered Health Service and how the Eligible Expenses
           will be determined and otherwise covered under the Plan.

           Eligible Expenses are the amount UnitedHealthcare determines that UnitedHealthcare will
           pay for Benefits.

           ■    For Designated Network Benefits and Network Benefits for Covered Health Services
                provided by a Network provider, except for your cost sharing obligations, you are not
                responsible for any difference between Eligible Expenses and the amount the provider
                bills.
           ■    For Non-Network Benefits, except as described below, you are responsible for paying,
                directly to the non-Network provider, any difference between the amount the provider
                bills you and the amount UnitedHealthcare will pay for Eligible Expenses.
                   For Covered Health Services that are Ancillary Services received at certain
                   Network facilities on a non-Emergency basis from non-Network Physicians,
                   you are not responsible, and the non-Network provider may not bill you, for
                   amounts in excess of your Copayment, Coinsurance or deductible which is based on
                   the Recognized Amount as defined in this SPD.
                   For Covered Health Services that are non-Ancillary Services received at certain
                   Network facilities on a non-Emergency basis from non-Network Physicians
                   who have not satisfied the notice and consent criteria or for unforeseen or
                   urgent medical needs that arise at the time a non-Ancillary Service is provided
                   for which notice and consent has been satisfied as described below, you are
                   not responsible, and the non-Network provider may not bill you, for amounts in
                   excess of your Copayment, Coinsurance or deductible which is based on the
                   Recognized Amount as defined in the SPD.
                   For Covered Health Services that are Emergency Health Services provided by a
                   non-Network provider, you are not responsible, and the non-Network provider
                   may not bill you, for amounts in excess of your applicable Copayment, Coinsurance
                   or deductible which is based on the Recognized Amount as defined in this SPD.
                   For Covered Health Services that are Air Ambulance services provided by a non-
                   Network provider, you are not responsible, and the non-Network provider may not
                   bill you, for amounts in excess of your applicable Copayment, Coinsurance or
                   deductible which is based on the rates that would apply if the service was provided



           12                                                            SECTION 3 - How THE PLAN WORKS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 20 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 274
0G750 - 077
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                     by a Network provider which is based on the Recognized Amount as defined in the
                     SPD.
           Eligible Expenses are determined solely in accordance with UnitedHealthcare's
           reimbursement policy guidelines, as described in the SPD.

           Designated Network Benefits and Network Benefits

           Eligible Expenses are based on the following:

           ■    When Covered Health Services are received from a Designated Network and Network
                provider, Eligible Expenses are our contracted fee(s) with that provider.
           ■    When Covered Health Services are received from a non-Network provider as arranged
                by UnitedHealthcare, Eligible Expenses are an amount negotiated by UnitedHealthcare
                or an amount permitted by law. Please contact UnitedHealthcare if you are billed for
                amounts in excess of your applicable Coinsurance, Copayment or any deductible. The
                Plan will not pay excessive charges or amounts you are not legally obligated to pay.
           For Non-Network Benefits

                When Covered Health Services are received from an non-Network provider as
                described below, Eligible Expenses are determined as follows:

                • For non-Emergency Covered Health Services received at certain Network
                    facilities from non-Network Physicians when such services are either Ancillary
                    Services, or non-Ancillary Services that have not satisfied the notice and consent
                    criteria of section 2799B-2(d) of the Public Service Act with respect to a visit as defined
                    by the Secretary, the Eligible Expense is based on one of the following in the order
                    listed below as applicable:

                         The reimbursement rate as determined by a state All Pqyer Mode/Agreement.
                         The reimbursement rate as determined by state law.
                         The initial payment made by the Claims Administrator, or the amount
                         subsequently agreed to by the non-Network provider and the Claims
                         Administrator.
                         The amount determined by Independent Dispute Resolution (IDR).
                    For the purpose of this provision, "certain Network facilities" are limited to a
                    hospital (as defined in 1861 (e) of the Social S ecuriry Act), a hospital outpatient
                    department, a critical access hospital (as defined in 1861 (mm)(1) of the Social Security
                    Act), an ambulatory surgical center as described in section 1833 (i)(1 )(A) of the Social
                    S ecuriry Act, and any other facility specified by the Secretary.
                    IMPORTANT NOTICE: For Ancillary Services, non-Ancillary Services provided
                    without notice and consent, and non-Ancillary Services for unforeseen or urgent
                    medical needs that arise at the time a service you are not responsible, and an non-
                    Network Physician may not bill you, for amounts in excess of your applicable
                    Copayment, Coinsurance or deductible which is based on the Recognized Amount as
                    defined in the SPD.


           13                                                                 SECTION 3 - How THE PLAN WORKS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 21 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 275
0G750 - 078
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                • For Emergency Health Services provided by an non-Network provider, the
                    Eligible Expense is based on one of the following in the order listed below as
                    applicable:
                        The reimbursement rate as determined by a state All Pqyer Mode/Agreement.
                        The reimbursement rate as determined by state law.
                        The initial payment made by the Claims Administrator, or the amount
                        subsequently agreed to by the non-Network provider and the Claims
                        Administrator.
                        The amount determined by Independent Dispute Resolution (IDR).
                    IMPORTANT NOTICE: You are not responsible, and an non-Network provider
                    may not bill you, for amounts in excess of your applicable Copayment, Coinsurance
                    or deductible which is based on the Recognized Amount as defined in the SPD.
                • For Air Ambulance transportation provided by an non-Network provider, the
                    Eligible Expense is based on one of the following in the order listed below as
                    applicable:
                        The reimbursement rate as determined by a state All Pqyer Mode/Agreement.
                        The reimbursement rate as determined by state law.
                        The initial payment made by the Claims Administrator, or the amount
                        subsequently agreed to by the non-Network provider and the Claims
                        Administrator.
                        The amount determined by Independent Dispute Resolution (IDR).
                    IMPORTANT NOTICE: You are not responsible, and an non-Network provider
                    may not bill you, for amounts in excess of your Copayment, Coinsurance or
                    deductible which is based on the rates that would apply if the service was provided
                    by a Network provider which is based on the Recognized Amount as defined in the
                    SPD.
                When Covered Health Services are received from an non-Network provider,
                except as described above, Eligible Expense are determined as follows: an amount
                negotiated by the Claims Administrator, a specific amount required by law (when
                required by law), or an amount the Claims Administrator has determined is typically
                accepted by a healthcare provider for the same or similar service. The Plan will not pay
                excessive charges. You are responsible for paying, directly to the non-Network provider,
                the applicable Coinsurance, Copayment or any deductible. Please contact the Claims
                Administrator if you are billed for amounts in excess of your applicable Coinsurance,
                Copayment or any deductible to access the Advocacy Services as described below.
                Following the conclusion of the Advocacy Services described below, any responsibility
                to pay more than the Eligible Expense (which includes your Coinsurance, Copayment,
                and deductible) is yours.

                Advocacy Services
                The Plan has contracted with the Claims Administrator to provide advocacy services on
                your behalf with respect to non-network providers that have questions about the Eligible
                Expenses and how the Claims Administrator determined those amounts. Please call the


           14                                                            SECTION 3 - How THE PLAN WORKS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 22 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 276
0G750 - 079
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                Claims Administrator at the number on your ID card to access these advocacy services,
                or if you are billed for amounts in excess of your applicable coinsurance or copayment.
                In addition, if the Claims Administrator, or its designee, reasonably concludes that the
                particular facts and circumstances related to a claim provide justification for
                reimbursement greater than that which would result from the application of the Eligible
                Expense, and the Claims Administrator, or its designee, determines that it would serve
                the best interests of the Plan and its Employees (including interests in avoiding costs and
                expenses of disputes over payment of claims), the Claims Administrator, or its designee,
                may use its sole discretion to increase the Eligible Expense for that particular claim.

              Don't Forget Your ID Card
              Remember to show your ID card every time you receive health care services from a
              provider. If you do not show your ID card, a provider has no way of knowing that you
              are enrolled under the Plan.

           Annual Deductible
           The Annual Deductible is the amount of Eligible Expenses, or the Recognized Amount
           when applicable, you must pay each calendar year for Covered Health Services before you
           are eligible to begin receiving Benefits. There are separate Network and non-Network
           Annual Deductibles for this Plan. The amounts you pay toward your Annual Deductible
           accumulate over the course of the calendar year.

           The Annual Deductible applies to all Covered Health Services under the Plan, including
           Covered Health Services provided in Section 15, Outpatient Prescription Drugs.

           Amounts paid toward the Annual Deductible for Covered Health Services that are subject to
           a visit or day limit will also be calculated against that maximum benefit limit. As a result, the
           limited benefit will be reduced by the number of days or visits you used toward meeting the
           Annual Deductible.

           Copayment
           A Copayment (Copay) is the amount you pay each time you receive certain Covered Health
           Services. The Copay is a flat dollar amount and is paid at the time of service or when billed
           by the provider. Copays count toward the Out-of-Pocket Maximum. Copays do not count
           toward the Annual Deductible. If the Eligible Expense is less than the Copay, you are only
           responsible for paying the Eligible Expense and not the Copay.

           Coinsurance
           Coinsurance is the percentage of Eligible Expenses that you are responsible for paying.
           Coinsurance is a fixed percentage that applies to certain Covered Health Services after you
           meet the Annual Deductible.

           Out-of-Pocket Maximum
           The annual Out-of-Pocket Maximum is the most you pay each calendar year for Covered
           Health Services. There are separate Network and non-Network Out-of-Pocket Maximums
           for this Plan. If your eligible out-of-pocket expenses in a calendar year exceed the annual


           15                                                              SECTION 3 - How THE PLAN WORKS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 23 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 277
0G750 - 080
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           maximum, the Plan pays 100% of Eligible Expenses for Covered Health Services through
           the end of the calendar year.

           The Out-of-Pocket Maximum applies to all Covered Health Services under the Plan,
           including Covered Health Services provided in Section 15, Outpatient Prescription Drugs.

           The following table identifies what does and does not apply toward your Network and non-
           Network Out-of-Pocket Maximums:

                                                                                        Applies to the
                                                               Applies to the
                                                                                        Non-Network
                              Plan Features                   Network Out-of-
                                                                                        Out-of-Pocket
                                                             Pocket Maximum?
                                                                                         Maximum?
              Copays, even those for Covered Health
              Services available in Section 15, Outpatient            Yes                     Yes
              Prescription Drugs
              Payments toward the Annual Deductible                   Yes                     Yes

              Coinsurance Payments, even those for
              Covered Health Services available in Section            Yes                     Yes
              15, Outpatient Prescription Drugs

              Charges for non-Covered Health Services                 No                      No

              The amounts of any reductions in Benefits
              you incur by not obtaining prior                        No                      No
              authorization as required

              Charges that exceed Eligible Expenses or the
                                                                      No                      No
              Recognized Amount when applicable

              Ancillary or Therapeutically Equivalent
              Charges described in Section 15, Outpatient             Yes                     Yes
              Prescription Drugs




           16                                                               SECTION 3 - How THE PLAN WORKS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 24 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 278
OG750 - 081
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN



           SECTION 4- PERSONAL HEALTH SUPPORT AND PRIOR AUTHORIZATION
               What this section includes:
               ■ An overview of the Personal Health Support program.

               ■    Covered Health Services which Require Prior Authorization.

           Care Management
           When you seek prior authorization as required, the Claims Administrator will work with you
           to implement the care management process and to provide you with information about
           additional services that are available to you, such as disease management programs, health
           education, and patient advocacy.

           UnitedHealthcare provides a program called Personal Health Support designed to encourage
           personalized, efficient care for you and your covered Dependents.

           Personal Health Support Nurses center their efforts on prevention, education, and closing
           any gaps in your care. The goal of the program is to ensure you receive the most appropriate
           and cost-effective services available.

           If you are living with a chronic condition or dealing with complex health care needs,
           UnitedHealthcare may assign to you a primary nurse, referred to as a Personal Health
           Support Nurse, to guide you through your treatment. This assigned nurse will answer
           questions, explain options, identify your needs, and may refer you to specialized care
           programs. The Personal Health Support Nurse will provide you with their telephone number
           so you can call them with questions about your conditions, or your overall health and well-
           being.

           Personal Health Support Nurses will provide a variety of different services to help you and
           your covered family members receive appropriate medical care. Program components are
           subject to change without notice. When the Claims Administrator is called as required, they
           will work with you to implement the Personal Health Support process and to provide you
           with information about additional services that are available to you, such as disease
           management programs, health education, and patient advocacy. As of the publication of this
           SPD, the Personal Health Support program includes:

           ■       Admission counseling - Personal Health Support Nurses are available to help you
                   prepare for a successful surgical admission and recovery. Call the number on your ID
                   card for support.
           ■       Inpatient care management - If you are hospitalized, a Personal Health Support nurse
                   will work with your Physician to make sure you are getting the care you need and that
                   your Physician's treatment plan is being carried out effectively.
           ■       Readmission Management - This program serves as a bridge between the Hospital
                   and your home if you are at high risk of being readmitted. After leaving the Hospital, if
                   you have a certain chronic or complex condition, you may receive a phone call from a
                   Personal Health Support Nurse to confirm that medications, needed equipment, or



           17                                  SECTION 4 - PERSONAL HEALTH SUPPORT AND PRIOR AUTHORIZATION
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 25 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 279
OG750 - 082
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                 follow-up services are in place. The Personal Health Support Nurse will also share
                 important health care information, reiterate and reinforce discharge instructions, and
                 support a safe transition home.
           ■     Risk Management - Designed for participants with certain chronic or complex
                 conditions, this program addresses such health care needs as access to medical
                 specialists, medication information, and coordination of equipment and supplies.
                 Participants may receive a phone call from a Personal Health Support Nurse to discuss
                 and share important health care information related to the participant's specific chronic
                 or complex condition.
           ■     Cancer Management - You have the opportunity to engage with a nurse that
                 specializes in cancer, education and guidance throughout your care path.
           ■     Kidney Management - You have the opportunity to engage with a nurse that
                 specializes in kidney disease, education and guidance with CKD stage 4/5 or ESRD
                 throughout your care path.
           If you do not receive a call from a Personal Health Support Nurse but feel you could benefit
           from any of these programs, please call the number on your ID card.

           Prior Authorization
               UnitedHealthcare requires prior authorization for certain Covered Health Services.
               Network Primary Physicians and other Network providers are responsible for obtaining
               prior authorization before they provide these services to you.

           It is recommended that you confirm with the Claims Administrator that all Covered Health
           Services listed below have been prior authorized as required. Before receiving these services
           from a Network provider, you may want to contact the Claims Administrator to verify that
           the Hospital, Physician and other providers are Network providers and that they have
           obtained the required prior authorization. Network facilities and Network providers cannot
           bill you for services they fail to prior authorize as required. You can contact the Claims
           Administrator by calling the number on your ID card.

           When you choose to receive certain Covered Health Services from non-Network providers,
           you are responsible for obtaining prior authorization before you receive these services. Note
           that your obligation to obtain prior authorization is also applicable when a non-Network
           provider intends to admit you to a Network facility or refers you to other Network
           providers.

           To obtain prior authorization, call the number on your ID card. This call starts the
           utilization review process. Once you have obtained the authorization, please review it
           carefully so that you understand what services have been authorized and what providers are
           authorized to deliver the services that are subject to the authorization.

           The utilization review process is a set of formal techniques designed to monitor the use of,
           or evaluate the clinical necessity, appropriateness, efficacy, or efficiency of, health care
           services, procedures or settings. Such techniques may include ambulatory review, prospective
           review, second opinion, certification, concurrent review, case management, discharge
           planning, retrospective review or similar programs.


           18                                SECTION 4 - PERSONAL HEALTH SUPPORT AND PRIOR AUTHORIZATION
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 26 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 280
OG750 - 083
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


              Contacting UnitedHealthcare or Personal Health Support is easy.
              Simply call the number on your ID card.

           Network providers are responsible for obtaining prior authorization from the Claims
           Administrator before they provide certain services to you.

           When you choose to receive certain Covered Health Services from non-Network providers,
           you are responsible for obtaining prior authorization from the Claims Administrator before
           you receive these services. In many cases, your Non-Network Benefits will be reduced if the
           Claims Administrator has not provided prior authorization.

           Services for which you are required to obtain prior authorization are identified in Section 6,
           Additional Coverage Details, within each Covered Health Service Benefit description. Please
           note that prior authorization timelines apply. Refer to the applicable Benefit description to
           determine how far in advance you must obtain prior authorization.

           Special Note Regarding Medicare
           If you are enrolled in Medicare on a primary basis (Medicare pays before the Plan pays
           Benefits) the prior authorization requirements do not apply to you. Since Medicare is the
           primary payer, the Plan will pay as secondary payer as described in Section 10, Coordination of
           Benefits (COB). You are not required to obtain authorization before receiving Covered Health
           Services.




           19                              SECTION 4 - PERSONAL HEALTH SUPPORT AND PRIOR AUTHORIZATION
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 27 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 281
OG750 - 084
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN



           SECTION 5 - PLAN HIGHLIGHTS
              What this section includes:
              ■ Payment Terms and Features.

              ■   Schedule of Benefits.

           Payment Terms and Features
           The table below provides an overview of Copays that apply when you receive certain
           Covered Health Services, and outlines the Plan's Annual Deductible and Out-of-Pocket
           Maximum.

                                                                 Designated
                                                                                     Non~Network
                            Plan Features                       Network and
                                                                                       Amounts
                                                              Network Amounts
              Copays
              In addition to these Copays, you may be
              responsible for meeting the Annual
              Deductible for the Covered Health
              Services described in the chart on the
              following pages.
              ■   Physician's Office Services - Primary           Network            Not Applicable
                  Physician.                                         $40
              ■   Physician's Office Services - Specialist.       Network            Not Applicable
                                                                     $80
              ■   Vision Examinations.                               $25            Same as Network

              Copays do not apply toward the Annual
              Deductible.
              Copays apply toward the Out-of-Pocket
              Maximum.




           20                                                                 SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 28 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 282
0G750 - 085
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                 Designated
                                                                                     Non-Network
                              Plan Features                     Network and
                                                                                      Amounts
                                                              Network Amounts
                Annual Deductible
                ■   Individual (single coverage).                  $1,500                 $3,750
                ■   Individual plus one.                           $3,000                 $7,500
                ■   Family (not to exceed the applicable           $3,750                 $9,375
                    Individual amount for all Covered
                    Persons in a family).

                The Annual Deductible applies to all
                Covered Health Services under the Plan,
                including Covered Health Services
                provided in Section 15, Outpatient
                Prescription Drugs.
                Coupons or offers from pharmaceutical
                manufacturers or an affiliate for Specialty
                Prescription Drug Products will not apply
                to your Annual Deductible.

                Annual Out-of-Pocket Maximum
                ■   Individual (single coverage).                  $3,750                 $9,375
                ■   Individual plus one.                           $7,500                $18,750
                ■   Family (not to exceed the applicable           $7,900                $23,500
                    Individual amount per Covered
                    Person).

                The Annual Deductible applies toward the
                Out-of-Pocket Maximum for all Covered
                Health Services.

                The Annual Out-of-Pocket Maximum
                applies to all Covered Health Services
                under the Plan, including Covered Health
                Services provided in Section 15, Outpatient
                Prescription Drugs.
                Coupons or offers from pharmaceutical
                manufacturers or an affiliate for Specialty
                Prescription Drug Products will not apply
                to your Annual Out-of-Pocket Maximum.




           21                                                                 SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 29 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 283
OG750 - 086
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                Designated
                                                                                    Non~Network
                            Plan Features                      Network and
                                                                                      Amounts
                                                             Network Amounts
              Lifetime Maximum Benefit                                     Unlimited
              There is no dollar limit to the amount the
              Plan will pay for essential Benefits during
              the entire period you are enrolled in this
              Plan.

              Generally the following are considered to
              be essential benefits under the Patient
              Protection and Affordable Care Act:
              Ambulatory patient services; emergency
              services, hospitalization; maternity and
              newborn care; mental health and
              substance-related and addictive disorders
              services (including behavioral health
              treatment); prescription drug products;
              rehabilitative and habilitative services and
              devices; laboratory services; preventive and
              wellness services and chronic disease
              management; and pediatric services
              (including oral and vision care).




           22                                                                SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 30 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 284
0G750 - 087
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN




           Schedule of Benefits
           This table provides an overview of the Plan's coverage levels. For detailed descriptions of
           your Benefits, refer to Section 6, Additional Coverage Details.

           Amounts which you are required to pay as shown below in the Schedule of Benefits are based
           on Eligible Expenses or, for specific Covered Health Services as described in the definition of
           Recognized Amount in Section 14, Glossary.

                                                                                 Benefit
                                                                (The Amount Payable by the Plan based
                                                                       on Eligible Expenses)
                       Covered Health Services 1
                                                                   Designated
                                                                   Network and             Non-Network
                                                                    Network
              Acupuncture Services                              80% after you meet     50% after you meet
              See Section 6, Additional Coverage Details, for      the Annual             the Annual
              limits.                                              Deductible             Deductible

                Ambulance Services - Emergency Only              Ground and/ or Air     Ground and/ or Air
                                                                    Ambulance              Ambulance

                                                                80% after you meet      Same as Network
                                                                   the Annual
                                                                   Deductible

                Ambulance Services - Non-Emergency               Ground and/ or Air     Ground and/ or Air
                                                                    Ambulance              Ambulance

              Ground or air ambulance, as the Claims            80% after you meet     50% after you meet
              Administrator determines appropriate.                the Annual             the Annual
              Eligible Expenses for Air Ambulance                  Deductible             Deductible
              transport provided by a non-Network
              provider will be determined as described in
              Section 3, How the Plan Works.

              Cellular and Gene Therapy
              Services must be received from a                    Depending upon            Non-Network
              Designated Provider.                               where the Covered         Benefits are not
                                                                  Health Service is           available
                                                                 provided, Benefits
                                                                 will be the same as
                                                                 those stated under
                                                                each Covered Health
                                                                 Service category in
                                                                     this section.



           23                                                                    SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 31 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 285
OG750 - 088
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                               Benefit
                                                              (The Amount Payable by the Plan based
                                                                     on Eligible Expenses)
                      Covered Health Services 1
                                                                 Designated
                                                                 Network and             Non-Network
                                                                  Network
              Clinical Trials
              Benefits are available when the Covered           Depending upon         Depending upon
              Health Services are provided by either           where the Covered      where the Covered
              Network or non-Network providers.                 Health Service is      Health Service is
                                                               provided, Benefits     provided, Benefits
                                                               will be the same as    will be the same as
                                                               those stated under     those stated under
                                                              each Covered Health    each Covered Health
                                                               Service category in    Service category in
                                                                   this section.          this section.

              Congenital Heart Disease (CHD)
              Surgeries
              Network and Non-Network Benefits                80% after you meet     50% after you meet
              under this section include only the                the Annual             the Annual
              inpatient facility charges for the congenital      Deductible             Deductible
              heart disease (CHD) surgery. Depending
              upon where the Covered Health Service is
              provided, Benefits for diagnostic services,
              cardiac catheterization and non-surgical
              management of CHD will be the same as
              those stated under each Covered Health
              Service category in this section.

              Dental Services - Accident Only                 80% after you meet     50% after you meet
                                                                 the Annual             the Annual
                                                                 Deductible             Deductible




           24                                                                  SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 32 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 286
OG750 - 089
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                               Benefit
                                                            (The Amount Payable by the Plan based
                                                                   on Eligible Expenses)
                      Covered Health Services 1
                                                               Designated
                                                               Network and               Non-Network
                                                                Network
              Diabetes Services
              Diabetes Self-Management and Training/          Depending upon           Depending upon
              Diabetic Eye Examinations/Foot Care            where the Covered        where the Covered
                                                              Health Service is        Health Service is
                                                             provided, Benefits       provided, Benefits
                                                              for diabetes self-       for diabetes self-
                                                              management and           management and
                                                            training/ diabetic eye   training/ diabetic eye
                                                             examinations/ foot       examinations/ foot
                                                            care will be paid the    care will be paid the
                                                            same as those stated     same as those stated
                                                            under each Covered       under each Covered
                                                               Health Service           Health Service
                                                               category in this         category in this
                                                                   section.                 section.

              Diabetes Self-Management Items                  Depending upon           Depending upon
              See Durable Medical Equipment in Section 6,    where the Covered        where the Covered
              Additional Coverage Details, for limits.        Health Service is        Health Service is
                                                             provided, Benefits       provided, Benefits
                                                              for diabetes self-       for diabetes self-
                                                             management items         management items
                                                             will be the same as      will be the same as
                                                             those stated under       those stated under
                                                               Durable Medical          Durable Medical
                                                              Equipment in this        Equipment in this
                                                               section and in           section and in
                                                            Section 15, Outpatient   Section 15, Outpatient
                                                              Prescription Drugs.      Prescription Drugs.

              Durable Medical Equipment (DME),              80% after you meet       50% after you meet
              Orthotics and Supplies                           the Annual               the Annual
              See Durable Medical Equipment in Section 6,      Deductible               Deductible
              Additional Coverage Details, for limits.




           25                                                                  SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 33 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 287
0G750 - 090
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                                   Benefit
                                                              (The Amount Payable by the Plan based
                                                                     on Eligible Expenses)
                      Covered Health Services 1
                                                                 Designated
                                                                 Network and                 Non-Network
                                                                  Network
              Emergency Health Services -                     80% after you meet          Same as Network
              Outpatient                                         the Annual
              If you are admitted as an inpatient to a           Deductible
              Hospital directly from the Emergency
              room, you will not have to pay this
              Coinsurance and/ or deductible. The
              Benefits for an Inpatient Stay in a Hospital
              will apply instead. This does not apply to
              services provided to stabilize an
              Emergency after admission to a Hospital.
              Eligible Expenses for Emergency Health
              Services provided by a non-Network
              provider will be determined as described
              under Eligible Expenses in Section 3: How the
              Plan Works.
              Non-Emergency Health Services -                 80% after you meet         50% after you meet
              Outpatient                                         the Annual                 the Annual
                                                                 Deductible                 Deductible

              Enteral Nutrition                               80% after you meet         50% after you meet
                                                                 the Annual                 the Annual
                                                                 Deductible                 Deductible

              Fertility Preservation for Iatrogenic           80% after you meet         50% after you meet
              Infertility                                        the Annual                 the Annual
                                                                 Deductible                 Deductible

              Gender Dysphoria                                  Depending upon             Depending upon
                                                               where the Covered          where the Covered
                                                                 Health Service is          Health Service is
                                                               provided, Benefits         provided, Benefits
                                                               will be the same as        will be the same as
                                                               those stated under         those stated under
                                                              each Covered Health        each Covered Health
                                                               Service category in        Service category in
                                                              the Schedule of Benefits   the Schedule of Benefits
                                                                and in Section 15,         and in Section 15,
                                                               Outpatient Prescription    Outpatient Prescription
                                                                      Drugs.                     Drugs.



           26                                                                      SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 34 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 288
OG750 - 091
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                                Benefit
                                                                (The Amount Payable by the Plan based
                                                                       on Eligible Expenses)
                       Covered Health Services 1
                                                                  Designated
                                                                  Network and             Non-Network
                                                                   Network
              Hearing Aids                                      80% after you meet    50% after you meet
                                                                   the Annual            the Annual
                                                                   Deductible            Deductible

              Home Health Care                                  80% after you meet    50% after you meet
              See Section 6, Additional Coverage Details, for      the Annual            the Annual
              limits.                                              Deductible            Deductible
              To receive Network Benefits for the
              administration of intravenous infusion,
              you must receive services from a provider
              UnitedHealthcare identifies.

              Hospice Care                                      80% after you meet    50% after you meet
                                                                   the Annual            the Annual
                                                                   Deductible            Deductible

              Hospital - Inpatient Stay                         80% after you meet    50% after you meet
                                                                   the Annual            the Annual
                                                                   Deductible            Deductible

              Infertility Services                              80% after you meet         Non-Network
              See Section 6, Additional Coverage Details, for      the Annual             Benefits are not
              limits.                                              Deductible                available

              Injections in a Physician's Office                80% after you meet    50% after you meet
                                                                   the Annual            the Annual
                                                                   Deductible            Deductible

              Lab, X-Ray and Diagnostics -
              Outpatient
              ■   Lab Testing - Outpatient.                     80% after you meet    50% after you meet
                                                                   the Annual            the Annual
                                                                   Deductible            Deductible
              ■   X-Ray and Other Diagnostic Testing -          80% after you meet    50% after you meet
                  Outpatient.                                      the Annual            the Annual
                                                                   Deductible            Deductible

              Lab, X-Ray and Major Diagnostics -                80% after you meet    50% after you meet
              CT, PET, MRI, MRA and Nuclear                        the Annual            the Annual
              Medicine - Outpatient                                Deductible            Deductible



           27                                                                   SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 35 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 289
OG750 - 092
                                                           JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                           Benefit
                                                          (The Amount Payable by the Plan based
                                                                 on Eligible Expenses)
                      Covered Health Services 1
                                                             Designated
                                                             Network and             Non-Network
                                                              Network
              Mental Health Services
              ■   Inpatient.                              80% after you meet     50% after you meet
                                                             the Annual             the Annual
                                                             Deductible             Deductible
              ■   Outpatient.                             80% after you meet     50% after you meet
                  Virtual Behavioral Health Therapy and      the Annual             the Annual
              ■
                  Coaching                                   Deductible             Deductible
                                                             Designated               Non-Network
                                                              Network                Benefits are not
                                                              (AbleTo)                  available
                                                          100% after you meet
                                                              the Annual
                                                          Deductible; Benefits
                                                             for the Initial
                                                          Consultation will be
                                                             paid at 100%
                                                             80% for Partial        50% for Partial
                                                            Hospitalization/       Hospitalization/
                                                          Intensive Outpatient   Intensive Outpatient
                                                          Treatment after you    Treatment after you
                                                            meet the Annual        meet the Annual
                                                               Deductible             Deductible

              Neurobiological Disorders -Autism
              Spectrum Disorder Services
              ■   Inpatient.                              80% after you meet     50% after you meet
                                                             the Annual             the Annual
                                                             Deductible             Deductible
              ■   Outpatient.                             80% after you meet     50% after you meet
                                                             the Annual             the Annual
                                                             Deductible             Deductible




           28                                                              SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 36 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 290
OG750 - 093
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                                Benefit
                                                               (The Amount Payable by the Plan based
                                                                      on Eligible Expenses)
                       Covered Health Services 1
                                                                  Designated
                                                                  Network and             Non-Network
                                                                   Network
                                                                  80% for Partial        50% for Partial
                                                                 Hospitalization/       Hospitalization/
                                                               Intensive Outpatient   Intensive Outpatient
                                                               Treatment after you    Treatment after you
                                                                 meet the Annual        meet the Annual
                                                                    Deductible             Deductible

              Obesity Surgery
              For Network Benefits, obesity surgery              Depending upon            Non-Network
              must be received by a Designated                  where the Covered         Benefits are not
              Provider.                                          Health Service is           available.
              See Section 6, Additional Coverage Details for    provided, Benefits
              limits.                                           will be the same as
                                                                those stated under
                                                               each Covered Health
                                                                Service category in
                                                                    this section.

              Orthognathic Surgery                             80% after you meet     50% after you meet
                                                                  the Annual             the Annual
                                                                  Deductible             Deductible

              Ostomy Supplies                                  80% after you meet     50% after you meet
                                                                  the Annual             the Annual
                                                                  Deductible             Deductible

              Physician Fees for Surgical and                     Designated          50% after you meet
              Medical Services                                     Network               the Annual
              Covered Health Services provided by a            80% after you meet        Deductible
              non-Network Physician in certain                    the Annual
              Network facilities will apply the same cost         Deductible
              sharing (Copayment, Coinsurance and                  Network
              applicable deductible) as if those services      70% after you meet
              were provided by a Network provider;                the Annual
              however Eligible Expenses will be                   Deductible
              determined as described in Section 3, How
              the Plan Works, under Eligible Expenses.




           29                                                                   SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 37 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 291
OG750 - 094
                                                         JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                        Benefit
                                                       (The Amount Payable by the Plan based
                                                              on Eligible Expenses)
                      Covered Health Services 1
                                                          Designated
                                                          Network and             Non-Network
                                                           Network
              Physician's Office Services - Sickness
              and Injury
              ■   Primary Physician.                      Designated          50% after you meet
                                                           Network               the Annual
                                                       80% after you meet        Deductible
                                                          the Annual
                                                          Deductible
                                                             Network
                                                       70% after you pay a
                                                       $40 Copayment per
                                                        visit and after you
                                                         meet the Annual
                                                            Deductible
              ■   Specialist Physician.                   Designated          50% after you meet
                                                           Network               the Annual
                                                       80% after you meet        Deductible
                                                          the Annual
                                                          Deductible
                                                             Network
                                                       70% after you pay a
                                                       $80 Copayment per
                                                        visit and after you
                                                         meet the Annual
                                                            Deductible
              Preimplantation Genetic Testing (PGT)    80% after you meet     50% after you meet
                  and Related Services                    the Annual             the Annual
                                                          Deductible             Deductible

              Pregnancy - Maternity Services             Depending upon         Depending upon
                                                        where the Covered      where the Covered
                                                         Health Service is      Health Service is
                                                        provided, Benefits     provided, Benefits
                                                        will be the same as    will be the same as
                                                        those stated under     those stated under
                                                       each Covered Health    each Covered Health
                                                        Service category in    Service category in
                                                            this section.          this section.



           30                                                           SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 38 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 292
0G750 - 095
                                                                    JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                                   Benefit
                                                                   (The Amount Payable by the Plan based
                                                                          on Eligible Expenses)
                         Covered Health Services 1
                                                                     Designated
                                                                     Network and             Non-Network
                                                                      Network
                Preventive Care Services
                ■   Physician Office Services.                           100%            50% after you meet
                                                                                            the Annual
                                                                                            Deductible
                ■   Lab, X-ray or Other Preventive Tests.                100%            50% after you meet
                                                                                            the Annual
                                                                                            Deductible
                ■   Flu Shots.                                           100%             Same as Network
                ■   First Colonoscopy.                                   100%            50% after you meet
                                                                                            the Annual
                                                                                            Deductible
                ■   Subsequent Colonoscopy.                        80% after you meet    50% after you meet
                                                                      the Annual            the Annual
                                                                      Deductible            Deductible
                ■   Breast Pumps.                                        100%            50% after you meet
                                                                                            the Annual
                                                                                            Deductible
                ■   Preventive Pregnancy - Maternity                     100%            50% after you meet
                    Services.                                                               the Annual
                See Pregnanry - Maternz/y Services in Section 6,                            Deductible
                Additional Coverage Details.

                Private Duty Nursing - Outpatient                  80% after you meet    50% after you meet
                See Section 6, Additional Coverage Details, for       the Annual            the Annual
                limits.                                               Deductible            Deductible

                Prosthetic Devices                                 80% after you meet    50% after you meet
                See Section 6, Additional Coverage Details, for       the Annual            the Annual
                limits.                                               Deductible            Deductible




           31                                                                      SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 39 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 293
OG750 - 096
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                                 Benefit
                                                                (The Amount Payable by the Plan based
                                                                       on Eligible Expenses)
                       Covered Health Services 1
                                                                   Designated
                                                                   Network and             Non-Network
                                                                    Network

              Reconstructive Procedures                           Depending upon         Depending upon
                                                                 where the Covered      where the Covered
                                                                  Health Service is      Health Service is
                                                                 provided, Benefits     provided, Benefits
                                                                 will be the same as    will be the same as
                                                                 those stated under     those stated under
                                                                each Covered Health    each Covered Health
                                                                 Service category in    Service category in
                                                                     this section.          this section.

              Rehabilitation Services - Outpatient              80% after you meet     50% after you meet
              Therapy                                              the Annual             the Annual
              See Section 6, Additional Coverage Details, for      Deductible             Deductible
              visit limits.

              Scopic Procedures - Outpatient                    80% after you meet     50% after you meet
              Diagnostic and Therapeutic                           the Annual             the Annual
                                                                   Deductible             Deductible

              Skilled Nursing Facility/Inpatient                80% after you meet     50% after you meet
              Rehabilitation Facility Services                     the Annual             the Annual
              See Section 6, Additional Coverage Details, for      Deductible             Deductible
              limits.

              Spine and Joint Surgeries                            Designated               Non-Network
              You must be enrolled in the Orthopedic                 Network               Benefits are not
              Health Support Program.                           100% after you meet           available.
                                                                    the Annual
              Depending upon where the Covered                      Deductible
              Health Service is provided, Benefits for
              diagnostic services, implant fees, DME                Network
              and supplies and non-surgical management          80% after you meet
              of spine and joint services will be the same         the Annual
              as those stated under each Covered Health            Deductible
              Service category in this Schedule of Benefits.
              Network Benefits include services
              received from a Network provider that
              is not a Designated Provider.




           32                                                                    SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 40 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 294
0G750 - 097
                                                        JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                       Benefit
                                                       (The Amount Payable by the Plan based
                                                              on Eligible Expenses)
                      Covered Health Services 1
                                                         Designated
                                                         Network and             Non-Network
                                                          Network
              Substance-Related and Addictive
              Disorders Services
              ■   Inpatient.                           80% after you meet    50% after you meet
                                                          the Annual            the Annual
                                                          Deductible            Deductible
              ■   Outpatient.                          80% after you meet    50% after you meet
                                                          the Annual            the Annual
                                                          Deductible            Deductible

                                                         80% for Partial        50% for Partial
                                                        Hospitalization/       Hospitalization/
                                                      Intensive Outpatient   Intensive Outpatient
                                                      Treatment after you    Treatment after you
                                                        meet the Annual        meet the Annual
                                                           Deductible             Deductible

              Surgery - Outpatient                     80% after you meet    50% after you meet
                                                          the Annual            the Annual
                                                          Deductible            Deductible

              Temporomandibular Joint Dysfunction       Depending upon         Depending upon
              (TMJ)                                    where the Covered      where the Covered
                                                        Health Service is      Health Service is
                                                       provided, Benefits     provided, Benefits
                                                       will be the same as    will be the same as
                                                       those stated under     those stated under
                                                      each Covered Health    each Covered Health
                                                       Service category in    Service category in
                                                           this section.          this section.

              Therapeutic Treatments - Outpatient
              ■   Intravenous Chemotherapy and         80% after you meet    50% after you meet
                  Radiation Oncology.                     the Annual            the Annual
                                                          Deductible            Deductible
              ■   Dialysis.                            80% after you meet         Non-Network
                                                          the Annual             Benefits are not
                                                          Deductible                available




           33                                                          SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 41 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 295
OG750 - 098
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                                 Benefit
                                                                (The Amount Payable by the Plan based
                                                                       on Eligible Expenses)
                       Covered Health Services 1
                                                                   Designated
                                                                   Network and             Non-Network
                                                                    Network
              Transplantation Services                            Depending upon            Non-Network
                                                                 where the Covered         Benefits are not
                                                                  Health Service is           available
                                                                 provided, Benefits
                                                                 will be the same as
                                                                 those stated under
                                                                each Covered Health
                                                                 Service category in
                                                                     this section.

              Urgent Care Center Services                       80% after you meet     50% after you meet
                                                                   the Annual             the Annual
                                                                   Deductible             Deductible

              Urinary Catheters                                 80% after you meet     50% after you meet
                                                                   the Annual             the Annual
                                                                   Deductible             Deductible

              Virtual Care Services                             80% after you meet          Non-Network
              Network Benefits are available only when             the Annual              Benefits are not
              services are delivered through a                     Deductible                 available.
              Designated Virtual Network Provider. You
              can find a Designated Virtual Network
              Provider by going to www.myuhc.com or
              by calling the telephone number on your
              ID card.

              Vision
              ■   Vision Examinations                           100% after you pay a    Same as Network
                                                                 Copayment of $25
                                                                     per visit
              ■   Lenses Post Cataract Surgery                  80% after you meet     50% after you meet
              See Section 6, Additional Coverage Details, for      the Annual             the Annual
              limits.                                              Deductible             Deductible




           34                                                                    SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 42 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 296
OG750 - 099
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                                 Benefit
                                                                 (The Amount Payable by the Plan based
                                                                        on Eligible Expenses)
                       Covered Health Services 1
                                                                   Designated
                                                                   Network and             Non-Network
                                                                    Network
               Wigs                                              80% after you meet     50% after you meet
               See Section 6, Additional Coverage Details, for      the Annual             the Annual
               limits.                                              Deductible             Deductible

           1
            Please obtain prior authorization from the Claims Administrator before receiving Covered Health
           Services, as described in Section 6, Additional Coverage Details.




           35                                                                    SECTION 5 - PLAN HIGHLIGHTS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 43 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 297
OG750 - Vl
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



             SECTION 6 - ADDITIONAL COVERAGE DETAILS
                 What this section includes:
                 ■ Covered Health Services for which the Plan pays Benefits.

             This section supplements the second table in Section 5, Plan Highlights.

             While the table provides you with Benefit limitations along with Copayment, Coinsurance
             and Annual Deductible information for each Covered Health Service, this section includes
             descriptions of the Benefits. These descriptions include any additional limitations that may
             apply, as well as Covered Health Services for which you must obtain prior authorization
             from the Claims Administrator as required. The Covered Health Services in this section
             appear in the same order as they do in the table for easy reference. Services that are not
             covered are described in Section 8, Exclusions and Limitations.

             Benefits are provided for services delivered via Telehealth/Telemedicine. Benefits for these
             services are provided to the same extent as an in-person service under any applicable Benefit
             category in this section unless otherwise specified in the table.

             Acupuncture Services
             The Plan pays for acupuncture services for pain therapy provided that the service is
             performed in an office setting by a provider who is one of the following, either practicing
             within the scope of his/her license (if state license is available) or who is certified by a
             national accrediting body:

             ■     Doctor of Medicine.
             ■     Doctor of Osteopathy.
             ■     Chiropractor.
             ■     Acupuncturist.
             Benefits are provided regardless of whether the office is free-standing, located in a clinic or
             located in a Hospital.

             Covered Health Services include treatment of nausea as a result of:

             ■     Chemotherapy.
             ■     Pregnancy.
             ■     Post-operative procedures.
             Any combination of Network Benefits and Non-Network Benefits is limited to 10
             treatments per calendar year. Additional services (other than needle therapy) may be granted
             as Medically Necessary.

                 Did you know ...
                 You generally pay less out-of-pocket when you use a Network provider?




             36                                                      SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 44 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 298
OG750 - V2
                                                                    JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             Ambulance Services - Emergency Only
             The Plan covers Emergency ambulance services and transportation provided by a licensed
             ambulance service to the nearest Hospital that offers Emergency Health Services. See
             Section 14, Glossary for the definition of Emergency.

             Ambulance service by air is covered in an Emergency if ground transportation is impossible,
             or would put your life or health in serious jeopardy. If special circumstances exist,
             UnitedHealthcare may pay Benefits for Emergency air transportation to a Hospital that is
             not the closest facility to provide Emergency Health Services.

             Ambulance Services - Non-Emergency
             The Plan also covers non-Emergency transportation provided by a licensed professional
             ambulance (either ground or air ambulance, as UnitedHealthcare determines appropriate)
             between facilities when the transport is:

             ■     From a non-Network Hospital to a Network Hospital.
             ■     To a Hospital that provides a higher level of care that was not available at the original
                   Hospital.
             ■     To a more cost-effective acute care facility.
             ■     From an acute facility to a sub-acute setting.
             ■     From an acute or long term facility to home for persons who are immunocompromised,
                   technology dependent, and for medical reasons, unable to travel by commercial means,
                   and who require ongoing medical care services that will be provided in the home.


                 Prior Authorization Requirement
                 In most cases, the Claims Administrator will initiate and direct non-Emergency
                 ambulance transportation. For Non-Network Benefits, if you are requesting non-
                 Emergency air ambulance services, (including any affiliated non-Emergency ground
                 ambulance transport in conjunction with non-Emergency air ambulance transport), you
                 must obtain prior authorization as soon as possible before transport.

                 If you fail to obtain prior authorization as required, Benefits will be subject to a $250
                 reduction.

             Cellular and Gene Therapy
             Cellular Therapy and Gene Therapy received on an inpatient or outpatient basis at a
             Hospital or on an outpatient basis at an Alternate Facility or in a Physician's office.

             Benefits for CAR-T therapy for malignancies are provided as described under Transplantation
             Services.




             37                                                        SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 45 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 299
OG750 - V3
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             Clinical Trials
             Benefits are available for routine patient care costs incurred during participation in a
             qualifying Clinical Trial for the treatment of:

             ■    Cancer or other life-threatening disease or condition. For purposes of this benefit, a life-
                  threatening disease or condition is one from which the likelihood of death is probable
                  unless the course of the disease or condition is interrupted.
             ■    Cardiovascular disease (cardiac/stroke) which is not life threatening, for which, as
                  UnitedHealthcare determines, a Clinical Trial meets the qualifying Clinical Trial criteria
                  stated below.
             ■    Surgical musculoskeletal disorders of the spine, hip and knees, which are not life
                  threatening, for which, as UnitedHealthcare determines, a Clinical Trial meets the
                  qualifying Clinical Trial criteria stated below.
             ■    Other diseases or disorders which are not life threatening for which, as UnitedHealthcare
                  determines, a Clinical Trial meets the qualifying Clinical Trial criteria stated below.
             Benefits include the reasonable and necessary items and services used to prevent, diagnose
             and treat complications arising from participation in a qualifying Clinical Trial.

             Benefits are available only when the Covered Person is clinically eligible for participation in
             the qualifying Clinical Trial as defined by the researcher.

             Routine patient care costs for qualifying Clinical Trials include:

             ■    Covered Health Services for which Benefits are typically provided absent a Clinical Trial.
             ■    Covered Health Services required solely for the provision of the Experimental or
                  Investigational Service(s) or item, the clinically appropriate monitoring of the effects of
                  the service or item, or the prevention of complications.
             ■    Covered Health Services needed for reasonable and necessary care arising from the
                  provision of an Experimental or Investigational Service(s) or item.
             Routine costs for Clinical Trials do not include:

             ■    The Experimental or Investigational Service(s) or item. The only exceptions to this are:
                      Certain Category B devices.
                      Certain promising interventions for patients with terminal illnesses.
                      Other items and services that meet specified criteria in accordance with
                      UnitedHealthcare's medical and drug policies.

             ■    Items and services provided solely to satisfy data collection and analysis needs and that
                  are not used in the direct clinical management of the patient.
             ■    A service that is clearly inconsistent with widely accepted and established standards of
                  care for a particular diagnosis.




             38                                                      SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 46 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 300
OG750 - V4
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             ■    Items and services provided by the research sponsors free of charge for any person
                  enrolled in the trial.
             With respect to cancer or other life-threatening diseases or conditions, a qualifying Clinical
             Trial is a Phase I, Phase II, Phase III, or Phase IV Clinical Trial that is conducted in relation
             to the prevention, detection or treatment of cancer or other life-threatening disease or
             condition and which meets any of the following criteria in the bulleted list below.

             With respect to cardiovascular disease, musculoskeletal disorders of the spine, hip and knees
             and other diseases or disorders which are not life-threatening, a qualifying Clinical Trial is a
             Phase I, Phase II, or Phase III Clinical Trial that is conducted in relation to the detection or
             treatment of such non-life-threatening disease or disorder and which meets any of the
             following criteria in the bulleted list below.

             ■    Federally funded trials. The study or investigation is approved or funded (which may
                  include funding through in-kind contributions) by one or more of the following:
                     National Institutes ofHealth (NIH). (Includes National Cancer Institute (NCI)).
                     Centers for Disease Control and Prevention (CDC).
                     Agenry for Healthcare Research and Quality (AHRQ).
                     Centers for Medicare and Medicaid Services (CMS).
                     A cooperative group or center of any of the entities described above or the
                     Department of Defense (DOD) or the Veterans Administration (VA).
                     A qualified non-governmental research entity identified in the guidelines issued by
                     the National Institutes of Health for center support grants.
                     The Department of Veterans Affairs, the Department of Defense or the Department of Energy
                     as long as the study or investigation has been reviewed and approved through a
                     system of peer review that is determined by the Secretary of Health and Human Services
                     to meet both of the following criteria:

                      ♦   Comparable to the system of peer review of studies and investigations used by
                          the National Institutes of Health.
                      ♦   Ensures unbiased review of the highest scientific standards by qualified
                          individuals who have no interest in the outcome of the review.

             ■    The study or investigation is conducted under an investigational new drug application
                  reviewed by the U.S. Food and Drug Administration.
             ■    The study or investigation is a drug trial that is exempt from having such an
                  investigational new drug application.
             ■    The Clinical Trial must have a written protocol that describes a scientifically sound study
                  and have been approved by all relevant institutional review boards (IRBs) before
                  participants are enrolled in the trial. UnitedHealthcare may, at any time, request
                  documentation about the trial.
             ■    The subject or purpose of the trial must be the evaluation of an item or service that
                  meets the definition of a Covered Health Service and is not otherwise excluded under
                  the Plan.




             39                                                      SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 47 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 301
OG750 - VS
                                                                        JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                 Prior Authorization Requirement
                 For Non-Network Benefits you must obtain prior authorization as soon as the possibility
                 of participation in a Clinical Trial arises. If you do not obtain prior authorization as
                 required, Benefits will be subject to a $250 reduction.

             Congenital Heart Disease (CHO) Surgeries
             The Plan pays Benefits for CHD surgeries which are ordered by a Physician. CHD surgical
             procedures include surgeries to treat conditions such as coarctation of the aorta, aortic
             stenosis, tetralogy of fallot, transposition of the great vessels and hypoplastic left or right
             heart syndrome.

             UnitedHealthcare has specific guidelines regarding Benefits for CHD services. Contact
             UnitedHealthcare at the number on your ID card for information about these guidelines.

             The Plan pays Benefits for CHD services ordered by a Physician and received at a facility
             participating in the CHD Resource Services program. Benefits include the facility charge and
             the charge for supplies and equipment. Benefits for Physician services are described under
             Pi?Jsician Fees for Surgical and Medical Services.

             Surgery may be performed as open or closed surgical procedures or may be performed
             through interventional cardiac catheterization.

             Benefits are available for the following CHD services:

             ■     Outpatient diagnostic testing.
             ■     Evaluation.
             ■     Surgical interventions.
             ■     Interventional cardiac catheterizations (insertion of a tubular device in the heart).
             ■     Fetal echocardiograms (examination, measurement and diagnosis of the heart using
                   ultrasound technology).
             ■     Approved fetal interventions.
             CHD services other than those listed above are excluded from coverage, unless determined
             by the Claims Administrator to be proven procedures for the involved diagnoses. Contact
             CHD Resource Services at 1-888-936-7246 before receiving care for information about
             CHD services. More information is also available at
             www.myoptumhealthcomplexmedical.com.

             If you receive CHD services from a facility that is not a Designated Provider, the Plan pays
             Benefits as described under:

             ■     Pi?Jsician's Office Services.
             ■     Pi?Jsician Fees for Surgical and Medical Services.
             ■     S copic Procedures - Outpatient Diagnostic and Therapeutic.



             40                                                             SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 48 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 302
OG750 - V6
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             ■     Therapeutic Treatments - Outpatient.
             ■     Hospital - Inpatient S tqy.
             ■     Surgery - Outpatient.


                 To receive Benefits under the CHD program, you must contact CHD Resource Services
                 at 1-888-936-7246 prior to obtaining Covered Health Services. The Plan will only pay
                 Benefits under the CHD program if CHD provides the proper notification to the
                 Designated Provider performing the services (even if you self~refer to a provider in that
                 Network).

             Note: The services described under the Travel and Lodging Assistance Program are Covered
             Health Services only in connection with CHD services received at a Congenital Heart
             Disease Resource Services program.

                 Prior Authorization Requirement
                 For Non-Network Benefits you must obtain prior authorization as soon as the possibility
                 of a CHD surgery arises. If you do not obtain prior authorization as required, Benefits
                 will be subject to a $250 reduction.

                 It is important that you notify the Claims Administrator regarding your intention to have
                 surgery. Your notification will open the opportunity to become enrolled in programs that
                 are designed to achieve the best outcomes for you.

             Dental Services - Accident Only
             Dental services are covered by the Plan when all of the following are true:

             ■     Treatment is necessary because of accidental damage.
             ■     Dental services are received from a Doctor of Dental Surgery or a Doctor of Medical
                   Dentistry.
             ■     The dental damage is severe enough that initial contact with a Physician or dentist occurs
                   within 72 hours of the accident. (You may request an extension of this time period
                   provided that you do so within 60 days of the Injury and if extenuating circumstances
                   exist due to the severity of the Injury.)
             Please note that dental damage that occurs as a result of normal activities of daily living or
             extraordinary use of the teeth is not considered having occurred as an accident. Benefits are
             not available for repairs to teeth that are damaged as a result of such activities.

             The Plan also covers dental care (oral examination, X-rays, extractions and non-surgical
             elimination of oral infection) required for the direct treatment of a medical condition limited
             to:

             ■     Dental services related to medical transplant procedures.
             ■     Initiation of immunosuppressive (medication used to reduce inflammation and suppress
                   the immune system).


             41                                                      SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 49 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 303
OG750 - V7
                                                                    JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             ■     Direct treatment of acute traumatic Injury, cancer or cleft palate.
             Benefits are available only for treatment of a sound, natural tooth. Before the Plan will cover
             treatment of an injured tooth, the dentist must certify that the tooth is virgin or unrestored,
             or that it:

             ■     Has no decay.
             ■     Has no filling on more than two surfaces.
             ■     Has no gum disease associated with bone loss.
             ■     Has no root canal therapy.
             ■     Is not a dental implant.
             ■     Functions normally in chewing and speech.
             Dental services to repair the damage caused by accidental Injury must conform to the
             following time-frames: Treatment is started within three months of the accident, or if not a
             Covered Person at the time of the accident, within the first three months of coverage under
             the Plan, unless extenuating circumstances exist (such as prolonged hospitalization or the
             presence of fixation wires from fracture care), Treatment must be completed within 12
             months of the accident, or if not a Covered Person at the time of the accident, within the
             first 12 months of coverage under the Plan.

             Diabetes Services
             Diabetes Self-Management and Training/Diabetic Eye Examinations/Foot Care
             Outpatient self-management training for the treatment of diabetes, education and medical
             nutrition therapy services. Services must be ordered by a Physician and provided by
             appropriately licensed or registered healthcare professionals.

             Benefits also include medical eye examinations (dilated retinal examinations) and preventive
             foot care for diabetes.

             Diabetic Self-Management Items
             Insulin pumps and supplies and continuous glucose monitors for the management and
             treatment of diabetes, based upon your medical needs. An insulin pump is subject to all the
             conditions of coverage stated under Durable Medical Equipment, Orthotics and Supplies.
             Benefits for blood glucose meters, insulin syringes with needles, blood glucose and urine test
             strips, ketone test strips and tablets and lancets and lancet devices are described is Section
             15, Outpatient Prescription Drugs.

                 Prior Authorization Requirement
                 For Non-Network Benefits you must obtain prior authorization from the Claims
                 Administrator before obtaining any Durable Medical Equipment for the management and
                 treatment of diabetes that exceeds $1,000 in cost (either retail purchase cost or cumulative
                 retail rental cost of a single item). If you fail to obtain prior authorization from the Claims
                 Administrator as required, Benefits will be subject to a $250 reduction.




             42                                                         SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 50 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 304
OG750 - VB
                                                                    JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             Durable Medical Equipment (DME), Orthotics and Supplies
             The Plan pays for Durable Medical Equipment (DME), Orthotics and Supplies that are:

             ■    Ordered or provided by a Physician for outpatient use primarily in a home setting.
             ■    Used for medical purposes.
             ■    Not consumable or disposable except as needed for the effective use of covered Durable
                  Medical Equipment.
             ■    Not of use to a person in the absence of a disease or disability.
             ■    Durable enough to withstand repeated use.
             Benefits under this section include Durable Medical Equipment provided to you by a
             Physician. The Plan pays Benefits for DME that meets the functionally necessary
             specifications for your needs without any limitations.

             Examples of DME include but are not limited to:

             ■    Oxygen and the rental of equipment to administer oxygen (including tubing, connectors
                  and masks).
             ■    Pulse oximeter is covered for children if Trilogy portable vents are used.
             ■    Equipment to assist mobility, such as a standard wheelchair or electric wheelchair.
             ■    A standard Hospital-type bed.
             ■    Negative pressure wound therapy pumps (wound vacuums).
             ■    Burn garments.
             ■    Insulin pumps and all related necessary supplies (including Omnipod insulin delivery
                  system) as described under Diabetes Services in this section.
             ■    External cochlear devices and systems. Surgery to place a cochlear implant is also
                  covered by the Plan. Cochlear implantation can either be an inpatient or outpatient
                  procedure. Benefits for cochlear implantation are provided under the applicable
                  medical/ surgical Benefit categories in this SPD. See Hospital - Inpatient S tqy, Rehabilitation
                  Services - Outpatient Therapy and Surgery - Outpatient in this section.
             ■    Orthotic devices when prescribed by Physician. This includes braces that straighten or
                  change the shape of a body part, cranial orthotics (helmets), shoe inserts, arch supports,
                  shoes (standard or custom), lifts and wedges and shoe orthotics.
             ■    Braces that stabilize an injured body part, including necessary adjustments to shoes to
                  accommodate braces. Braces that stabilize an injured body part and braces to treat
                  curvature of the spine are considered Durable Medical Equipment and are a Covered
                  Health Service. Dental braces are excluded from coverage.
             ■    Mechanical equipment necessary for the treatment of chronic or acute respiratory failure
                  (except that air-conditioners, humidifiers, dehumidifiers, air purifiers and filters, and
                  personal comfort items are excluded from coverage).



             43                                                         SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 51 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 305
OG750 - V9
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             Benefits include lymphedema stockings for the arm as required by the Women's Health and
             Cancer Rights Act of 1998.

             Benefits also include dedicated speech generating devices and tracheo-esophageal voice
             devices required for treatment of severe speech impediment or lack of speech directly
             attributed to Sickness or Injury. Benefits for the purchase of these devices are available only
             after completing a required three-month rental period.

             Orthotics
             Orthotic braces, including needed changes to shoes to fit braces. Braces that stabilize an
             injured body part and braces to treat curvature of the spine are a Covered Health Service.

             Benefits under this section do not include any device, appliance, pump, machine, stimulator,
             or monitor that is fully implanted into the body. Implantable devices are a Covered Health
             Service for which Benefits are available under the applicable medical/ surgical Covered
             Health Service categories in this SPD.

             Benefits do not include:

             ■    Any device, appliance, pump, machine, stimulator, or monitor that is fully implanted into
                  the body. Implantable devices are a Covered Health Service for which Benefits are
                  available under the applicable medical/ surgical Covered Health Service categories in this
                  SPD.
             ■    Diagnostic or monitoring equipment purchased for home use, unless otherwise
                  described as a Covered Health Service.
             ■    Powered exoskeleton devices.
             UnitedHealthcare will decide if the equipment should be purchased or rented.

             Note: DME is different from prosthetic devices - see Prosthetic Devices in this section.

             Benefits for speech aid devices and tracheo-esophageal voice devices are limited to the
             purchase of one device during the entire period of time a Covered Person is enrolled under
             the Plan. Benefits for repair/replacement are limited to once every three years.

             To receive Network Benefits, you must purchase, rent, or obtain the Durable Medical
             Equipment or orthotic from the vendor UnitedHealthcare identifies or purchase it directly
             from the prescribing Network Physician.

             Benefits are provided for the repair/replacement of a type of Durable Medical Equipment or
             orthotic once every three calendar years. Repair and/ or replacement of D ME or orthotics
             would apply to this limit in the same manner as a purchase. This limit does not apply to
             wound vacuums.

             At UnitedHealthcare's discretion, replacements are covered for damage beyond repair with
             normal wear and tear, when repair costs exceed new purchase price, or when a change in the
             Covered Person's medical condition occurs sooner than the three year timeframe. Repairs,
             including the replacement of essential accessories, such as hoses, tubes, mouth pieces, etc.,


             44                                                     SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 52 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 306
OG750 - VlO
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           for necessary DME are only covered when required to make the item/ device serviceable and
           the estimated repair expense does not exceed the cost of purchasing or renting another
           item/ device. Requests for repairs may be made at any time and are not subject to the three
           year timeline for replacement.

              Prior Authorization Requirement
              For Non-Network Benefits you must obtain prior authorization from the Claims
              Administrator before obtaining any DME or orthotic that costs more than $1,000 (either
              retail purchase cost or cumulative retail rental cost of a single item). If you fail to obtain
              prior authorization from the Claims Administrator, as required, Benefits will be subject to
              a $250 reduction.

           Emergency Health Services - Outpatient
           The Plan's Emergency services Benefit pays for outpatient treatment at a Hospital or
           Alternate Facility when required to stabilize a patient or initiate treatment.

           Benefits under this section include the facility charge, supplies and all professional services
           required to stabilize your condition and/ or initiate treatment. This includes placement in an
           observation bed for the purpose of monitoring your condition (rather than being admitted
           to a Hospital for an Inpatient Stay).

           Network Benefits will be paid for an Emergency admission to a non-Network Hospital as
           long as the Claims Administrator is notified within two business days of the admission or on
           the same day of admission if reasonably possible after you are admitted to a non-Network
           Hospital. The Claims Administrator may elect to transfer you to a Network Hospital as soon
           as it is medically appropriate to do so. If you continue your stay in a non-Network Hospital
           after the date your Physician determines that it is medically appropriate to transfer you to a
           Network Hospital, Network Benefits will not be provided. Non-Network Benefits may be
           available if the continued stay is determined to be a Covered Health Service. Eligible
           Expenses will be determined as described under Eligible Expenses in Section 3, How the Plan
           Works.

           Benefits under this section are available for services to treat a condition that does not meet
           the definition of an Emergency.

              Note: If you are confined in a non-Network Hospital after you receive outpatient
              Emergency Health Services, you must notify the Claims Administrator within two
              business days or on the same day of admission if reasonably possible. The Claims
              Administrator may elect to transfer you to a Network Hospital as soon as it is medically
              appropriate to do so. If you choose to stay in the non-Network Hospital after the date
              the Claims Administrator decides a transfer is medically appropriate, Network Benefits
              will not be provided. Non-Network Benefits may be available if the continued stay is
              determined to be a Covered Health Service.




           45                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 53 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 307
OG750 - Vll
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Enteral Nutrition
           Benefits are provided for enteral formulas and low protein modified food products,
           administered either orally or by tube feeding as the primary source of nutrition, for certain
           conditions which require specialized nutrients or formulas. Examples of conditions include:

           ■    Metabolic diseases such as phenylketonuria (PKU) and maple syrup urine disease.
           ■    Severe food allergies.
           ■    Impaired absorption of nutrients caused by disorders affecting the gastrointestinal tract.
           Benefits for prescription or over-the-counter formula are available when a Physician issues a
           prescription or written order stating the formula or product is Medically Necessary for the
           therapeutic treatment of a condition requiring specialized nutrients and specifying the
           quantity and the duration of the prescription or order. The formula or product must be
           administered under the direction of a Physician or registered dietitian.

           For the purpose of this Benefit, "enteral formulas" include:

           ■    Amino acid-based elemental formulas.
           ■    Extensively hydrolyzed protein formulas.
           ■    Modified nutrient content formulas.
           For the purpose of this Benefit, "severe food allergies" mean allergies which ifleft untreated
           will result in:

           ■    Malnourishment.
           ■    Chronic physical disability.
           ■    Intellectual disability; or
           ■    Loss of life.

           Fertility Preservation for Iatrogenic Infertility
           Benefits are available for fertility preservation for medical reasons that cause irreversible
           infertility such as chemotherapy, radiation treatment, and bilateral oophorectomy due to
           cancer. Services include the following procedures, when provided by or under the care or
           supervision of a Physician:

           ■    Collection of sperm.
           ■    Cryo-preservation of sperm.
           ■    Ovarian stimulation, retrieval of eggs and fertilization.
           ■    Oocyte cryo-preservation.
           ■    Embryo cryo-preservation.




           46                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 54 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 308
OG750 - V12
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Benefits for medications related to the treatment of fertility preservation are provided as
           described under 15, Outpatient Prescription Drugs or under Pharmaceutical Products - Outpatient in
           this section.
           Benefits are not available embryo transfer.
           Benefits are not available for long-term storage costs (greater than one year).

           Benefit limits will be the same as, and combined with, those stated under Infertility Services.
           This Benefit limit also includes services as described under Preimplantation Genetic Testing
           (PGT-M and PCT-SR) and Related Services. Benefits are further limited to one cycle of fertility
           preservation for Iatrogenic Infertility per Covered Person during the entire period of time he
           or she is enrolled for coverage under the Plan.

           Gender Dysphoria
           Benefits for the treatment of Gender Dysphoria limited to the following services:

           ■    Psychotherapy for Gender Dysphoria and associated co-morbid psychiatric diagnoses
                are provided as described under Mental Health Services in your SPD.
           ■    Cross-sex hormone therapy:
                    Cross-sex hormone therapy administered by a medical provider.
                    Cross-sex hormone therapy dispensed from a pharmacy is provided as described
                    under Section 15, Outpatient Prescription Drugs.

           ■    Puberty suppressing medication injected or implanted by a medical provider in a clinical
                setting.
           ■    Laboratory testing to monitor the safety of continuous cross-sex hormone therapy.
           ■    Hair removal, laser or electrolysis, in advance of genital reconstruction.
           ■    Surgery for the treatment for Gender Dysphoria, including the surgeries listed below:
                   Bilateral mastectomy or breast reduction
                   Clitoroplasty (creation of clitoris)
                   Hysterectomy (removal of uterus)
                   Labiaplasty (creation of labia)
                   Metoidioplasty (creation of penis, using clitoris)
                   Orchiectomy (removal of testicles)
                   Penectomy (removal of penis)
                   Penile prosthesis
                   Phalloplasty (creation of penis)
                   Salpingo-oophorectomy (removal of fallopian tubes and ovaries)
                   Scrotoplasty (creation of scrotum)
                   Testicular prosthesis
                   Urethroplasty (reconstruction of urethra)
                   Vaginectomy (removal of vagina)
                   Vaginoplasty (creation of vagina)
                   Vulvectomy (removal of vulva)



           47                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 55 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 309
OG750 - V13
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Genital Surgery and Bilateral Mastectomy or Breast Reduction Surgery
           Documentation Requirements:

           The Covered Person must provide documentation of the following for breast surgery:

           ■     A written psychological assessment from at least one qualified behavioral health provider
                 experienced in treating Gender Dysphoria. The assessment must document that the
                 Covered Person meets all of the following criteria:
                     Persistent, well-documented Gender Dysphoria.
                     Capacity to make a fully informed decision and to consent for treatment.
                     Must be 18 years or older.
                     If significant medical or mental health concerns are present, they must be reasonably
                     well controlled.
           The Covered Person must provide documentation of the following for genital surgery:

           ■     A written psychological assessment from at least two qualified behavioral health
                 providers experienced in treating Gender Dysphoria, who have independently assessed
                 the Covered Person. The assessment must document that the Covered Person meets all
                 of the following criteria.
                     Persistent, well-documented Gender Dysphoria.
                     Capacity to make a fully informed decision and to consent for treatment.
                     Must 18 years or older.
                     If significant medical or mental health concerns are present, they must be reasonably
                     well controlled.
                     Complete at least 12 months of successful continuous full-time real-life experience in
                     the desired gender.
                     Complete 12 months of continuous cross-sex hormone therapy appropriate for the
                     desired gender (unless medically contraindicated).


               Prior Authorization Requirement for Surgical Treatment:
               For Non-Network Benefits you must obtain prior authorization as soon as the possibility
               of surgery arises. If you do not obtain prior authorization as required, Benefits will be
               subject to a $250 reduction.

               In addition, for Non-Network Benefits you must contact the Claims Administrator 24
               hours before admission for an Inpatient Stay.

               It is important that you notify the Claims Administrator as soon as the possibility
               of surgery arises. Your notification allows the opportunity for the Claims
               Administrator to provide you with additional information and services that may be
               available to you and are designed to achieve the best outcomes for you.




           48                                                      SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 56 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 310
OG750 - V14
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


               Prior Authorization Requirement for Non-Surgical Treatment:
               Depending upon where the Covered Health Service is provided, any applicable prior
               authorization requirements will be the same as those stated under each Covered Health
               Service category.

           Hearing Aids
           The Plan pays Benefits for hearing aids required for the correction of a hearing impairment
           (a reduction in the ability to perceive sound which may range from slight to complete
           deafness). Hearing aids are electronic amplifying devices designed to bring sound more
           effectively into the ear. A hearing aid consists of a microphone, amplifier and receiver.

           Benefits are available for a hearing aid that is purchased as a result of a written
           recommendation by a Physician. Benefits are provided for the hearing aid and for charges
           for associated fitting and testing.

           The Plan pays Benefits for hearing aids that meets the functionally necessary specifications
           for your needs without any limitations.

           Benefits do not include bone anchored hearing aids. Bone anchored hearing aids are a
           Covered Health Service for which Benefits are available under the applicable
           medical/ surgical Covered Health Services categories in this section only for Covered
           Persons who have either of the following:

           ■     Craniofacial anomalies whose abnormal or absent ear canals preclude the use of a
                 wearable hearing aid.
           ■     Hearing loss of sufficient severity that it would not be adequately remedied by a wearable
                 hearing aid.

               Hearing aid discount program
               The Plan provides a special program that provides access to high quality, customized
               hearing aids at a discount, as well as resources to help you select, understand, use and
               maintain your hearing aids. See Addendum - hi Healthinnovations Hearing Aid Program for
               details.

           Home Health Care
           Covered Health Services are services that a Home Health Agency provides if you need care
           in your home due to the nature of your condition. Services must be:

           ■     Ordered by a Physician.
           ■     Provided by or supervised by a registered nurse in your home, or provided by either a
                 home health aide or licensed practical nurse and supervised by a registered nurse.
           ■     Not considered Custodial Care, as defined in Section 14, Glossary.
           ■     Provided on a part-time, Intermittent Care schedule when Skilled Care is required. Refer
                 to Section 14, Glossary for the definition of Skilled Care.




           49                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 57 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 311
OG750 - V15
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           The Claims Administrator will determine if Skilled Care is needed by reviewing both the
           skilled nature of the service and the need for Physician-directed medical management. A
           service will not be determined to be "skilled" simply because there is not an available
           caregiver.

           Any combination of Network Benefits and Non-Network Benefits is limited to 75 visits per
           calendar year. One visit equals four hours of Skilled Care services. Continuous visits are
           allowed. This visit limit does not include any service which is billed only for the
           administration of intravenous infusion.

               Prior Authorization Requirement
               For Non-Network Benefits you must obtain prior authorization from the Claims
               Administrator five business days before receiving services, including nutritional foods and
               Private Duty Nursing, or as soon as is reasonably possible. If you fail to obtain prior
               authorization from the Claims Administrator as required, Benefits will be subject to a
               $250 reduction.

           Hospice Care
           Hospice care is an integrated program recommended by a Physician which provides comfort
           and support services for the terminally ill. Hospice care can be provided on an inpatient or
           outpatient basis and includes physical, psychological, social, spiritual and respite care for the
           terminally ill person, and short-term grief counseling for immediate family members while
           the Covered Person is receiving hospice care. Benefits are available only when hospice care
           is received from a licensed hospice agency, which can include a Hospital.

               Prior Authorization Requirement
               For Non-Network Benefits you must obtain prior authorization from the Claims
               Administrator five business days before admission for an Inpatient Stay in a hospice
               facility or as soon as is reasonably possible. If you fail to obtain prior authorization from
               the Claims Administrator as required, Benefits will be subject to a $250 reduction.

               In addition, for Non~Network Benefits, you must contact the Claims Administrator
               within 24 hours of admission for an Inpatient Stay in a hospice facility.

           Hospital - Inpatient Stay
           Hospital Benefits are available for:

           ■     Non-Physician services and supplies received during an Inpatient Stay.
           ■     Room and board in a Semi-private Room (a room with two or more beds).
           ■     Physician services for radiologists, anesthesiologists, pathologists and Emergency room
                 Physicians.
           The Plan will pay the difference in cost between a Semi-private Room and a private room
           only if a private room is necessary according to generally accepted medical practice.




           50                                                        SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 58 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 312
OG750 - V16
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Benefits for an Inpatient Stay in a Hospital are available only when the Inpatient Stay is
           necessary to prevent, diagnose or treat a Sickness or Injury. Benefits for other Hospital-
           based Physician services are described in this section under Pi?Jsician Fees for Surgical and
           Medical Services.

           Benefits for Emergency admissions and admissions of less than 24 hours are described
           under Emergenry Health Services and Surgery - Outpatient, S copic Procedures - Outpatient Diagnostic
           and Therapeutic, and Therapeutic Treatments - Outpatient, respectively.

               Prior Authorization Requirement
               For Non-Network Benefits, for:
               ■ A scheduled admission, you must obtain prior authorization from the Claims
                  Administrator five business days before admission.
               ■    A non-scheduled admission (including Emergency admissions), you must provide
                    notification as soon as is reasonably possible.
               If you do not obtain prior authorization from the Claims Administrator as required,
               Benefits will be subject to a $250 reduction.

               In addition, for Non-Network Benefits, you must contact the Claims Administrator 24
               hours before admission for scheduled admissions or as soon as is reasonably possible for
               non-scheduled admissions (including Emergency admissions).

           Infertility Services
           Therapeutic services for the treatment of Infertility when provided by or under the direction
           of a Physician. Benefits under this section are limited to the following procedures:

           ■       Assisted Reproductive Technologies (ART).
           ■       Frozen Embryo Transfer cycle including the associated cryopreservation and storage of
                   embryos.
           ■       ICSI - (intracytoplasmic sperm injection).
           ■       Insemination procedures (artificial insemination (AI) and intrauterine insemination
                   (IUI)).
           ■       Embryo transportation related network disruption.
           ■       Ovulation induction (or controlled ovarian stimulation).
           ■       Testicular Sperm Aspiration/Microsurgical Epididymal Sperm Aspiration
                   (TESA/MESA) - male factor associated surgical procedures for retrieval of sperm.
           ■       Surgical Procedures: Laparoscopy, Lysis of adhesions, tubotubal anastomosis,
                   fimbrioplasty, salpingostomy, transcervical catheterization, cystoplasty and ovarian
                   cystectomy.
           ■       Electroejaculation.




           51                                                         SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 59 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 313
OG750 - V17
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           ■    Pre-implantation Genetic Testing for a Monogenic Disorder (PGT-_M) or Structural
                Rearrangement (PGT-SR) - when the genetic parents carry a gene mutation to determine
                whether that mutation has been transmitted to the embryo.
           Treatment for the diagnosis and treatment of the underlying cause of Infertility is covered as
           described in the SPD. Benefits for diagnostic tests are described under, S copic Procedures -
           Outpatient Diagnostic and Therapeutic, Office Visits.

           Benefits for certain Pharmaceutical Products for the treatment of Infertility that are
           administered on an outpatient basis in a Hospital, Alternate Facility, Physician's office, or in
           your home are described under Injections in a Pi?Jsician's Office.

           Benefits for Pharmaceutical Products for outpatient use that are filled by a prescription order
           or refill are described under Outpatient Prescription Drugs.

           Enhanced Bene.it Coverage
           Donor Coverage: The plan will cover associated donor medical expenses, including
           collection and preparation of oocyte and/ or sperm, and the medications associated with the
           collection and preparation of oocyte and/ or sperm. The plan will not pay for donor charges
           associated with compensation or administrative services.

           Fertility Preservation for Medical Reasons - when planned cancer or other medical
           treatment is likely to produce Infertility/ sterility. Coverage is limited to: collection of sperm,
           cryopreservation of sperm, ovarian stimulation and retrieval of eggs, oocyte
           cryopreservation, in vitro fertilization, and embryo cryopreservation. Long-term storage
           costs (anything longer than 12 months) are not covered.

           Infertility Treatment following the reversal of voluntary sterilization and following
           reversal needs to meet criteria to be eligible for Benefits (tubal reversal/reanastomosis;
           vasectomy reversal/vasovasostomy or vasoepididymostomy).

           Criteria to be eligible for Benefits

           To be eligible for the Infertility services Benefit you must have a diagnosis of infertility.

           ■    To meet the definition of Infertility you must meet one of the following:
                   You are not able to become pregnant after the following periods of time of regular
                   unprotected intercourse or Therapeutic Donor Insemination:

                    ♦   One year, if you are a female under age 35.
                    ♦   Six months, if you are a female age 35 or older.

                   You are female and have failed to achieve or maintain a Pregnancy due to
                   impotence/ sexual dysfunction;
                   You are female and have infertility that is not related to voluntary sterilization or
                   failed reversal of voluntary sterilization.




           52                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 60 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 314
OG750 - V18
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                    You are male and have a diagnosis of a male factor causing infertility (e.g. treatment
                    of sperm abnormalities including the surgical recovery of sperm).

           ■    You are a female:
                    under age 44 and using own oocytes (eggs).
                    under age 55 and using donor oocytes (eggs).

                Note: For treatment initiated prior to pertinent birthday, services will be covered to
                completion of initiated cycle.

           ■    You have Infertility that is not related to voluntary sterilization.
           ■    Child Dependents are eligible for Infertility benefit if above eligibility criteria are met.
           The waiting period may be waived when you have a known male or female Infertility factor,
           including but not limited to: congenital malformations, abnormal sperm, known ovulatory
           disorders, diminished ovarian reserve, impotence/ sexual dysfunction, moderate or severe
           endometriosis, or documented compromise of the fallopian tubes.

           Certain criteria to be eligible for Benefits may be waived for Fertility Preservation for
           medical reasons.

           Any combination of Network Benefits and Non-Network Benefits are limited to $25,000 per
           Covered Person during the entire period of time he or she is enrolled for coverage under the
           Plan. There are separate medical and prescription drug lifetime maximum Benefits.
           Prescription Drug Products for Infertility are limited to $15,000 per Covered Person, as
           described in Section 15, Outpatient Prescription Drugs.

           There are separate limits under the Plan for medical services and Outpatient Prescription Drugs.

           Only charges for the following apply toward the infertility lifetime maximum:

           ■    Surgeon.
           ■    Assistant surgeon.
           ■    Anesthesia.
           ■    Lab tests.
           ■    Specific injections.

           Injections in a Physician's Office
           Benefits are paid by the Plan for injections administered in the Physician's office, for
           example allergy immunotherapy, when no other health service is received.

           If you require certain Pharmaceutical Products, including specialty Pharmaceutical Products,
           UnitedHealthcare may direct you to a designated dispensing entity with whom
           UnitedHealthcare has an arrangement to provide those Pharmaceutical Products. Such
           Dispensing Entities may include an outpatient pharmacy, specialty pharmacy, Home Health



           53                                                        SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 61 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 315
OG750 - V19
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Agency provider, Hospital-affiliated pharmacy or hemophilia treatment center contracted
           pharmacy.

           If you/your provider are directed to a designated dispensing entity and you/your provider
           choose not to obtain your Pharmaceutical Product from a designated dispensing entity,
           Network Benefits are not available for that Pharmaceutical Product.

           Certain Pharmaceutical Products are subject to step therapy requirements. This means that
           in order to receive Benefits for such Pharmaceutical Products, you must use a different
           Pharmaceutical Product and/ or prescription drug product first. You may find out whether a
           particular Pharmaceutical Product is subject to step therapy requirements by contacting
           UnitedHealthcare at www.myuhc.com or by calling the telephone number on your ID card.

           UnitedHealthcare may have certain programs in which you may receive an enhanced or
           reduced Benefit based on your actions such as adherence/ compliance to medication or
           treatment regimens and/ or participation in health management programs. You may access
           information on these programs through the Internet at www.myuhc.com or by calling the
           number on your ID card.

           The Plan pays Benefits for Botox as covered for FDA approved diagnosis (Botox is NOT
           covered for cosmetic purposes).

           Lab, X-Ray and Diagnostics - Outpatient
           Services for Sickness and Injury-related diagnostic purposes, received on an outpatient basis
           at a Hospital or Alternate Facility include:

           ■    Lab and radiology/X-ray.
           ■    Mammography.
           Benefits under this section include:

           ■    The facility charge and the charge for supplies and equipment.
           ■    Physician services for radiologists, anesthesiologists and pathologists (Benefits for other
                Physician services are described under Physician Fees for Surgical and Medical Services).
           ■    Genetic Testing ordered by a Physician which results in available medical treatment
                options following Genetic Counseling.
           ■    Presumptive Drug Tests and Definitive Drug Tests.
           Any combination of Network Benefits and Non-Network Benefits is limited to 18
           Presumptive Drug Tests and 18 Definitive Drug Tests per calendar year.

           Benefits for other Physician services are described in this section under Pi?Jsician Fees for
           Surgical and Medical Services. Lab, X-ray and diagnostic services for preventive care are
           described under Preventive Care Services in this section. CT scans, PET scans, MRI, MRA,
           nuclear medicine and major diagnostic services are described under Lab, X-R~ and Major
           Diagnostics - CT, PETS cans, MRI, MRA and Nuclear Medicine - Outpatient in this section.



           54                                                      SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 62 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 316
OG750 - V20
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


               Prior Authorization Requirement
               For Non-Network Benefits for Genetic Testing, sleep studies, stress echocardiography
               and transthoracic echocardiogram, you must obtain prior authorization from the Claims
               Administrator five business days before scheduled services are received. If you fail to
               obtain prior authorization as required, Benefits will be subject to a $250 reduction.

           Lab, X-Ray and Major Diagnostics - CT, PET Scans, MRI, MRA and Nuclear Medicine -
           Outpatient
           Services for CT scans, PET scans, MRI, MRA, nuclear medicine, and major diagnostic
           services received on an outpatient basis at a Hospital or Alternate Facility.

           Benefits under this section include:

           ■     The facility charge and the charge for supplies and equipment.
           ■     Physician services for radiologists, anesthesiologists and pathologists.
           ■     Genetic Testing ordered by a Physician which results in available medical treatment
                 options following Genetic Counseling.
           Benefits for other Physician services are described in this section under Pi?Jsician Fees for
           Surgical and Medical Services.

               Prior Authorization Requirement
               For Non-Network Benefits for and CT, PET scans, MRI, MRA, nuclear medicine,
               including nuclear cardiology, you must obtain prior authorization from the Claims
               Administrator five business days before scheduled services are received. If you do not
               obtain prior authorization from the Claim Administrator as required, Benefits will be
               subject to a $250 reduction.

           Mental Health Services
           Mental Health Services include those received on an inpatient or outpatient basis in a
           Hospital and an Alternate Facility or in a provider's office. All services must be provided by
           or under the direction of a properly qualified behavioral health provider.

           Benefits include the following levels of care:

           ■     Inpatient treatment.
           ■     Residential Treatment.
           ■     Partial Hospitalization/Day Treatment.
           ■     Intensive Outpatient Treatment.
           ■     Outpatient treatment.
           Inpatient treatment and Residential Treatment includes room and board in a Semi-private
           Room (a room with two or more beds).




           55                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 63 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 317
OG750 - V21
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN




           Services include the following:

           ■     Diagnostic evaluations, assessment and treatment planning.
           ■     Treatment and/ or procedures.
           ■     Medication management and other associated treatments.
           ■     Individual, family, and group therapy.
           ■     Provider-based case management services.
           ■     Crisis intervention.
           The Mental Health/Substance-Related and Addictive Disorders Administrator provides
           administrative services for all levels of care.

           You are encouraged to contact the Mental Health/Substance-Related and Addictive
           Disorders Administrator for referrals to providers and coordination of care. Prior
           Authorization Requirement

               For Non-Network Benefits for:
               ■ A scheduled admission for Mental Health Services (including an admission for
                  services at a Residential Treatment facility) you must obtain prior authorization from
                  the Claims Administrator five business days before admission.
               ■ A non-scheduled admission (including Emergency admissions) you must provide
                  notification as soon as is reasonably possible.
               In addition, for Non-Network Benefits you must obtain prior authorization from the
               Claims Administrator before the following services are received. Services requiring prior
               authorization: Partial Hospitalization/Day Treatment; Intensive Outpatient Treatment
               programs; outpatient electro-convulsive treatment; psychological testing; transcranial
               magnetic stimulation; extended outpatient treatment visits, with or without medication
               management.

               If you fail to obtain prior authorization from or provide notification to the Claims
               Administrator as required, Benefits will be subject to a $250 reduction.

           Virtual Behavioral Health Therapy and Coaching
           Specialized virtual behavioral health care provided by AbleTo, Inc. ("AbleTo Therapy 360")
           for Covered Persons with certain co-occurring behavioral and medical conditions.

           AbleTo Therapy 360 provides behavioral Covered Health Care Services through virtual
           therapy and coaching services that are individualized and tailored to your specific health
           needs. Virtual therapy is provided by licensed therapists. Coaching services are provided by
           coaches who are supervised by licensed professionals.

           Except for the initial consultation, Covered Persons with a high deductible health plan
           (HDHP) must meet their Annual Deductible before they are able to receive Benefits for




           56                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 64 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 318
OG750 - V22
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           these services. There are no deductibles, Copayments or Coinsurance for the initial
           consultation.

           If you would like information regarding these services, you may contact the Claims
           Administrator at the telephone number on your ID Card.

           Neurobiological Disorders - Autism Spectrum Disorder Services
           The Plan pays Benefits for behavioral services for Autism Spectrum Disorder including
           Intensive Behavioral Therapies such as Applied Behavior Analysis (ABA) that are the
           following:

           ■    Focused on the treatment of core deficits of Autism Spectrum Disorder.
           ■    Provided by a Board Certified Applied Behavior Anafyst (BCBA) or other qualified provider
                under the appropriate supervision.
           ■    Focused on treating maladaptive/stereotypic behaviors that are posing danger to self,
                others and property and impairment in daily functioning.
           These Benefits describe only the behavioral component of treatment for Autism Spectrum
           Disorder. Medical treatment of Autism Spectrum Disorder is a Covered Health Service for
           which Benefits are available under the applicable medical Covered Health Services categories
           as described in this section. Benefits for Autism Spectrum Disorder have no age limit.

           Benefits include the following levels of care:

           ■    Inpatient treatment.
           ■    Residential Treatment.
           ■    Partial Hospitalization/Day Treatment.
           ■    Intensive Outpatient Treatment.
           ■    Outpatient Treatment.
           Inpatient treatment and Residential Treatment includes room and board in a Semi-private
           Room (a room with two or more beds).

           Services include the following:

           ■    Diagnostic evaluations, assessment and treatment planning.
           ■    Treatment and/ or procedures.
           ■    Medication management and other associated treatments.
           ■    Individual, family, and group therapy.
           ■    Crisis intervention.
           ■    Provider-based case management services.
           The Mental Health/Substance-Related and Addictive Disorders Administrator provides
           administrative services for all levels of care.


           57                                                     SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 65 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 319
OG750 - V23
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           You are encouraged to contact the Mental Health/Substance-Related and Addictive
           Disorders Administrator for referrals to providers and coordination of care.

               Prior Authorization Requirement
               For Non-Network Benefits for:
               ■ A scheduled admission for Neurobiological Disorders - Autism Spectrum Disorder
                   Services (including an admission for services at a Residential Treatment facility), you
                   must obtain authorization from the Claims Administrator five business days before
                   admission.
               ■ A non~scheduled admission (including Emergency admissions) you must provide
                   notification as soon as is reasonably possible.
               In addition, for Non-Network Benefits you must obtain prior authorization from the
               Claims Administrator before the following services are received. Services requiring prior
               authorization: Partial Hospitalization/Day Treatment; Intensive Outpatient Treatment
               programs; psychological testing; extended outpatient treatment visits, with or without
               medication management; Intensive Behavioral Therapy, including Applied Behavior Ana[ysis
               (ABA).

               If you fail to obtain prior authorization from or provide notification to the Claims
               Administrator as required, Benefits will be subject to a $250 reduction.

           Obesity Surgery
           The Plan covers surgical treatment of obesity provided by or under the direction of a
           Physician when all of the following are true:

           ■     You have enrolled in the Bariatric Resource Services (BRS) program.
           ■     You have a minimum Body Mass Index (BMI) of 40 irrespective of comorbidities, or
                 greater than 35 with at least one complicating comorbidity, directly related to, or
                 exacerbated by morbid obesity:
                     Type 2 diabetes or pre-diabetes
                     Cardiovascular disease (e.g., stroke, myocardial infarction, poorly controlled
                     hypertension (systolic blood pressure greater than 140 mm Hg or diastolic blood
                     pressure 90 mm Hg or greater, despite pharmacotherapy)
                     History of coronary artery disease with a surgical intervention such as
                     cardiopulmonary bypass or percutaneous transluminal coronary angioplasty
                     Cardiopulmonary problems (e.g., documented obstructive sleep apnea (OSA)
                     confirmed on polysomnography with an AHI or RDI of>= 30 (as defined by
                     AASM Task Force. Sleep.1999;22:667-89)
                     History of cardiomyopathy
                     High Cholesterol or Hyperlipidemia
                     Polycystic Ovarian Syndome (PCOS)
           ■     You are over the age of 18 or, for adolescents, have achieved greater than 9 5% of
                 estimated adult height AND a minimum Tanner Stage of 4.
           ■     You have a 3-month physician or other health care provider supervised diet documented
                 within the last 2 years.


           58                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 66 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 320
OG750 - V24
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           ■     You have completed a multi-disciplinary surgical preparatory regimen, which includes a
                 psychological evaluation.
           ■     You are having your first bariatric surgery under your plan, unless there were
                 complications with your first procedure.

               Benefits are available for obesity surgery services that meet the definition of a Covered
               Health Service, as defined in Section 14, Glossary and are not Experimental or
               Investigational or Unproven Services.

           Benefits are limited to one surgery per lifetime unless there are complications to the covered
           surgery.

           You will have access to a certain Network of Designated Providers participating in the
           Bariatric Resource Services (BRS) program, as defined in Section 14, Glossary, for obesity
           surgery services.

           For obesity surgery services to be considered Covered Health Services under the BRS
           program, you must contact Bariatric Resource Services and speak with a nurse consultant
           prior to receiving services. You can contact Bariatric Resource Services by calling 1-888-936-
           7246.

           Note. The services described under the Travel and Lodging Assistance Program are Covered
           Health Services only in connection with obesity-related services received by a Designated
           Provider.

           See Bariatric Resource Services (BRS) in Section 7, Clinical Programs and Resources for more
           information on the BRS program.

           Orthognathic Surgery
           The Plan pays Benefits for orthognathic surgery for the following:

           ■     A jaw deformity resulting from facial trauma or cancer.
           ■     A skeletal anomaly of either the maxilla or mandible, that demonstrates a functional
                 medical impairment such as one of the following:
                     Inability to incise solid foods
                     Choking on incompletely masticated solid foods.
                     Damage to soft tissue during mastication.
                     Speech impediment determined to be due to the jaw deformity.
                     Malnutrition and weight loss due to inadequate intake secondary to the jaw
                     deformity.




           59                                                        SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 67 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 321
OG750 - V25
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


               Prior Authorization Requirement
               For Non-Network Benefits for orthognathic surgeries you must obtain prior
               authorization from the Claims Administrator five business days before scheduled services
               are received or, for non-scheduled services, within two business days or as soon as is
               reasonably possible. If you fail to obtain prior authorization as required, Benefits will be
               subject to a $250 reduction.

           Ostomy Supplies
           Benefits for ostomy supplies are limited to:

           ■     Pouches, face plates and belts.
           ■     Irrigation sleeves, bags and ostomy irrigation catheters.
           ■     Skin barriers.
           Benefits are not available for deodorants, filters, lubricants, tape, appliance cleaners,
           adhesive, adhesive remover, or other items not listed above.

           Physician Fees for Surgical and Medical Services
           The Plan pays Physician fees for surgical procedures and other medical care received from a
           Physician in a Hospital, Skilled Nursing Facility, Inpatient Rehabilitation Facility, Alternate
           Facility or for Physician house calls.

           Physician's Office Services - Sickness and Injury
           Benefits are paid by the Plan for Covered Health Services provided in a Physician's office for
           the diagnosis and treatment of a Sickness or Injury. Benefits are provided under this section
           regardless of whether the Physician's office is freestanding, located in a clinic or located in a
           Hospital. Benefits under this section include allergy injections and hearing exams in case of
           Injury or Sickness.

           Covered Health Services include medical education services that are provided in a
           Physician's office by appropriately licensed or registered healthcare professionals when both
           of the following are true:

           ■     Education is required for a disease in which patient self-management is an important
                 component of treatment.
           ■     There exists a knowledge deficit regarding the disease which requires the intervention of
                 a trained health professional.
           Covered Health Services include Genetic Counseling.

           Benefits for preventive services are described under Preventive Care Services in this section.

               Please Note
               Your Physician does not have a copy of your SPD, and is not responsible for knowing or
               communicating your Benefits.



           60                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 68 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 322
OG750 - V26
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN




           Pregnancy - Maternity Services
           Benefits for Pregnancy will be paid at the same level as Benefits for any other condition,
           Sickness or Injury. This includes all maternity-related medical services for prenatal care,
           postnatal care, delivery, and any related complications.

           The Plan will pay Benefits for an Inpatient Stay of at least:

           ■     48 hours for the mother and newborn child following a vaginal delivery.
           ■     96 hours for the mother and newborn child following a cesarean section delivery.
           These are federally mandated requirements under the Newborns' and Mothers' Health Protection
           Act ef 19 96 which apply to this Plan. The Hospital or other provider is not required to get
           authorization for the time periods stated above. Authorizations are required for longer
           lengths of stay. If the mother agrees, the attending Physician may discharge the mother
           and/ or the newborn child earlier than these minimum timeframes.

           Both before and during a Pregnancy, Benefits include the services of a genetic counselor
           when provided or referred by a Physician. These Benefits are available to all Covered
           Persons in the immediate family. Covered Health Services include related tests and
           treatment.

           The Plan pays Benefits for the following services as preventive covered at 100%:

           ■     Routine prenatal obstetrical office visits.
           ■     Gestational diabetes screening.
           ■     All lab services explicitly identified in the healthcare reform law.
           ■     Tobacco cessation counseling specific to pregnant women.
           ■     Immunizations recommended by the Advisory Committee on Immunization Practices.
           ■     Counseling for breast-feeding.
               Prior Authorization Requirement
               For Non-Network Benefits you must obtain prior authorization from the Claims
               Administrator as soon as reasonably possible if the Inpatient Stay for the mother and/ or
               the newborn will be more than 48 hours for the mother and newborn child following a
               normal vaginal delivery, or more than 96 hours for the mother and newborn child
               following a cesarean section delivery. If you fail to obtain prior authorization as required,
               Benefits will be subject to a $250 reduction.

               It is important that you notify the Claims Administrator regarding your Pregnancy. Your
               notification will open the opportunity to become enrolled in prenatal programs that are
               designed to achieve the best outcomes for you and your baby.




           61                                                         SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 69 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 323
OG750 - V27
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


               Healthy moms and babies
               The Plan provides a special prenatal program to help during Pregnancy. Participation is
               voluntary and free of charge. See Section 7, Clinical Programs and Resources, for details.

           Preimplantation Genetic Testing (PGT-M and PGT-SR) and Related Services
           Preimplantation Genetic Testing (PGT) performed to identify and to prevent genetic
           medical conditions from being passed onto offspring. To be eligible for Benefits the
           following must be met:

           ■     PGT must be ordered by a Physician after Genetic Counseling.
           ■     The genetic medical condition, if passed onto offspring, would result in significant health
                 problems or severe disability and be caused by a single gene (detectable by PGT-l\1) or
                 structural changes of a parents' chromosome (detectable by PGT-SR).
           ■     Benefits are limited to PGT for the specific genetic disorder and the following related
                 services when provided by or under the supervision of a Physician:
                   Ovulation induction (or controlled ovarian stimulation).
                   Egg retrieval, fertilization and embryo culture.
                   Embryo biopsy.
                   Embryo transfer.
                   Cryo-preservation and short-term embryo storage (less than one year).
           Benefits are not available for long-term storage costs (greater than one year).

           Benefit limits will be the same as, and combined with, those stated under Infertility Services.
           This limit does not include Preimplantation Genetic Testing (PGT) for the specific genetic
           disorder. This Benefit limit also includes services as described under Fertility Preservation for
           Iatrogenic Infertility.

           Benefits for Assisted Reproductive Technology (ART) for related services as described
           under Infertility Services do not include the Preimplantation genetic testing for the specific
           genetic disorder.

           Preventive Care Services
           The Plan pays Benefits for Preventive care services provided on an outpatient basis at a
           Physician's office, an Alternate Facility or a Hospital. Preventive care services encompass
           medical services that have been demonstrated by clinical evidence to be safe and effective in
           either the early detection of disease or in the prevention of disease, have been proven to
           have a beneficial effect on health outcomes and include the following as required under
           applicable law:

           ■     Evidence-based items or services that have in effect a rating of "A" or "B" in the current
                 recommendations of the United States Preventive Services Task Force.
           ■     Immunizations that have in effect a recommendation from the Advisory Committee on
                 Immunization Practices of the Centers for Disease Control and Prevention.




           62                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 70 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 324
OG750 - V28
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           ■    With respect to infants, children and adolescents, evidence-informed preventive care and
                screenings provided for in the comprehensive guidelines supported by the Health
                Resources and Services Administration.
           ■    With respect to women, such additional preventive care and screenings as provided for
                in comprehensive guidelines supported by the Health Resources and Services Administration.
           Preventive care Benefits defined under the Health Resources and Services Administration (HRSA)
           requirement include the cost of renting one breast pump per Pregnancy in conjunction with
           childbirth. Breast pumps must be ordered by or provided by a Physician. You can obtain
           additional information on how to access Benefits for breast pumps by going to
           www.myuhc.com or by calling the number on your ID card. Benefits for breast pumps also
           include the cost of purchasing one breast pump per Pregnancy in conjunction with
           childbirth. These Benefits are described under Section 5, Plan Highlights, under Covered Health
           Services.

           If more than one breast pump can meet your needs, Benefits are available only for the most
           cost effective pump. UnitedHealthcare will determine the following:

           ■    Which pump is the most cost effective.
           ■    Whether the pump should be purchased or rented.
           ■    Duration of a rental.
           ■    Timing of an acquisition.
           Benefits are only available if breast pumps are obtained from a DME provider or Physician.

           In addition to the services listed above, this preventive care benefit includes certain:

           ■    Routine lab tests.
           ■    Diagnostic consults to prevent disease and detect abnormalities.
           ■    Diagnostic radiology and nuclear imaging procedures to screen for abnormalities.
           ■    Breast cancer screening and genetic testing.
           ■    Tests to support cardiovascular health.
           These additional services are paid under the preventive care benefit when billed by your
           provider with a wellness diagnosis. Call the number on your ID card for additional
           information regarding coverage available for specific services.

           Surgical facility fees for preventive colonoscopy / sigmoidoscopy screenings should be
           considered at 100% according the preventative benefit provisions.

           For questions about your preventive care Benefits under this Plan call the number on your
           ID card.




           63                                                      SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 71 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 325
OG750 - V29
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Private Duty Nursing - Outpatient
           The Plan covers Private Duty Nursing care given on an outpatient basis by a licensed nurse
           such as a Registered Nurse (R.N.), Licensed Practical Nurse (L.P.N.), or Licensed Vocational
           Nurse (L.V.N.). One visit equals eight hours of Private Duty Nursing care.

           Prosthetic Devices
           Benefits are paid by the Plan for external prosthetic devices that replace a limb or body part,
           or help an impaired limb or body part work limited to:

           ■    Artificial arms, legs, feet and hands.
           ■    Artificial face, eyes, ears and noses.
           ■    Breast prosthesis as required by the Women's Health and Cancer Rights Act ef 1998. Benefits
                include mastectomy bras. Benefits for lymphedema stockings for the arm are provided as
                described under Durable Medical Equipment (DME), Orthotics and Supplies.
           Benefits are provided only for external prosthetic devices and do not include any device that
           is fully implanted into the body. Internal prosthetics are a Covered Health Service for which
           Benefits are available under the applicable medical/ surgical Covered Health Service
           categories in this SPD.

           The Plan pays Benefits for external prosthetic devices that meets the functionally necessary
           specifications for your needs without any limitations. The device must be ordered or
           provided either by a Physician, or under a Physician's direction.

           Benefits are available for repairs and replacement, except as described in Section 8, Exclusions
           and Limitations, under Medical Supplies and Appliances.

           Replacement of artificial limbs or any part of such devices may be covered when the
           condition of the device or part requires repairs that cost more than the cost of a replacement
           device or part.

           Replacement of DME/Prosthetics needed due to growth for children through age 18 are
           covered.

           Benefits are limited to a single purchase of each type of prosthetic device every 5 years or
           sooner if the individual's functional capacity changes (due to a medical condition, growth for
           children through age 18, etc.) occurs sooner than the 5 year timeframe. Repair and/ or
           replacement of a prosthetic device would apply to this limit in the same manner as a
           purchase.

           Note. Prosthetic devices are different from DME - see Durable Medical Equipment (DME) in
           this section.




           64                                                     SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 72 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 326
OG750 - V30
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


              Prior Authorization Requirement
              For Non-Network Benefits you must obtain prior authorization from the Claims
              Administrator before obtaining prosthetic devices that exceeds $1,000 in cost per device.
              If prior authorization is not obtained as required, Benefits will be subject to a $250
              reduction.

           Reconstructive Procedures
           Reconstructive Procedures are services performed when the primary purpose of the
           procedure is either to treat a medical condition or to improve or restore physiologic function
           for an organ or body part. Reconstructive Procedures include surgery or other procedures
           which are associated with an Injury, Sickness or Congenital Anomaly. The primary result of
           the procedure is not a changed or improved physical appearance.

           Improving or restoring physiologic function means that the organ or body part is made to
           work better. An example of a Reconstructive Procedure is surgery on the inside of the nose
           so that a person's breathing can be improved or restored.

           Benefits for Reconstructive Procedures include breast reconstruction following a
           mastectomy and reconstruction of the non-affected breast to achieve symmetry.
           Replacement of an existing breast implant is covered by the Plan if the initial breast implant
           followed a mastectomy. Other services required by the Women's Health and Cancer Rights Act of
           1998, including breast prostheses and treatment of complications, are provided in the same
           manner and at the same level as those for any other Covered Health Service. You can
           contact UnitedHealthcare at the number on your ID card for more information about
           Benefits for mastectomy-related services.

           There may be times when the primary purpose of a procedure is to make a body part work
           better. However, in other situations, the purpose of the same procedure is to improve the
           appearance of a body part. Cosmetic procedures are excluded from coverage. Procedures
           that correct an anatomical Congenital Anomaly without improving or restoring physiologic
           function are considered Cosmetic Procedures. A good example is upper eyelid surgery. At
           times, this procedure will be done to improve vision, which is considered a Reconstructive
           Procedures. In other cases, improvement in appearance is the primary intended purpose,
           which is considered a Cosmetic Procedure. This Plan does not provide Benefits for
           Cosmetic Procedures, as defined in Section 14, Glossary.

           The fact that a Covered Person may suffer psychological consequences or socially avoidant
           behavior as a result of an Injury, Sickness or Congenital Anomaly does not classify surgery
           (or other procedures done to relieve such consequences or behavior) as a Reconstructive
           Procedures.

           The Plan pays Benefits for the treatment of benign gynecomastia (abnormal breast
           enlargement in males) when deemed Medically Necessary.




           65                                                     SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 73 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 327
OG750 - V31
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


               Prior Authorization Requirement
               For Non-Network Benefits for you must obtain prior authorization from the Claims
               Administrator five business days before a scheduled reconstructive procedure is
               performed or, for non-scheduled procedures, within one business day or as soon as is
               reasonably possible. If authorization is not obtained from the Claims Administrator as
               required, or notification is not provided, Benefits will be subject to a $250 reduction.

               In addition, for Non-Network Benefits, you must contact the Claims Administrator 24
               hours before admission for scheduled admissions or as soon as is reasonably possible for
               non-scheduled admissions (including Emergency admissions).

           Rehabilitation Services - Outpatient Therapy and Manipulative Treatment
           The Plan provides short-term outpatient rehabilitation services (including habilitative
           services) limited to:

           ■     Physical therapy.
           ■     Occupational therapy.
           ■     Manipulative Treatment.
           ■     Speech therapy.
           ■     Post-cochlear implant aural therapy.
           ■     Vision therapy.
           ■     Cognitive rehabilitation therapy following a post-traumatic brain Injury or stroke.
           ■     Pulmonary rehabilitation.
           ■     Cardiac rehabilitation.
           Manipulative Treatment benefits include diagnosis and related services, including x-rays.
           These services do not apply to the visit limit. The Plan pays Benefit for massage therapy
           performed as a modality if performed as part of the patients plan needs for spinal treatment.

           For all rehabilitation services, a licensed therapy provider, under the direction of a Physician
           (when required by state law), must perform the services. Benefits under this section include
           rehabilitation services provided in a Physician's office or on an outpatient basis at a Hospital
           or Alternate Facility. Rehabilitative services provided in a Covered Person's home by a
           Home Health Agency are provided as described under Home Health Care. Rehabilitative
           services provided in a Covered Person's home other than by a Home Health Agency are
           provided as described under this section.

           Benefits can be denied or shortened for Covered Persons who are not progressing in goal-
           directed rehabilitation services or if rehabilitation goals have previously been met. Benefits
           under this section are not available for maintenance/preventive treatment.

           For outpatient rehabilitation services for speech therapy, the Plan will pay Benefits for the
           treatment of disorders of speech, language, voice, communication and auditory processing
           only when the disorder results from Injury, stroke, cancer, Congenital Anomaly. The Plan


           66                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 74 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 328
OG750 - V32
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           will pay Benefits for cognitive rehabilitation therapy only when Medically Necessary
           following a post-traumatic brain Injury or stroke.

           Habilitative Services
           For the purpose of this Benefit, "habilitative services" means Medically Necessary skilled
           health care services that help a person keep, learn or improve skills and functioning for daily
           living. Habilitative services are skilled when all of the following are true:

           ■    The services are part of a prescribed plan of treatment or maintenance program that is
                Medically Necessary to maintain a Covered Person's current condition or to prevent or
                slow further decline.
           ■    It is ordered by a Physician and provided and administered by a licensed provider.
           ■    It is not delivered for the purpose of assisting with activities of daily living, including
                dressing, feeding, bathing or transferring from a bed to a chair.
           ■    It requires clinical training in order to be delivered safely and effectively.

           ■    It is not Custodial Care.
           The Claims Administrator will determine if Benefits are available by reviewing both the
           skilled nature of the service and the need for Physician-directed medical management.
           Therapies provided for the purpose of general well-being or conditioning in the absence of a
           disabling condition are not considered habilitative services. A service will not be determined
           to be "skilled" simply because there is not an available caregiver.

           Benefits are provided for habilitative services provided for Covered Persons with a disabling
           condition when both of the following conditions are met:

           ■    The treatment is administered by a licensed speech-language pathologist, licensed
                audiologist, licensed occupational therapist, licensed physical therapist or Physician.
           ■    The initial or continued treatment must be proven and not Experimental or
                Investigational.
           Benefits for habilitative services do not apply to those services that are solely educational in
           nature or otherwise paid under state or federal law for purely educational services. Custodial
           Care, respite care, day care, therapeutic recreation, vocational training and Residential
           Treatment are not habilitative services. A service that does not help the Covered Person to
           meet functional goals in a treatment plan within a prescribed time frame is not a habilitative
           service.

           The Plan may require that a treatment plan be provided, request medical records, clinical
           notes, or other necessary data to allow the Plan to substantiate that initial or continued
           medical treatment is needed. When the treating provider anticipates that continued treatment
           is or will be required to permit the Covered Person to achieve demonstrable progress, the
           Plan may request a treatment plan consisting of diagnosis, proposed treatment by type,
           frequency, anticipated duration of treatment, the anticipated goals of treatment, and how
           frequently the treatment plan will be updated.




           67                                                        SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 75 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 329
OG750 - V33
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Benefits for Durable Medical Equipment and prosthetic devices, when used as a component
           of habilitative services, are described under Durable Medical Equipment and Prosthetic Devices.

              Benefits are limited to:

           ■     25 visits per calendar year for physical therapy.
           ■     60 visits per calendar year for physical therapy for children birth to age 18.
           ■     25 visits per calendar year for occupational therapy.
           ■     60 visits per calendar year for occupational therapy for children birth to age 18.
           ■     25 visits per calendar year for speech therapy.
           ■     90 visits per calendar year for speech therapy for children birth to age 18.
           ■     30 visits per calendar year for Manipulative Treatment.
           These visit limits apply to Network Benefits and Non-Network Benefits combined.
           Additional visits are allowed beyond visit maximum if determined to be Medically Necessary.

           Pulmonary rehabilitation therapy, cardiac rehabilitation therapy, vision therapy and post-
           cochlear implant aural therapy are unlimited.

           Scopic Procedures - Outpatient Diagnostic and Therapeutic
           The Plan pays for diagnostic and therapeutic scopic procedures and related services received
           on an outpatient basis at a Hospital or Alternate Facility or in a Physician's office.

           Diagnostic scopic procedures are those for visualization, biopsy and polyp removal.
           Examples of diagnostic scopic procedures include colonoscopy, sigmoidoscopy, and
           diagnostic endoscopy.

           Benefits under this section include:

           ■     The facility charge and the charge for supplies and equipment.
           ■     Physician services for radiologists, anesthesiologists and pathologists.
           Benefits for other Physician services are described in this section under Pi?Jsician Fees for
           Surgical and Medical Services.

           Please note that Benefits under this section do not include surgical scopic procedures, which
           are for the purpose of performing surgery. Benefits for surgical scopic procedures are
           described under Surgery - Outpatient. Examples of surgical scopic procedures include
           arthroscopy, laparoscopy, bronchoscopy, hysteroscopy.

           Benefits that apply to certain preventive screenings are described in this section under
           Preventive Care Services.

           Skilled Nursing Facility/Inpatient Rehabilitation Facility Services



           68                                                         SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 76 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 330
OG750 - V34
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Facility services for an Inpatient Stay in a Skilled Nursing Facility or Inpatient Rehabilitation
           Facility are covered by the Plan. Benefits include:

           ■    Supplies and non-Physician services received during the Inpatient Stay.
           ■    Room and board in a Semi-private Room (a room with two or more beds).
           ■    Physician services for radiologists, anesthesiologists and pathologists.
           Benefits are available when skilled nursing and/ or Inpatient Rehabilitation Facility services
           are needed on a daily basis. Benefits are also available in a Skilled Nursing Facility or
           Inpatient Rehabilitation Facility for treatment of a Sickness or Injury that would have
           otherwise required an Inpatient Stay in a Hospital.

           Benefits for other Physician services are described in this section under Pi?Jsician Fees for
           Surgical and Medical Services.

           UnitedHealthcare will determine if Benefits are available by reviewing both the skilled nature
           of the service and the need for Physician-directed medical management. A service will not be
           determined to be "skilled" simply because there is not an available caregiver.

           Benefits are available only if both of the following are true:

           ■    The initial confinement in a Skilled Nursing Facility or Inpatient Rehabilitation Facility
                was or will be a Cost Effective alternative to an Inpatient Stay in a Hospital.
           ■    You will receive skilled care services that are not primarily Custodial Care.
           Skilled care is skilled nursing, skilled teaching, and skilled rehabilitation services when all of
           the following are true:

           ■    It must be delivered or supervised by licensed technical or professional medical
                personnel in order to obtain the specified medical outcome, and provide for the safety of
                the patient.
           ■    It is ordered by a Physician.
           ■    It is not delivered for the purpose of assisting with activities of daily living, including
                dressing, feeding, bathing or transferring from a bed to a chair.
           ■    It requires clinical training in order to be delivered safely and effectively.
           You are expected to improve to a predictable level of recovery.

           Note: The Plan does not pay Benefits for Custodial Care or Domiciliary Care, even if
           ordered by a Physician, as defined in Section 14, Glossary.

           Any combination of Network Benefits and Non-Network Benefits is limited to 60 days per
           calendar year.




           69                                                        SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 77 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 331
OG750 - V35
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


               Prior Authorization Requirement
               For Non-Network Benefits for a scheduled admission, you must obtain prior
               authorization from the Claims Administrator five business days before admission, or as
               soon as is reasonably possible for non-scheduled admissions. If authorization is not
               obtained as required, or notification is not provided, Benefits will be subject to a $250
               reduction.

               In addition, for Non-Network Benefits you must contact the Claims Administrator 24
               hours before admission for scheduled admissions or as soon as is reasonably possible for
               non-scheduled admissions (including Emergency admissions.)

           Spine and Joint Surgeries
           You must enroll in the Orthopedic Health Support Program.

           The Plan pays Benefits for spine and joint surgeries which are ordered by a Physician. Spine
           and joint surgical procedures include the following:

           ■     Spine fusion surgery.
           ■     Spine disc surgery.
           ■     Total knee replacement.
           ■     Total hip replacement.
           Designated Network Benefits include Physician fees, the facility charge and the charge for
           supplies and equipment.

           Benefits include the facility charge and the charge for supplies and equipment. Benefits for
           Physician services are described under Pi?Jsician Fees for Surgical and Medical Services.

           Substance-Related and Addictive Disorders Services
           Substance-Related and Addictive Disorders Services include those received on an inpatient
           or outpatient basis in a Hospital, an Alternate Facility, or in a provider's office. All services
           must be provided by or under the direction of a properly qualified behavioral health
           provider.

           Benefits include the following levels of care:

           ■     Inpatient treatment.
           ■     Residential Treatment.
           ■     Partial Hospitalization/Day Treatment.
           ■     Intensive Outpatient Treatment.
           ■     Outpatient treatment.
           Inpatient treatment and Residential Treatment includes room and board in a Semi-private
           Room (a room with two or more beds).



           70                                                          SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 78 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 332
OG750 - V36
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Services include the following:

           ■     Diagnostic evaluations, assessment and treatment planning.
           ■     Treatment and/ or procedures.
           ■     Medication management and other associated treatments.
           ■     Individual, family, and group therapy.
           ■     Crisis intervention.
           ■     Provider-based case management services.
           The Mental Health/Substance-Related and Addictive Disorders Administrator provides
           administrative services for all levels of care.

           You are encouraged to contact the Mental Health/Substance-Related and Addictive
           Disorders Administrator for referrals to providers and coordination of care.

               Prior Authorization Requirement
               For Non-Network Benefits for:
               ■ A scheduled admission for Substance-Related and Addictive Disorders Services
                   (including an admission for services at a Residential Treatment facility), you must
                   obtain authorization from the Claims Administrator five business days before
                   admission.
               ■ A non-scheduled admission (including Emergency admissions) you must provide
                   notification as soon as is reasonably possible.
               In addition, for Non-Network Benefits you must obtain prior authorization from the
               Claims Administrator before the following services are received. Services requiring prior
               authorization: Partial Hospitalization/Day Treatment; Intensive Outpatient Treatment
               programs; psychological testing; extended outpatient treatment visits, with or without
               medication management.

               If you fail to obtain prior authorization from or provide notification to the Claims
               Administrator as required, Benefits will be subject to a $250 reduction.

           Surgery - Outpatient
           The Plan pays for surgery and related services received on an outpatient basis at a Hospital
           or Alternate Facility or in a Physician's office.

           Benefits under this section include certain scopic procedures. Examples of surgical scopic
           procedures include arthroscopy, laparoscopy, bronchoscopy and hysteroscopy.

           Examples of surgical procedures performed in a Physician's office are mole removal and ear
           wax removal.

           Benefits under this section include:

           ■     The facility charge and the charge for supplies and equipment.


           71                                                       SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 79 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 333
OG750 - V37
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           ■     Physician services for radiologists, anesthesiologists and pathologists. Benefits for other
                 Physician services are described in this section under Pi?Jsician Fees for Surgical and Medical
                 Services.
               Prior Authorization Requirement
               For Non-Network Benefits for cardiac catheterization, pacemaker insertion, implantable
               cardioverter defibrillators, diagnostic catheterization and electrophysiology implant sleep
               apnea surgery you must obtain prior authorization five business days before scheduled
               services are received or for non-scheduled services, within one business day or as soon as
               is reasonably possible.

               If you do not obtain prior authorization as required, Benefits will be subject to a $250
               reduction.

           Temporomandibular Joint Dysfunction (TMJ)
           The Plan covers services for the evaluation and treatment of temporomandibular joint
           syndrome (TMJ) and associated muscles.

           Diagnosis: Examination, radiographs and applicable imaging studies and consultation.

           Non-surgical treatment including clinical examinations, oral appliances (orthotic splints),
           arthrocentesis and trigger-point injections.

           Benefits are provided for surgical treatment if the following criteria are met:

           ■     There is clearly demonstrated radiographic evidence of significant joint abnormality.
           ■     Non-surgical treatment has failed to adequately resolve the symptoms.
           ■     Pain or dysfunction is moderate or severe.
           Benefits for surgical services include arthrocentesis, arthroscopy, arthroplasty, arthrotomy,
           open or closed reduction of dislocations.

           Benefits for surgical services also include FDA-approved TMJ prosthetic replacements when
           all other treatment has failed.

           Benefits for an Inpatient Stay in a Hospital and Hospital-based Physician services are
           described in this section under Hospital - Inpatient S tqy and Pi?Jsician Fees for Surgical and Medical
           Services, respectively.

           Therapeutic Treatments - Outpatient
           The Plan pays Benefits for therapeutic treatments received on an outpatient basis at a
           Hospital or Alternate Facility, including dialysis (both hemodialysis and peritoneal dialysis),
           intravenous chemotherapy or other intravenous infusion therapy and radiation oncology.

           Covered Health Services include medical education services that are provided on an
           outpatient basis at a Hospital or Alternate Facility by appropriately licensed or registered
           healthcare professionals when:


           72                                                         SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 80 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 334
OG750 - V38
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           ■     Education is required for a disease in which patient self-management is an important
                 component of treatment.
           ■     There exists a knowledge deficit regarding the disease which requires the intervention of
                 a trained health professional.
           Benefits under this section include:

           ■     The facility charge and the charge for related supplies and equipment.
           ■     Physician services for anesthesiologists, pathologists and radiologists. Benefits for other
                 Physician services are described in this section under Pi?Jsician Fees for Surgical and Medical
                 Services.

               Prior Authorization Requirement
               For Non-Network Benefits for the following outpatient therapeutic services you must
               obtain prior authorization five business days before scheduled services are received or,
               for non-scheduled services, within one business day or as soon as is reasonably possible.
               Services that require prior authorization: IV infusion, intensity modulated radiation
               therapy, and MR-guided focused ultrasound.

               If you do not obtain prior authorization as required, Benefits will be subject to a $250
               reduction.

           Transplantation Services
           Organ and tissue transplants including CAR-T cell therapy for malignancies when ordered
           by a Physician. Benefits are available for transplants when the transplant meets the definition
           of a Covered Health Service, and is not an Experimental or Investigational or Unproven
           Service.

           Examples of transplants for which Benefits are available include bone marrow including
           CAR-T cell therapy for malignancies, heart, heart/lung, lung, kidney, kidney/ pancreas, liver,
           liver/small bowel, pancreas, small bowel and cornea.

           Benefits are available to the donor and the recipient when the recipient is covered under this
           Plan. Donor costs that are directly related to organ removal or procurement are Covered
           Health Services for which Benefits are payable through the organ recipient's coverage under
           the Plan.

           The Claims Administrator has specific guidelines regarding Benefits for transplant services.
           Contact the Claims Administrator at the number on your ID card for information about
           these guidelines.

           Transplantation services including evaluation for transplant, organ procurement and donor
           searches and transplantation procedures must be received at a Designated Provider or
           Network facility that is not a Designated Provider.




           73                                                         SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 81 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 335
OG750 - V39
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Benefits are also available for cornea transplants. You are not required to obtain prior
           authorization from the Claims Administrator for a cornea transplant nor is the cornea
           transplant required to be performed by a Designated Provider.

           Note: The services described under the Travel and Lodging Assistance Program are Covered
           Health Services only in connection with transplant services received by a Designated
           Provider.

               Support in the event of serious illness
               If you or a covered family member has cancer or needs an organ or bone marrow
               transplant, UnitedHealthcare can put you in touch with quality treatment centers around
               the country.

           Urgent Care Center Services
           The Plan provides Benefits for services, including professional services, received at an
           Urgent Care Center, as defined in Section 14, Glossary. When Urgent Care services are
           provided in a Physician's office, the Plan pays Benefits as described under Pi?Jsician's Office
           Services.

           Urinary Catheters
           Benefits for indwelling and intermittent urinary catheters for incontinence or retention.

           Benefits include related urologic supplies for indwelling catheters limited to:

           ■     Urinary drainage bag and insertion tray (kit).
           ■     Anchoring device.
           ■     Irrigation tubing set.
           Benefits do not include related supplies including:

           ■     Incontinence garments or products (e.g. underwear, briefs, or diapers).
           ■     Under pads (disposable or non-disposable).
           ■     Gauze pads.
           ■     Urinary drainage trays or insertion trays.
           ■     Catheter care kits.
           ■     Adhesive removers.
           ■     Extension drainage tubing.
           ■     Tubing sets.
           ■     Drainage bags and bottles.
           ■     Suspension supplies.
           ■     Leg straps.



           74                                                        SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 82 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 336
OG750 - V40
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           ■    External clamps.
           ■    Urethral inserts.
           ■    External catheters.
           ■    External collection devices.
           ■    Irrigation syringes.
           ■    Bulbs or pistons.
           ■    Lubricant.

           Virtual Care Services
           Virtual care for Covered Health Services that includes the diagnosis and treatment of less
           serious medical conditions. Virtual care provides communication of medical information in
           real-time between the patient and a distant Physician or health specialist, outside of a medical
           facility (for example, from home or from work).

           Benefits are available only when services are delivered through a Designated Virtual
           Network Provider. You can find a Designated Virtual Network Provider by contacting the
           Claims Administrator at www.myuhc.com or the telephone number on your ID card.

           Benefits are available for the following:

           ■    Urgent on-demand health care delivered through live audio with video-conferencing or
                audio only technology for treatment of acute but non-emergency medical needs.
           Please Note: Not all medical conditions can be treated through virtual care. The Designated
           Virtual Network Provider will identify any condition for which treatment by in-person
           Physician contact is needed.

           Benefits do not include email, fax and standard telephone calls, or for services that occur
           within medical facilities (CMS defined originating facilities).

           Vision
           The Plan pays Benefits for one routine vision exam, including refraction, to detect vision
           impairment by a provider in the provider's office or outpatient facility every calendar year.

           Benefits for eye examinations required for the diagnosis and treatment of a Sickness or
           Injury are provided under Pi?Jsician's Office Services - Sickness and Injury.

           The Plan pays Benefits for the first pair of eyeglasses or contact lenses post-cataract surgery.
           Associated fitting charges for contact lenses are not covered.

           Wigs
           The Plan pays Benefits for wigs and other scalp hair prosthesis only for loss of hair resulting
           from chemotherapy, radiation therapy or alopecia areata.




           75                                                     SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 83 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 337
OG750 - V41
                                                          JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Any combination of Network Benefits and Non-Network Benefits is limited to $500 per
           lifetime.




           76                                                SECTION 6-ADDITIONAL COVERAGE DETAILS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 84 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 338
OG750 - V42
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



           SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
               What this section includes:
               Health and well-being resources available to you, including:
               ■ Consumer Solutions and Self-Service Tools.

               ■    Disease Management Services.
               ■    Complex Medical Conditions Programs and Services.
               ■    Wellness Programs.
               ■    Women's Health/Reproductive.

           Jones Lang LaSalle believes in giving you tools to help you be an educated health care
           consumer. To that end, Jones Lang LaSalle has made available several convenient
           educational and support services, accessible by phone and the Internet, which can help you
           to:

           ■       Take care of yourself and your family members.
           ■       Manage a chronic health condition.
           ■       Navigate the complexities of the health care system.


               NOTE:
              Information obtained through the services identified in this section is based on current
              medical literature and on Physician review. It is not intended to replace the advice of a
              doctor. The information is intended to help you make more informed health care
              decisions and take a greater responsibility for your own health. UnitedHealthcare and
              Jones Lang LaSalle are not responsible for the results of your decisions from the use of
              the information, including, but not limited to, your choosing to seek or not to seek
              professional medical care, your choosing of which provider to seek professional medical
              care from or your choosing or not choosing specific treatment.

           Consumer Solutions and Self-Service Tools
           Health Survey
           You, your Spouse and dependents older than 18 are invited to learn more about health and
           wellness at www.myuhc.com and are encouraged to participate in the online health survey.
           The health survey is an interactive questionnaire designed to help you identify your healthy
           habits as well as potential health risks.

           Your health survey is kept confidential. Completing the survey will not impact your Benefits
           or eligibility for Benefits in any way.

           If you need any assistance with the online survey, please call the number on your ID card.




           77                                                  SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 85 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 339
OG750 - V43
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Reminder Programs
           To help you stay healthy, UnitedHealthcare may send you and your covered Dependents
           reminders to schedule recommended screening exams. Examples of reminders include:

           ■    Mammograms for women.
           ■    Pediatric and adolescent immunizations.
           ■    Cervical cancer screenings for women.
           ■    Comprehensive screenings for individuals with diabetes.
           ■    Influenza/pneumonia immunizations for enrollees.
           There is no need to enroll in this program. You will receive a reminder automatically if you
           have not had a recommended screening exam.

           Decision Support
           In order to help you make informed decisions about your health care, UnitedHealthcare has
           a program called Decision Support. This program targets specific conditions as well as the
           treatments and procedures for those conditions.

           This program offers:

           ■    Access to health care information.
           ■    Support by a nurse to help you make more informed decisions in your treatment and
                care.
           ■    Expectations of treatment.
           ■    Information on providers and programs.
           Conditions for which this program is available include:

           ■    Back pain.
           ■    Knee & hip replacement.
           ■    Prostate disease.
           ■    Prostate cancer.
           ■    Benign uterine conditions.
           ■    Breast cancer.
           ■    Coronary disease.
           ■    Bariatric surgery.
           Participation is completely voluntary and without extra charge. If you think you may be
           eligible to participate or would like additional information regarding the program, please
           contact the number on your ID card.




           78                                               SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 86 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 340
OG750 - V44
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Second Opinion Service
           The Plan offers a second opinion service.

           Participation is completely voluntary and without extra charge. If you think you may be
           eligible to participate or would like additional information regarding the program, please
           contact the number on your ID card.

              UnitedHealth Premium@ Designation Program
           To help people make more informed choices about their health care, the UnitedHealth
           Premium® designation program recognizes Network Physicians who meet criteria for
           quality and cost efficiency. UnitedHealthcare uses national standardized measures to evaluate
           quality. The cost efficiency criteria rely on local market benchmarks for the efficient use of
           resources in providing care.

           For details on the UnitedHealth Premium® designation program including how to locate a
           Premium Care Physician, log onto www.myuhc.com or call the number on your ID card.

           www.myuhc.com
           UnitedHealthcare's member website, www.myuhc.com, provides information at your
           fingertips anywhere and anytime you have access to the Internet. www.myuhc.com opens
           the door to a wealth of health information and self-service tools.

           With www.myuhc.com you can:

           ■     Research a health condition and treatment options to get ready for a discussion with
                 your Physician.
           ■     Search for Network providers available in your Plan through the online provider
                 directory.
           ■     Complete a health survey to help you identify health habits you may improve, learn
                 about healthy lifestyle techniques and access health improvement resources.
           ■     Use the treatment cost estimator to obtain an estimate of the costs of various procedures
                 m your area.
           ■     Use the Hospital comparison tool to compare Hospitals in your area on various patient
                 safety and quality measures.


               Registering on www.myuhc.com
               If you have not already registered on www.myuhc.com, simply go to www.myuhc.com
               and click on "Register Now." Have your ID card handy. The enrollment process is quick
               and easy.

           Visit www.myuhc.com and:

           ■     Make real-time inquiries into the status and history of your claims.
           ■     View eligibility and Plan Benefit information, including Copays and Annual Deductibles.



           79                                                 SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 87 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 341
OG750 - V45
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           ■     View and print all of your Explanation of Benefits (EOBs) online.
           ■     Order a new or replacement ID card or print a temporary ID card.


               Want to learn more about a condition or treatment?
               Log on to www.myuhc.com and research health topics that are of interest to you. Learn
               about a specific condition, what the symptoms are, how it is diagnosed, how common it
               is, and what to ask your Physician.

           Health Management Virtual Behavioral Health Therapy and Coaching Programs
           The Virtual Behavioral Health Therapy and Coaching program identifies Covered Persons
           with chronic medical conditions that frequently co-occur with mental health challenges, and
           provides support through virtual sessions for depression, anxiety and stress that often
           accompany chronic medical health issues like diabetes, cancer or cardiac conditions. This
           means that you may be called by a licensed clinical social worker or coach. You may also call
           the program and speak with a licensed clinical social worker or coach.

           This Plan includes access to an online portal available specifically for Covered Persons
           enrolled in the program for monitoring your progress toward meeting all the participation
           criteria.

           You're encouraged to visit the site frequently to keep abreast of the activities you should be
           completing and ensure that your information is up-to-date. The site also includes links to
           other helpful tools and resources for Behavioral Health.

           The program is provided through AbleTo, Inc. Participation is completely voluntary and
           without extra charge. If you think you may be eligible to participate or would like additional
           information regarding the program, please contact the number on your ID card.

           Disease Management Services
           Disease Management Services
           If you have been diagnosed with certain chronic medical conditions you may be eligible to
           participate in a disease management program at no additional cost to you. The heart failure,
           coronary artery disease, diabetes, asthma and Chronic Obstructive Pulmonary Disease
           (COPD) programs are designed to support you. This means that you will receive free
           educational information and may even be called by a registered nurse who is a specialist in
           your specific medical condition. This nurse will be a resource to advise and help you manage
           your condition.

           These programs offer:

           ■     Educational materials that provide guidance on managing your specific chronic medical
                 condition. This may include information on symptoms, warning signs, self-management
                 techniques, recommended exams and medications.
           ■     Access to educational and self-management resources on a consumer website.




           80                                               SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 88 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 342
OG750 - V46
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           ■    An opportunity for the disease management nurse to work with your Physician to ensure
                that you are receiving the appropriate care.
           ■    Access to and one-on-one support from a registered nurse who specializes in your
                condition. Examples of support topics include:
                   Education about the specific disease and condition.
                   Medication management and compliance.
                   Reinforcement of on-line behavior modification program goals.
                   Preparation and support for upcoming Physician visits.
                   Review of psychosocial services and community resources.
                   Caregiver status and in-home safety.
                   Use of mail-order pharmacy and Network providers.
           Participation is completely voluntary and without extra charge. If you think you may be
           eligible to participate or would like additional information regarding the program, please
           contact the number on your ID card.

           Complex Medical Conditions Programs and Services
           Bariatric Resource Services (BRS)
           Your Plan offers Bariatric Resource Services (BRS) program. The BRS program provides
           you with:

           ■    Specialized clinical consulting services to Employees and Enrolled Dependents to
                educate on obesity treatment options.
           ■    Access to specialized Network facilities and Physicians for obesity surgery services.
           You must access the Bariatric Resource Services program by calling the number on your ID
           card.

           See Obesity Surgery in Section 6, Additional Coverage Details for obesity surgery requirements.

           Your Plan Sponsor is providing you with Travel and Lodging assistance. For more
           information on the Travel and Lodging Assistance Program, refer to the provision below.

           Cancer Resource Services (CRS) Program
           Your Plan offers Cancer Resource Services (CRS) program to provide you with access to
           information and member assistance through a team of specialized cancer nurse consultants
           and access to one of the nation's leading cancer programs.

           To learn more about CRS, visit www.myoptumhealthcomplexmedical.com or call the
           number on your ID card or call the program directly at 1-866-936-6002.

           Coverage for oncology services and oncology-related services are based on your health plan's
           terms, exclusions, limitations and conditions, including the plan's eligibility requirements and
           coverage guidelines. Participation in this program is voluntary.

           Your Plan Sponsor is providing you with Travel and Lodging assistance. For more
           information on the Travel and Lodging Assistance Program, refer to the provision below.


           81                                                 SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 89 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 343
OG750 - V47
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Cancer Support Program
           UnitedHealthcare provides a program that identifies and supports a Covered Person who
           has cancer. You have the opportunity to engage with a nurse that specializes in cancer,
           education and guidance throughout your care path. You may also call the program and speak
           with a nurse whenever you need to. This nurse will be a resource and advocate to help you
           manage your condition. This program will work with you and your Physicians, as
           appropriate, to offer support and education on cancer, and self-care strategies and treatment
           options.

           Participation is completely voluntary and without extra charge. If you think you may be
           eligible to participate or would like additional information regarding the program, please call
           the number on your ID card or call the program directly at 1-866 936-6002.

           Congenital Heart Disease (CHD) Resource Services
           UnitedHealthcare provides a program that identifies and supports a Covered Person who
           has Congenital Heart Disease (CHD) through all stages of treatment and recovery. This
           program will work with you and your Physicians, as appropriate, to offer support and
           education on CHD. Program features include clinical management by specialized CHD
           Nurses, support from specialized Social Workers, assistance with choosing Physicians and
           Facilities, and access to Designated Providers.

           To learn more about CHD Resource Services program, visit
           www.myoptmnhealthcomplexmedical.com or call UnitedHealthcare at the number on
           your ID card or you can call the CHD Resource Services Nurse Team at 888-936-7246.

           Coverage for CHD surgeries and related services are based on your health plan's terms,
           exclusions, limitations and conditions, including the plan's eligibility requirements and
           coverage guidelines. Participation in this program is voluntary. If you are considering any
           CHD surgeries you must contact CHD Resource Services prior to surgery to enroll in the
           program in order for the surgery to be a considered a Covered Health Service under the
           Plan.

           Your Plan Sponsor is providing you with Travel and Lodging assistance. For more
           information on the Travel and Lodging Assistance Program, refer to the provision below.

           Kidney Disease Programs
           Comprehensive Kidney Solution (CKS) program
           For participants diagnosed with Kidney Disease, your Plan offers the Comprehensive
           Kidney Solution (CKS) program to help you manage the effects of advanced Chronic
           Kidney Disease (CI<D) through End-stage Renal Disease (ESRD).

           Should the disease progress to the point of needing dialysis, CKS provides access to top-
           performing dialysis centers. That means you will receive treatment based on a "best
           practices" approach from health care professionals with demonstrated expertise.

           There are hundreds of contracted dialysis centers across the country, but in situations where
           you cannot conveniently access a contracted dialysis center, CKS will work to negotiate
           patient-specific agreements on your behalf.


           82                                               SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 90 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 344
OG750 - V48
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           To learn more about Comprehensive Kidney Solutions, visit
           www.myoptmnhealthcomplexmedical.com or call the number on your ID card.

           Coverage for dialysis and kidney-related services are based on your health plan's terms,
           exclusions, limitations and conditions, including the plan's eligibility requirements and
           coverage guidelines. Participation in this program is voluntary. If you decide to no longer
           participate in the program, please contact CKS of your decision.

           Kidney Resource Services (KRS) program
           End-Stage Renal Disease (ESRD)
           The Kidney Resource Services program provides Covered Persons with access to a
           registered nurse advocate who specializes in helping individuals live with kidney disease. As a
           participant in the KRS program, you'll work with a nurse who will provide you with support
           and information. The nurse can help you manage other conditions, such as diabetes and high
           blood pressure. He or she can also help you find doctors, specialists and dialysis centers.
           This program is available at no extra cost to you.

           With KRS, you have access to a registered nurse who specializes in kidney health. This
           program is designed to help you be your own best advocate for your health. You may have
           been referred to the KRS program by your medical provider or from past claim information.
           As part of your health insurance benefits, it's available at no extra cost to you.

           KRS nurse advocates are available, Monday through Friday toll-free at 1-866-561-7518
           (TTY: 711).

           Coverage for dialysis and kidney-related services are based on your health plan's terms,
           exclusions, limitations and conditions, including the plan's eligibility requirements and
           coverage guidelines. Participation in this program is voluntary.

           Orthopedic Health Support Program
           For Designated Network Benefits, you must enroll in the Orthopedic Health Support Program to
           receive services from a Designated Provider. To enroll you can call the Claims Administrator
           at the telephone number on your ID card or you can call the Orthopedic Nurse Team at 888-
           936-7246.

           Orthopedic Health Support is a program for members with knee, hip, shoulder and low back
           pain who are willing to explore treatment options for their condition and complete one to
           three coaching sessions with a health coach. Orthopedic Health Support is a program that
           also provides you access to specialized nurses and high-performing providers to help meet
           your specific needs from early pain onset through treatment and beyond.

           Following completion of the coaching call(s) you may be eligible to receive a $100 incentive
           credit applied as a deposit into your HSA. The incentive will be applied within six to eight
           weeks of program completion.

           You will receive a 'Thank You' letter after completion of your coaching call along with
           relevant educational materials.




           83                                               SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 91 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 345
OG750 - V49
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           You can check to make sure your incentive has been applied by logging onto
           www.myuhc.com six to eight weeks post enrollment and checking the account screens. If
           you need help, please call the customer care number on the back of your insurance ID card
           and ask to choose "claims" from the menu of options.

           This program offers:

           ■    Early intervention and appropriate care.
           ■    Coaching to support behavior change.
           ■    Shared decision-making.
           ■    Pre- and post-surgical counseling.
           ■    Support in choosing treatment options.
           ■    Education on back-related information and self-care strategies.
           ■    Long-term support.
           ■    Access to Designated Providers.
           Participation is completely voluntary and without extra charge. If you think you may be
           eligible to participate or would like additional information regarding the program, please call
           the number on your ID card.

           If you are considering any of the above surgeries you must contact an Orthopedic nurse
           prior to surgery to enroll in the program in order for the surgery to be a considered a
           Covered Health Service under the Plan.

           Your Plan Sponsor is providing you with Travel and Lodging assistance. For more
           information on the Travel and Lodging Assistance Program, refer to the provision below.

           Spine andjoint Program
           The Spine and Joint Solution is a surgical program that provides access to top-performing,
           regional surgical centers for individuals who meet the criteria for select elective, inpatient
           surgeries. When you contact the specialized nurse team and enroll in the SJS program the
           Plan pays Benefits for select elective, inpatient surgeries provided by Designated Providers
           participating in the SJS program. The specialized nurse team provides guided access to a
           network of credentialed SJS providers.

           To learn more about SJS, contact the Claims Administrator at the number on your ID card
           or you can call the SJS Nurse Team at 888-936-7246.

           You must contact SJS prior to surgery to enroll in the program in order for the surgery to be
           a considered a Covered Health Service under the Plan.




           84                                                SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 92 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 346
OG750 - VSO
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


              Transplant Resource Services (TRS) Program
           Your Plan offers Transplant Resource Services (TRS) program to provide you with access to
           one of the nation's leading transplant programs. Receiving transplant services through this
           program means your transplant treatment is based on a "best practices" approach from
           health care professionals with extensive expertise in transplantation.

           To learn more about Transplant Resource Services, visit
           www.myoptmnhealthcomplexmedical.com or call the number on your ID card.

           Coverage for transplant and transplant-related services are based on your health plan's terms,
           exclusions, limitations and conditions, including the plan's eligibility requirements and
           coverage guidelines. Participation in this program is voluntary.

           Your Plan Sponsor is providing you with Travel and Lodging assistance. For more
           information on the Travel and Lodging Assistance Program, refer to the provision below.

           Travel and Lodging Assistance Program
           Your Plan Sponsor may provide you with Travel and Lodging assistance. Travel and
           Lodging assistance is only available for you or your eligible family member if you meet the
           qualifications for the benefit, including receiving care at a Designated Provider and the
           distance from your home address to the facility. Eligible Expenses are reimbursed after the
           expense forms have been completed and submitted with the appropriate receipts.

           If you have specific questions regarding the Travel and Lodging Assistance Program, please
           call the Travel and Lodging office at 1-800-842-0843.

              Travel and Lodging Expenses
           The Plan covers expenses for travel and lodging for the patient, provided he or she is not
           covered by Medicare, and a companion as follows:

           ■    Transportation of the patient and one companion who is traveling on the same day(s) to
                and/ or from the site of the qualified procedure provided by a Designated Provider for
                the purposes of an evaluation, the procedure or necessary post-discharge follow-up.
           ■    The Eligible Expenses for lodging for the patient (while not a Hospital inpatient) and
                one companion.
           ■    If the patient is an enrolled Dependent minor child, the transportation expenses of two
                companions will be covered.
           ■    Travel and lodging expenses are only available if the patient resides more than 50 miles
                from the Designated Provider.
           ■     Reimbursement for certain lodging expenses for the patient and his/her companion(s)
                 may be included in the taxable income of the Plan participant if the reimbursement
                 exceeds the per diem rate.




           85                                                SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 93 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 347
OG750 - V51
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           ■     The bariatric, cancer, congenital heart disease and transplant programs offer a combined
                 overall lifetime maximum of $10,000 per Covered Person for all transportation and
                 lodging expenses incurred by you and reimbursed under the Plan in connection with all
                 qualified procedures.
           ■     The spine and joint program provides a maximum of $2,000 per Covered Person per
                 procedure for all transportation and lodging expenses incurred by you and reimbursed
                 under the Plan in connection with all qualified procedures.
           The Claims Administrator must receive valid receipts for such charges before you will be
           reimbursed. Reimbursement is as follows:

           Lodging
           ■     A per diem rate, up to $50.00 per day, for the patient (when not in the Hospital) or the
                 caregiver.
           ■     Per diem is limited to $100.00 per day, for the patient and one caregiver. When a child is
                 the patient, two persons may accompany the child.
                 Examples of items that are not covered:
                     Groceries.
                     Alcoholic beverages.
                     Personal or cleaning supplies.
                     Meals.
                     Over-the-counter dressings or medical supplies.
                     Deposits.
                     Utilities and furniture rental, when billed separate from the rent payment.
                     Phone calls, newspapers, or movie rentals.

              Transportation
           ■     Automobile mileage (reimbursed at the IRS medical rate) for the most direct route
                 between the patient's home and the Designated Provider.
           ■     Taxi fares (not including limos or car services).
           ■     Economy or coach airfare.
           ■     Parking.
           ■     Trains.
           ■     Boat.
           ■     Bus.
           ■     Tolls.

           Wellness Programs
           Health Rewards
           Health Rewards is an incentive program designed to help Jones Lang LaSalle employees and
           their covered spouses (or domestic partners) under a United Healthcare medical option to
           meet health goals by rewarding the completion of health and wellness actions. The online


           86                                                  SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 94 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 348
OG750 - V52
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           scorecard will identify your recommended actions and track completion of these actions.
           You can earn a Health Bonus or Health Savings Account Contribution.

           As a first step access Rally portal from www.myuhc.com, by clicking on one of the Rally
           links. From the Dashboard, click on the "View All" link in the "Employer Rewards" section.

           2021 Health Actions Available.

           ■    $125 - Preventive Visit (including both the annual physical and prenatal care).
           ■    $150 - Complete a Biometric Screening.
           ■    $50 - Achieve Target BMI or 2 point BMI improvement.
           ■    $50 - Achieve Target Cholesterol Goal.
           ■    $50 - Achieve Target Glucose or Ale Goal.
           ■    $50 - Achieve Blood Pressure Goal.
           ■    $200 - Complete a Personal Health Action with a myBLUEPRINT4HEALTH nurse or
                coach.
           ■    $100 - Complete 3 Rally Missions.
           ■    $100 - Complete Real Appeal Program.
           ■    $100 - Complete a Team Battle.
           ■    $50 - Create a Health Care Cost Estimate.
           ■    $25 per screening - Diabetes screening (dilated eye exam stratification logic, 2nd Ale
                screenings stratification logic, Creatinine or Urine Protein screening stratification logic).
           When you and your spouse or domestic partner enroll in a UHC medical plan, you will be
           given a "menu" of options/health actions to complete to earn up to $500 for yourself and an
           additional $500 for your spouse/ domestic partner.

           Note: There are many ways to earn points but the maximum amount each member can
           earn is $500.

           The reward for biometric targets can be obtained in one of three ways:

           1.   Achieve the biometric targets listed on Rewards page.

           2.   If you score outside of an incentive "target range" on one or more of the biometrics you
                can earn points by completing a reasonable alternative program such as working with a
                Coach or Nurse on a personal health action (topics may include: Exercise, Nutrition,
                Stress Management, Weight Management, Preventive, etc.). You can also enroll in the
                Maternity Support Program if you are pregnant or complete a Real Appeal program if
                you missed your BMI marker as reasonable alternatives.




           87                                                  SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 95 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 349
OG750 - V53
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           You can download and print the P AAF from the Rally Support Center and FAQs section at
           the bottom of the Rally Dashboard page. Ask your physician to fax it to the phone number
           on the form. It may take 10-14 days until you see your reward.

           Rewards gather data from many sources to capture your completed Health Actions. Please
           call the number on back of your ID card if your Health Action completion is still not
           appearing after these timeframes:

                    10-14 business days after Provider Form is submitted.
                    21 days after your Preventive Visit claim is submitted.

           Go to https:/ /myblueprint4health.com/ for more information about all of Jones Lang
           LaSalle's myBLUEPRINT4HEALTH programs (Team Battle, Health Rewards, Maternity
           Support Program).

           Exemptions: If it is unreasonably difficult, due to a medical condition, for you to achieve a
           target biometric value or complete a health action under the Health Rewards Program, or if
           it is medically unadvisable to do so, you can ask your provider for an exemption to receive
           rewards associated with that health action. Ask your provider to complete the Provider
           Notification Form which can be found as shown above.

           Note: Go to https:/ /myblueprint4health.com for more information about all of Jones Lang
           LaSalle's myBLUEPRINT4HEALTH programs (Fitness Challenge, Health Rewards and
           Maternity Support Program).

           Women's Health/Reproductive
           Fertility Solutions
           Fertility Solutions is a program administered by UnitedHealthcare or its affiliates made
           available to you by the Plan Sponsor. The Fertility Solutions program provides:

           ■    Specialized clinical consulting services to Employees and Enrolled Dependents to
                educate on infertility treatment options.
           ■    Access to specialized Network facilities and Physicians for infertility services.
           The Plan pays Benefits for the infertility services described above when provided by
           Designated Providers participating in the Fertility Solutions program. The Fertility Solutions
           program provides education, counseling, infertility management and access to a national
           Network of premier infertility treatment clinics.
           Covered Persons who do not live within a 60 mile radius of a Fertility Solutions Designated
           Provider will need to contact a Fertility Solutions case manager to determine a Network
           Provider prior to starting treatment. For infertility services and supplies to be considered
           Covered Health Services through this program, contact Fertility Solutions and enroll with a
           nurse consultant prior to receiving services.

           You or a covered Dependent may:

           ■    Be referred to Fertility Solutions by the Claims Administrator.



           88                                                 SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 96 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 350
OG750 - V54
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           ■    Call the telephone number on your ID card.
           ■    Call Fertility Solutions directly at 1-866-77 4-4626.
           To take part in the Fertility Solutions program, call a nurse at 1-866-774-4626. The Plan will
           only pay Benefits under the Fertility Solutions program if Fertility Solutions provides the
           proper notification to the Designated Provider performing the services (even if you self-refer
           to a provider in that Network).

           Maternity Support Program
           If you are pregnant or thinking about becoming pregnant, and you are enrolled in the
           medical Plan, you can get valuable educational information, advice and comprehensive case
           management by calling the number on your ID card. Your enrollment in the program will be
           handled by an OB nurse who is assigned to you.

           This program offers:

           ■    Enrollment by an OB nurse.
           ■    Pre-conception health coaching.
           ■    Written and online educational resources covering a wide range of topics.
           ■    First and second trimester risk screenings.
           ■    Identification and management of at- or high-risk conditions that may impact pregnancy.
           ■    Pre-delivery consultation.
           ■    Coordination with and referrals to other benefits and programs available under the
                medical plan.
           ■    A phone call from a nurse approximately two weeks postpartum to provide information
                on postpartum and newborn care, feeding, nutrition, immunizations and more.
           ■    Post-partum depression screening.
           Participation is completely voluntary and without extra charge. To take full advantage of the
           program, you are encouraged to enroll within the first trimester of Pregnancy. You can
           enroll any time, up to your 34th week. To enroll, call the number on your ID card.

           As a program participant, you can always call your nurse with any questions or concerns you
           might have.

           Note. Effective July 1, 2019 Jones Lang LaSalle's parental leave pay benefit is 6 weeks. For
           questions and assistance contact HR Direct at https:/ /hrdirect.jll.com.

           Neonatal Resource Services (NRS)
           NRS is a program administered by the Claims Administrator or its affiliates made available
           to you by the Plan Sponsor. NRS provides a dedicated team of experienced N eonatologists,
           Neonatal Intensive Care Unit (NICU) nurse case managers and social workers who can
           provide support and assistance to you and your family during your infant's admission to the




           89                                                  SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 97 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 351
OG750 - V55
                                                           JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           NICU. The case manager will also provide discharge planning assistance and ongoing
           support post-discharge based on your infant's needs.

           To take part in the NRS program you or a covered Dependent can call the Claims
           Administrator at the telephone number on your ID card or call NRS directly at 1-866-534-
           7209.




           90                                            SECTION 7 - CLINICAL PROGRAMS AND RESOURCES
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 98 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 352
OG750 - V56
                                                             JONES LANG LASALLE MEDICAL PPO PLUS PLAN



           SECTION 8- EXCLUSIONS AND LIMITATIONS: WHAT THE MEDICAL PLAN
           WILL NOT COVER
              What this section includes:
              ■ Services, supplies and treatments that are not Covered Health Services, except as may
                be specifically provided for in Section 6, Additional Covera,J!.,e Details.

           The Plan does not pay Benefits for the following services, treatments or supplies even if they
           are recommended or prescribed by a provider or are the only available treatment for your
           condition.

           When Benefits are limited within any of the Covered Health Services categories described in
           Section 6, Additional Coverage Details, those limits are stated in the corresponding Covered
           Health Service category in Section 5, Plan Highlights. Limits may also apply to some Covered
           Health Services that fall under more than one Covered Health Service category. When this
           occurs, those limits are also stated in Section 5, Plan Highlights. Please review all limits
           carefully, as the Plan will not pay Benefits for any of the services, treatments, items or
           supplies that exceed these benefit limits.

           Please note that in listing services or examples, when the SPD says "this includes,"
           or "including but not limited to", it is not UnitedHealthcare's intent to limit the
           description to that specific list. When the Plan does intend to limit a list of services or
           examples, the SPD specifically states that the list "is limited to."

           Alternative Treatments
           1. Acupressure.

           2. Aromatherapy.

           3. Hypnotism.

           4. Rolfing.

           5. Art therapy, music therapy, dance therapy, animal-assisted therapy and other forms of
              alternative treatment as defined by the National Centerfor Complementary and Integrative
              Health (NCCIH) of the National Institutes ef Health. This exclusion does not apply to
              Manipulative Treatment and non-manipulative osteopathic care for which Benefits are
              provided as described in Section 6, Additional Coverage Details.

           6. Adventure-based therapy, wilderness therapy, outdoor therapy, or similar programs.

           Comfort and Convenience
           Supplies, equipment and similar incidentals for personal comfort. Examples include:

           1. Television.

           2. Telephone.



           91                                                      SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
        Franklin                        Doc of
                 County Ohio Clerk of Courts #: the
                                                 1-2Common
                                                     Filed: 03/29/24  Page:
                                                             Pleas- 2024 Mar 99 of 213AM-24CV001784
                                                                             01 10:22   PAGEID #: 353
OG750 - V57
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           3. Air conditioners.

           4. Beauty /barber service.

           5.   Guest service.

           6. Air purifiers and filters.

           7. Batteries and battery chargers.

           8. Dehumidifiers and humidifiers.

           9. Ergonomically correct chairs.

           10. Non-Hospital beds and comfort beds.

           11. Devices and computers to assist in communication and speech except for dedicated
               speech generating devices and tracheo-esophageal voice devices for which Benefits are
               provided as described under Durable Medical Equipment (DME) in Section 6, Additional
               Coverage Details.

           12. Home remodeling to accommodate a health need (including, but not limited to, ramps,
               swimming pools, elevators, handrails, and stair glides).

           Dental
           1.   Dental care (which includes dental X-rays, supplies and appliances and all associated
                expenses, including hospitalizations and anesthesia).

                This exclusion does not apply to accident-related dental services for which Benefits are
                provided as described under Dental Services -Accident Onfy in Section 6, Additional Coverage
                Details.
                This exclusion does not apply to dental care (oral examination, X-rays, extractions and
                non-surgical elimination of oral infection) required for the direct treatment of a medical
                condition for which Benefits are available under the Plan, as identified in Section 6,
                Additional Coverage Details.
           2. Preventive care, diagnosis, treatment of the teeth or gums. Examples include:

                    Extractions (including wisdom teeth), restoration and replacement of teeth.
                    Medical or surgical treatments of dental conditions.
                    Services to improve dental clinical outcomes.

                This exclusion does not apply to preventive care for which Benefits are provided under
                the United States Preventive Services Task Force requirement or the Health Resources and Services
                Administration (HRSA) requirement. This exclusion also does not apply to accident-
                related dental services for which Benefits are provided as described under Dental Services -
                Accident Onfy in Section 6, Additional Coverage Details.
           3. Dental implants and braces.



           92                                                           SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar100  of 213
                                                                              01 10:22   PAGEID #: 354
                                                                                       AM-24CV001784
OG750 - V58
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                 This exclusion does not apply to accident-related dental services for which Benefits are
                 provided as described under Dental Services -Accident Onfy in Section 6, Additional Coverage
                 Details.
            4.   Dental braces (orthodontics).

            5. Treatment of malpositioned or supernumerary (extra) teeth, even if part of a Congenital
               Anomaly.

            Drugs
            The exclusions listed below apply to the medical portion of the Plan only. Prescription Drug
            coverage is excluded under the medical plan because it is a separate benefit. Coverage may
            be available under the Prescription Drug portion of the Plan. See Section 15, Outpatient
            Prescription Drugs, for coverage details and exclusions.

            1.   Prescription Drug Products for outpatient use that are filled by a prescription order or
                 refill.

            2.   Self-administered or self-infused medications. This exclusion does not apply to
                 medications which, due to their characteristics, (as determined by UnitedHealthcare),
                 must typically be administered or directly supervised by a qualified provider or
                 licensed/ certified health professional in an outpatient setting. This exclusion does not
                 apply to hemophilia treatment centers contracted to dispense hemophilia factor
                 medications directly to Covered Persons for self-infusion.

            3. Non-injectable medications given in a Physician's office. This exclusion does not apply
               to non-injectable medications that are required in an Emergency and consumed in the
               Physician's office.

            4.   Over-the-counter drugs and treatments.

            5.   Growth hormone therapy.

            6.   Certain New Pharmaceutical Products and/ or new dosage forms until the date as
                 determined by the Claims Administrator or the Claims Administrator's designee, but no
                 later than December 31st of the following calendar year.

                 This exclusion does not apply if you have a life-threatening Sickness or condition (one
                 that is likely to cause death within one year of the request for treatment). If you have a
                 life-threatening Sickness or condition, under such circumstances, Benefits may be
                 available for the New Pharmaceutical Product to the extent provided for in Section 6,
                 Additional Coverage Details.
            7. A Pharmaceutical Product that contains (an) active ingredient(s) available in and
               therapeutically equivalent (having essentially the same efficacy and adverse effect profile)
               to another covered Pharmaceutical Product. Such determinations may be made up to six
               times during a calendar year.




            93                                                         SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar101  of 213
                                                                              01 10:22   PAGEID #: 355
                                                                                       AM-24CV001784
OG750 - V59
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            8. A Pharmaceutical Product that contains (an) active ingredient(s) which is (are) a
               modified version of and therapeutically equivalent (having essentially the same efficacy
               and adverse effect profile) to another covered Pharmaceutical Product. Such
               determinations may be made up to six times during a calendar year.

            9. Benefits for Pharmaceutical Products for the amount dispensed (days' supply or quantity
               limit) which exceeds the supply limit.

            10. A Pharmaceutical Product with an approved biosimilar or a biosimilar and
                therapeutically equivalent (having essentially the same efficacy and adverse effect profile)
                to another covered Pharmaceutical Product. For the purpose of this exclusion a
                "biosimilar" is a biological Pharmaceutical Product approved based on showing that it is
                highly similar to a reference product (a biological Pharmaceutical Product) and has no
                clinically meaningful differences in terms of safety and effectiveness from the reference
                product. Such determinations may be made up to six times per calendar year.

            11. Certain Pharmaceutical Products for which there are therapeutically equivalent (having
                 essentially the same efficacy and adverse effect profile) alternatives available, unless
                 otherwise required by law or approved by us. Such determinations may be made up to
                 six times during a calendar year.

            12. Certain Pharmaceutical Products that have not been prescribed by a Specialist.

            13. Compounded drugs that contain certain bulk chemicals. Compounded drugs that are
                available as a similar commercially available Pharmaceutical Product.

            Experimental or lnvestigational or Unproven Services
            1.   Experimental or Investigational Services and Unproven Services and all services related
                 to Experimental or Investigational and Unproven Services are excluded. The fact that an
                 Experimental or Investigational or Unproven Service, treatment, device or
                 pharmacological regimen is the only available treatment for a particular condition will
                 not result in Benefits if the procedure is considered to be Experimental or
                 Investigational or Unproven in the treatment of that particular condition.

                 This exclusion does not apply to Covered Health Services provided during a Clinical
                 Trial for which Benefits are provided as described under Clinical Trials in Section 6,
                 Additional Coverage Details.

            Foot Care
            1.   Routine foot care, except when needed for severe systemic disease or preventive foot
                 care for Covered Persons with diabetes for which Benefits are provided as described
                 under Diabetes Services in Section 6, Additional Coverage Details. Routine foot care services
                 that are not covered include:

                     Cutting or removal of corns and calluses.
                     Nail trimming or cutting.




            94                                                          SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar102  of 213
                                                                              01 10:22   PAGEID #: 356
                                                                                       AM-24CV001784
OG750 - V60
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                     Debriding (removal of dead skin or underlying tissue).

            2.   Hygienic and preventive maintenance foot care. Examples include:

                     Cleaning and soaking the feet.
                     Applying skin creams in order to maintain skin tone.
                     Other services that are performed when there is not a localized Sickness, Injury or
                     symptom involving the foot.

                 This exclusion does not apply to preventive foot care for Covered Persons who are at
                 risk of neurological or vascular disease arising from diseases such as diabetes.

            3. Treatment of flat feet.

            Gender Dysphoria
            Cosmetic Procedures, including the following:

            ■    Abdominoplasty.
            ■    Blepharoplasty.
            ■    Breast enlargement, including augmentation mammoplasty and breast implants.
            ■    Body contouring, such as lipoplasty.
            ■    Brow lift.
            ■    Calf implants.
            ■    Cheek, chin, and nose implants.
            ■    Injection of fillers or neurotoxins.
            ■    Face lift, forehead lift, or neck tightening.
            ■    Facial bone remodeling for facial feminizations.
            ■    Hair transplantation.
            ■    Lip augmentation.
            ■    Lip reduction.
            ■    Liposuction.
            ■    Mastopexy.
            ■    Pectoral implants for chest masculinization.
            ■    Rhinoplasty.
            ■    Skin resurfacing.
            ■    Thyroid cartilage reduction; reduction thyroid chondroplasty; trachea shave (removal or
                 reduction of the Adam's Apple).
            ■    Voice modification surgery.


            95                                                        SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar103  of 213
                                                                              01 10:22   PAGEID #: 357
                                                                                       AM-24CV001784
OG750 - V61
                                                                     JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■    Voice lessons and voice therapy.

            Medical Supplies and Appliances
            1.   Devices used specifically as safety items or to affect performance in sports-related
                 activities.

            2. Prescribed or non-prescribed medical and disposable supplies. Examples of supplies that
               are not covered include, but are not limited to:

                     Elastic stockings, ace bandages, diabetic strips, and syringes.

                 This exclusion does not apply to:
                     Ostomy bags and related supplies for which Benefits are provided as described under
                     Ostomy Supplies in Section 6, Additional Coverage Details.
                     Diabetic supplies for which Benefits are provided as described under Diabetes Services
                     in Section 6, Additional Coverage Details.
                     Urinary catheters for which Benefits are provided as described under Urinary Catheters
                     in Section 6, Additional Coverage Details.

            3. Tubings, nasal cannulas, connectors and masks that are not used in connection with
               DME.

            4.   Orthotic appliances that straighten or re-shape a body part (including some types of
                 braces) when prescribed by a Physician as described under Durable Medical Equipment
                 (DME) in Section 6, Additional Coverage Details. This exclusion does not apply to cranial
                 molding helmets and cranial banding. Examples of excluded orthotic appliances and
                 devices include, but are not limited to, any orthotic braces available over-the-counter.
                 This exclusion does not include diabetic footwear which may be covered for a Covered
                 Person with diabetic foot disease.

            5. Deodorants, filters, lubricants, tape, appliance cleaners, adhesive, adhesive remover or
               other items that are not specifically identified under Ostomy Supplies in Section 6,
               Additional Coverage Details.

            6. Powered and non-powered exoskeleton devices.

            Mental Health, Neurobiological Disorders - Autism Spectrum Disorder Services and
            Substance-Related and Addictive Disorders Services
            In addition to all other exclusions listed in this Section 8, Exclusions and Limitations, the
            exclusions listed directly below apply to services described under Mental Health Services,
            Neurobiological Disorders - Autism Spectrum Disorder Services and/ or Substance-Related and Addictive
            Disorders Services in Section 6, Additional Coverage Details.

            1.   Services performed in connection with conditions not classified in the current edition of
                 the International Classification of Diseases section on Mental and Behavioral Disorders or Diagnostic
                 and Statistical Manual of the American Psychiatric Association.



            96                                                              SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar104  of 213
                                                                              01 10:22   PAGEID #: 358
                                                                                       AM-24CV001784
OG750 - V62
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            2.   Outside of an initial assessment, services as treatments for a primary diagnosis of
                 conditions and problems that may be a focus of clinical attention, but are specifically
                 noted not to be mental disorders within the current edition of the Diagnostic and Statistical
                 Manual of the American Psychiatric Association.

            3.   Outside of initial assessment, services as treatments for the primary diagnoses of learning
                 disabilities, conduct and disruptive impulse control and conduct disorders, gambling
                 disorder, and paraphilic disorders.

            4.   Services that are solely educational in nature or otherwise paid under state or federal law
                 for purely educational purposes.

            5. Tuition for or services that are school-based for children and adolescents required to be
               provided by, or paid for by, the school under the Individuals with Disabilities Education Act.

            6.   Outside of initial assessment, unspecified disorders for which the provider is not
                 obligated to provide clinical rationale as defined in the current edition of the Diagnostic
                 and Statistical Manual of the American Psychiatric Association.

            7. Transitional Living services.

            8.   Non-Medical 24-Hour Withdrawal Management.

            9.   High intensity residential care including American S ociery ofAddiction Medicine (,4-SAM)
                 criteria for Covered Persons with substance-related and addictive disorders who are
                 unable to participate in their care due to significant cognitive impairment.

            Nutrition and Health Education
            1.   Nutritional or cosmetic therapy using high dose or mega quantities of vitamins, minerals
                 or elements, and other nutrition based therapy. Examples include supplements,
                 electrolytes and foods of any kind (including high protein foods and low carbohydrate
                 foods).

            2.   Individual and group nutritional counseling, including non-specific disease nutritional
                 education such as general good eating habits, calorie control or dietary preferences. This
                 exclusion does not apply to preventive care for which Benefits are provided under the
                 United States Preventive Services Task Force requirement. This exclusion does not apply to
                 medical education services that are provided as part of treatment for a disease by
                 appropriately licensed or registered health care professionals when both of the following
                 are true:

                     Nutritional education is required for a disease in which patient self-management is an
                     important component of treatment.
                     There exists a knowledge deficit regarding the disease which requires the
                     intervention of a trained health professional.

            3.   Food of any kind, infant formula, standard milk-based formula, and donor breast milk.
                 This exclusion does not apply to enteral formula and other modified food products for



            97                                                         SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar105  of 213
                                                                              01 10:22   PAGEID #: 359
                                                                                       AM-24CV001784
OG750 - V63
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                 which Benefits are provided as described under Enteral Nutrition in Section 6, Additional
                 Coverage Details.

            4.   Health club memberships and programs, and spa treatments.

            5. Health education classes unless offered by UnitedHealthcare or its affiliates, including
               but not limited to asthma, tobacco cessation, and weight control classes.

            Physical Appearance
            1.   Cosmetic Procedures. See the definition in Section 14, Glossary. Examples include:

                     Liposuction or removal of fat deposits considered undesirable, including fat
                     accumulation under the male breast and nipple.
                     Pharmacological regimens, nutritional procedures or treatments.
                     Scar or tattoo removal or revision procedures (such as salabrasion, chemosurgery
                     and other such skin abrasion procedures).
                     Sclerotherapy treatment of veins.

            2.   Replacement of an existing intact breast implant if the earlier breast implant was
                 performed as a Cosmetic Procedure. Note: Replacement of an existing breast implant is
                 considered reconstructive if the initial breast implant followed mastectomy. See
                 Reconstructive Procedures in Section 6, Additional Coverage Details.

            3. Physical conditioning programs such as athletic training, body-building, exercise, fitness,
               flexibility and diversion or general motivation.

            4. Weight loss programs whether or not they are under medical supervision or for medical
               reasons, even if for morbid obesity.

            5. Treatments for hair loss.

            6.   A procedure or surgery to remove fatty tissue such as panniculectomy, abdominoplasty,
                 thighplasty, brachioplasty, or mastopexy.

            7. Varicose vein treatment of the lower extremities, when it is considered cosmetic.

            8. Treatment of benign gynecomastia (abnormal breast enlargement in males), except when
               deemed Medically Necessary.

            Procedures and Treatments
            1.   Medical and surgical treatment of snoring, except when provided as a part of treatment
                 for documented obstructive sleep apnea.

            2.      Rehabilitation services and Manipulative Treatment to improve general physical
            conditions that are provided to reduce potential risk factors, where significant therapeutic
            improvement is not expected, including routine, long-term or maintenance/preventive
            treatment.




            98                                                       SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar106  of 213
                                                                              01 10:22   PAGEID #: 360
                                                                                       AM-24CV001784
OG750 - V64
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            3. Habilitative services or therapies for the purpose of general well-being or condition in
               the absence of a disabling condition.

            4.   Outpatient cognitive rehabilitation therapy except as Medically Necessary following
                 traumatic brain Injury or stroke.

            5.   Speech therapy to treat stuttering, stammering, or other articulation disorders.

            6.   Rehabilitation services for speech therapy, except when required for treatment of a
                 speech impediment or speech dysfunction that results from Injury, stroke, cancer,
                 Congenital Anomaly or Autism Spectrum Disorder as identified under Rehabilitation
                 Services - Outpatient Therapy and Manipulative Treatment in Section 6, Additional Coverage
                 Details.

            7.   Excision or elimination of hanging skin on any part of the body. Examples include
                 plastic surgery procedures called abdominoplasty and brachioplasty.

            8.   Stand-alone multi-disciplinary tobacco cessation programs. These are programs that
                 usually include health care providers specializing in tobacco cessation and may include a
                 psychologist, social worker or other licensed or certified professionals. The programs
                 usually include intensive psychological support, behavior modification techniques and
                 medications to control cravings.

            9.   Chelation therapy, except to treat heavy metal poisoning.

            10. Physiological modalities and procedures that result in similar or redundant therapeutic
                 effects when performed on the same body region during the same visit or office
                 encounter.

            11. The following treatments for obesity:

                     Non-surgical treatment of obesity, even if for morbid obesity.
                     Surgical treatment of obesity unless there is a diagnosis of morbid obesity as
                     described under Obesity Surgery in Section 6, Additional Coverage Details.

            12. Obesity surgery that is not received by a Designated Provider.

            13. Medical and surgical treatment of excessive sweating (hyperhidrosis).

            14. The following services for the diagnosis and treatment of temporomandibular joint
                syndrome (TMJ): surface electromyography, Doppler analysis, vibration analysis,
                computerized mandibular scan or jaw tracking, craniosacral therapy, orthodontics,
                occlusal adjustment, and dental restorations.

            15. Breast reduction surgery that is determined to be a Cosmetic Procedure.

                 This exclusion does not apply to breast reduction surgery which the Claims
                 Administrator determines is requested to treat a physiologic functional impairment or to




            99                                                           SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar107  of 213
                                                                              01 10:22   PAGEID #: 361
                                                                                       AM-24CV001784
OG750 - V65
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                  coverage required by the Women's Health and Cancer Rights Act ef 1998 for which Benefits
                  are described under Reconstructive Procedures in Section 6, Additional Coverage Details.
            16. Helicobacter pylori (H. pylori) serologic testing.

            17. Intracellular micronutrient testing.

            Providers
            1. Services performed by a provider who is a family member by birth or marriage, including
               your Spouse, brother, sister, parent or child. This includes any service the provider may
               perform on himself or herself.

            2.    Services performed by a provider with your same legal residence.

            3. Services performed by a naturopath provider.

            4.    Services ordered or delivered by a Christian Science practitioner.

            5.    Services performed by an unlicensed provider or a provider who is operating outside of
                  the scope of his/her license.

            6.    Services provided at a Freestanding Facility or diagnostic Hospital-based Facility without
                  an order written by a Physician or other provider. Services which are self-directed to a
                  Freestanding Facility or diagnostic Hospital-based Facility. Services ordered by a
                  Physician or other provider who is an employee or representative of a Freestanding
                  Facility or diagnostic Hospital-based Facility, when that Physician or other provider:

                     Has not been actively involved in your medical care prior to ordering the service.
                     Is not actively involved in your medical care after the service is received.

                  This exclusion does not apply to mammography.
            Reproduction
            1.    The following treatment-related services:

                     Cryo-preservation and other forms of preservation of reproductive materials except
                     as described under Infertility Services.
                     Ovarian tissue cryopreservation.
                     Long-term storage (greater than one year) of reproductive materials such as sperm,
                     eggs, embryos, ovarian tissue and testicular tissue.
                     Donor services and non-medical costs of oocyte or sperm donation such as donor
                     agency fees.
                     Embryo or oocyte accumulation defined as a fresh oocyte retrieval prior to the
                     depletion of previously banked frozen embryos or oocytes.
                     Natural cycle insemination in the absence of sexual dysfunction or documented
                     congenital or acquired cervical disease or mild to moderate male factor.
                     Ovulation predictor kits.

            2. The following services related to Gestational Carrier or Surrogate:


            100                                                        SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar108  of 213
                                                                              01 10:22   PAGEID #: 362
                                                                                       AM-24CV001784
OG750 - V66
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                      Fees for the use of a Gestational Carrier or Surrogate.
                      Insemination costs of Surrogate or transfer embryo to Gestational Carrier.
                      IVF for a traditional Surrogate.
                      Pregnancy services for a Gestational Carrier or Surrogate who is not a Covered
                      Person.

            3. The following services related to donor services for donor sperm, ovum (egg cell) or
               oocytes (eggs), or embryos (fertilized eggs):

                  Donor eggs - The cost of donor eggs, including medical costs related to donor
                  stimulation and egg retrieval. This exclusion may not apply to certain procedures
                  related to Assisted Reproductive Technologies (ART) as described under Infertility
                  Services including the cost for fertilization (in vitro fertilization or intracytoplasmic
                  sperm injection), embryo culture, and embryo transfer.
                  Donor sperm - The cost of procurement and storage of donor sperm. This
                  exclusion may not apply to certain insemination procedures as described under
                  Infertility Services including thawing and insemination.
            4. The reversal of voluntary sterilization.

            5.    Infertility services not received from a Designated Provider.

            6.    In vitro fertilization that is not an Assisted Reproductive Technology for the treatment
                  of Infertility.

            7. Artificial reproductive treatments done for non-genetic disorder sex selection or eugenic
               (selective breeding) purposes.

            8.    Infertility treatment with voluntary sterilization currently in place (vasectomy, bilateral
                  tubal ligation).
            9.    Infertility treatment following unsuccessful reversal of voluntary sterilization.

            Services Provided under Another Plan
            Services for which coverage is available:

            1.    Under another plan, except for Eligible Expenses payable as described in Section 10,
                  Coordination efBenifits (COB).

            2.    Under workers' compensation, or similar legislation if you could elect it, or could have it
                  elected for you.

            3. Services resulting from accidental bodily injuries arising out of a motor vehicle accident
               to the extent the services are payable under a medical expense payment provision of an
               automobile insurance policy.

            4. While on active military duty.

            5.    For treatment of military service-related disabilities when you are legally entitled to other
                  coverage, and facilities are reasonably available to you.



            101                                                         SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar109  of 213
                                                                              01 10:22   PAGEID #: 363
                                                                                       AM-24CV001784
OG750 - V67
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Transplants
            1.    Health services for organ and tissue transplants,

                     except as identified under Transplantation Services in Section 6, Additional Coverage
                     Details.
                     determined by Personal Health Support not to be proven procedures for the
                     involved diagnoses.
                     not consistent with the diagnosis of the condition.

            2.    Health services for transplants involving animal organs.

            3. Transplants that are not received from a Designated Provider. (This exclusion does not
               apply to cornea transplants.)

            4.    Health services connected with the removal of an organ or tissue from you for purposes
                  of a transplant to another person. (Donor costs that are directly related to organ removal
                  are payable for a transplant through the organ recipient's Benefits under the Plan.)

            Travel
            1.    Health services provided in a foreign country, unless required as Emergency Health
                  Services.

            2. Travel or transportation expenses, even if ordered by a Physician, except as identified
               under Travel and Lodging Assistance Program in Section 7, Clinical Programs and Resources.
               Additional travel expenses related to Covered Health Services received from a
               Designated Provider may be reimbursed at the Plan's discretion. This exclusion does not
               apply to ambulance transportation for which Benefits are provided as described under
               Ambulance Services in Section 6, Additional Coverage Details.

            Vision and Hearing
            1.    Implantable lenses used only to correct a refractive error (such as Intacs corneal
                  implants).

            2. Purchase cost and associated fitting charges for eyeglasses or contact lenses (except for
               first pair of eyeglasses or contact lenses post-cataract surgery).

            3. Bone anchored hearing aids except when either of the following applies:

                     For Covered Persons with craniofacial anomalies whose abnormal or absent ear
                     canals preclude the use of a wearable hearing aid.
                     For Covered Persons with hearing loss of sufficient severity that it would not be
                     adequately remedied by a wearable hearing aid.

                  The Plan will not pay for more than one bone anchored hearing aid per Covered Person
                  who meets the above coverage criteria during the entire period of time the Covered
                  Person is enrolled in this Plan. In addition, repairs and/ or replacement for a bone




            102                                                         SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar110  of 213
                                                                              01 10:22   PAGEID #: 364
                                                                                       AM-24CV001784
OG750 - V68
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                  anchored hearing aid for Covered Persons who meet the above coverage are not
                  covered, other than for malfunctions.

            4.    Surgery and other related treatment that is intended to correct nearsightedness,
                  farsightedness, presbyopia and astigmatism including, but not limited to, procedures
                  such as laser and other refractive eye surgery and radial keratotomy.

            All Other Exclusions
            1. Autopsies and other coroner services and transportation services for a corpse.

            2.    Charges for:

                      Missed appointments.
                      Room or facility reservations.
                      Completion of claim forms.
                      Record processing
                      Services, supplies or equipment that are advertised by the Provider as free.

            3.    Charges by a Provider sanctioned under a federal program for reason of fraud, abuse or
                  medical competency.

            4.    Charges prohibited by federal anti-kickback or self-referral statutes.

            5.    Chelation therapy, except to treat heavy metal poisoning.

            6.    Custodial Care as defined in Section 14, Glossary, or services provided by a personal care
                  assistant.

            7.    Diagnostic tests that are:

                      Delivered in other than a Physician's office or health care facility.
                      Self-administered home diagnostic tests, including but not limited to HIV and
                      Pregnancy tests.

            8. Domiciliary Care, as defined in Section 14, Glossary.

            9.    Growth hormone therapy.

            10. Expenses for health services and supplies:

                     That are received as a result of war or any act of war, whether declared or
                     undeclared, while part of any armed service force of any country. This exclusion
                     does not apply to Covered Persons who are civilians injured or otherwise affected by
                     war, any act of war or terrorism in a non-war zone.
                     That are received after the date your coverage under this Plan ends, including health
                     services for medical conditions which began before the date your coverage under the
                     Plan ends.




            103                                                         SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar111  of 213
                                                                              01 10:22   PAGEID #: 365
                                                                                       AM-24CV001784
OG750 - V69
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                     For which you have no legal responsibility to pay, or for which a charge would not
                     ordinarily be made in the absence of coverage under this Benefit Plan.
                     That exceed Eligible Expenses or any specified limitation in this SPD.

            11 In the event a Non-Network provider waives, does not pursue, or fails to collect the
               Copayment, Coinsurance, any deductible or other amount owed for a particular health
               service, no Benefits are provided for the health service for which the Copayment,
               Coinsurance and/ or deductible are waived.

            12. Foreign language and sign language interpretation services offered by or required to be
                provided by a Network or non-Network provider.

            13. Long term (more than 30 days) storage of blood, umbilical cord or other material.

            14. Health services and supplies that do not meet the definition of a Covered Health Service
                - see the definition in Section 14, Glossary. Covered Health Services are those health
                  services including services, supplies or Pharmaceutical Products, which the Claims
                  Administrator determines to be all of the following:

                     Medically Necessary.
                     Described as a Covered Health Service in this SPD under Section 6, Additional
                     Coverage Details and in Section 5, Plan Highlights.
                     Not otherwise excluded in this SPD under this Section 8, Exclusions and Limitations.

                     This exclusion does not apply to breast pumps for which Benefits are provided
                     under the Health Resources and Services Administration (HRSA) requirement.

            15. Health services related to a non-Covered Health Service: When a service is not a
                Covered Health Service, all services related to that non-Covered Health Service are also
                excluded. This exclusion does not apply to services the Plan would otherwise determine
                to be Covered Health Services if they are to treat complications that arise from the non-
                Covered Health Service.

                  For the purpose of this exclusion, a "complication" is an unexpected or unanticipated
                  condition that is superimposed on an existing disease and that affects or modifies the
                  prognosis of the original disease or condition. Examples of a "complication" are
                  bleeding or infections, following a Cosmetic Procedure, that require hospitalization.
            16. Medical and surgical treatment of snoring, except when provided as a part of treatment
                  for documented obstructive sleep apnea (a sleep disorder in which a person regularly
                  stops breathing for 10 seconds or longer). Appliances for snoring are always excluded.

            17. Private duty nursing received on an inpatient basis.

            18. Respite care. This exclusion does not apply to respite care that is part of an integrated
                hospice care program of services provided to a terminally ill person by a licensed hospice
                care agency for which Benefits are described under Hospice Care in Section 6, Additional
                Coverage Details.




            104                                                        SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar112  of 213
                                                                              01 10:22   PAGEID #: 366
                                                                                       AM-24CV001784
OG750 - V70
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            19. Rest cures.

            20. Sex transformation operations and related services.

            21. Speech therapy to treat stuttering, stammering, or other articulation disorders.

            22. Speech therapy, except when required for treatment of a speech impediment or speech
                dysfunction that results from Injury, Sickness, stroke, cancer, Autism Spectrum Disorder
                or a Congenital Anomaly, or is needed following the placement of a cochlear implant as
                identified under Rehabilitation Services - Outpatient Therapy and Manipulative Treatment in
                Section 6, Additional Coverage Details.

            23. Manipulative Treatment to treat a condition unrelated to alignment of the vertebral
                column, such as asthma or allergies.

            24. Storage of blood, umbilical cord or other material for use in a Covered Health Service,
                except if needed for an imminent surgery.

            25. The following treatments for obesity:

                    Non-surgical treatment, even if for morbid obesity.
                    Surgical treatment of obesity unless there is a diagnosis of morbid obesity as
                    described under Obesity Surgery in Section 6, Additional Coverage Details.

            26. Treatment of hyperhidrosis (excessive sweating).

            27. Multi-disciplinary pain management programs provided on an inpatient basis for acute
                pain or for exacerbation of chronic pain.




            105                                                       SECTION 8- EXCLUSIONS AND LIMITATIONS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar113  of 213
                                                                              01 10:22   PAGEID #: 367
                                                                                       AM-24CV001784
OG750 - V71
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            SECTION 9 - CLAIMS PROCEDURES
                What this section includes:
                ■ How Network and non-Network claims work.

                ■    What to do if your claim is denied, in whole or in part.

            Network Benefits
            In general, if you receive Covered Health Services from a Network provider,
            UnitedHealthcare will pay the Physician or facility directly. If a Network provider bills you
            for any Covered Health Service other than your Copay or Coinsurance, please contact the
            provider or call UnitedHealthcare at the phone number on your ID card for assistance.

            Keep in mind, you are responsible for meeting the Annual Deductible and paying any Copay
            or Coinsurance owed to a Network provider at the time of service, or when you receive a bill
            from the provider.

            Non-Network Benefits
            If you receive a bill for Covered Health Services from a non-Network provider, you (or the
            provider if they prefer) must send the bill to UnitedHealthcare for processing. To make sure
            the claim is processed promptly and accurately, a completed claim form must be attached
            and mailed to UnitedHealthcare at the address on your ID card.

            Prescription Drug Benefit Claims
            If you wish to receive reimbursement for a prescription, you may submit a post-service claim
            as described in this section if:

            ■       You are asked to pay the full cost of the Prescription Drug Product when you fill it and
                    you believe that the Plan should have paid for it.
            ■       You pay Coinsurance and you believe that the amount of the Coinsurance was incorrect.
            If a pharmacy (retail or mail order) fails to fill a prescription that you have presented and you
            believe that it is a Covered Health Service, you may submit a pre-service request for Benefits
            as described in this section.

            If Your Provider Does Not File Your Claim
            You can obtain a claim form by visiting www.myuhc.com, calling the toll-free number on
            your ID card or contacting your local Benefit Solutions Group. If you do not have a claim
            form, simply attach a brief letter of explanation to the bill, and verify that the bill contains
            the information listed below. If any of these items are missing from the bill, you can include
            them in your letter:

            ■       Your name and address.
            ■       The patient's name, age and relationship to the Employee.
            ■       The number as shown on your ID card.


            106                                                                 SECTION 9 - CLAIMS PROCEDURES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar114  of 213
                                                                              01 10:22   PAGEID #: 368
                                                                                       AM-24CV001784
OG750 - V72
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     The name, address and tax identification number of the provider of the service(s).
            ■     A diagnosis from the Physician.
            ■     The date of service.
            ■     An itemized bill from the provider that includes:
                     The Current Procedural Terminology (CPT) codes.
                     A description of, and the charge for, each service.
                     The date the Sickness or Injury began.
                     A statement indicating either that you are, or you are not, enrolled for coverage
                     under any other health insurance plan or program. If you are enrolled for other
                     coverage you must include the name and address of the other carrier(s).
            Failure to provide all the information listed above may delay any reimbursement that may be
            due you.

            For medical claims, the above information should be filed with UnitedHealthcare at the
            address on your ID card. When filing a claim for Outpatient Prescription Drug Product
            Benefits, your claims should be submitted to:

            OptumRX
            PO Box 29077
            Hot Springs, AR 71903

            After UnitedHealthcare has processed your claim, you will receive payment for Benefits that
            the Plan allows. It is your responsibility to pay the non-Network provider the charges you
            incurred, including any difference between what you were billed and what the Plan paid.

            Payment ofBenefits
            Except as required by the No Surprises Act of the Consolidated Appropriations Act (P.L. 116-260),
            you may not assign, transfer, or in any way convey your Benefits under the Plan or any cause
            of action related to your Benefits under the Plan to a provider or to any other third party.
            Nothing in this Plan shall be construed to make the Plan, Plan Sponsor, or Claims
            Administrator or its affiliates liable for payments to a provider or to a third party to whom
            you may be liable for payments for Benefits.

            The Plan will not recognize claims for Benefits brought by a third party. Also, any such third
            party shall not have standing to bring any such claim independently, as a Covered Person or
            beneficiary, or derivatively, as an assignee of a Covered Person or beneficiary.

            References herein to "third parties" include references to providers as well as any collection
            agencies or third parties that have purchased accounts receivable from providers or to whom
            accounts receivables have been assigned.

            As a matter of convenience to a Covered Person, and where practicable for the Claims
            Administrator (as determined in its sole discretion), the Claims Administrator may make
            payment of Benefits directly to a provider.

            Any such payment to a provider:


            107                                                              SECTION 9 - CLAIMS PROCEDURES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar115  of 213
                                                                              01 10:22   PAGEID #: 369
                                                                                       AM-24CV001784
OG750 - V73
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     is NOT an assignment of your Benefits under the Plan or of any legal or equitable right
                  to institute any proceeding relating to your Benefits; and
            ■     is NOT a waiver of the prohibition on assignment of Benefits under the Plan; and
            ■     shall NOT estop the Plan, Plan Sponsor, or Claims Administrator from asserting that
                  any purported assignment of Benefits under the Plan is invalid and prohibited.
            If this direct payment for your convenience is made, the Plan's obligation to you with
            respect to such Benefits is extinguished by such payment. If any payment of your Benefits is
            made to a provider as a convenience to you, the Claims Administrator will treat you, rather
            than the provider, as the beneficiary of your claim for Benefits, and the Plan reserves the
            right to offset any Benefits to be paid to a provider by any amounts that the provider owes
            the Plan (including amounts owed as a result of the assignment of other plans' overpayment
            recovery rights to the Plan), pursuant to Refund o[Overpqyments in Section 10: Coordination of
            Benefits.

            Form ofPayment ofBene.its
            Payment of Benefits under the Plan shall be in cash or cash equivalents, or in the form of
            other consideration that UnitedHealthcare in its discretion determines to be adequate. Where
            Benefits are payable directly to a provider, such adequate consideration includes the
            forgiveness in whole or in part of amounts the provider owes to other plans for which
            UnitedHealthcare makes payments, where the Plan has taken an assignment of the other
            plans' recovery rights for value.

            Health Statements
            Each month in which UnitedHealthcare processes at least one claim for you or a covered
            Dependent, you will receive a Health Statement in the mail. Health Statements make it easy
            for you to manage your family's medical costs by providing claims information in easy-to-
            understand terms.

            If you would rather track claims for yourself and your covered Dependents online, you may
            do so at www.myuhc.com. You may also elect to discontinue receipt of paper Health
            Statements by making the appropriate selection on this site.

            Explanation of Benefits (EOB)
            You may request that UnitedHealthcare send you a paper copy of an Explanation of
            Benefits (EOB) after processing the claim. The EOB will let you know if there is any portion
            of the claim you need to pay. If any claims are denied in whole or in part, the EOB will
            include the reason for the denial or partial payment. If you would like paper copies of the
            EOBs, you may call the toll-free number on your ID card to request them. You can also
            view and print all of your EOBs online at www.myuhc.com. See Section 14, Glossary, for
            the definition of Explanation of Benefits.

                Important~ Timely Filing of Non~Network Claims
                All claim forms for non-Network services must be submitted within 12 months after the
                date of service. Otherwise, the Plan will not pay any Benefits for that Eligible Expense, or
                Benefits will be reduced, as determined by UnitedHealthcare. This 12-month requirement



            108                                                               SECTION 9 - CLAIMS PROCEDURES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar116  of 213
                                                                              01 10:22   PAGEID #: 370
                                                                                       AM-24CV001784
OG750 - V74
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                does not apply if you are legally incapacitated. If your claim relates to an Inpatient Stay,
                the date of service is the date your Inpatient Stay ends.

            Claim Denials and Appeals
            If Your Claim is Denied
            If a claim for Benefits is denied in part or in whole, you may call UnitedHealthcare at the
            number on your ID card before requesting a formal appeal. If UnitedHealthcare cannot
            resolve the issue to your satisfaction over the phone, you have the right to file a formal
            appeal as described below.

            How to Appeal a Denied Claim
            If you wish to appeal a denied pre-service request for Benefits, post-service claim or a
            rescission of coverage as described below, you or your authorized representative must
            submit your appeal in writing within 180 days of receiving the adverse benefit determination.
            You do not need to submit urgent care appeals in writing. This communication should
            include:

            ■       The patient's name and ID number as shown on the ID card.
            ■       The provider's name.
            ■       The date of medical service.
            ■       The reason you disagree with the denial.
            ■       Any documentation or other written information to support your request.
            You or your authorized representative may send a written request for an appeal to:

            UnitedHealthcare - Appeals
            P.O. Box 30432
            Salt Lake City, Utah 84130-0432

            For urgent care requests for Benefits that have been denied, you or your provider can call
            UnitedHealthcare at the toll-free number on your ID card to request an appeal.

                Types of claims
                The timing of the claims appeal process is based on the type of claim you are appealing.
                If you wish to appeal a claim, it helps to understand whether it is an:
                ■ Urgent care request for Benefits.

                ■    Pre~service request for Benefits.
                ■    Post-service claim.
                ■    Concurrent claim.

            Urgent Appeals that Require Immediate Action
            Your appeal may require immediate action if a delay in treatment could significantly increase
            the risk to your health, or the ability to regain maximum function, or cause severe pain. If



            109                                                                 SECTION 9 - CLAIMS PROCEDURES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar117  of 213
                                                                              01 10:22   PAGEID #: 371
                                                                                       AM-24CV001784
OG750 - V75
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            your situation is urgent, your review will be conducted as quickly as possible. If you believe
            your situation is urgent, you may request an expedited review, and, if applicable, file an
            external review at the same time. For help call the Claims Administrator at the number listed
            on your health plan ID card. Generally, an urgent situation is when your life or health may
            be in serious jeopardy. Or when, in the opinion of your doctor, you may be experiencing
            severe pain that cannot be adequately controlled while you wait for a decision on your claim
            or appeal.

            Review ofan Appeal
            UnitedHealthcare will conduct a full and fair review of your appeal. The appeal may be
            reviewed by:

            ■     An appropriate individual(s) who did not make the initial benefit determination.
            ■     A health care professional with appropriate expertise who was not consulted during the
                  initial benefit determination process.
           Once the review is complete, if UnitedHealthcare upholds the denial, you will receive a
           written explanation of the reasons and facts relating to the denial.

           Filing a Second Appeal
           Your Plan offers two levels of appeal. If you are not satisfied with the first level appeal
           decision, you have the right to request a second level appeal from the Claims Administrator
           within 60 days from receipt of the first level appeal determination.

            Note: Upon written request and free of charge, any Covered Persons may examine their
            claim and/ or appeals file(s). Covered Persons may also submit evidence, opinions and
            comments as part of the internal claims review process. the Claims Administrator will review
            all claims in accordance with the rules established by the U.S. Department of Labor. Any
            Covered Person will be automatically provided, free of charge, and sufficiently in advance of
            the date on which the notice of final internal adverse benefit determination is required, with:
            (i) any new or additional evidence considered, relied upon or generated by the Plan in
            connection with the claim; and, (ii) a reasonable opportunity for any Covered Person to
            respond to such new evidence or rationale.

            External Review Program
           If, after exhausting your internal appeals, you are not satisfied with the determination made
           by UnitedHealthcare, or if UnitedHealthcare fails to respond to your appeal in accordance
           with applicable regulations regarding timing, you may be entitled to request an external
           review of UnitedHealthcare's determination. The process is available at no charge to you.

            If one of the above conditions is met, you may request an external review of adverse benefit
            determinations based upon any of the following:

            ■     Clinical reasons.
            ■     The exclusions for Experimental or Investigational Service(s) or Unproven Service(s).
            ■     Rescission of coverage (coverage that was cancelled or discontinued retroactively).



            110                                                              SECTION 9 - CLAIMS PROCEDURES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar118  of 213
                                                                              01 10:22   PAGEID #: 372
                                                                                       AM-24CV001784
OG750 - V76
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     As otherwise required by applicable law.
            You or your representative may request a standard external review by sending a written
            request to the address set out in the determination letter. You or your representative may
            request an expedited external review, in urgent situations as detailed below, by calling the
            number on your ID card or by sending a written request to the address set out in the
            determination letter. A request must be made within four months after the date you received
            UnitedHealthcare's decision.

            An external review request should include all of the following:

            ■     A specific request for an external review.
            ■     The Covered Person's name, address, and insurance ID number.
            ■     Your designated representative's name and address, when applicable.
            ■     The service that was denied.
            ■     Any new, relevant information that was not provided during the internal appeal.
            An external review will be performed by an Independent Review Organization (IRO).
            UnitedHealthcare has entered into agreements with three or more IROs that have agreed to
            perform such reviews. There are two types of external reviews available:

            ■     A standard external review.
            ■     An expedited external review.

            Standard External Review
            A standard external review is comprised of all of the following:

            ■     A preliminary review by UnitedHealthcare of the request.
            ■     A referral of the request by UnitedHealthcare to the IRO.
            ■     A decision by the IRO.
            Within the applicable timeframe after receipt of the request, UnitedHealthcare will complete
            a preliminary review to determine whether the individual for whom the request was
            submitted meets all of the following:

            ■     Is or was covered under the Plan at the time the health care service or procedure that is
                  at issue in the request was provided.
            ■     Has exhausted the applicable internal appeals process.
            ■     Has provided all the information and forms required so that UnitedHealthcare may
                  process the request.
           After UnitedHealthcare completes the preliminary review, UnitedHealthcare will issue a
           notification in writing to you. If the request is eligible for external review, UnitedHealthcare
           will assign an IRO to conduct such review. UnitedHealthcare will assign requests by either
           rotating claims assignments among the IROs or by using a random selection process.



            111                                                                SECTION 9 - CLAIMS PROCEDURES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar119  of 213
                                                                              01 10:22   PAGEID #: 373
                                                                                       AM-24CV001784
OG750 - V77
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           The IRO will notify you in writing of the request's eligibility and acceptance for external
           review and if necessary, for any additional information needed to conduct the external
           review. You will generally have to submit the additional information in writing to the IRO
           within ten business days following the date you receive the JRO's request for the additional
           information. The IRO is not required to, but may, accept and consider additional
           information submitted by you after ten business days.

            UnitedHealthcare will provide to the assigned IRO the documents and information
            considered in making UnitedHealthcare's determination. The documents include:

            ■     All relevant medical records.
            ■     All other documents relied upon by UnitedHealthcare.
            ■     All other information or evidence that you or your Physician submitted. If there is any
                  information or evidence you or your Physician wish to submit that was not previously
                  provided, you may include this information with your external review request and
                  UnitedHealthcare will include it with the documents forwarded to the IRO.
            In reaching a decision, the IRO will review the claim as new and not be bound by any
            decisions or conclusions reached by UnitedHealthcare. The IRO will provide written notice
            of its determination (the "Final External Review Decision") within 45 days after it receives
            the request for the external review (unless they request additional time and you agree). The
            IRO will deliver the notice of Final External Review Decision to you and UnitedHealthcare,
            and it will include the clinical basis for the determination.

            Upon receipt of a Final External Review Decision reversing UnitedHealthcare
            determination, the Plan will immediately provide coverage or payment for the benefit claim
            at issue in accordance with the terms and conditions of the Plan, and any applicable law
            regarding plan remedies. If the Final External Review Decision agrees with
            UnitedHealthcare's determination, the Plan will not be obligated to provide Benefits for the
            health care service or procedure.

            Expedited External Review
            An expedited external review is similar to a standard external review. The most significant
            difference between the two is that the time periods for completing certain portions of the
            review process are much shorter, and in some instances you may file an expedited external
            review before completing the internal appeals process.

            You may make a written or verbal request for an expedited external review if you receive
            either of the following:

            ■     An adverse benefit determination of a claim or appeal if the adverse benefit
                  determination involves a medical condition for which the time frame for completion of
                  an expedited internal appeal would seriously jeopardize the life or health of the
                  individual or would jeopardize the individual's ability to regain maximum function and
                  you have filed a request for an expedited internal appeal.
            ■     A final appeal decision, if the determination involves a medical condition where the
                  timeframe for completion of a standard external review would seriously jeopardize the


            112                                                              SECTION 9 - CLAIMS PROCEDURES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar120  of 213
                                                                              01 10:22   PAGEID #: 374
                                                                                       AM-24CV001784
OG750 - V78
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                  life or health of the individual or would jeopardize the individual's ability to regain
                  maximum function, or if the final appeal decision concerns an admission, availability of
                  care, continued stay, or health care service, procedure or product for which the
                  individual received emergency services, but has not been discharged from a facility.
            Immediately upon receipt of the request, UnitedHealthcare will determine whether the
            individual meets both of the following:

            ■     Is or was covered under the Plan at the time the health care service or procedure that is
                  at issue in the request was provided.
            ■     Has provided all the information and forms required so that UnitedHealthcare may
                  process the request.
            After UnitedHealthcare completes the review, UnitedHealthcare will immediately send a
            notice in writing to you. Upon a determination that a request is eligible for expedited
            external review, UnitedHealthcare will assign an IRO in the same manner UnitedHealthcare
            utilizes to assign standard external reviews to IROs. UnitedHealthcare will provide all
            necessary documents and information considered in making the adverse benefit
            determination or final adverse benefit determination to the assigned IRO electronically or by
            telephone or facsimile or any other available expeditious method. The IRO, to the extent the
            information or documents are available and the IRO considers them appropriate, must
            consider the same type of information and documents considered in a standard external
            review.

            In reaching a decision, the IRO will review the claim as new and not be bound by any
            decisions or conclusions reached by UnitedHealthcare. The IRO will provide notice of the
            final external review decision for an expedited external review as expeditiously as the
            claimant's medical condition or circumstances require, but in no event more than 72 hours
            after the IRO receives the request. If the initial notice is not in writing, within 48 hours after
            the date of providing the initial notice, the assigned IRO will provide written confirmation of
            the decision to you and to UnitedHealthcare.

            You may contact UnitedHealthcare at the toll-free number on your ID card for more
            information regarding external review rights, or if making a verbal request for an expedited
            external review.

              Timing ofAppeals Determinations
            Separate schedules apply to the timing of claims appeals, depending on the type of claim.
            There are three types of claims:

            ■     Urgent care request for Benefits - a request for Benefits provided in connection with
                  urgent care services.
            ■     Pre-Service request for Benefits - a request for Benefits which the Plan must approve or
                  in which you must notify UnitedHealthcare before non-urgent care is provided.
            ■     Post-Service - a claim for reimbursement of the cost of non-urgent care that has already
                  been provided.




            113                                                               SECTION 9 - CLAIMS PROCEDURES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar121  of 213
                                                                              01 10:22   PAGEID #: 375
                                                                                       AM-24CV001784
OG750 - V79
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Please note that the decision is based only on whether or not Benefits are available under the
            Plan for the proposed treatment or procedure.

            You may have the right to external review through an Independent Review Organization (IRO)
            upon the completion of the internal appeal process. Instructions regarding any such rights,
            and how to access those rights, will be provided in the Claims Administrator's decision letter
            to you.

            The tables below describe the time frames which you and UnitedHealthcare are required to
            follow.

                                         Urgent Care Request for Benefits*
                        Type of Request for Benefits or Appeal                              Timing
              If your request for Benefits is incomplete, UnitedHealthcare
                                                                                           24 hours
              must notify you within:

                                                                                        48 hours after
              You must then provide completed request for Benefits to                 receiving notice of
              UnitedHealthcare within:                                              additional information
                                                                                           required

              UnitedHealthcare must notify you of the benefit
                                                                                           72 hours
              determination within:

                                                                                        180 days after
              If UnitedHealthcare denies your request for Benefits, you
                                                                                     receiving the adverse
              must appeal an adverse benefit determination no later than:
                                                                                     benefit determination

              UnitedHealthcare must notify you of the appeal decision                    72 hours after
              within:                                                                 receiving the appeal

              *You do not need to submit urgent care appeals in writing. You should call UnitedHealthcare as
              soon as possible to appeal an urgent care request for Benefits.


                                          Pre-Service Request for Benefits*
                        Type of Request for Benefits or Appeal                              Timing
              If your request for Benefits is filed improperly,
                                                                                             5 days
              UnitedHealthcare must notify you within:

              If your request for Benefits is incomplete, UnitedHealthcare
                                                                                            15 days
              must notify you within:

              You must then provide completed request for Benefits
                                                                                            45 days
              information to UnitedHealthcare within:

              UnitedHealthcare must notify you of the benefit determination:




            114                                                                SECTION 9 - CLAIMS PROCEDURES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar122  of 213
                                                                              01 10:22   PAGEID #: 376
                                                                                       AM-24CV001784
OG750 -   vao
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                            Urgent Care Request for Benefits*
                          Type of Request for Benefits or Appeal                               Timing

                ■   if the initial request for Benefits is complete, within:                   15 days

                ■   after receiving the completed request for Benefits (if the
                                                                                               15 days
                    initial request for Benefits is incomplete), within:

                                                                                           180 days after
                You must appeal an adverse benefit determination no later
                                                                                        receiving the adverse
                than:
                                                                                        benefit determination

                UnitedHealthcare must notify you of the first level appeal             15 days after receiving
                decision within:                                                         the first level appeal

                                                                                       60 days after receiving
                You must appeal the first level appeal (file a second level
                                                                                         the first level appeal
                appeal) within:
                                                                                                decision

                UnitedHealthcare must notify you of the second level appeal            15 days after receiving
                decision within:                                                       the second level appeal

                *UnitedHealthcare may require a one-time extension for the initial claim determination, of no
                more than 15 days, only if more time is needed due to circumstances beyond control of the Plan.


                                                    Post-Service Claims
                                   Type of Claim or Appeal                                     Timing
                If your claim is incomplete, UnitedHealthcare must notify you
                                                                                               30 days
                within:

                You must then provide completed claim information to
                                                                                               45 days
                UnitedHealthcare within:

                UnitedHealthcare must notify you of the benefit determination:

                ■   if the initial claim is complete, within:                                  30 days

                ■   after receiving the completed claim (if the initial claim is
                                                                                               30 days
                    incomplete), within:

                                                                                           180 days after
                You must appeal an adverse benefit determination no later
                                                                                        receiving the adverse
                than:
                                                                                        benefit determination

                UnitedHealthcare must notify you of the first level appeal             30 days after receiving
                decision within:                                                         the first level appeal




            115                                                                    SECTION 9 - CLAIMS PROCEDURES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar123  of 213
                                                                              01 10:22   PAGEID #: 377
                                                                                       AM-24CV001784
OG750 - V81
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                        Urgent Care Request for Benefits*
                        Type of Request for Benefits or Appeal                           Timing
                                                                                 60 days after receiving
              You must appeal the first level appeal (file a second level
                                                                                   the first level appeal
              appeal) within:
                                                                                          decision

              UnitedHealthcare must notify you of the second level appeal        30 days after receiving
              decision within:                                                   the second level appeal

            Concurrent Care Claims
           If an on-going course of treatment was previously approved for a specific period of time or
           number of treatments, and your request to extend the treatment is an urgent care request for
           Benefits as defined above, your request will be decided within 24 hours, provided your
           request is made at least 24 hours prior to the end of the approved treatment.
           UnitedHealthcare will make a determination on your request for the extended treatment
           within 24 hours from receipt of your request.

           If your request for extended treatment is not made at least 24 hours prior to the end of the
           approved treatment, the request will be treated as an urgent care request for Benefits and
           decided according to the timeframes described above. If an on-going course of treatment
           was previously approved for a specific period of time or number of treatments, and you
           request to extend treatment in a non-urgent circumstance, your request will be considered a
           new request and decided according to post-service or pre-service timeframes, whichever
           applies.

            Limitation of Action
           You cannot bring any legal action against Jones Lang LaSalle or the Claims Administrator to
           recover reimbursement until 90 days after you have properly submitted a request for
           reimbursement as described in this section and all required reviews of your claim have been
           completed. If you want to bring a legal action against Jones Lang LaSalle or the Claims
           Administrator, you must do so within three years from the expiration of the time period in
           which a request for reimbursement must be submitted or you lose any rights to bring such
           an action against Jones Lang LaSalle or the Claims Administrator.

            You cannot bring any legal action against Jones Lang LaSalle or the Claims Administrator
            for any other reason unless you first complete all the steps in the appeal process described in
            this section. After completing that process, if you want to bring a legal action against Jones
            Lang LaSalle or the Claims Administrator you must do so within three years of the date you
            are notified of the final decision on your appeal or you lose any rights to bring such an
            action against Jones Lang LaSalle or the Claims Administrator.




            116                                                             SECTION 9 - CLAIMS PROCEDURES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar124  of 213
                                                                              01 10:22   PAGEID #: 378
                                                                                       AM-24CV001784
OG750 - V82
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            SECTION 10 - COORDINATION OF BENEFITS (COB)
            Benefits When You Have Coverage under More than One Plan
            This section describes how Benefits under the Plan will be coordinated with those of any
            other plan that provides benefits to you.

            When Does Coordination of Benefits Apply?
            This Coordination of Benefits (COB) provision applies to you if you are covered by more than
            one health benefits plan, including any one of the following:

            ■     Another employer sponsored health benefits plan.

            ■     A medical component of a group long-term care plan, such as skilled nursing care.

            ■     No-fault or traditional "fault" type medical payment benefits or personal injury
                  protection benefits under an auto insurance policy.

            ■     Medical payment benefits under any premises liability or other types of liability coverage.

            ■     Medicare or other governmental health benefit.

            If coverage is provided under two or more plans, COB determines which plan is primary
            and which plan is secondary. The plan considered primary pays its benefits first, without
            regard to the possibility that another plan may cover some expenses. Any remaining
            expenses may be paid under the other plan, which is considered secondary. The Secondary
            Plan may determine its benefits based on the benefits paid by the Primary Plan. How much
            this Plan will reimburse you, if anything, will also depend in part on the Allowable Expense.
            The term, "Allowable Expense," is further explained below.

            What Are the Rules for Determining the Order of Benefit Payments?
            Order ofBenefit Determination Rules
            The order of benefit determination rules determine whether this Plan is a Primary Plan or
            Secondary Plan when the person has health care coverage under more than one Plan. When
            this Plan is primary, it determines payment for its benefits first before those of any other
            Plan without considering any other Plan's benefits. When this Plan is secondary, it
            determines its benefits after those of another Plan and may reduce the benefits it pays so
            that all Plan benefits do not exceed 100% of the total Allowable Expense.

            The order of benefit determination rules below govern the order in which each Plan will pay
            a claim for benefits.

            ■     Primary Plan. The Plan that pays first is called the Primary Plan. The Primary Plan must
                  pay benefits in accordance with its policy terms without regard to the possibility that
                  another Plan may cover some expenses.




            117                                                 SECTION 10- COORDINATION OF BENEFITS (COB)
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar125  of 213
                                                                              01 10:22   PAGEID #: 379
                                                                                       AM-24CV001784
OG750 - V83
                                                                    JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     Secondary Plan. The Plan that pays after the Primary Plan is the Secondary Plan. The
                  Secondary Plan may reduce the benefits it pays so that payments from all Plans do not
                  exceed 100% of the total Allowable Expense. Allowable Expense is defined below.

            When a person is covered by two or more Plans, the rules for determining the order of
            benefit payments are as follows:

            A. This Plan will always be secondary to medical payment coverage or personal injury
               protection coverage under any auto liability or no-fault insurance policy.

            B. When you have coverage under two or more medical plans and only one has COB
               provisions, the plan without COB provisions will pay benefits first.

            C. Each Plan determines its order of benefits using the first of the following rules that
                  apply:
                  1.       Non-Dependent or Dependent. The Plan that covers the person other than as a
                           dependent, for example as an employee, former employee under COBRA,
                           policyholder, subscriber or retiree is the Primary Plan and the Plan that covers the
                           person as a dependent is the Secondary Plan. However, if the person is a Medicare
                           beneficiary and, as a result of federal law, Medicare is secondary to the Plan
                           covering the person as a dependent; and primary to the Plan covering the person
                           as other than a dependent (e.g. a retired employee); then the order of benefits
                           between the two Plans is reversed so that the Plan covering the person as an
                           employee, policyholder, subscriber or retiree is the Secondary Plan and the other
                           Plan is the Primary Plan.
                  2.       Dependent Child Covered Under More Than One Coverage Plan. Unless
                           there is a court decree stating otherwise, plans covering a dependent child shall
                           determine the order of benefits as follows:
                           a)  For a dependent child whose parents are married or are living together,
                              whether or not they have ever been married:
                              (1) The Plan of the parent whose birthday falls earlier in the calendar year is
                                  the Primary Plan; or
                              (2) If both parents have the same birthday, the Plan that covered the parent
                                  longest is the Primary Plan.
                           b) For a dependent child whose parents are divorced or separated or are not
                              living together, whether or not they have ever been married:
                              (1) If a court decree states that one of the parents is responsible for the
                                  dependent child's health care expenses or health care coverage and the Plan
                                  of that parent has actual knowledge of those terms, that Plan is primary. If
                                  the parent with responsibility has no health care coverage for the
                                  dependent child's health care expenses, but that parent's spouse does, that
                                  parent's spouse's plan is the Primary Plan. This shall not apply with respect
                                  to any plan year during which benefits are paid or provided before the
                                  entity has actual knowledge of the court decree provision.



            118                                                    SECTION 10- COORDINATION OF BENEFITS (COB)
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar126  of 213
                                                                              01 10:22   PAGEID #: 380
                                                                                       AM-24CV001784
OG750 - V84
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                            (2) If a court decree states that both parents are responsible for the dependent
                                child's health care expenses or health care coverage, the provisions of
                                subparagraph a) above shall determine the order of benefits.
                            (3) If a court decree states that the parents have joint custody without
                                specifying that one parent has responsibility for the health care expenses or
                                health care coverage of the dependent child, the provisions of
                                subparagraph a) above shall determine the order of benefits.
                            (4) If there is no court decree allocating responsibility for the child's health
                                care expenses or health care coverage, the order of benefits for the child
                                are as follows:
                                a)     The Plan covering the Custodial Parent.
                                b)     The Plan covering the Custodial Parent's spouse.
                                c)     The Plan covering the non-Custodial Parent.
                                d)     The Plan covering the non-Custodial Parent's spouse.
                                For purpose of this section, Custodial Parent is the parent awarded custody
                                by a court decree or, in the absence of a court decree, is the parent with
                                whom the child resides more than one half of the calendar year excluding
                                any temporary visitation.
                       c)   For a dependent child covered under more than one plan of individuals who
                            are not the parents of the child, the order of benefits shall be determined, as
                            applicable, under subparagraph a) orb) above as if those individuals were
                            parents of the child.
                       d) (i) For a dependent child who has coverage under either or both parents' plans
                            and also has his or her own coverage as a dependent under a spouse's plan, the
                            rule in paragraph (5) applies.
                            (ii) In the event the dependent child's coverage under the spouse's plan began
                            on the same date as the dependent child's coverage under either or both
                            parents' plans, the order of benefits shall be determined by applying the
                            birthday rule in subparagraph (a) to the dependent child's parent(s) and the
                            dependent's spouse.
                  3.   Active Employee or Retired or Laid-off Employee. The Plan that covers a
                       person as an active employee, that is, an employee who is neither laid off nor
                       retired is the Primary Plan. The same would hold true if a person is a dependent of
                       an active employee and that same person is a dependent of a retired or laid-off
                       employee. If the other Plan does not have this rule, and, as a result, the Plans do
                       not agree on the order of benefits, this rule is ignored. This rule does not apply if
                       the rule labeled D.1. can determine the order of benefits.
                  4.   COBRA or State Continuation Coverage. If a person whose coverage is
                       provided pursuant to COBRA or under a right of continuation provided by state
                       or other federal law is covered under another Plan, the Plan covering the person as
                       an employee, member, subscriber or retiree or covering the person as a dependent
                       of an employee, member, subscriber or retiree is the Primary Plan, and the
                       COBRA or state or other federal continuation coverage is the Secondary Plan. If



            119                                                 SECTION 10- COORDINATION OF BENEFITS (COB)
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar127  of 213
                                                                              01 10:22   PAGEID #: 381
                                                                                       AM-24CV001784
OG750 - V85
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                        the other Plan does not have this rule, and as a result, the Plans do not agree on
                        the order of benefits, this rule is ignored. This rule does not apply if the rule
                        labeled D.1. can determine the order of benefits.
                  5.    Longer or Shorter Length of Coverage. The Plan that covered the person the
                        longer period of time is the Primary Plan and the Plan that covered the person the
                        shorter period of time is the Secondary Plan.
                  6.    If the preceding rules do not determine the order of benefits, the Allowable
                        Expenses shall be shared equally between the Plans meeting the definition of Plan.
                        In addition, this Plan will not pay more than it would have paid had it been the
                        Primary Plan.

            How Are Benefits Paid When This Plan is Secondary?
            If this Plan is secondary, it determines the amount it will pay for a Covered Health Services
            by following the steps below.

            ■     The Plan determines the amount it would have paid based on the Allowable Expense.

            ■     If this Plan would have paid the same amount or less than the Primary Plan paid, this
                  Plan pays no Benefits.

            ■     If this Plan would have paid more than the Primary Plan paid, the Plan will pay the
                  difference.

            You will be responsible for any applicable Copayment, Coinsurance or Deductible payments
            as part of the COB payment. The maximum combined payment you can receive from all
            plans may be less than 100% of the Allowable Expense.

            How is the Allowable Expense Determined when this Plan is Secondary?
            Determining the Allowable Expense If this Plan is Secondary
            What is an Allowable Expense? For purposes of COB, an Allowable Expense is a health care
            expense that is covered at least in part by one of the health benefit plans covering you.

            When the provider is a Network provider for both the Primary Plan and this Plan, the
            Allowable Expense is the Primary Plan's network rate. When the provider is a network
            provider for the Primary Plan and a non-Network provider for this Plan, the Allowable
            Expense is the Primary Plan's network rate. When the provider is a non-Network provider
            for the Primary Plan and a Network provider for this Plan, the Allowable Expense is the
            reasonable and customary charges allowed by the Primary Plan. When the provider is a non-
            Network provider for both the Primary Plan and this Plan, the Allowable Expense is the
            greater of the two Plans' reasonable and customary charges. If this plan is secondary to
            Medicare, please also refer to the discussion in the section below, titled "Determining the
            Allowable Expense When this Plan is Secondary to Medicare".




            120                                                 SECTION 10- COORDINATION OF BENEFITS (COB)
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar128  of 213
                                                                              01 10:22   PAGEID #: 382
                                                                                       AM-24CV001784
OG750 - V86
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            What is Different When You Qualify for Medicare?
            Determining Which Plan is Primary When You Qualify for Medicare
            As permitted by law, this Plan will pay Benefits second to Medicare when you become
            eligible for Medicare, even if you don't elect it. There are, however, Medicare-eligible
            individuals for whom the Plan pays Benefits first and Medicare pays benefits second:

            ■     Employees with active current employment status age 65 or older and their Spouses age
                  65 or older (however, Domestic Partners are excluded as provided by Medicare).

            ■     Individuals with end-stage renal disease, for a limited period of time.

            ■     Disabled individuals under age 65 with current employment status and their Dependents
                  under age 65.

            Determining the Allowable Expense When this Plan is Secondary to Medicare
            If this Plan is secondary to Medicare, the Medicare approved amount is the Allowable
            Expense, as long as the provider accepts reimbursement directly from Medicare. If the
            provider accepts reimbursement directly from Medicare, the Medicare approved amount is
            the charge that Medicare has determined that it will recognize and which it reports on an
            "explanation of Medicare benefits" issued by Medicare (the "EOMB") for a given service.
            Medicare typically reimburses such providers a percentage of its approved charge - often
            80%.

            If the provider does not accept assignment of your Medicare benefits, the Medicare limiting
            charge (the most a provider can charge you if they don't accept Medicare - typically 115% of
            the Medicare approved amount) will be the Allowable Expense. Medicare payments,
            combined with Plan Benefits, will not exceed 100% of the Allowable Expense.

            If you are eligible for, but not enrolled in, Medicare, and this Plan is secondary to Medicare,
            or if you have enrolled in Medicare but choose to obtain services from an Opt-out provider
            or one that does not participate in the Medicare program or a provider who does not accept
            assignment of Medicare benefits, Benefits will be paid on a secondary basis under this Plan
            and will be determined as if you timely enrolled in Medicare and obtained services from a
            Medicare participating provider.

            When calculating the Plan's Benefits in these situations, and when Medicare does not issue
            an EOMB, for administrative convenience the Claims Administrator will treat the provider's
            billed charges for covered services as the Allowable Expense for both the Plan and
            Medicare, rather than the Medicare approved amount or Medicare limiting charge.

            Medicare Crossover Program
            The Plan offers a Medicare Crossover program for Medicare Part A and Part B and Durable
            Medical Equipment (DME) claims. Under this program, you no longer have to file a
            separate claim with the Plan to receive secondary benefits for these expenses. Your
            Dependent will also have this automated Crossover, as long as he or she is eligible for
            Medicare and this Plan is your only secondary medical coverage.




            121                                                 SECTION 10- COORDINATION OF BENEFITS (COB)
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar129  of 213
                                                                              01 10:22   PAGEID #: 383
                                                                                       AM-24CV001784
OG750 - V87
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Once the Medicare Part A and Part B electronically submit the necessary information to the
            Claims Administrator to process the balance of your claim under the provisions of this Plan.

            You can verify that the automated crossover took place when your copy of the explanation
            of Medicare benefits (EOMB) states your claim has been forwarded to your secondary
            earner.

            This crossover process does not apply to expenses that Medicare does not cover. You must
            continue to file claims for these expenses.

            For information about enrollment or if you have questions about the program, call the
            telephone number listed on your ID card.

            Right to Receive and Release Needed Information?
            Certain facts about health care coverage and services are needed to apply these COB rules
            and to determine benefits payable under this Plan and other plans. The Claims
            Administrator may get the facts needed from, or give them to, other organizations or
            persons for the purpose of applying these rules and determining benefits payable under this
            Plan and other plans covering the person claiming benefits.

            The Claims Administrator does not need to tell, or get the consent of, any person to do this.
            Each person claiming benefits under this Plan must give the Claims Administrator any facts
            needed to apply those rules and determine benefits payable. If you do not provide the
            Claims Administrator the information needed to apply these rules and determine the
            Benefits payable, your claim for Benefits will be denied.

            Does This Plan Have the Right of Recovery?
            Overpayment and Underpayment ofBene.its
            If you are covered under more than one medical plan, there is a possibility that the other
            plan will pay a benefit that the Plan should have paid. If this occurs, the Plan may pay the
            other plan the amount owed.

           If the Plan pays you more than it owes under this COB provision, you should pay the excess
           back promptly. Otherwise, the Plan Sponsor may recover the amount in the form of salary,
           wages, or benefits payable under any Plan Sponsor-funded benefit plans, including this Plan.
           The Plan Sponsor also reserves the right to recover any overpayment by legal action or
           offset payments on future Eligible Expenses.

            If the Plan overpays a health care provider, the Claims Administrator reserves the right to
            recover the excess amount from the provider pursuant to Refund of Overpayments, below.

            Refund of Overpayments
            If the Plan pays for Benefits for expenses incurred on account of a Covered Person, that
            Covered Person or any other person or organization that was paid, must make a refund to
            the Plan if:




            122                                               SECTION 10- COORDINATION OF BENEFITS (COB)
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar130  of 213
                                                                              01 10:22   PAGEID #: 384
                                                                                       AM-24CV001784
OG750 - V88
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     The Plan's obligation to pay Benefits was contingent on the expenses incurred being
                  legally owed and paid by you, but all or some of the expenses were not paid by you or
                  did not legally have to be paid by you.

            ■     All or some of the payment the Plan made exceeded the Benefits under the Plan.

            ■     All or some of the payment was made in error.
            The amount that must be refunded equals the amount the Plan paid in excess of the amount
            that should have been paid under the Plan. If the refund is due from another person or
            organization, you agree to help the Plan get the refund when requested.

            If the refund is due from you and you do not promptly refund the full amount owed, the
            Plan may recover the overpayment by reallocating the overpaid amount to pay, in whole or
            in part, future Benefits for you that are payable under the Plan. If the refund is due from a
            person or organization other than you, the Plan may recover the overpayment by
            reallocating the overpaid amount to pay, in whole or in part, (i) future Benefits that are
            payable in connection with services provided to other Covered Persons under the Plan; or
            (ii) future Benefits that are payment in connection with services provided to persons under
            other plans for which the Claims Administrator processes payments, pursuant to a
            transaction in which the Plan's overpayment recovery rights are assigned to such other plans
            in exchange for such plans' remittance of the amount of the reallocated payment. The
            reallocated payment amount will either:

            ■     equal the amount of the required refund, or

            ■     if less than the full amount of the required refund, will be deducted from the amount of
                  refund owed to the Plan.

            The Plan may have other rights in addition to the right to reallocate overpaid amounts and
            other enumerated rights, including the right to commence a legal action.




            123                                                 SECTION 10- COORDINATION OF BENEFITS (COB)
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar131  of 213
                                                                              01 10:22   PAGEID #: 385
                                                                                       AM-24CV001784
OG750 - V89
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            SECTION 11 - SUBROGATION AND REIMBURSEMENT
            The Plan has a right to subrogation and reimbursement. References to "you" or "your" in
            this Subrogation and Reimbursement section shall include you, your estate and your heirs
            and beneficiaries unless otherwise stated.

            Subrogation applies when the plan has paid Benefits on your behalf for a Sickness or Injury
            for which any third party is allegedly to be responsible. The right to subrogation means that
            the Plan is substituted to and shall succeed to any and all legal claims that you may be
            entitled to pursue against any third party for the Benefits that the Plan has paid that are
            related to the Sickness or Injury for which any third party is considered responsible.

                Subrogation ~ Example
                Suppose you are injured in a car accident that is not your fault, and you receive Benefits
                under the Plan to treat your injuries. Under subrogation, the Plan has the right to take
                legal action in your name against the driver who caused the accident and that driver's
                insurance carrier to recover the cost of those Benefits.

           The right to reimbursement means that if it is alleged that any third party caused or is
           responsible for a Sickness or Injury for which you receive a settlement, judgment, or other
           recovery from any third party, you must use those proceeds to fully return to the Plan 100%
           of any Benefits you receive for that Sickness or Injury. The right of reimbursement shall
           apply to any Benefits received at any time until the rights are extinguished, resolved or
           waived in writing.

                Reimbursement - Example
                Suppose you are injured in a boating accident that is not your fault, and you receive
                Benefits under the Plan as a result of your injuries. In addition, you receive a settlement in
                a court proceeding from the individual who caused the accident. You must use the
                settlement funds to return to the plan 100% of any Benefits you received to treat your
                m1unes.

            The following persons and entities are considered third parties:

            ■     A person or entity alleged to have caused you to suffer a Sickness, Injury or damages, or
                  who is legally responsible for the Sickness, Injury or damages.
            ■     Any insurer or other indemnifier of any person or entity alleged to have caused or who
                  caused the Sickness, Injury or damages.
            ■     The Plan Sponsor in a workers' compensation case or other matter alleging liability.
            ■     Any person or entity who is or may be obligated to provide Benefits or payments to you,
                  including Benefits or payments for underinsured or uninsured motorist protection, no-
                  fault or traditional auto insurance, medical payment coverage (auto, homeowners or
                  otherwise), workers' compensation coverage, other insurance carriers or third party
                  administrators.




            124                                                  SECTION 11 - SUBROGATION AND REIMBURSEMENT
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar132  of 213
                                                                              01 10:22   PAGEID #: 386
                                                                                       AM-24CV001784
OG750 - V90
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     Any person or entity against whom you may have any claim for professional and/ or legal
                  malpractice arising out of or connected to a Sickness or Injury you allege or could have
                  alleged were the responsibility of any third party.
            ■     Any person or entity that is liable for payment to you on any equitable or legal liability
                  theory.
            You agree as follows:

            ■     You will cooperate with the Plan in protecting its legal and equitable rights to
                  subrogation and reimbursement in a timely manner, including, but not limited to:
                      Notifying the Plan, in writing, of any potential legal claim(s) you may have against
                      any third party for acts which caused Benefits to be paid or become payable.
                      Providing any relevant information requested by the Plan.
                      Signing and/ or delivering such documents as the Plan or its agents reasonably
                      request to secure the subrogation and reimbursement claim.
                      Responding to requests for information about any accident or injuries.
                      Making court appearances.
                      Obtaining the Plan's consent or its agents' consent before releasing any party from
                      liability or payment of medical expenses.
                      Complying with the terms of this section.

                  Your failure to cooperate with the Plan is considered a breach of contract. As such, the
                  Plan has the right to terminate your Benefits, deny future Benefits, take legal action
                  against you, and/ or set off from any future Benefits the value of Benefits the Plan has
                  paid relating to any Sickness or Injury alleged to have been caused or caused by any third
                  party to the extent not recovered by the Plan due to you or your representative not
                  cooperating with the Plan. If the Plan incurs attorneys' fees and costs in order to collect
                  third party settlement funds held by you or your representative, the Plan has the right to
                  recover those fees and costs from you. You will also be required to pay interest on any
                  amounts you hold which should have been returned to the Plan.
            ■     The Plan has a first priority right to receive payment on any claim against any third party
                  before you receive payment from that third party. Further, the Plan's first priority right
                  to payment is superior to any and all claims, debts or liens asserted by any medical
                  providers, including but not limited to hospitals or emergency treatment facilities, that
                  assert a right to payment from funds payable from or recovered from an allegedly
                  responsible third party and/ or insurance carrier.
            ■     The Plan's subrogation and reimbursement rights apply to full and partial settlements,
                  judgments, or other recoveries paid or payable to you or your representative, your estate,
                  your heirs and beneficiaries, no matter how those proceeds are captioned or
                  characterized. Payments include, but are not limited to, economic, non-economic,
                  pecuniary, consortium and punitive damages. The Plan is not required to help you to
                  pursue your claim for damages or personal injuries and no amount of associated costs,
                  including attorneys' fees, shall be deducted from the Plan's recovery without the Plan's
                  express written consent. No so-called "Fund Doctrine" or "Common Fund Doctrine" or
                  "Attorney's Fund Doctrine" shall defeat this right.




            125                                                 SECTION 11 - SUBROGATION AND REIMBURSEMENT
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar133  of 213
                                                                              01 10:22   PAGEID #: 387
                                                                                       AM-24CV001784
OG750 - V91
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     Regardless of whether you have been fully compensated or made whole, the Plan may
                  collect from you the proceeds of any full or partial recovery that you or your legal
                  representative obtain, whether in the form of a settlement (either before or after any
                  determination of liability) or judgment, no matter how those proceeds are captioned or
                  characterized. Proceeds from which the Plan may collect include, but are not limited to,
                  economic, non-economic, and punitive damages. No "collateral source" rule, any "Made-
                  Whole Doctrine" or "Make-Whole Doctrine," claim of unjust enrichment, nor any other
                  equitable limitation shall limit the Plan's subrogation and reimbursement rights.
            ■     Benefits paid by the Plan may also be considered to be Benefits advanced.
            ■     If you receive any payment from any party as a result of Sickness or Injury, and the Plan
                  alleges some or all of those funds are due and owed to the Plan, you and/ or your
                  representative shall hold those funds in trust, either in a separate bank account in your
                  name or in your representative's trust account.
            ■     By participating in and accepting Benefits from the Plan, you agree that (i) any amounts
                  recovered by you from any third party shall constitute Plan assets to the extent of the
                  amount of Plan Benefits provided on behalf of the Covered Person, (ii) you and your
                  representative shall be fiduciaries of the Plan (within the meaning of ERISA) with
                  respect to such amounts, and (iii) you shall be liable for and agree to pay any costs and
                  fees (including reasonable attorney fees) incurred by the Plan to enforce its
                  reimbursement rights.
            ■     The Plan's rights to recovery will not be reduced due to your own negligence.
            ■     By participating in and accepting Benefits from the Plan, you agree to assign to the Plan
                  any Benefits, claims or rights of recovery you have under any automobile policy -
                  including no-fault Benefits, PIP Benefits and/ or medical payment Benefits - other
                  coverage or against any third party, to the full extent of the Benefits the Plan has paid for
                  the Sickness or Injury. By agreeing to provide this assignment in exchange for
                  participating in and accepting Benefits, you acknowledge and recognize the Plan's right
                  to assert, pursue and recover on any such claim, whether or not you choose to pursue
                  the claim, and you agree to this assignment voluntarily.
            ■     The Plan may, at its option, take necessary and appropriate action to preserve its rights
                  under these provisions, including but not limited to, providing or exchanging medical
                  payment information with an insurer, the insurer's legal representative or other third
                  party; filing an ERISA reimbursement lawsuit to recover the full amount of medical
                  Benefits you receive for the Sickness or Injury out of any settlement, judgment or other
                  recovery from any third party considered responsible and filing suit in your name or your
                  estate's name, which does not obligate the Plan in any way to pay you part of any
                  recovery the Plan might obtain. Any ERISA reimbursement lawsuit stemming from a
                  refusal to refund Benefits as required under the terms of the Plan is governed by a six-
                  year statute of limitations.
            ■     You may not accept any settlement that does not fully reimburse the Plan, without its
                  written approval.
            ■     The Plan has the authority and discretion to resolve all disputes regarding the
                  interpretation of the language stated herein.



            126                                                 SECTION 11 - SUBROGATION AND REIMBURSEMENT
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar134  of 213
                                                                              01 10:22   PAGEID #: 388
                                                                                       AM-24CV001784
OG750 - V92
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     In the case of your death, giving rise to any wrongful death or survival claim, the
                  provisions of this section apply to your estate, the personal representative of your estate,
                  and your heirs or beneficiaries. In the case of your death the Plan's right of
                  reimbursement and right of subrogation shall apply if a claim can be brought on behalf
                  of you or your estate that can include a claim for past medical expenses or damages. The
                  obligation to reimburse the Plan is not extinguished by a release of claims or settlement
                  agreement of any kind.
            ■     No allocation of damages, settlement funds or any other recovery, by you, your estate,
                  the personal representative of your estate, your heirs, your beneficiaries or any other
                  person or party, shall be valid if it does not reimburse the Plan for 100% of its interest
                  unless the Plan provides written consent to the allocation.
            ■     The provisions of this section apply to the parents, guardian, or other representative of a
                  Dependent child who incurs a Sickness or Injury caused by any third party. If a parent or
                  guardian may bring a claim for damages arising out of a minor's Sickness or Injury, the
                  terms of this subrogation and reimbursement clause shall apply to that claim.
            ■     If a third party causes or is alleged to have caused you to suffer a Sickness or Injury while
                  you are covered under this Plan, the provisions of this section continue to apply, even
                  after you are no longer covered.
            ■     In the event that you do not abide by the terms of the Plan pertaining to reimbursement,
                  the Plan may terminate Benefits to you, your dependents or the employee, deny future
                  Benefits, take legal action against you, and/ or set off from any future Benefits the value
                  of Benefits the Plan has paid relating to any Sickness or Injury alleged to have been
                  caused or caused by any third party to the extent not recovered by the Plan due to your
                  failure to abide by the terms of the Plan. If the Plan incurs attorneys' fees and costs in
                  order to collect third party settlement funds held by you or your representative, the Plan
                  has the right to recover those fees and costs from you. You will also be required to pay
                  interest on any amounts you hold which should have been returned to the Plan.
            ■     The Plan and all Administrators administering the terms and conditions of the Plan's
                  subrogation and reimbursement rights have such powers and duties as are necessary to
                  discharge its duties and functions, including the exercise of its discretionary authority to
                  (1) construe and enforce the terms of the Plan's subrogation and reimbursement rights
                  and (2) make determinations with respect to the subrogation amounts and
                  reimbursements owed to the Plan.

            Right of Recovery
            The Plan also has the right to recover Benefits it has paid on you or your Dependent's behalf
            that were:

            ■     Made in error.
            ■     Due to a mistake in fact.
            ■     Advanced during the time period of meeting the calendar year Deductible.
            ■     Advanced during the time period of meeting the Out-of-Pocket Maximum for the
                  calendar year.



            127                                                 SECTION 11 - SUBROGATION AND REIMBURSEMENT
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar135  of 213
                                                                              01 10:22   PAGEID #: 389
                                                                                       AM-24CV001784
OG750 - V93
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Benefits paid because you or your Dependent misrepresented facts are also subject to
            recovery.

            If the Plan provides a Benefit for you or your Dependent that exceeds the amount that
            should have been paid, the Plan will:

            ■     Require that the overpayment be returned when requested.
            ■     Reduce a future Benefit payment for you or your Dependent by the amount of the
                  overpayment.
            If the Plan provides an advancement of Benefits to you or your Dependent during the time
            period of meeting the Deductible and/or meeting the Out-of-Pocket Maximum for the
            calendar year, the Plan will send you or your Dependent a monthly statement identifying the
            amount you owe with payment instructions. The Plan has the right to recover Benefits it has
            advanced by:

            ■     Submitting a reminder letter to you or a covered Dependent that details any outstanding
                  balance owed to the Plan.
            ■     Conducting courtesy calls to you or a covered Dependent to discuss any outstanding
                  balance owed to the Plan.




            128                                              SECTION 11 - SUBROGATION AND REIMBURSEMENT
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar136  of 213
                                                                              01 10:22   PAGEID #: 390
                                                                                       AM-24CV001784
OG750 - V94
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            SECTION 12 - WHEN COVERAGE ENDS
                What this section includes:
                ■    Circumstances that cause coverage to end.
                ■    Extended coverage.
                ■    How to continue coverage after it ends.

            Your entitlement to Benefits automatically ends on the date that coverage ends, even if you
            are hospitalized or are otherwise receiving medical treatment on that date. Please note that
            this does not affect coverage that is extended under Extended Coverage for Total Disability
            below.

            When your coverage ends, Jones Lang LaSalle will still pay claims for Covered Health
            Services that you received before your coverage ended. However, once your coverage ends,
            Benefits are not provided for health services that you receive after coverage ended, even if
            the underlying medical condition occurred before your coverage ended. Please note that this
            does not affect coverage that is extended under Extended Coverage for Total Disability below.

            Your coverage under the Plan will end on the earliest of:

            ■       The date your employment with the Company ends.
            ■       The date the Plan ends.
            ■       The date you stop making the required contributions.
            ■       The date you are no longer eligible.
            ■       The date UnitedHealthcare receives written notice from Jones Lang LaSalle to end your
                    coverage, or the date requested in the notice, if later.
            ■       The date you retire or are pensioned under the Plan, unless specific coverage is available
                    for retired or pensioned persons and you are eligible for that coverage.
            Coverage for your eligible Dependents will end on the earliest of:

            ■       The date your coverage ends.
            ■       The date you stop making the required contributions.
            ■       The date UnitedHealthcare receives written notice from Jones Lang LaSalle to end your
                    coverage, or the date requested in the notice, if later.
            ■       The last day of the month your Dependents no longer qualify as Dependents under this
                    Plan.

            Other Events Ending Your Coverage
            The Plan will provide at least thirty days' prior written notice to you that your coverage will
            end on the date identified in the notice if you commit an act, practice, or omission that
            constituted fraud, or an intentional misrepresentation of a material fact including, but not
            limited to, knowingly providing incorrect information relating to another person's eligibility



            129                                                              SECTION 12 - WHEN COVERAGE ENDS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar137  of 213
                                                                              01 10:22   PAGEID #: 391
                                                                                       AM-24CV001784
OG750 - V95
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            or status as a Dependent. You may appeal this decision during the 30-day notice period. The
            notice will contain information on how to pursue your appeal.

           Note. If UnitedHealthcare and Jones Lang LaSalle find that you have performed an act,
           practice, or omission that constitutes fraud, or have made an intentional misrepresentation
           of material fact, Jones Lang LaSalle has the right to demand that you pay back all Benefits
           Jones Lang LaSalle paid to you, or paid in your name, during the time you were incorrectly
           covered under the Plan.

            Coverage for a Disabled Dependent Child
            Coverage for an unmarried enrolled Dependent child who is disabled will not end just
            because the child has reached a certain age. The Plan will extend the coverage for that child
            beyond the limiting age if both of the following are true regarding the enrolled Dependent
            child:

            ■     Is not able to be self-supporting because of mental or physical handicap or disability.
            ■     Depends mainly on you for support.
            Coverage will continue as long as the enrolled Dependent is medically certified as disabled
            and dependent unless coverage is otherwise terminated in accordance with the terms of the
            Plan.

            The Plan will ask you to furnish proof of the medical certification of disability within 30 days
            of the date coverage would otherwise have ended because the child reached a certain age.
            Before the Plan agrees to this extension of coverage for the child, the Plan may require that a
            Physician chosen by the Plan examine the child. The Plan will pay for that examination.

            The Plan may continue to ask you for proof that the child continues to be disabled and
            dependent. Such proof might include medical examinations at the Plan's expense. However,
            the Plan will not ask for this information more than once a year.

            If you do not provide proof of the child's disability and dependency within 30 days of the
            Plan's request as described above, coverage for that child will end.

            Extended Coverage for Total Disability
            If a Covered Person has a Total Disability on the date their coverage under the Plan ends,
            their Benefits will not end automatically. The Plan will temporarily extend coverage, only for
            treatment of the condition causing the Total Disability. Benefits will be paid until the earlier
            of:

            ■     The Total Disability ends.
            ■     Twelve months from the date coverage would have ended.




            130                                                            SECTION 12 - WHEN COVERAGE ENDS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar138  of 213
                                                                              01 10:22   PAGEID #: 392
                                                                                       AM-24CV001784
OG750 - V96
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            Continuing Coverage Through COBRA
            If you lose your Plan coverage, you may have the right to extend it under the Consolidated
            Omnibus Budget Reconciliation Act of 1985 (COBRA), as defined in Section 14, Glossary.

            Continuation coverage under COBRA is available only to Plans that are subject to the terms
            of COBRA. You can contact your Plan Administrator to determine if Jones Lang LaSalle is
            subject to the provisions of COBRA.

            Continuation Coverage under Federal Law (COBRA)
            Much of the language in this section comes from the federal law that governs continuation
            coverage. You should call your Plan Administrator if you have questions about your right to
            continue coverage.

            In order to be eligible for continuation coverage under federal law, you must meet the
            definition of a "Qualified Beneficiary". A Qualified Beneficiary is any of the following
            persons who were covered under the Plan on the day before a qualifying event:

            ■     An Employee.
            ■     An Employee's enrolled Dependent, including with respect to the Employee's children, a
                  child born to or placed for adoption with the Employee during a period of continuation
                  coverage under federal law.
            ■     An Employee's former Spouse.

            Qualifying Events for Continuation Coverage under COBRA
            The following table outlines situations in which you may elect to continue coverage under
            COBRA for yourself and your Dependents, and the maximum length of time you can
            receive continued coverage. These situations are considered qualifying events.


                  If Coverage Ends Because of                    You May Elect COBRA:
                    the Following Qualifying                                                 For Your
                             Events:                  For Yourself      For Your Spouse
                                                                                             Child(ren)
                Your work hours are reduced            18 months            18 months         18 months

                Your employment terminates for
                any reason (other than gross           18 months            18 months         18 months
                misconduct)

                You or your family member
                become eligible for Social Security
                disability benefits at any time        29 months           29 months         29 months
                within the first 60 days of losing
                coverage 1

                You die                                   N/A               36 months        36 months




            131                                                          SECTION 12 - WHEN COVERAGE ENDS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar139  of 213
                                                                              01 10:22   PAGEID #: 393
                                                                                       AM-24CV001784
OG750 - V97
                                                                     JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                   If Coverage Ends Because of                        You May Elect COBRA:
                     the Following Qualifying                                                         For Your
                              Events:                     For Yourself        For Your Spouse
                                                                                                      Child(ren)
                 You divorce (or legally separate)             N/A                 36 months          36 months

                 Your child is no longer an eligible
                 family member (e.g., reaches the              N/A                    N/A             36 months
                 maximum age limit)

                                                                                                        See table
                 You become entitled to Medicare               N/A              See table below
                                                                                                         below

                 Jones Lang LaSalle files for
                 bankruptcy under Title 11, United          36 months             36 months 3         36 months 3
                 States Code. 2

            1
             Subject to the following conditions: (i) notice of the disability must be provided within the latest of
            60 days after a). the determination of the disability, b). the date of the qualifying event, c). the date
            the Qualified Beneficiary would lose coverage under the Plan, and in no event later than the end of
            the first 18 months; (ii) the Qualified Beneficiary must agree to pay any increase in the required
            premium for the additional 11 months over the original 18 months; and (iii) if the Qualified
            Beneficiary entitled to the 11 months of coverage has non-disabled family members who are also
            Qualified Beneficiaries, then those non-disabled Qualified Beneficiaries are also entitled to the
            additional 11 months of continuation coverage. Notice of any final determination that the Qualified
            Beneficiary is no longer disabled must be provided within 30 days of such determination. Thereafter,
            continuation coverage may be terminated on the first day of the month that begins more than 30
            days after the date of that determination.

            2
             This is a qualifying event for any retired Employee and his or her enrolled Dependents if there is a
            substantial elimination of coverage within one year before or after the date the bankruptcy was filed.

            3
                From the date of the Employee's death if the Employee dies during the continuation coverage.

            How Your Medicare Eligibility Affects Dependent COBRA Coverage
            The table below outlines how your Dependents' COBRA coverage is impacted if you
            become entitled to Medicare.

                                                                                          You May Elect
                             If Dependent Coverage Ends When:                           COBRA Dependent
                                                                                        Coverage For Up To:
                 You become entitled to Medicare and don't experience any
                                                                                                18 months
                 additional qualifying events

                 You become entitled to Medicare, after which you experience
                 a second qualifying event* before the initial 18-month period                  36 months
                 expires




            132                                                                SECTION 12 - WHEN COVERAGE ENDS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar140  of 213
                                                                              01 10:22   PAGEID #: 394
                                                                                       AM-24CV001784
OG750 - V98
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                                      You May Elect
                            If Dependent Coverage Ends When:                        COBRA Dependent
                                                                                    Coverage For Up To:
                You experience a qualifying event', after which you become
                entitled to Medicare before the initial 18-month period
                expires; and, if absent this initial qualifying event, your               36 months
                Medicare entitlement would have resulted in loss of
                Dependent coverage under the Plan

            * Your work hours are reduced or your employment is terminated for reasons other than gross
            misconduct.

            Getting Started
            You will be notified by mail if you become eligible for COBRA coverage as a result of a
            reduction in work hours or termination of employment. The notification will give you
            instructions for electing COBRA coverage, and advise you of the monthly cost. Your
            monthly cost is the full cost, including both Employee and Employer costs, plus a 2%
            administrative fee or other cost as permitted by law.

            You will have up to 60 days from the date you receive notification or 60 days from the date
            your coverage ends to elect COBRA coverage, whichever is later. You will then have an
            additional 45 days to pay the cost of your COBRA coverage, retroactive to the date your
            Plan coverage ended.

            During the 60-day election period, the Plan will, only in response to a request from a
            provider, inform that provider of your right to elect COBRA coverage, retroactive to the
            date your COBRA eligibility began.

            While you are a participant in the medical Plan under COBRA, you have the right to change
            your coverage election:

            ■     During Open Enrollment.
            ■     Following a change in family status, as described under Changing Your Coverage in Section
                  2, Introduction.

            Notification Requirements
            If your covered Dependents lose coverage due to divorce, legal separation, or loss of
            Dependent status, you or your Dependents must notify the Plan Administrator within 60
            days of the latest of:

            ■     The date of the divorce, legal separation or an enrolled Dependent's loss of eligibility as
                  an enrolled Dependent.
            ■     The date your enrolled Dependent would lose coverage under the Plan.
            ■     The date on which you or your enrolled Dependent are informed of your obligation to
                  provide notice and the procedures for providing such notice.



            133                                                             SECTION 12 - WHEN COVERAGE ENDS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar141  of 213
                                                                              01 10:22   PAGEID #: 395
                                                                                       AM-24CV001784
OG750 - V99
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            You or your Dependents must also notify the Plan Administrator when a qualifying event
            occurs that will extend continuation coverage.

            If you or your Dependents fail to notify the Plan Administrator of these events within the 60
            day period, the Plan Administrator is not obligated to provide continued coverage to the
            affected Qualified Beneficiary. If you are continuing coverage under federal law, you must
            notify the Plan Administrator within 60 days of the birth or adoption of a child.

            Once you have notified the Plan Administrator, you will then be notified by mail of your
            election rights under COBRA.

            Notification Requirements for Disability Determination
           If you extend your COBRA coverage beyond 18 months because you are eligible for
           disability benefits from Social Security, you must provide your local Benefit Solutions Group
           with notice of the Social Security Administration's determination within 60 days after you
           receive that determination, and before the end of your initial 18-month continuation period.

            The notice requirements will be satisfied by providing written notice to the Plan
            Administrator at the address stated in Section 16, Important Administrative Information: BRISA.
            The contents of the notice must be such that the Plan Administrator is able to determine the
            covered Employee and qualified beneficiary(ies), the qualifying event or disability, and the
            date on which the qualifying event occurred.

            Trade Act of2002
            The Trade Act of 2002 amended COBRA to provide for a special second 60-day COBRA
            election period for certain Employees who have experienced a termination or reduction of
            hours and who lose group health plan coverage as a result. The special second COBRA
            election period is available only to a very limited group of individuals: generally, those who
            are receiving trade adjustment assistance (TAA) or 'alternative trade adjustment assistance'
            under a federal law called the Trade Act of 1974. These Employees are entitled to a second
            opportunity to elect COBRA coverage for themselves and certain family members (if they
            did not already elect COBRA coverage), but only within a limited period of 60 days from the
            first day of the month when an individual begins receiving T AA (or would be eligible to
            receive TAA but for the requirement that unemployment benefits be exhausted) and only
            during the six months immediately after their group health plan coverage ended.

            If an Employee qualifies or may qualify for assistance under the Trade Act of 197 4, he or
            she should contact the Plan Administrator for additional information. The Employee must
            contact the Plan Administrator promptly after qualifying for assistance under the Trade Act
            of 1974 or the Employee will lose his or her special COBRA rights. COBRA coverage
            elected during the special second election period is not retroactive to the date that Plan
            coverage was lost, but begins on the first day of the special second election period.




            134                                                          SECTION 12 - WHEN COVERAGE ENDS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar142  of 213
                                                                              01 10:22   PAGEID #: 396
                                                                                       AM-24CV001784
OG750 - Wl
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             When COBRA Ends
             COBRA coverage will end before the maximum continuation period, on the earliest of the
             following dates:

             ■     The date, after electing continuation coverage, that coverage is first obtained under any
                   other group health plan.
             ■     The date, after electing continuation coverage, that you or your covered Dependent first
                   becomes entitled to Medicare.
             ■     The date coverage ends for failure to make the first required premium payment
                   (premium is not paid within 45 days).
             ■     The date coverage ends for failure to make any other monthly premium payment
                   (premium is not paid within 30 days of its due date).
             ■     The date the entire Plan ends.
             ■     The date coverage would otherwise terminate under the Plan as described in the
                   beginning of this section.
             Note. If you selected continuation coverage under a prior plan which was then replaced by
             coverage under this Plan, continuation coverage will end as scheduled under the prior plan
             or in accordance with the terminating events listed in this section, whichever is earlier.

             Uniformed Services Employment and Reemployment Rights Act
             An Employee who is absent from employment for more than 30 days by reason of service in
             the Uniformed Services may elect to continue Plan coverage for the Employee and the
             Employee's Dependents in accordance with the Uniformed Services Employment and
             Reemployment Rights Act of 1994, as amended (USERRA).

             The terms "Uniformed Services" or "Military Service" mean the Armed Forces, the Army
             National Guard and the Air National Guard when engaged in active duty for training,
             inactive duty training, or full-time National Guard duty, the commissioned corps of the
             Public Health Service, and any other category of persons designated by the President in time
             of war or national emergency.

             If qualified to continue coverage pursuant to the USERRA, Employees may elect to
             continue coverage under the Plan by notifying the Plan Administrator in advance, and
             providing payment of any required contribution for the health coverage. This may include
             the amount the Plan Administrator normally pays on an Employee's behalf. If an
             Employee's Military Service is for a period of time less than 31 days, the Employee may not
             be required to pay more than the regular contribution amount, if any, for continuation of
             health coverage.

             An Employee may continue Plan coverage under USERRA for up to the lesser of:

             ■     The 24 month period beginning on the date of the Employee's absence from work.




             135                                                            SECTION 12 - WHEN COVERAGE ENDS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar143  of 213
                                                                              01 10:22   PAGEID #: 397
                                                                                       AM-24CV001784
OG750 - W2
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             ■     The day after the date on which the Employee fails to apply for, or return to, a position
                   of employment.
             Regardless of whether an Employee continues health coverage, if the Employee returns to a
             position of employment, the Employee's health coverage and that of the Employee's eligible
             Dependents will be reinstated under the Plan. No exclusions or waiting period may be
             imposed on an Employee or the Employee's eligible Dependents in connection with this
             reinstatement, unless a Sickness or Injury is determined by the Secretary of Veterans Affairs
             to have been incurred in, or aggravated during, the performance of military service.

             You should call the Plan Administrator if you have questions about your rights to continue
             health coverage under USERRA.




             136                                                           SECTION 12 - WHEN COVERAGE ENDS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar144  of 213
                                                                              01 10:22   PAGEID #: 398
                                                                                       AM-24CV001784
OG750 - W3
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN



             SECTION 13- OTHER IMPORTANT INFORMATION
                 What this section includes:
                 ■ Court-ordered Benefits for Dependent children.

                 ■    Your relationship with UnitedHealthcare and Jones Lang LaSalle.
                 ■    Relationships with providers.
                 ■    Interpretation of Benefits.
                 ■    Information and records.
                 ■    Incentives to providers and you.
                 ■    The future of the Plan.
                 ■    How to access the official Plan documents.

             Qualified Medical Child Support Orders (QMCSOs)
             A qualified medical child support order (QMCSO) is a judgment, decree or order issued by a
             court or appropriate state agency that requires a child to be covered for medical benefits.
             Generally, a QMCSO is issued as part of a paternity, divorce, or other child support
             settlement.

             If the Plan receives a medical child support order for your child that instructs the Plan to
             cover the child, the Plan Administrator will review it to determine if it meets the
             requirements for a QMCSO. If it determines that it does, your child will be enrolled in the
             Plan as your Dependent, and the Plan will be required to pay Benefits as directed by the
             order.

             You may obtain, without charge, a copy of the procedures governing QMCSOs from the
             Plan Administrator.

             Note: A National Medical Support Notice will be recognized as a QMCSO if it meets the
             requirements of a QMCSO.

             Your Relationship with UnitedHealthcare and Jones Lang LaSalle
             In order to make choices about your health care coverage and treatment, Jones Lang LaSalle
             believes that it is important for you to understand how UnitedHealthcare interacts with the
             Plan Sponsor's benefit Plan and how it may affect you. UnitedHealthcare helps administer
             the Plan Sponsor's benefit plan in which you are enrolled. UnitedHealthcare does not
             provide medical services or make treatment decisions. This means:

             ■       UnitedHealthcare communicates to you decisions about whether the Plan will cover or
                     pay for the health care that you may receive. The Plan pays for Covered Health Services,
                     which are more fully described in this SPD.
             ■       The Plan may not pay for all treatments you or your Physician may believe are necessary.
                     If the Plan does not pay, you will be responsible for the cost.



             137                                                    SECTION 13- OTHER IMPORTANT INFORMATION
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar145  of 213
                                                                              01 10:22   PAGEID #: 399
                                                                                       AM-24CV001784
OG750 - W4
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             Jones Lang LaSalle and UnitedHealthcare may use individually identifiable information about
             you to identify for you (and you alone) procedures, products or services that you may find
             valuable. Jones Lang LaSalle and UnitedHealthcare will use individually identifiable
             information about you as permitted or required by law, including in operations and in
             research. Jones Lang LaSalle and UnitedHealthcare will use de-identified data for
             commercial purposes including research.

             Relationship with Providers
             The Claims Administrator has agreements in place that govern the relationships between it
             and Jones Lang LaSalle and Network providers, some of which are affiliated providers.
             Network providers enter into agreements with the Claims Administrator to provide Covered
             Health Services to Covered Persons.

             Jones Lang LaSalle, UnitedHealthcare and Harvard Pilgrim Health Care do not provide
             health care services or supplies, nor do they practice medicine. Instead, Jones Lang LaSalle,
             UnitedHealthcare and Harvard Pilgrim Health Care arrange for health care providers to
             participate in a Network and administer payment of Benefits. Network providers are
             independent practitioners who run their own offices and facilities. UnitedHealthcare's and
             Harvard Pilgrim Health Care's credentialing process confirms public information about the
             providers' licenses and other credentials, but does not assure the quality of the services
             provided. They are not Jones Lang LaSalle 's employees nor are they employees of
             UnitedHealthcare or Harvard Pilgrim Health Care. Jones Lang LaSalle and UnitedHealthcare
             are not responsible for any act or omission of any provider.

             UnitedHealthcare and Harvard Pilgrim Health Care are not considered to be employers of
             the Plan Administrator for any purpose with respect to the administration or provision of
             benefits under this Plan.

             Jones Lang LaSalle is solely responsible for:

             ■     Enrollment and classification changes (including classification changes resulting in your
                   enrollment or the termination of your coverage).
             ■     The timely payment of the service fee to UnitedHealthcare.
             ■     The funding of Benefits on a timely basis.
             ■     Notifying you of the termination or modifications to the Plan.
             When the Plan Sponsor establishes the Plan to provide coverage under a benefit plan
             governed by the Bmplqyee Retirement Income Security Act ("BRISA"), 29 U.S.C. §1001 et seq., the
             Claims Administrator is not the plan administrator or named fiduciary of the benefit plan, as
             those terms are used in BRISA. If you have questions about your welfare benefit plan, you
             should contact the Plan Sponsor. If you have any questions about this statement or about
             your rights under BRISA, contact the nearest area office of the Bmplqyee Benefits Security
             Administration, U.S. Department ofLabor.




             138                                                   SECTION 13- OTHER IMPORTANT INFORMATION
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar146  of 213
                                                                              01 10:22   PAGEID #: 400
                                                                                       AM-24CV001784
OG750 - WS
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             Your Relationship with Providers
             The relationship between you and any provider is that of provider and patient.

             ■     You are responsible for choosing your own provider.
             ■     You are responsible for paying, directly to your provider, any amount identified as a
                   member responsibility, including Copayments, Coinsurance, any deductible and any
                   amount that exceeds Eligible Expenses.
             ■     You are responsible for paying, directly to your provider, the cost of any non-Covered
                   Health Service.
             ■     You must decide if any provider treating you is right for you. This includes Network
                   providers you choose and providers to whom you have been referred.
             ■     Must decide with your provider what care you should receive.
             ■     Your provider is solely responsible for the quality of the services provided to you.
             The relationship between you and Jones Lang LaSalle is that of employer and employee,
             Dependent or other classification as defined in the SPD.

             Interpretation of Benefits
             Jones Lang LaSalle and UnitedHealthcare have the sole and exclusive discretion to do all of
             the following:

             ■     Interpret Benefits under the Plan.
             ■     Interpret the other terms, conditions, limitations and exclusions of the Plan, including
                   this SPD, the Schedule of Benefits and any Addendums, SMMs and/or Amendments.
             ■     Make factual determinations related to the Plan and its Benefits.

             Jones Lang LaSalle and UnitedHealthcare may delegate this discretionary authority to other
             persons or entities including Claims Administrator's affiliates that may provide services in
             regard to the administration of the Plan. The identity of the service providers and the nature
             of their services may be changed from time to time in Plan Sponsor's and the Claims
             Administrator's discretion. In order to receive Benefits, you must cooperate with those
             service providers.

             In certain circumstances, for purposes of overall cost savings or efficiency, Jones Lang
             LaSalle may, in its discretion, offer Benefits for services that would otherwise not be
             Covered Health Services. The fact that Jones Lang LaSalle does so in any particular case
             shall not in any way be deemed to require Jones Lang LaSalle to do so in other similar cases.




             139                                                    SECTION 13- OTHER IMPORTANT INFORMATION
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar147  of 213
                                                                              01 10:22   PAGEID #: 401
                                                                                       AM-24CV001784
OG750 - W6
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             Review and Determine Benefits in Accordance with UnitedHealthcare
             Reimbursement Policies
             UnitedHealthcare develops its reimbursement policy guidelines, in its sole discretion, in
             accordance with one or more of the following methodologies:

             ■     As indicated in the most recent edition of the Current Procedural Terminology (CPT), a
                   publication of the American Medical Association, and/ or the Centers for Medicare and
                   Medicaid Services (CMS).
             ■     As reported by generally recognized professionals or publications.
             ■     As used for Medicare.
             ■     As determined by medical staff and outside medical consultants pursuant to other
                   appropriate sources or determinations that UnitedHealthcare accepts.
             Following evaluation and validation of certain provider billings (e.g., error, abuse and fraud
             reviews), UnitedHealthcare's reimbursement policies are applied to provider billings.
             UnitedHealthcare shares it's reimbursement policies with Physicians and other providers in
             UnitedHealthcare's Network through UnitedHealthcare's provider website. Network
             Physicians and providers may not bill you for the difference between their contract rate (as
             may be modified by UnitedHealthcare's reimbursement policies) and the billed charge.
             However, non-Network providers are not subject to this prohibition, and may bill you for
             any amounts the Plan does not pay, including amounts that are denied because one of
             UnitedHealthcare's reimbursement policies does not reimburse (in whole or in part) for the
             service billed. You may obtain copies of UnitedHealthcare's reimbursement policies for
             yourself or to share with your non-Network Physician or provider by going to
             www.myuhc.com or by calling the telephone number on your ID card.

             UnitedHealthcare may apply a reimbursement methodology established by Optuminsight
             and/ or a third party vendor, which is based on CMS coding principles, to determine
             appropriate reimbursement levels for Emergency Health Services. The methodology is
             usually based on elements reflecting the patient complexity, direct costs, and indirect costs of
             an Emergency Health Service. If the methodology(ies) currently in use become no longer
             available, UnitedHealthcare will use a comparable methodology(ies). UnitedHealthcare and
             Optuminsightare related companies through common ownership by UnitedHealth Group. Refer
             to UnitedHealthcare's website at www.myuhc.com for information regarding the vendor
             that provides the applicable methodology.

             Information and Records
             Jones Lang LaSalle and UnitedHealthcare may use your individually identifiable health
             information to administer the Plan and pay claims, to identify procedures, products, or
             services that you may find valuable, and as otherwise permitted or required by law. Jones
             Lang LaSalle and UnitedHealthcare may request additional information from you to decide
             your claim for Benefits. Jones Lang LaSalle and UnitedHealthcare will keep this information
             confidential. Jones Lang LaSalle and UnitedHealthcare may also use your de-identified data
             for commercial purposes, including research, as permitted by law.




             140                                                   SECTION 13- OTHER IMPORTANT INFORMATION
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar148  of 213
                                                                              01 10:22   PAGEID #: 402
                                                                                       AM-24CV001784
OG750 - W7
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             By accepting Benefits under the Plan, you authorize and direct any person or institution that
             has provided services to you to furnish Jones Lang LaSalle and UnitedHealthcare with all
             information or copies of records relating to the services provided to you.Jones Lang LaSalle
             and UnitedHealthcare have the right to request this information at any reasonable time. This
             applies to all Covered Persons, including enrolled Dependents whether or not they have
             signed the Employee's enrollment form. Jones Lang LaSalle and UnitedHealthcare agree that
             such information and records will be considered confidential.

             Jones Lang LaSalle and UnitedHealthcare have the right to release any and all records
             concerning health care services which are necessary to implement and administer the terms
             of the Plan, for appropriate medical review or quality assessment, or as Jones Lang LaSalle is
             required to do by law or regulation. During and after the term of the Plan, Jones Lang
             LaSalle and UnitedHealthcare and its related entities may use and transfer the information
             gathered under the Plan in a de-identified format for commercial purposes, including
             research and analytic purposes.

             For complete listings of your medical records or billing statements Jones Lang LaSalle
             recommends that you contact your health care provider. Providers may charge you
             reasonable fees to cover their costs for providing records or completing requested forms.

             If you request medical forms or records from UnitedHealthcare, they also may charge you
             reasonable fees to cover costs for completing the forms or providing the records.

             In some cases, as permitted by law, Jones Lang LaSalle and UnitedHealthcare will designate
             other persons or entities to request records or information from or related to you, and to
             release those records as necessary. UnitedHealthcare's designees have the same rights to this
             information as does the Plan Administrator.

             Incentives to Providers
             Network providers may be provided financial incentives by UnitedHealthcare to promote
             the delivery of health care in a cost efficient and effective manner. These financial incentives
             are not intended to affect your access to health care.

             Examples of financial incentives for Network providers are:

             ■     Bonuses for performance based on factors that may include quality, member satisfaction,
                   and/ or cost-effectiveness.
             ■     A practice called capitation which is when a group of Network providers receives a
                   monthly payment from UnitedHealthcare for each Covered Person who selects a
                   Network provider within the group to perform or coordinate certain health services. The
                   Network providers receive this monthly payment regardless of whether the cost of
                   providing or arranging to provide the Covered Person's health care is less than or more
                   than the payment.
             ■     Bundled payments - certain Network providers receive a bundled payment for a group
                   of Covered Health Services for a particular procedure or medical condition. The
                   applicable Copayment and/ or Coinsurance will be calculated based on the provider type
                   that received the bundled payment. The Network providers receive these bundled


             141                                                   SECTION 13- OTHER IMPORTANT INFORMATION
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar149  of 213
                                                                              01 10:22   PAGEID #: 403
                                                                                       AM-24CV001784
OG750 - wa
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                   payments regardless of whether the cost of providing or arranging to provide the
                   Covered Person's health care is less than or more than the payment. If you receive
                   follow-up services related to a procedure where a bundled payment is made, an
                   additional Copayment and/ or Coinsurance may not be required if such follow-up
                   services are included in the bundled payment. You may receive some Covered Health
                   Services that are not considered part of the inclusive bundled payment and those
                   Covered Health Services would be subject to the applicable Copayment and/ or
                   Coinsurance as described in your Schedule if Benefits.
             The Claims Administrator uses various payment methods to pay specific Network providers.
             From time to time, the payment method may change. If you have questions about whether
             your Network provider's contract with the Claims Administrator includes any financial
             incentives, the Claims Administrator encourages you to discuss those questions with your
             provider. You may also call the Claims Administrator at the telephone number on your ID
             card. The Claims Administrator can advise whether your Network provider is paid by any
             financial incentive, including those listed above.

             Incentives to You
             Sometimes you may be offered coupons or other incentives to encourage you to participate
             in various wellness programs or certain disease management programs, surveys, discount
             programs and/ or programs to seek care in a more cost effective setting and/ or from
             Designated Providers. In some instances, these programs may be offered in combination
             with a non-UnitedHealthcare entity. The decision about whether or not to participate is
             yours alone but Jones Lang LaSalle recommends that you discuss participating in such
             programs with your Physician. These incentives are not Benefits and do not alter or affect
             your Benefits. You may call the number on your ID card if you have any questions.
             Additional information may be found in Section 7, Clinical Programs and Resources.

             Rebates and Other Payments
             Jones Lang LaSalle and UnitedHealthcare may receive rebates for certain drugs that are
             administered to you in a Physician's office, or at a Hospital or Alternate Facility. This
             includes rebates for those drugs that are administered to you before you meet your Annual
             Deductible. Jones Lang LaSalle and UnitedHealthcare may pass a portion of these rebates on
             to you. When rebates are passed on to you, they may be taken into account in determining
             your Copays or Coinsurance.

             Workers' Compensation Not Affected
             Benefits provided under the Plan do not substitute for and do not affect any requirements
             for coverage by workers' compensation insurance.

             Future of the Plan
             Although the Company expects to continue the Plan indefinitely, it reserves the right to
             discontinue, alter or modify the Plan in whole or in part, at any time and for any reason, at
             its sole determination.




             142                                                  SECTION 13- OTHER IMPORTANT INFORMATION
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar150  of 213
                                                                              01 10:22   PAGEID #: 404
                                                                                       AM-24CV001784
OG750 - W9
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


             The Company's decision to terminate or amend a Plan may be due to changes in federal or
             state laws governing employee benefits, the requirements of the Internal Revenue Code or
             any other reason. A plan change may transfer plan assets and debts to another plan or split a
             plan into two or more parts. If the Company does change or terminate a plan, it may decide
             to set up a different plan providing similar or different benefits.

             If this Plan is terminated, Covered Persons will not have the right to any other Benefits from
             the Plan, other than for those claims incurred prior to the date of termination, or as
             otherwise provided under the Plan. In addition, if the Plan is amended, Covered Persons
             may be subject to altered coverage and Benefits.

             The amount and form of any final benefit you receive will depend on any Plan document or
             contract provisions affecting the Plan and Company decisions. After all Benefits have been
             paid and other requirements of the law have been met, certain remaining Plan assets will be
             turned over to the Company and others as may be required by any applicable law.

             Plan Document
             This Summary Plan Description (SPD) represents an overview of your Benefits. In the event
             there is a discrepancy between the SPD and the official plan document, the plan document
             will govern. A copy of the plan document is available for your inspection during regular
             business hours in the office of the Plan Administrator. You (or your personal representative)
             may obtain a copy of this document by written request to the Plan Administrator, for a
             nominal charge.

             Medicare Eligibility
             Benefits under the Plan are not intended to supplement any coverage provided by Medicare.
             Nevertheless, in some circumstances Covered Persons who are eligible for or enrolled in
             Medicare may also be enrolled under the Plan.

             If you are eligible for or enrolled in Medicare, please read the following information
             carefully.

             If you are eligible for Medicare on a primary basis (Medicare pays before Benefits under the
             Plan), you should enroll in and maintain coverage under both Medicare Part A and Part B. If
             you don't enroll and maintain that coverage, and if the Plan is the secondary payer as
             described in Section 10, Coordination of Benefits, the Plan will pay Benefits under the Plan as if
             you were covered under both Medicare Part A and Part B. As a result, you will be
             responsible for the costs that Medicare would have paid and you will incur a larger out-of-
             pocket cost.

             If you are enrolled in a Medicare Advantage (Medicare Part C) plan on a primary basis
             (Medicare pays before Benefits under the Plan), you should follow all rules of that plan that
             require you to seek services from that plan's participating providers. When the Plan is the
             secondary payer, the Plan will pay any Benefits available to you under the Plan as if you had
             followed all rules of the Medicare Advantage plan. You will be responsible for any additional
             costs or reduced Benefits that result from your failure to follow these rules, and you will
             incur a larger out-of-pocket cost.



             143                                                   SECTION 13- OTHER IMPORTANT INFORMATION
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar151  of 213
                                                                              01 10:22   PAGEID #: 405
                                                                                       AM-24CV001784
OG750 - WlO
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            SECTION 14 - GLOSSARY
                What this section includes:
                ■ Definitions of terms used throughout this SPD.

            Many of the terms used throughout this SPD may be unfamiliar to you or have a specific
            meaning with regard to the way the Plan is administered and how Benefits are paid. This
            section defines terms used throughout this SPD, but it does not describe the Benefits
            provided by the Plan.

            Addendum - any attached written description of additional or revised provisions to the
            Plan. The benefits and exclusions of this SPD and any amendments thereto shall apply to
            the Addendum except that in the case of any conflict between the Addendum and SPD
            and/ or Amendments to the SPD, the Addendum shall be controlling.

            Air Ambulance - medical transport by rotary wing Air Ambulance or fixed wing Air
            Ambulance helicopter or airplane as defined in 42 CPR 414.605.

            Alternate Facility - a health care facility that is not a Hospital and that provides one or
            more of the following services on an outpatient basis, as permitted by law:

            ■     Surgical services.
            ■     Emergency Health Services.
            ■     Rehabilitative, laboratory, diagnostic or therapeutic services.
            An Alternate Facility may also provide Mental Health Services or Substance-Related and
            Addictive Disorder Services on an outpatient basis or inpatient basis (for example a
            Residential Treatment facility).

            Amendment - any attached written description of additional or alternative provisions to the
            Plan. Amendments are effective only when distributed by the Plan Sponsor or the Plan
            Administrator. Amendments are subject to all conditions, limitations and exclusions of the
            Plan, except for those that the amendment is specifically changing.

            Ancillary Services - items and services provided by non-Network Physicians at a Network
            facility that are any of the following:

            ■     Related to emergency medicine, anesthesiology, pathology, radiology, and neonatology;
            ■     Provided by assistant surgeons, hospitalists, and intensivists;
            ■     Diagnostic services, including radiology and laboratory services, unless such items and
                  services are excluded from the definition of Ancillary Services as determined by the
                  Secretary;
            ■     Provided by such other specialty practitioners as determined by the Secretary; and
            ■     Provided by a non-Network Physician when no other Network Physician is available.




            144                                                                       SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar152  of 213
                                                                              01 10:22   PAGEID #: 406
                                                                                       AM-24CV001784
OG750 - Wll
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Annual Deductible (or Deductible) - the amount you must pay for Covered Health
            Services in a calendar year before the Plan will begin paying Benefits in that calendar year.
            The Deductible is shown in the first table in Section 5, Plan Highlights. The Deductible
            applies to all Covered Health Services under the Plan, including Covered Health Services
            provided in Section 15, Outpatient Prescription Drugs.

            Assisted Reproductive Technology (ART) - the term for procedures involving the
            manipulation of human reproductive materials (such as sperm, eggs, and/or embryos) to
            achieve Pregnancy. Examples of such procedures are:

            ■     In vitro fertilization (IVF).
            ■     Gamete intrafallopian transfer (GIFT).
            ■     Pronuclear stage tubal transfer (PROST).
            ■     Tubal embryo transfer (TET).
            ■     Zygote intrafallopian transfer (ZIFT).
            Autism Spectrum Disorder - a condition marked by enduring problems communicating
            and interacting with others, along with restricted and repetitive behavior, interests or
            activities.

            Bariatric Resource Services (BRS) - a program administered by UnitedHealthcare or its
            affiliates made available to you by Jones Lang LaSalle. The BRS program provides:

            ■     Specialized clinical consulting services to Employees and enrolled Dependents to
                  educate on obesity treatment options.
            ■     Access to specialized Network facilities and Physicians for obesity surgery services.
            Benefits - Plan payments for Covered Health Services, subject to the terms and conditions
            of the Plan and any Addendums and/ or Amendments.

            BMI - see Body Mass Index (BMI).

            Body Mass Index (BMI) - a calculation used in obesity risk assessment which uses a
            person's weight and height to approximate body fat.

            Cancer Resource Services (CRS) - a program administered by UnitedHealthcare or its
            affiliates made available to you by Jones Lang LaSalle. The CRS program provides:

            ■     Specialized consulting services, on a limited basis, to Employees and enrolled
                  Dependents with cancer.
            ■     Access to cancer centers with expertise in treating the most rare or complex cancers.
            ■     Education to help patients understand their cancer and make informed decisions about
                  their care and course of treatment.
            Cellular Therapy - administration of living whole cells into a patient for the treatment of
            disease.



            145                                                                        SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar153  of 213
                                                                              01 10:22   PAGEID #: 407
                                                                                       AM-24CV001784
OG750 - W12
                                                                    JONES LANG LASALLE MEDICAL PPO PLUS PLAN




            CHD - see Congenital Heart Disease (CHD).

            Claims Administrator - UnitedHealthcare (also known as United HealthCare) and its
            affiliates, who provide certain claim administration services for the Plan.

            Clinical Trial - a scientific study designed to identify new health services that improve
            health outcomes. In a Clinical Trial, two or more treatments are compared to each other and
            the patient is not allowed to choose which treatment will be received.

            COBRA - see Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA).

            Coinsurance - the charge, stated as a percentage of Eligible Expenses or the Recognized
            Amount when applicable, that you are required to pay for certain Covered Health Services as
            described in Section 3, How the Plan Works and Section 15, Outpatient Prescription Drugs.

            Company - Jones Lang LaSalle.

            Congenital Anomaly - a physical developmental defect that is present at birth and is
            identified within the first twelve months of birth.

            Congenital Heart Disease (CHD) - any structural heart problem or abnormality that has
            been present since birth. Congenital heart defects may:

            ■     Be passed from a parent to a child (inherited).
            ■     Develop in the fetus of a woman who has an infection or is exposed to radiation or
                  other toxic substances during her Pregnancy.
            ■     Have no known cause.
            Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA) - a federal law
            that requires employers to offer continued health insurance coverage to certain employees
            and their dependents whose group health insurance has been terminated.

            Copayment ( or Copay) - the charge, stated as a set dollar amount, that you are required to
            pay for certain Covered Health Services as described in Section 3, How the Plan Works and
            Section 15, Outpatient Prescription Drugs.

            Please note that for Covered Health Services, you are responsible for paying the lesser of the
            following:

            ■     The applicable Copayment.
            ■     The Eligible Expense or the Recognized Amount when applicable.
            Cosmetic Procedures - procedures or services that change or improve appearance without
            significantly improving physiological function, as determined by the Claims Administrator.

            Cost-Effective - the least expensive equipment that performs the necessary function. This
            term applies to Durable Medical Equipment and prosthetic devices.



            146                                                                        SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar154  of 213
                                                                              01 10:22   PAGEID #: 408
                                                                                       AM-24CV001784
OG750 - W13
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Covered Health Services - those health services, including services, supplies or
            Pharmaceutical Products, which the Claims Administrator determines to be:

            ■     Provided for the purpose of preventing, evaluating, diagnosing or treating a Sickness,
                  Injury, Mental Illness, substance-related and addictive disorders, condition, disease or its
                  symptoms.
            ■     Medically Necessary.
            ■     Described as a Covered Health Service in this SPD under Section 5, Plan Highlights and 6,
                  Additional Coverage Details and Section 15, Outpatient Prescription Drugs.
            ■     Provided to a Covered Person who meets the Plan's eligibility requirements, as described
                  under Eligibility in Section 2, Introduction.
            ■     Not otherwise excluded in this SPD under Section 8, Exclusions and Limitations or Section
                  15, Outpatient Prescription Drugs.
           Covered Person - either the Employee or an enrolled Dependent, but this term applies only
           while the person is enrolled and eligible for Benefits under the Plan. References to "you" and
           "your" throughout this SPD are references to a Covered Person.

            CRS - see Cancer Resource Services (CRS).

            Custodial Care - services that are any of the following:

            ■     Non-health-related services, such as assistance in activities of daily living (examples
                  include feeding, dressing, bathing, transferring and ambulating).
            ■     Health-related services that are provided for the primary purpose of meeting the
                  personal needs of the patient or maintaining a level of function (even if the specific
                  services are considered to be skilled services), as opposed to improving that function to
                  an extent that might allow for a more independent existence.
            ■     Services that do not require continued administration by trained medical personnel in
                  order to be delivered safely and effectively.
            Deductible - see Annual Deductible.

            Definitive Drug Test - test to identify specific medications, illicit substances and
            metabolites and is qualitative or quantitative to identify possible use or non-use of a drug.

           Dependent - an individual who meets the eligibility requirements specified in the Plan, as
           described under Eligibility in Section 2, Introduction. A Dependent does not include anyone
           who is also enrolled as an Employee. No one can be a Dependent of more than one
           Employee.

            Designated Network Benefits - for Benefit plans that have a Designated Network Benefit
            level, this is the description of how Benefits are paid for the Covered Health Services
            provided by a Physician or other provider that has been identified as a Designated Provider.
            Refer to Section 5, Plan Highlights, to determine whether or not your Benefit plan offers
            Designated Network Benefits and for details about how Designated Network Benefits apply.



            147                                                                         SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar155  of 213
                                                                              01 10:22   PAGEID #: 409
                                                                                       AM-24CV001784
OG750 - W14
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Designated Provider - a provider and/ or facility that:

            ■     Has entered into an agreement with the Claims Administrator, or with an organization
                  contracting on the Claims Administrator's behalf, to provide Covered Health Services
                  for the treatment of specific diseases or conditions; or
            ■     The Claims Administrator has identified through the Claims Administrator's designation
                  programs as a Designated Provider. Such designation may apply to specific treatments,
                  conditions and/ or procedures.
            A Designated Provider may or may not be located within your geographic area. Not all
            Network Hospitals or Network Physicians are Designated Providers.

            You can find out if your provider is a Designated Provider by contacting the Claims
            Administrator at www.myuhc.com or the telephone number on your ID card.

            Designated Physician - a Physician that the Claims Administrator identified through its
            designation programs as a Designated provider. A Designated Physician may or may not be
            located within your geographic area. The fact that a Physician is a Network Physician does
            not mean that he or she is a Designated Physician.

            Designated Network Benefits - for Benefit plans that have a Designated Network Benefit
            level, this is the description of how Benefits are paid for the Covered Health Services
            provided by a Physician or other provider that has been identified as a Designated Provider.
            Refer to Section 5, Plan Highlights, to determine whether or not your Benefit plan offers
            Designated Network Benefits and for details about how Designated Network Benefits apply.

            Designated Virtual Network Provider - a provider or facility that has entered into an
            agreement with UnitedHealthcare, or with an organization contracting on
            UnitedHealthcare's behalf, to deliver Covered Health Services via interactive audio and video
            modalities.

            DME - see Durable Medical Equipment (DME).

            Domestic Partner - a person of the same or opposite sex with whom the Employee has
            established a Domestic Partnership.

            Domestic Partnership - a relationship between an Employee and one other person of the
            same or opposite sex. All of the following requirements apply to both persons:

            ■     They must not be related by blood or a degree of closeness that would prohibit marriage
                  in the law of the state in which they reside.
            ■     They must not be currently married to, or a Domestic Partner of, another person under
                  either statutory or common law.
            ■     They must be at least 18 years old.
            ■     They must share the same permanent residence and the common necessities of life.
            ■     They must be mentally competent to enter into a contract.



            148                                                                     SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar156  of 213
                                                                              01 10:22   PAGEID #: 410
                                                                                       AM-24CV001784
OG750 - W15
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     They must be financially interdependent.
            The Employee and Domestic Partner must jointly sign an affidavit of domestic partnership
            provided by your local Benefit Solutions Group upon your request.

            Domiciliary Care - living arrangements designed to meet the needs of people who cannot
            live independently but do not require Skilled Nursing Facility services.

            Durable Medical Equipment (DME) - medical equipment that is all of the following:

            ■     Is used to serve a medical purpose with respect to treatment of a Sickness, Injury or their
                  symptoms.
            ■     Is not disposable.
            ■     Is generally not useful to a person in the absence of a Sickness, Injury or their symptoms.
            ■     Can withstand repeated use.
            ■     Is not implantable within the body.
            ■     Is appropriate for use, and is primarily used, within the home.
            Eligible Expenses - for Covered Health Services, incurred while the Plan is in effect,
            Eligible Expenses are determined by UnitedHealthcare as stated below and as detailed in
            Section 3, How the Plan Works.

            Eligible Expenses are determined solely in accordance with UnitedHealthcare's
            reimbursement policy guidelines. UnitedHealthcare develops the reimbursement policy
            guidelines, in UnitedHealthcare's discretion, following evaluation and validation of all
            provider billings in accordance with one or more of the following methodologies:

            ■     As indicated in the most recent edition of the Current Procedural Terminology (CPT), a
                  publication of the American Medical Association, and/ or the Centers for Medicare and Medicaid
                  Services (CMS).
            ■     As reported by generally recognized professionals or publications.
            ■     As used for Medicare.
            ■     As determined by medical staff and outside medical consultants pursuant to other
                  appropriate source or determination that UnitedHealthcare accept.
            Emergency - a medical condition manifesting itself by acute symptoms of sufficient severity
            (including severe pain) so that a prudent layperson, who possesses an average knowledge of
            health and medicine, could reasonably expect the absence of immediate medical attention to
            result in any of the following:

            ■     Placing the health of the Covered Person (or, with respect to a pregnant woman, the
                  health of the woman or her unborn child) in serious jeopardy.
            ■     Serious impairment to bodily functions.
            ■     Serious dysfunction of any bodily organ or part.



            149                                                                          SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar157  of 213
                                                                              01 10:22   PAGEID #: 411
                                                                                       AM-24CV001784
OG750 - W16
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Emergency Health Services - with respect to an Emergency:

            ■     An appropriate medical screening examination (as required under section 1867 of the
                  Social Security Act, 42 U.S. C. 1395dd or as would be required under such section if such
                  section applied to an Independent Freestanding Emergency Department) that is within
                  the capability of the emergency department of a Hospital, or an Independent
                  Freestanding Emergency Department, as applicable, including ancillary services routinely
                  available to the emergency department to evaluate such Emergency.
            ■     Such further medical examination and treatment, to the extent they are within the
                  capabilities of the staff and facilities available at the Hospital or an Independent
                  Freestanding Emergency Department, as applicable, as are required under section 1867 of
                  the Social Security Act (42 U.S.C. 1395dd(e)(3)), or as would be required under such section
                  if such section applied to an Independent Freestanding Emergency Department, to
                  stabilize the patient (regardless of the department of the Hospital in which such further
                  exam or treatment is provided). For the purpose of this definition, "to stabilize" has the
                  meaning as given such term in section 1867(e)(3) of the Social Security Act (42 U.S.C.
                  1395dd(e)(3)).
            ■     Emergency Health Services include items and services otherwise covered under the Plan
                  when provided by a non-Network provider or facility (regardless of the department of
                  the Hospital in which the items are services are provided) after the patient is stabilized
                  and as part of outpatient observation, or as a part of an Inpatient Stay or outpatient stay
                  that is connected to the original Emergency unless the following conditions are met:
                      a.   The attending Emergency Physician or treating provider determines the patient is
                           able to travel using nonmedical transportation or non-Emergency medical
                           transportation to an available Network provider or facility located within a
                           reasonable distance taking into consideration the patient's medical condition.
                      b. The provider furnishing the additional items and services satisfies notice and
                         consent criteria in accordance with applicable law.
                      c.   The patient is in such a condition, as determined by the Secretary, to receive
                           information as stated in b) above and to provide informed consent in accordance
                           with applicable law.
                      d. The provider or facility satisfies any additional requirements or prohibitions as
                         may be imposed by state law.
                      e.   Any other conditions as specified by the Secretary.
                  The above conditions do not apply to unforeseen or urgent medical needs that arise at
                  the time the service is provided regardless of whether notice and consent criteria has
                  been satisfied.

            Employee - a full-time Employee of the Employer who meets the eligibility requirements
            specified in the Plan, as described under Eligibility in Section 2, Introduction. An Employee
            must live and/ or work in the United States.




            150                                                                        SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar158  of 213
                                                                              01 10:22   PAGEID #: 412
                                                                                       AM-24CV001784
OG750 - W17
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Employee Retirement Income Security Act of 1974 (ERISA) - the federal legislation that
            regulates retirement and employee welfare benefit programs maintained by employers and
            unions.

            Employer - Jones Lang LaSalle.

            EOB - see Explanation of Benefits (EOB).

            ERISA - see Emplqyee Retirement Income Security Act of 1974 (BRISA).

            Experimental or Investigational Services - medical, surgical, diagnostic, psychiatric,
            mental health, substance-related and addictive disorders or other health care services,
            technologies, supplies, treatments, procedures, drug therapies, medications or devices that, at
            the time the Claims Administrator makes a determination regarding coverage in a particular
            case, are determined to be any of the following:

            ■     Not approved by the U.S. Food and Drug Administration (FDA) to be lawfully marketed
                  for the proposed use and not identified in the American Hospital Formulary Service or the
                  United States Pharmacopoeia Dispensing Information as appropriate for the proposed use.
            ■     Subject to review and approval by any institutional review board for the proposed use.
                  (Devices which are FDA approved under the Humanitarian Use Device exemption are not
                  considered to be Experimental or Investigational.)
            ■     The subject of an ongoing Clinical Trial that meets the definition of a Phase I, II or III
                  Clinical Trial set forth in the FDA regulations, regardless of whether the trial is actually
                  subject to FDA oversight.
            Exceptions:

            ■     Clinical Trials for which Benefits are available as described under Clinical Trials in Section
                  6, Additional Coverage Details.
            ■     If you are not a participant in a qualifying Clinical Trial as described under Section 6,
                  Additional Coverage Details, and have a Sickness or condition that is likely to cause death
                  within one year of the request for treatment, the Claims Administrator may, at its
                  discretion, consider an otherwise Experimental or Investigational Service to be a
                  Covered Health Service for that Sickness or condition. Prior to such consideration, the
                  Claims Administrator must determine that, although unproven, the service has
                  significant potential as an effective treatment for that Sickness or condition.
            Explanation of Benefits (EOB) - a statement provided by UnitedHealthcare to you, your
            Physician, or another health care professional that explains:

            ■     The Benefits provided (if any).
            ■     The allowable reimbursement amounts.
            ■     Deductibles.
            ■     Coinsurance.
            ■     Any other reductions taken.


            151                                                                          SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar159  of 213
                                                                              01 10:22   PAGEID #: 413
                                                                                       AM-24CV001784
OG750 - W18
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     The net amount paid by the Plan.
            ■     The reason(s) why the service or supply was not covered by the Plan.
            Freestanding Facility - an outpatient, diagnostic or ambulatory center or independent
            laboratory which performs services and submits claims separately from a Hospital.

            Gender Dysphoria - A disorder characterized by the diagnostic criteria classified in the
            current edition of the Diagnostic and Statistical Manual of the American Prychiatric Association.


            Gene Therapy - therapeutic delivery of nucleic acid (DNA or RNA) into a patient's cells as
            a drug to treat a disease.

            Genetic Counseling - counseling by a qualified clinician that includes:

            ■     Identifying your potential risks for suspected genetic disorders;
            ■     An individualized discussion about the benefits, risks and limitations of Genetic Testing
                  to help you make informed decisions about Genetic Testing; and
            ■     Interpretation of the Genetic Testing results in order to guide health decisions.
            Certified genetic counselors, medical geneticists and physicians with a professional society's
            certification that they have completed advanced training in genetics are considered qualified
            clinicians when Covered Health Services for Genetic Testing require Genetic Counseling.

            Genetic Testing - exam of blood or other tissue for changes in genes (DNA or RNA) that
            may indicate an increased risk for developing a specific disease or disorder, or provide
            information to guide the selection of treatment of certain diseases, including cancer.

            Gestational Carrier - a Gestational Carrier is a female who becomes pregnant by having a
            fertilized egg (embryo) implanted in her uterus for the purpose of carrying the fetus to term
            for another person. The carrier does not provide the egg and is therefore not biologically
            (genetically) related to the child.

            Health Statement(s) - a single, integrated statement that summarizes EOB information by
            providing detailed content on account balances and claim activity.

            Home Health Agency - a program or organization authorized by law to provide health
            care services in the home.

            Hospital - an institution, operated as required by law and that meets both of the following:

            ■     It is primarily engaged in providing health services, on an inpatient basis, for the acute
                  care and treatment of sick or injured individuals. Care is provided through medical,
                  mental health, substance-related and addictive disorders, diagnostic and surgical facilities,
                  by or under the supervision of a staff of Physicians.
            ■     It has 24-hour nursing services.




            152                                                                           SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar160  of 213
                                                                              01 10:22   PAGEID #: 414
                                                                                       AM-24CV001784
OG750 - W19
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            A Hospital is not primarily a place for rest, Custodial Care or care of the aged and is not a
            nursing home, convalescent home or similar institution.

            Hospital-based Facility - an outpatient facility that performs services and submits claims
            as part of a Hospital.

            Iatrogenic Infertility - an impairment of fertility by surgery, radiation, chemotherapy, or
            other medical treatment affecting reproductive organs or processes.

            Independent Freestanding Emergency Department - a health care facility that:

            ■     Is geographically separate and distinct and licensed separately from a Hospital under
                  applicable law; and
            ■     Provides Emergency Health Services.
            Infertility - A disease (an interruption, cessation, or disorder of body functions, systems, or
            organs) of the reproductive tract which prevents the conception of a child or the ability to
            carry a pregnancy to delivery. It is defined by the failure to achieve a successful pregnancy
            after 12 months or more of appropriate, timed unprotected intercourse or Therapeutic
            Donor Insemination. Earlier evaluation and treatment may be justified based on medical
            history and physical findings and is warranted after 6 months for women age 35 years or
            older.

            Injury - bodily damage other than Sickness, including all related conditions and recurrent
            symptoms.

            Inpatient Rehabilitation Facility - a long term acute rehabilitation center, a Hospital (or a
            special unit of a Hospital designated as an Inpatient Rehabilitation Facility) that provides
            rehabilitation services (including physical therapy, occupational therapy and/ or speech
            therapy) on an inpatient basis, as authorized by law.

            Inpatient Stay - an uninterrupted confinement, following formal admission to a Hospital,
            Skilled Nursing Facility or Inpatient Rehabilitation Facility.

            Intensive Behavioral Therapy (IBT) - outpatient behavioral/ educational services that aim
            to reinforce adaptive behaviors, reduce maladaptive behaviors and improve the mastery of
            functional age appropriate skills in people with Autism Spectrum Disorders. Examples
            include Applied Behavior Anafysis ('.,,4BA), The Denver Model, and Relationship Development
            Intervention (RDI).

            Intensive Outpatient Treatment - a structured outpatient treatment program.

            ■     For Mental Health Services, the program may be freestanding or Hospital-based and
                  provides services for at least three hours per day, two or more days per week.
            ■     For Substance-Related and Addictive Disorders Services, the program provides nine to
                  nineteen hours per week of structured programming for adults and six to nineteen hours
                  for adolescents, consisting primarily of counseling and education about addiction related
                  and mental health.



            153                                                                       SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar161  of 213
                                                                              01 10:22   PAGEID #: 415
                                                                                       AM-24CV001784
OG750 - W20
                                                                    JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Intermittent Care - skilled nursing care that is provided or needed either:

            ■     Fewer than seven days each week.
            ■     Fewer than eight hours each day for periods of 21 days or less.
            Exceptions may be made in special circumstances when the need for additional care is finite
            and predictable.

            Kidney Resource Services (KRS) - a program administered by UnitedHealthcare or its
            affiliates made available to you by Jones Lang LaSalle. The KRS program provides:

            ■     Specialized consulting services to Employees and enrolled Dependents with ESRD or
                  chronic kidney disease.
            ■     Access to dialysis centers with expertise in treating kidney disease.
            ■     Guidance for the patient on the prescribed plan of care.
            Manipulative Treatment - the therapeutic application of chiropractic and/ or osteopathic
            manipulative treatment with or without ancillary physiologic treatment and/ or rehabilitative
            methods rendered to restore/improve motion, reduce pain and improve function in the
            management of an identifiable neuromusculoskeletal condition.

            Medicaid - a federal program administered and operated individually by participating state
            and territorial governments that provides medical benefits to eligible low-income people
            needing health care. The federal and state governments share the program's costs.

            Medically Necessary - health care services that are all of the following as determined by
            the Claims Administrator or its designee, within the Claims Administrator's sole discretion.
            The services must be:

            ■     In accordance with Generalfy Accepted Standards if Medical Practice.
            ■     Clinically appropriate, in terms of type, frequency, extent, service site and duration, and
                  considered effective for your Sickness, Injury, Mental Illness, substance-related and
                  addictive disorders, disease or its symptoms.
            ■     Not mainly for your convenience or that of your doctor or other health care provider.
            ■     Not more costly than an alternative drug, service(s), service site or supply or supply that
                  is at least as likely to produce equivalent therapeutic or diagnostic results as to the
                  diagnosis or treatment of your Sickness, Injury, disease or symptoms.
            Generalfy Accepted Standards efMedical Practice are standards that are based on credible scientific
            evidence published in peer-reviewed medical literature generally recognized by the relevant
            medical community, relying primarily on controlled clinical trials, or, if not available,
            observational studies from more than one institution that suggest a causal relationship
            between the service or treatment and health outcomes.

            If no credible scientific evidence is available, then standards that are based on Physician
            specialty society recommendations or professional standards of care may be considered. The
            Claims Administrator reserves the right to consult expert opinion in determining whether


            154                                                                           SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar162  of 213
                                                                              01 10:22   PAGEID #: 416
                                                                                       AM-24CV001784
OG750 - W21
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            health care services are Medically Necessary. The decision to apply Physician specialty
            society recommendations, the choice of expert and the determination of when to use any
            such expert opinion, shall be within the Claims Administrator's sole discretion.

           The Claims Administrator develops and maintains clinical policies that describe the Generalfy
           Accepted Standards ofMedical Practice scientific evidence, prevailing medical standards and
           clinical guidelines supporting its determinations regarding specific services. These clinical
           policies (as developed by the Claims Administrator and revised from time to time), are
           available to Covered Persons on www.myuhc.com or by calling the number on your ID
           card, and to Physicians and other health care professionals on www.UHCprovider.com.

            Medicare - Parts A, B, C and D of the insurance program established by Title XVIII, United
            States Social Security Act, as amended by 42 U.S.C. Sections 1394, et seq. and as later amended.

           Mental Health Services - services for the diagnosis and treatment of those mental health
           or psychiatric categories that are listed in the current edition of the International Classification of
           Diseases section on Mental and Behavioral Disorders or the Diagnostic and Statistical Manual of the
           American Prychiatric Association. The fact that a condition is listed in the current edition of the
           International Classification of Diseases section on Mental and Behavioral Disorders or Diagnostic and
           Statistical Manual of the American Prychiatric Association does not mean that treatment for the
           condition is a Covered Health Service.
            Mental Health/Substance-Related and Addictive Disorders Administrator - the
            organization or individual designated by Jones Lang LaSalle who provides or arranges
            Mental Health Services and Substance-Related and Addictive Disorder Services under the
            Plan.

           Mental Illness - those mental health or psychiatric diagnostic categories listed in the
           current edition of the International Classification of Diseases section on Mental and Behavioral
           Disorders or Diagnostic and Statistical Manual of the American Prychiatric Association. The fact that a
           condition is listed in the current edition of the International Classification of Diseases section on
           Mental and Behavioral Disorders or Diagnostic and Statistical Manual of the American Prychiatric
           Association does not mean that treatment for the condition is a Covered Health Service.

            Neonatal Resource Services (NRS) - a program administered by UnitedHealthcare or its
            affiliates made available to you by Jones Lang LaSalle. The NRS program provides guided
            access to a network of credentialed NICU providers and specialized nurse consulting
            services to help manage NICU admissions.

           Network - when used to describe a provider of health care services, this means a provider
           that has a participation agreement in effect (either directly or indirectly) with the Claims
           Administrator or with its affiliate to participate in the Network; however, this does not
           include those providers who have agreed to discount their charges for Covered Health
           Services. The Claims Administrator's affiliates are those entities affiliated with the Claims
           Administrator through common ownership or control with the Claims Administrator or
           with the Claims Administrator's ultimate corporate parent, including direct and indirect
           subsidiaries.




            155                                                                           SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar163  of 213
                                                                              01 10:22   PAGEID #: 417
                                                                                       AM-24CV001784
OG750 - W22
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            A provider may enter into an agreement to provide only certain Covered Health Services,
            but not all Covered Health Services, or to be a Network provider for only some products. In
            this case, the provider will be a Network provider for the Covered Health Services and
            products included in the participation agreement, and a non-Network provider for other
            Covered Health Services and products. The participation status of providers will change
            from time to time.

            Network Benefits - for Benefit Plans that have a Network Benefit level, this is the
            description of how Benefits are paid for Covered Health Services provided by Network
            providers. Refer to Section 5, Plan Highlights to determine whether or not your Benefit plan
            offers Network Benefits and Section 3, How the Plan Works, for details about how Network
            Benefits apply.

           New Pharmaceutical Product - a Pharmaceutical Product or new dosage form of a
           previously approved Pharmaceutical Product. It applies to the period of time starting on the
           date the Pharmaceutical Product or new dosage form is approved by the U.S. Food and Drug
           Administration (FDA) and ends on the earlier of the following dates.

            ■     The date it is reviewed.
            ■     December 31st of the following calendar year.


           Non-Medical 24-Hour Withdrawal Management - An organized residential service,
           including those defined in American Society ofAddiction Medicine ('.,,4SAM), providing 24-hour
           supervision, observation, and support for patients who are intoxicated or experiencing
           withdrawal, using peer and social support rather than medical and nursing care.

            Non-Network Benefits - for Benefit Plans that have a Non-Network Benefit level, this is
            the description of how Benefits are paid for Covered Health Services provided by non-
            Network providers. Refer to Section 5, Plan Highlights to determine whether or not your
            Benefit plan offers Non-Network Benefits and Section 3, How the Plan Works, for details
            about how Non-Network Benefits apply.

            Open Enrollment - the period of time, determined by Jones Lang LaSalle, during which
            eligible Employees may enroll themselves and their Dependents under the Plan. Jones Lang
            LaSalle determines the period of time that is the Open Enrollment period.

            Out-of-Pocket Maximum - for Benefit plans that have an Out-of-Pocket Maximum, this is
            the maximum amount you pay every calendar year. Refer to Section 5, Plan Highlights for the
            Out-of-Pocket Maximum amount. See Section 3, How the Plan Works for a description of
            how the Out-of-Pocket Maximum works.

           Partial Hospitalization/Day Treatment - a structured ambulatory program that may be a
           freestanding or Hospital-based program and that provides services for at least 20 hours per
           week.




            156                                                                      SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar164  of 213
                                                                              01 10:22   PAGEID #: 418
                                                                                       AM-24CV001784
OG750 - W23
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Personal Health Support - programs provided by the Claims Administrator that focus on
            prevention, education, and closing the gaps in care designed to encourage an efficient system
            of care for you and your covered Dependents.

            Personal Health Support Nurse - the primary nurse that UnitedHealthcare may assign to
            you if you have a chronic or complex health condition. If a Personal Health Support Nurse
            is assigned to you, this nurse will call you to assess your progress and provide you with
            information and education.

            Pharmaceutical Product(s) - U.S. Food and Drug Administration (FDA)-approved
            prescription medications or products administered in connection with a Covered Health
            Service by a Physician.

            Physician - any Doctor ofMedicine or Doctor of Osteopati?J who is properly licensed and
            qualified by law.

           Please note: Any podiatrist, dentist, psychologist, chiropractor, optometrist or other provider
           who acts within the scope of his or her license will be considered on the same basis as a
           Physician. The fact that a provider is described as a Physician does not mean that Benefits
           for services from that provider are available to you under the Plan.

            Plan - The Jones Lang LaSalle Medical Plan.

            Plan Administrator - Jones Lang LaSalle or its designee.

            Plan Sponsor - Jones Lang LaSalle.

            Pregnancy - includes all of the following:

            ■     Prenatal care.
            ■     Postnatal care.
            ■     Childbirth.
            ■     Any complications associated with the above.
            Preimplantation Genetic Testing (PGT) - A test performed to analyze the DNA from
            oocytes or embryos for human leukocyte antigen (HLA) typing or for determining genetic
            abnormalities. These include:

            ■     PGT-A- for aneuploidy (formerly PGS)
            ■     PGT-M - for monogenic disorder (formerly single-gene PGD).
            ■     PGT-SR - for structural rearrangements (formerly chromosomal PGD).
            Prescription Drug List (PDL) Management Committee - the committee that
            UnitedHealthcare designates for, among other responsibilities, classifying Pharmaceutical
            Products into specific tiers.




            157                                                                      SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar165  of 213
                                                                              01 10:22   PAGEID #: 419
                                                                                       AM-24CV001784
OG750 - W24
                                                                    JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Presumptive Drug Test - test to determine the presence or absence of drugs or a drug
            class in which the results are indicated as negative or positive result.

            Primary Physician - a Physician who has a majority of his or her practice in general
            pediatrics, internal medicine, obstetrics/ gynecology, family practice or general medicine.

            Private Duty Nursing - nursing care that is provided to a patient on a one-to-one basis by
            licensed nurses in a home setting when any of the following are true:

            ■     Services exceed the scope of Intermittent Care in the home.
            ■     The service is provided to a Covered Person by an independent nurse who is hired
                  directly by the Covered Person or his/her family. This includes nursing services provided
                  on a home-care basis, whether the service is skilled or non-skilled independent nursing.
            ■     Skilled nursing resources are available in the facility.
            ■     The Skilled Care can be provided by a Home Health Agency on a per visit basis for a
                  specific purpose.
            Recognized Amount - the amount which Copayment, Coinsurance and applicable
            deductible, is based on for the below Covered Health Services when provided by non-
            Network providers.

            ■     Non-Network Emergency Health Services.
            ■     Non-Emergency Covered Health Services received at certain Network facilities by non-
                  Network Physicians, when such services are either Ancillary Services, or non-Ancillary
                  Services that have not satisfied the notice and consent criteria of section 2799B-2(d) of the
                  Public Service Act. For the purpose of this provision, "certain Network facilities" are
                  limited to a hospital (as defined in 1861 (e) of the Social Security ActJ, a hospital outpatient
                  department, a critical access hospital (as defined in 1861 (mm)(1) of the Social Security Act),
                  an ambulatory surgical center as described in section 1833 (i)(1 )(A) of the Social Security Act,
                  and any other facility specified by the Secretary.
            The amount is based on either:

            1) An All Pqyer Model Agreement if adopted,
            2) State law, or
            3) The lesser of the qualifying payment amount as determined under applicable law or the
               amount billed by the provider or facility.
           The Recognized Amount for Air Ambulance services provided by a non-Network provider
           will be calculated based on the lesser of the qualifying payment amount as determined under
           applicable law or the amount billed by the Air Ambulance service provider.

            Note: Covered Health Services that use the Recognized Amount to determine your
            cost sharing may be higher or lower than if cost sharing for these Covered Health
            Services were determined based upon an Eligible Expense.




            158                                                                            SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar166  of 213
                                                                              01 10:22   PAGEID #: 420
                                                                                       AM-24CV001784
OG750 - W25
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           Reconstructive Procedure - a procedure performed to address a physical impairment
           where the expected outcome is restored or improved function. The primary purpose of a
           Reconstructive Procedure is either to treat a medical condition or to improve or restore
           physiologic function. Reconstructive Procedures include surgery or other procedures which
           are associated with an Injury, Sickness or Congenital Anomaly. The primary result of the
           procedure is not changed or improved physical appearance. The fact that a person may
           suffer psychologically as a result of the impairment does not classify surgery or any other
           procedure done to relieve the impairment as a Reconstructive Procedure.

            Residential Treatment - treatment in a facility which provides Mental Health Services or
            Substance-Related and Addictive Disorders Services treatment. The facility meets all of the
            following requirements:

            ■     It is established and operated in accordance with applicable state law for Residential
                  Treatment programs.
            ■     It provides a program of treatment under the active participation and direction of a
                  Physician and approved by the Mental Health/Substance-Related and Addictive
                  Disorders Services Administrator.
            ■     It has or maintains a written, specific and detailed treatment program requiring full-time
                  residence and full-time participation by the patient.
            ■     It provides at least the following basic services in a 24-hour per day, structured milieu:
                      Room and board.
                      Evaluation and diagnosis.
                      Counseling.
                      Referral and orientation to specialized community resources.
            A Residential Treatment facility that qualifies as a Hospital is considered a Hospital.

            Secretary - as that term is applied in the No Surprises Act of the Consolidated Appropriations Act
            (P.L. 116-260).

            Semi-private Room - a room with two or more beds. When an Inpatient Stay in a Semi-
            private Room is a Covered Health Service, the difference in cost between a Semi-private
            Room and a private room is a benefit only when a private room is necessary in terms of
            generally accepted medical practice, or when a Semi-private Room is not available.

            Sickness - physical illness, disease or Pregnancy. The term Sickness as used in this SPD
            includes Mental Illness or substance-related and addictive disorders, regardless of the cause
            or origin of the Mental Illness or substance-related and addictive disorder.

            Skilled Care - skilled nursing, teaching, and rehabilitation services when:

            ■     They are delivered or supervised by licensed technical or professional medical personnel
                  in order to obtain the specified medical outcome and provide for the safety of the
                  patient.
            ■     A Physician orders them.



            159                                                                         SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar167  of 213
                                                                              01 10:22   PAGEID #: 421
                                                                                       AM-24CV001784
OG750 - W26
                                                                    JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     They are not delivered for the purpose of assisting with activities of daily living,
                  including dressing, feeding, bathing or transferring from a bed to a chair.
            ■     They require clinical training in order to be delivered safely and effectively.
            ■     They are not Custodial Care, as defined in this section.
            Skilled Nursing Facility - a Hospital or nursing facility that is licensed and operated as
            required by law. A Skilled Nursing Facility that is part of a Hospital is considered a Skilled
            Nursing Facility for purposes of the Plan.

            Specialist Physician - a Physician who has a majority of his or her practice in areas other
            than general pediatrics, internal medicine, obstetrics/ gynecology, family practice or general
            medicine.

            Spouse - an individual to whom you are legally married or a Domestic Partner as defined in
            this section.

            Substance-Related and Addictive Disorders Services - services for the diagnosis and
            treatment of alcoholism and substance-related and addictive disorders that are listed in the
            current edition of the International Classification of Diseases section on Mental and Behavioral
            Disorders or Diagnostic and Statistical Manual of the American Psychiatric Association. The fact that a
            disorder is listed in the edition of the International Classification of Diseases section on Mental and
            Behavioral Disorders or Diagnostic and Statistical Manual of the American Psychiatric Association does
            not mean that treatment of the disorder is a Covered Health Service.

            Surrogate - a female who becomes pregnant usually by artificial insemination or transfer of
            a fertilized egg (embryo) for the purpose of carrying the fetus for another person. When the
            surrogate provides the egg the surrogate is biologically (genetically) related to the child.

            Telehealth/Telemedicine - live, interactive audio with visual transmissions of a Physician-
            patient encounter from one site to another using telecommunications technology. The site
            may be a CMS defined originating facility or another location such as a Covered Person's
            home or place of work. Telehealth/Telemedicine does not include virtual care services
            provided by a Designated Virtual Network Provider.

            Therapeutic Donor Insemination (TDI) - Insemination with a donor sperm sample for
            the purpose of conceiving a child.

            Total Disability or Totally Disabled - an Employee's inability to perform all of the
            substantial and material duties of his or her regular employment or occupation; and a
            Dependent's inability to perform the normal activities of a person of like age and gender.

           Transitional Living - Mental Health Services and Substance-Related and Addictive
           Disorders Services that are provided through facilities, group homes and supervised
           apartments that provide 24-hour supervision, including those defined in American Society of
           Addiction Medicine (,4-SAM) criteria, that are either:

            ■     Sober living arrangements such as drug-free housing or alcohol/ drug halfway houses.
                  These are transitional, supervised living arrangements that provide stable and safe


            160                                                                            SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar168  of 213
                                                                              01 10:22   PAGEID #: 422
                                                                                       AM-24CV001784
OG750 - W27
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                  housing, an alcohol/ drug-free environment and support for recovery. A sober living
                  arrangement may be utilized as an adjunct to ambulatory treatment when treatment
                  doesn't offer the intensity and structure needed to assist the Covered Person with
                  recovery.
            ■     Supervised living arrangements which are residences such as facilities, group homes and
                  supervised apartments that provide stable and safe housing and the opportunity to learn
                  how to manage activities of daily living. Supervised living arrangements may be utilized
                  as an adjunct to treatment when treatment doesn't offer the intensity and structure
                  needed to assist the Covered Person with recovery.
            Unproven Services - health services, including medications that are determined not to be
            effective for treatment of the medical condition and/ or not to have a beneficial effect on
            health outcomes due to insufficient and inadequate clinical evidence from well-conducted
            randomized controlled trials or cohort studies in the prevailing published peer-reviewed
            medical literature.

            ■     Well-conducted randomized controlled trials are two or more treatments compared to
                  each other, with the patient not being allowed to choose which treatment is received.
            ■     Well-conducted cohort studies from more than one institution are studies in which
                  patients who receive study treatment are compared to a group of patients who receive
                  standard therapy. The comparison group must be nearly identical to the study treatment
                  group.
            UnitedHealthcare has a process by which it compiles and reviews clinical evidence with
            respect to certain health services. From time to time, UnitedHealthcare issues medical and
            drug policies that describe the clinical evidence available with respect to specific health care
            services. These medical and drug policies are subject to change without prior notice. You can
            view these policies at www.myuhc.com.

            Please note:

            ■     If you have a life threatening Sickness or condition (one that is likely to cause death
                  within one year of the request for treatment), UnitedHealthcare may, at its discretion,
                  consider an otherwise Unproven Service to be a Covered Health Service for that
                  Sickness or condition. Prior to such a consideration, UnitedHealthcare must first
                  establish that there is sufficient evidence to conclude that, albeit unproven, the service
                  has significant potential as an effective treatment for that Sickness or condition.
            Urgent Care - Care that requires prompt attention to avoid adverse consequences, but does
            not pose an immediate threat to a person's life. Urgent care is usually delivered in a walk-in
            setting and without an appointment. Urgent care facilities are a location, distinct from a
            hospital emergency department, an office or a clinic. The purpose is to diagnose and treat
            illness or injury for unscheduled, ambulatory patients seeking immediate medical attention.

            Urgent Care Center - a facility that provides Covered Health Services that are required to
            prevent serious deterioration of your health, and that are required as a result of an
            unforeseen Sickness, Injury, or the onset of acute or severe symptoms.




            161                                                                         SECTION 14 - GLOSSARY
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar169  of 213
                                                                              01 10:22   PAGEID #: 423
                                                                                       AM-24CV001784
OG750 - W28
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
              What this section includes:
              ■ Benefits available for Prescription Drug Products.

               ■   How to utilize the retail and mail order service for obtaining Prescription Drug
                   Products.
               ■   Any Benefit limitations and exclusions that exist for Prescription Drug Products.
               ■   Definitions of terms used throughout this section related to the Prescription Drug
                   Product Plan.

            Benefits for Prescription Drug Products
            Benefits are available for Prescription Drug Products at either a Network Pharmacy or a
            non-Network Pharmacy and are subject to Coinsurance or other payments that vary
            depending on which of the tiers of the Prescription Drug List (PDL) the Prescription Drug
            Product is listed. Refer to the Outpatient Prescription Drug Schedule of Benefits for
            applicable Coinsurance requirements.

            Benefits for Prescription Drug Products are available when the Prescription Drug Product
            meets the definition of a Covered Health Service or is prescribed to prevent conception.

              Variable Copayment Program
            Certain Specialty Prescription Drug Products are eligible for Copayment assistance by drug
            manufacturers. UnitedHealthcare may help you determine whether your Specialty
            Prescription Drug Product is eligible for Copayment assistance. If you receive Copayment
            assistance from a drug manufacturer, your Copayment and/ or Coinsurance may vary. Please
            contact UnitedHealthcare at www.myuhc.com or the telephone number on your ID card
            for a list of Specialty Prescription Drug Products available in this program. If you choose not
            to participate, you will pay the cost share as described in the Schedule of Benefits - Outpatient
            Prescription Drugs for applicable Copayments and/ or Coinsurance requirements.

            The amount of the coupon will not count toward any applicable deductible or out-of-pocket
            maximum.

            What You Must Pay
            You are responsible for paying the Annual Deductible stated in Section 5, under the Pqyments
            and Terms table before Benefits for Prescription Drug Products under this section are
            available to you.

            Benefits for Prescription Drug Products on the List of Preventive Medications are not
            subject to payment of the Annual Deductible.

            Benefits for Preventive Care Medications are not subject to payment of the Annual
            Deductible.




            162                                                SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar170  of 213
                                                                              01 10:22   PAGEID #: 424
                                                                                       AM-24CV001784
OG750 - W29
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            You are responsible for paying the applicable Coinsurance described in the Schedule of Benefits
            - Outpatient Prescription Drugs, in addition to any Ancillary Charge. You are not responsible for
            paying a Coinsurance for Preventive Care Medications.

            An Ancillary Charge may apply when a covered Prescription Drug Product is dispensed at
            your request and there is another drug that is Chemically Equivalent.

            The amount you pay for any of the following under this section will not be included in
            calculating any Annual Out-of-Pocket Maximum stated in your SPD:

            ■     Coupons or offers from pharmaceutical manufacturers or an affiliate for Specialty
                  Prescription Drug Products.
            ■     The difference between the Out-of-Network Reimbursement Rate and a non-Network
                  Pharmacy's Usual and Customary Charge for a Prescription Drug Product.
            ■     Any non-covered drug product. You are responsible for paying 100% of the cost (the
                  amount the pharmacy charges you) for any non-covered drug product and
                  UnitedHealthcare contracted rates (Prescription Drug Charge) will not be available to
                  you.

            Payment Terms and Features - Outpatient Prescription Drugs
            Prescription Drug Product Coverage Highlights
            The table below provides an overview of the Plan's Prescription Drug Product coverage. It
            includes Coinsurance amounts that apply when you have a prescription filled at a Pharmacy.
            For detailed descriptions of your Benefits, refer to Retail and Mail Order in this section.

           Note:The Annual Deductible and Annual Out-of-Pocket Maximum apply to all Covered
           Health Services under the Plan, including Covered Health Services provided in Section 6,
           Additional Coverage Details.

            Coupons for Specialty Prescription Drug Products: UnitedHealthcare will not accept
            certain coupons for Specialty Prescription Drug Products to reduce your Copayment and/ or
            Coinsurance. UnitedHealthcare does not accept coupons for mail order Prescription Drug
            Products. Contact UnitedHealthcare at the number on your ID card for more information.

            Coupons or offers from pharmaceutical manufacturers or an affiliate for Specialty
            Prescription Drug Products will not apply to your Annual Deductible or Annual Out-of-
            Pocket Maximum.

            Variable Copayment Program: Certain Specialty Prescription Drug Products may be
            subject to different Copayments and/ or Coinsurance. Please contact UnitedHealthcare at
            www.myuhc.com or the telephone number on your ID card for a list of Specialty
            Prescription Drug Products available in this program.

            If a Brand-name Drug Becomes Available as a Generic
            If a Brand-name Prescription Drug Product becomes available as a Generic drug, the tier
            placement of the Brand-name Prescription Drug Product may change and an Ancillary



            163                                                 SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar171  of 213
                                                                              01 10:22   PAGEID #: 425
                                                                                       AM-24CV001784
OG750 - W30
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Charge may apply. As a result, your Coinsurance may change. You will pay the Coinsurance
            applicable for the tier to which the Prescription Drug Product is assigned.

            Prior Authorization Requirements
            Before certain Prescription Drug Products are dispensed to you, it is the responsibility of
            your Physician, your pharmacist or you to obtain prior authorization from UnitedHealthcare
            or its designee. The reason for obtaining prior authorization from UnitedHealthcare or its
            designee is to determine if the Prescription Drug Product, in accordance with
            UnitedHealthcare's approved guidelines, is each of the following:

            ■     It meets the definition of a Covered Health Service as defined by the Plan.
            ■     It is not an Experimental or Investigational or Unproven Service, as defined in Section
                  14, Glossary.

            The Plan may also require you to obtain prior authorization from UnitedHealthcare or its
            designee so UnitedHealthcare can determine whether the Prescription Drug Product, in
            accordance with UnitedHealthcare's approved guidelines, was prescribed by a Specialist
            Physician.

            Network Pharmacy Prior Authorization
            When Prescription Drug Products are dispensed at a Network Pharmacy, the prescribing
            provider, the pharmacist, or you are responsible for obtaining prior authorization from
            UnitedHealthcare.

            Non-Network Pharmacy Prior Authorization
            When Prescription Drug Products are dispensed at a non-Network Pharmacy, you or your
            Physician, are responsible for obtaining prior authorization from UnitedHealthcare as
            required.

           If you do not obtain prior authorization before the Prescription Drug Product is dispensed,
           you may pay more for that Prescription Drug Product order or refill. You will be required to
           pay for the Prescription Drug Product at the time of purchase. The Prescription Drug
           Products requiring prior authorization are subject to UnitedHealthcare's periodic review and
           modification. There may be certain Prescription Drug Products that require you to notify
           UnitedHealthcare directly rather than your Physician or pharmacist. You may determine
           whether a particular Prescription Drug Product requires prior authorization through the
           Internet at www.myuhc.com or by calling the telephone number on your ID card.

            If you do not obtain prior authorization from UnitedHealthcare before the Prescription
            Drug Product is dispensed, you can ask UnitedHealthcare to consider reimbursement after
            you receive the Prescription Drug Product. You will be required to pay for the Prescription
            Drug Product at the pharmacy. UnitedHealthcare contracted pharmacy reimbursement rates
            (UnitedHealthcare's Prescription Drug Charge) will not be available to you at a non-Network
            Pharmacy. You may seek reimbursement from the Plan as described in Section 9, Claims
            Procedures.




            164                                                 SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar172  of 213
                                                                              01 10:22   PAGEID #: 426
                                                                                       AM-24CV001784
OG750 - W31
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            When you submit a claim on this basis, you may pay more because you did not obtain prior
            authorization from UnitedHealthcare before the Prescription Drug Product was dispensed.
            The amount you are reimbursed will be based on the Prescription Drug Charge (for
            Prescription Drug Products from a Network Pharmacy) or the Out-of-Network
            Reimbursement Rate (for Prescription Drug Products from a non-Network Pharmacy), less
            the required Coinsurance, Ancillary Charge and any Annual Deductible that applies.

            To determine if a Prescription Drug Product requires prior authorization, either visit
            www.myuhc.com or call the number on your ID card. The Prescription Drug Products
            requiring prior authorization are subject to UnitedHealthcare's periodic review and
            modification.

            Benefits may not be available for the Prescription Drug Product after UnitedHealthcare
            reviews the documentation provided and determines that the Prescription Drug Product is
            not a Covered Health Service or it is an Experimental or Investigational or Unproven
            Service.

            UnitedHealthcare may also require prior authorization for certain programs which may have
            specific requirements for participation and/ or activation of an enhanced level of Benefits
            associated with such programs. You may access information on available programs and any
            applicable prior authorization, participation or activation requirements associated with such
            programs through the Internet at www.myuhc.com or by calling the number on your ID
            card.

            Schedule of Benefits - Outpatient Prescription Drugs
            Bene.it Information for Prescription Drug Products at either a Network Pharmacy or
            a non-Network Pharmacy
                                                                              Percentage of Out-of-
                                                    Percentage of
                                                                                    Network
                    Covered Health                Prescription Drug
                                                                              Reimbursement Rate
                     Services 1,2,3 ,4          Charge Payable by You:
                                                                                Payable by You:
                                                        Network                   Non-Network
              Retail - up to a 31-day supply
              When a Prescription Drug
              Product is packaged or
              designed to deliver in a
              manner that provides more
              than a consecutive 31-day
              supply, the Copayment
              and/ or Coinsurance that
              applies will reflect the number
              of days dispensed or days the
              drug will be delivered.




            165                                               SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar173  of 213
                                                                              01 10:22   PAGEID #: 427
                                                                                       AM-24CV001784
OG750 - W32
                                                                      JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                                                                                       Percentage of Out~of-
                                                          Percentage of
                                                                                             Network
                          Covered Health                Prescription Drug
                                                                                       Reimbursement Rate
                           Services 1,2,3 ,4          Charge Payable by You:
                                                                                         Payable by You:
                                                               Network                      Non-Network
                 ■   Tier-1                            10% of the Prescription        10% of the Predominate
                                                       Drug Cost, but not less        Reimbursement Rate, but
                                                     than $7 and not more than        not less than $7 and not
                                                        $50 after you meet the        more than $50 after you
                                                         Annual Deductible               meet the Annual
                                                                                             Deductible
                 ■   Tier-2                            25% of the Prescription        25% of the Predominate
                                                       Drug Cost, but not less        Reimbursement Rate, but
                                                        than $30 and not more         not less than $30 and not
                                                       than $85 after you meet        more than $85 after you
                                                        the Annual Deductible             meet the Annual
                                                                                              Deductible
                 ■   Tier-3                            50% of the Prescription        50% of the Predominate
                                                       Drug Cost, but not less        Reimbursement Rate, but
                                                       than $75 and not more          not less than $75 and not
                                                      than $125 after you meet        more than $125 after you
                                                       the Annual Deductible              meet the Annual
                                                                                              Deductible

                 Mail order - up to a 90-day
                 supply
                 ■   Tier-1                            10% of the Prescription Drug Cost, but not less than
                                                        $17.50 and not more than $125 after you meet the
                                                                       Annual Deductible
                 ■   Tier-2                            25% of the Prescription Drug Cost, but not less than
                                                      $75 and not more than $200 after you meet the Annual
                                                                           Deductible
                 ■   Tier-3                            50% of the Prescription Drug Cost, but not less than
                                                         $150 and not more than $300 after you meet the
                                                                       Annual Deductible

            1
             Please obtain prior authorization from UnitedHealthcare before receiving Prescription Drug
            Products, as described in Pqyment Terms and Features, under Prior Authorization Requirements in this
            section.

            2
             You are not responsible for paying a Coinsurance for Preventive Care Medications. Benefits for
            Preventive Care Medications are not subject to payment of the Annual Deductible.

            3
                The Plan pays Benefits for Specialty Prescription Drug Products as described in this table.


            166                                                       SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar174  of 213
                                                                              01 10:22   PAGEID #: 428
                                                                                       AM-24CV001784
OG750 - W33
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            4
             If CVS90 Saver Plus applies, you may obtain a 90 day supply of Maintenance Medications from a
            Preferred 90 Day Retail Partner.

            Benefits for Prescription Drug Products for the treatment of infertility are limited to a
            maximum of $15,000 per Covered Person during the entire period you are covered by the
            Plan.

            Note. The Coordination of Benefits provision described in Section 10, Coordination efBenifits
            (COB) applies to covered Prescription Drug Products as described in this section. Benefits
            for Prescription Drug Products will be coordinated with those of any other health plan in
            the same manner as Benefits for Covered Health Services described in this SPD.

            Identification Card (ID Card) - Network Pharmacy
            You must either show your ID card at the time you obtain your Prescription Drug Product
            at a Network Pharmacy or you must provide the Network Pharmacy with identifying
            information that can be verified by UnitedHealthcare during regular business hours.

            If you don't show your ID card or provide verifiable information at a Network Pharmacy,
            you will be required to pay the Usual and Customary Charge for the Prescription Drug at the
            pharmacy.

            You may seek reimbursement from the Plan as described in Section 9, Claims Procedures,
            under the heading, IJYour Provider Does Not File Your Claim. When you submit a claim on this
            basis, you may pay more because you failed to verify your eligibility when the Prescription
            Drug Product was dispensed. The amount you are reimbursed will be based on the
            Prescription Drug Charge, less the required Coinsurance, Ancillary Charge, and any Annual
            Deductible that applies.

            Submit your claim to:

            OptumRx
            PO Box 29077
            Hot Spring, AR 71903

            Benefit Levels
            Benefits are available for outpatient Prescription Drug Products that are considered Covered
            Health Services.

            The Plan pays Benefits at different levels for tier-1, tier-2 and tier-3 Prescription Drug
            Products.

            All Prescription Drug Products covered by the Plan are categorized into these three tiers on
            the Prescription Drug List (PDL). The tier status of a Prescription Drug Product can change
            periodically, generally quarterly but no more than six times per calendar year, based on the
            Prescription Drug List (PDL) Management Committee's periodic tiering decisions. When
            that occurs, you may pay more or less for a Prescription Drug Product, depending on its tier
            assignment. Since the PDL may change periodically, you can visit www.myuhc.com or call
            UnitedHealthcare at the number on your ID card for the most current information.


            167                                                 SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar175  of 213
                                                                              01 10:22   PAGEID #: 429
                                                                                       AM-24CV001784
OG750 - W34
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Each tier is assigned a Coinsurance, which is the amount you pay when you visit the
            pharmacy or order your medications through mail order. Your Coinsurance will also depend
            on whether or not you visit the pharmacy or use the mail order service - see the table shown
            at the beginning of this section for further details. Here's how the tier system works:

            ■     For the lowest out-of-pocket expense, you should consider tier-1 drugs if you and your
                  Physician decide they are appropriate for your treatment.
            ■     Consider a tier-2 drug if no tier-1 drug is available to treat your condition.
            ■     The drugs in tier-3 are usually more costly. Sometimes there are alternatives available in
                  tier-1 or tier-2.
            Coinsurance for a Prescription Drug at a Network Pharmacy is a percentage of the
            Prescription Drug Charge. Coinsurance for a Prescription Drug at a non-Network Pharmacy
            is a percentage of the Out-of-Network Reimbursement Rate.

            For Prescription Drug Products at a retail Network Pharmacy, you are responsible for
            paying the lowest of:

            ■     The applicable Coinsurance.
            ■     The Network Pharmacy's Usual and Customary Charge for the Prescription Drug
                  Product.
            ■     The Prescription Drug Charge for that Prescription Drug Product.
            For Prescription Drug Products from a mail order Network Pharmacy, you are responsible
            for paying the lower of:

            ■     The applicable Coinsurance.
            ■     The Prescription Drug Charge for that particular Prescription Drug.

            Retail
            Benefits are provided for Prescription Drug Products dispensed by a retail Network
            Pharmacy. The Plan has a Network of participating retail pharmacies, which includes many
            large drug store chains. You can obtain information about Network Pharmacies by
            contacting UnitedHealthcare at the number on your ID card or by logging onto
            www.myuhc.com.

            Benefits are provided for Prescription Drug Products dispensed by a retail non-Network
            Pharmacy. If the Prescription Drug Product is dispensed by a retail non-Network Pharmacy,
            you must pay for the Prescription Drug Product at the time it is dispensed and then file a
            claim for reimbursement with UnitedHealthcare, as described in your SPD, Section 9, Claims
            Procedures. The Plan will not reimburse you for the difference between the Out-of-Network
            Reimbursement Rate and the non-Network Pharmacy's Usual and Customary Charge for
            that Prescription Drug Product. The Plan will not reimburse you for any non-covered drug
            product.




            168                                                   SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar176  of 213
                                                                              01 10:22   PAGEID #: 430
                                                                                       AM-24CV001784
OG750 - W35
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            In most cases, you will pay more if you obtain Prescription Drug Products from a non-
            Network Pharmacy.

            To obtain your prescription from a retail pharmacy, simply present your ID card and pay the
            Coinsurance. The following supply limits apply:

            ■     As written by the provider, up to a consecutive 30-day supply of a Prescription Drug
                  Product, unless adjusted based on the drug manufacturer's packaging size or based on
                  supply limits. If CVS90 Saver Plus applies, you may be eligible for a 90 day supply at a
                  Preferred 90 Day Retail Partner.
            ■     A one-cycle supply of an oral contraceptive. You may obtain up to three cycles at one
                  time if you pay the Coinsurance for each cycle supplied.
            When a Prescription Drug Product is packaged or designed to deliver in a manner that
            provides more than a consecutive 30-day supply, the Coinsurance that applies will reflect the
            number of days dispensed.

            Note: Pharmacy Benefits apply only if your prescription is for a Covered Health Service,
            and not for Experimental or Investigational, or Unproven Services. Otherwise, you are
            responsible for paying 100% of the cost.

            Mail Order
            Benefits are provided for certain Prescription Drug Products dispensed by a mail order
            Network Pharmacy. The mail order service may allow you to purchase up to a 90-day supply
            of a covered Prescription Drug Product through the mail.

           To use the mail order service, all you need to do is complete a patient profile and enclose
           your Prescription Order or Refill. Your medication, plus instructions for obtaining refills,
           will arrive by mail about 14 days after your order is received. If you need a patient profile
           form, or if you have any questions, you can reach UnitedHealthcare at the number on your
           ID card.

            The following supply limits apply: As written by the provider, up to a consecutive 90-day
            supply, unless adjusted based on the drug manufacturer's packaging size or based on supply
            limits.

            These supply limits do not apply to Specialty Prescription Drug Products, including Specialty
            Prescription Drug Products on the List of Preventive Medications. Specialty Prescription
            Drug Products from a Mail Order Network Pharmacy are subject to the supply limits stated
            below under the heading Specialty Prescription Drug Products.

            You may be required to fill an initial Prescription Drug Product order and obtain one refill
            through a retail pharmacy prior to using a mail order Network Pharmacy.

            Note: To maximize your Benefit, ask your Physician to write your Prescription Order or
            Refill for a 90-day supply, with refills when appropriate. You will be charged the mail order
            Coinsurance for any Prescription Order or Refill if you use the mail order service, regardless




            169                                                 SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar177  of 213
                                                                              01 10:22   PAGEID #: 431
                                                                                       AM-24CV001784
OG750 - W36
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           of the number of days' supply that is written on the order or refill. Be sure your Physician
           writes your mail order or refill for a 90-day supply, not a 30-day supply with three refills.

            Benefits for Preventive Care Medications
            Benefits under the Prescription Drug Plan include those for Preventive Care Medications as
            defined, in this section, under Glossary - Prescription Drug Products. You may determine whether
            a drug is a Preventive Care Medication through the internet at www.myuhc.com or by
            calling UnitedHealthcare at the number on your ID card.

            Designated Pharmacies
           If you require certain Prescription Drug Products, including, but not limited to, Specialty
           Prescription Drug Products, UnitedHealthcare may direct you to a Designated Pharmacy
           with whom it has an arrangement to provide those Prescription Drug Products.

            If you are directed to a Designated Pharmacy and you choose not to obtain your
            Prescription Drug Product from a Designated Pharmacy, you will be subject to the Non-
            Network Benefit for that Prescription Drug Product.

            Smart Fill Program - Split Fill
            Certain Specialty Prescription Drug Products may be dispensed by the Designated Pharmacy
            in 15-day supplies up to 90 days and at a pro-rated Coinsurance. The Covered Person will
            receive a 15-day supply of their Specialty Prescription Drug Product to determine if they will
            tolerate the Specialty Prescription Drug Product prior to purchasing a full supply. The
            Designated Pharmacy will contact the Covered Person each time prior to dispensing the 15-
            day supply to confirm if the Covered Person is tolerating the Specialty Prescription Drug
            Product. You may find a list of Specialty Prescription Drug Products included in the Smart
            Fill Program, through the internet at www.myuhc.com or by calling the telephone number
            on your ID card.

            Specialty Prescription Drug Products
            Benefits are provided for Specialty Prescription Drug Products.

            If you require Specialty Prescription Drug Products, UnitedHealthcare may direct you to a
            Designated Pharmacy with whom UnitedHealthcare has an arrangement to provide those
            Specialty Prescription Drug Products.

            If you are directed to a Designated Pharmacy and you choose not to obtain your Specialty
            Prescription Drug Product from a Designated Pharmacy, you will be subject to the non-
            Network Benefit for that Specialty Prescription Drug Product.

            Please see Glossary - Outpatient Prescription Drugs, for a full description of Specialty Prescription
            Drug Product and Designated Pharmacy.

            Refer to the Outpatient Prescription Drug Schedule of Benefits for details on Specialty Prescription
            Drug Product supply limits.




            170                                                   SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar178  of 213
                                                                              01 10:22   PAGEID #: 432
                                                                                       AM-24CV001784
OG750 - W37
                                                                JONES LANG LASALLE MEDICAL PPO PLUS PLAN


              Want to lower your out-of-pocket Prescription Drug Product costs?
              Consider tier-1 Prescription Drug Products, if you and your Physician decide they are
              appropriate.

            Assigning Prescription Drug Products to the Prescription Drug List (POL)
            UnitedHealthcare's Prescription Drug List (PDL) Management Committee is authorized to
            make tier placement changes on UnitedHealthcare's behalf. The PDL Management
            Committee makes the final classification of an FDA-approved Prescription Drug Product to
            a certain tier by considering a number of factors including, but not limited to clinical and
            economic factors. Clinical factors may include, but are not limited to, evaluations of the
            place in therapy, relative safety or relative efficacy of the Prescription Drug Product, as well
            as whether certain supply limits or prior authorization requirements should apply. Economic
            factors may include, but are not limited to, the Prescription Drug Product's acquisition cost
            including, but not limited to, available rebates and assessments on the cost effectiveness of
            the Prescription Drug Product.

            Some Prescription Drug Products are most cost effective for specific indications as
            compared to others, therefore, a Prescription Drug Product may be listed on multiple tiers
            according to the indication for which the Prescription Drug Product was prescribed, or
            according to whether it was prescribed by a Specialist Physician.

            The PDL Management Committee may periodically change the placement of a Prescription
            Drug Product among the tiers. These changes generally will occur quarterly, but no more
            than six times per calendar year. These changes may occur without prior notice to you.

            When considering a Prescription Drug Product for tier placement, the PDL Management
            Committee reviews clinical and economic factors regarding Covered Persons as a general
            population. Whether a particular Prescription Drug Product is appropriate for an individual
            Covered Person is a determination that is made by the Covered Person and the prescribing
            Physician.

            Note. The tier status of a Prescription Drug Product may change periodically based on the
            process described above. As a result of such changes, you may be required to pay more or
            less for that Prescription Drug Product. Please access www.myuhc.com through the
            Internet or call the number on your ID card for the most up-to-date tier status.

            Prescription Drug Product, Prescription Drug List (PDL), and Prescription Drug List (PDL)
            Management Committee are defined at the end of this section.

              Prescription Drug List (PDL)
              The Prescription Drug List (PDL) is a tool that helps guide you and your Physician in
              choosing the medications that allow the most effective and affordable use of your
              Prescription Drug Benefit.




            171                                                SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar179  of 213
                                                                              01 10:22   PAGEID #: 433
                                                                                       AM-24CV001784
OG750 - W38
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN




            Prescription Drug Benefit Claims
            For Prescription Drug Product claims procedures, please refer to Section 9, Claims Procedures.

            Limitation on Selection of Pharmacies
            If UnitedHealthcare determines that you may be using Prescription Drug Products in a
            harmful or abusive manner, or with harmful frequency, your selection of Network
            Pharmacies may be limited. If this happens, UnitedHealthcare may require you to select a
            single Network Pharmacy that will provide and coordinate all future pharmacy services.
            Benefits will be paid only if you use the designated single Network Pharmacy. If you don't
            make a selection within 31 days of the date the Plan Administrator notifies you,
            UnitedHealthcare will select a single Network Pharmacy for you.

            Supply Limits
            Benefits for Prescription Drug Products are subject to supply limits that are stated in the
            table under the heading Prescription Drug Product Coverage Highlights. For a single Coinsurance,
            you may receive a Prescription Drug Product up to the stated supply limit. Whether or not a
            Prescription Drug Product has a supply limit is subject to UnitedHealthcare's periodic review
            and modification.

            Note: Some products are subject to additional supply limits based on criteria that the Plan
            Administrator and UnitedHealthcare have developed, subject to periodic review and
            modification. The limit may restrict the amount dispensed per Prescription Order or Refill
            and/ or the amount dispensed per month's supply or may require that a minimum amount be
            dispensed.

            You may determine whether a Prescription Drug Product has been assigned a supply limit
            for dispensing, through the Internet at www.myuhc.com or by calling the telephone
            number on your ID card.

            Special Programs
           Jones Lang LaSalle and UnitedHealthcare may have certain programs in which you may
           receive an enhanced or reduced Benefit based on your actions such as
           adherence/ compliance to medication or treatment regimens and/ or participation in health
           management programs. You may access information on these programs through the Internet
           at www.myuhc.com or by calling the number on your ID card.

            Maintenance Medication Program
            If you require certain Maintenance Medications, UnitedHealthcare may direct you to the
            Mail Order Network Pharmacy to obtain those Maintenance Medications. If you choose not
            to obtain your Maintenance Medications from the directed Mail Order Network Pharmacy,
            there will be no coverage for that drug at the retail pharmacy. If you choose to opt out of a
            Mail Order Network Pharmacy but do not inform UnitedHealthcare, you will be subject to
            the Non-Network Benefit for that Prescription Drug Product after the allowed number of
            fills at Retail Network Pharmacy.



            172                                                SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar180  of 213
                                                                              01 10:22   PAGEID #: 434
                                                                                       AM-24CV001784
OG750 - W39
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            If you require certain Maintenance Medications, UnitedHealthcare may direct you to the
            Mail Order Network Pharmacy or Preferred 90 Day Retail Partner to obtain those
            Maintenance Medications. If you choose not to obtain your Maintenance Medications from
            the directed Mail Order Network Pharmacy or Preferred 90 Day Retail Partner, there will be
            no coverage for that drug after the allowed number of fills at Retail Network Pharmacy.

            Prescription Drug Products Prescribed by a Specialist Physician
            You may receive an enhanced or reduced Benefit, or no Benefit, based on whether the
            Prescription Drug Product was prescribed by a Specialist Physician. You may access
            information on which Prescription Drug Products are subject to Benefit enhancement,
            reduction or no Benefit through the Internet at www.myuhc.com or by calling the
            telephone number on your ID card.

            Step Therapy
            Certain Prescription Drug Products for which Benefits are described in this section are
            subject to step therapy requirements. In order to receive Benefits for such Prescription Drug
            Products you must use a different Prescription Drug Product(s) first.

            You may determine whether a particular Prescription Drug Product is subject to step
            therapy requirements by visiting www.myuhc.com or by calling the number on your ID
            card.

            Prescription Drug Products that are Chemically Equivalent
            If two drugs are Chemically Equivalent (they contain the same active ingredient) and you or
            your Physician choose not to substitute for this lower priced Chemically Equivalent drug for
            the higher priced drug, you will pay the difference between the higher priced drug and the
            lower priced Chemically Equivalent drug, in addition to the higher priced drug's
            Coinsurance. This difference in cost is called an Ancillary Charge. An Ancillary Charge may
            apply when a covered Prescription Drug Product is dispensed at your or the provider's
            request and there is another drug that is chemically the same available at a lower price. An
            Ancillary Charge does not apply to any Annual Deductible.

            Rebates and Other Discounts
            UnitedHealthcare and Jones Lang LaSalle may, at times, receive rebates for certain drugs
            included on the PDL, including those drugs that you purchase prior to meeting your Annual
            Deductible. As determined by UnitedHealthcare, the Plan may pass a portion of these
            rebates on to you. When rebates are passed on to you they may be taken into account in
            determining your Coinsurance.

            UnitedHealthcare and a number of its affiliated entities, conduct business with various
            pharmaceutical manufacturers separate and apart from this Outpatient Prescription Drug section.
            Such business may include, but is not limited to, data collection, consulting, educational
            grants and research. Amounts received from pharmaceutical manufacturers pursuant to such
            arrangements are not related to this Outpatient Prescription Drug section. UnitedHealthcare is
            not required to pass on to you, and does not pass on to you, such amounts.




            173                                               SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar181  of 213
                                                                              01 10:22   PAGEID #: 435
                                                                                       AM-24CV001784
OG750 - W40
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Coupons, Incentives and Other Communications
           At various times, UnitedHealthcare may send mailings or provide other communications to
           you, your Physician, or your pharmacy that communicate a variety of messages, including
           information about Prescription and non-prescription Drug Products. These communications
           may include offers that enable you, at your discretion, to purchase the described product at a
           discount. In some instances, non-UnitedHealthcare entities may support and/ or provide
           content for these communications and offers. Only you and your Physician can determine
           whether a change in your Prescription and/ or non-prescription Drug regimen is appropriate
           for your medical condition.

            Exclusions - What the Prescription Drug Plan Will Not Cover
            Exclusions from coverage listed in Section 8, Exclusions and Limitations also apply to this
            section. In addition, the exclusions listed below apply.

            When an exclusion applies to only certain Prescription Drug Products, you can access
            www.myuhc.com through the Internet or by calling the number on your ID card for
            information on which Prescription Drug Products are excluded.

            1.    For any condition, Injury, Sickness or Mental Illness arising out of, or in the course of,
                  employment for which benefits are available under any workers' compensation law or
                  other similar laws, whether or not a claim for such benefits is made or payment or
                  benefits are received.

            2. Any Prescription Drug Product for which payment or benefits are provided or available
               from the local, state or federal government (for example Medicare) whether or not
               payment or benefits are received, except as otherwise provided by law.

            3. Available over-the-counter medications that do not require a Prescription Order or Refill
               by federal or state law before being dispensed, unless the Plan Administrator has
               designated over-the-counter medication as eligible for coverage as if it were a
               Prescription Drug Product and it is obtained with a Prescription Order or Refill from a
               Physician. Prescription Drug Products that are available in over-the-counter form or
               comprised of components that are available in over-the-counter form or equivalent.
               Certain Prescription Drug Products that the Plan Administrator has determined are
               Therapeutically Equivalent to an over-the-counter drug or supplement. Such
               determinations may be made up to six times during a calendar year, and the Plan
               Administrator may decide at any time to reinstate Benefits for a Prescription Drug
               Product that was previously excluded under this provision.

            4.    Compounded drugs that contain certain bulk chemicals. (Compounded drugs that
                  contain at least one ingredient that requires a Prescription Order or Refill are assigned to
                  Tier 3.) Compounded drugs that are available as a similar commercially available
                  Prescription Drug Product.

            5. Prescription Drug Products dispensed outside of the United States, except in an
               Emergency.




            174                                                  SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar182  of 213
                                                                              01 10:22   PAGEID #: 436
                                                                                       AM-24CV001784
OG750 - W41
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            6. Durable Medical Equipment, including insulin pumps and related supplies for the
               management and treatment of diabetes, for which Benefits are provided in your SPD.
               Prescribed and non-prescribed outpatient supplies, other than the diabetic supplies and
               inhaler spacers specifically stated as covered.

            7.    Certain Prescription Drug Products for tobacco cessation.

            8.    Growth hormone for children with familial short stature (short stature based upon
                  heredity and not caused by a diagnosed medical condition).

            9. The amount dispensed (days' supply or quantity limit) which exceeds the supply limit.

            10. The amount dispensed (days' supply or quantity limit) which is less than the minimum
                supply limit.

            11. Certain Prescription Drug Products that have not been prescribed by a Specialist
                Physician.

            12. Certain New Prescription Drug Products and/ or new dosage forms until the date they
                are reviewed and placed on a tier by the Claims Administrator's Prescription Drug List
                (PDL) Management Committee.

            13. Prescribed, dispensed or intended for use during an Inpatient Stay.

            14. Prescription Drug Products, including New Prescription Drug Products or new dosage
                forms, that UnitedHealthcare and Jones Lang LaSalle determines do not meet the
                definition of a Covered Health Service.

            15. A Prescription Drug Product that contains (an) active ingredient(s) available in and
                Therapeutically Equivalent to another covered Prescription Drug Product. Such
                determinations may be made up to six times during a calendar year, and we may decide
                at any time to reinstate Benefits for a Prescription Drug Product that was previously
                excluded under this provision.

            16. A Prescription Drug Product that contains (an) active ingredient(s) which is (are) a
                modified version of and Therapeutically Equivalent to another covered Prescription
                Drug Product. Such determinations may be made up to six times during a calendar year,
                and we may decide at any time to reinstate Benefits for a Prescription Drug Product that
                was previously excluded under this provision.

            17. Certain Prescription Drug Products for which there are Therapeutically Equivalent
                alternatives available, unless otherwise required by law or approved by UnitedHealthcare.
                Such determinations may be made up to six times during a calendar year, and
                UnitedHealthcare may decide at any time to reinstate Benefits for a Prescription Drug
                Product that was previously excluded under this provision.

            18. Certain unit dose packaging or repackagers of Prescription Drug Products.




            175                                                SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar183  of 213
                                                                              01 10:22   PAGEID #: 437
                                                                                       AM-24CV001784
OG750 - W42
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            19. Used for conditions and/or at dosages determined to be Experimental or
                Investigational, or Unproven, unless UnitedHealthcare and Jones Lang LaSalle have
                agreed to cover an Experimental or Investigational or Unproven treatment, as defined in
                Section 14, Glossary.

            20. Used for cosmetic purposes

            21. Prescription Drug Products as a replacement for a previously dispensed Prescription
                Drug Product that was lost, stolen, broken or destroyed.

            22. General vitamins, except for the following which require a Prescription Order or Refill:

                     Prenatal vitamins.
                     Vitamins with fluoride.
                     Single entity vitamins.

            23. Any product for which the primary use is a source of nutrition, nutritional supplements,
                or dietary management of disease, and prescription medical food products, even when
                used for the treatment of Sickness or Injury.

            24. A Prescription Drug Product that contains marijuana, including medical marijuana.

            25. A Prescription Drug Product with an approved biosimilar or a biosimilar and
                Therapeutically Equivalent to another covered Prescription Drug Product. For the
                purpose of this exclusion a "biosimilar" is a biological Prescription Drug Product
                approved based on showing that it is highly similar to a reference product (a biological
                Prescription Drug Product) and has no clinically meaningful differences in terms of
                safety and effectiveness from the reference product. Such determinations may be made
                up to six times during a calendar year, and we may decide at any time to reinstate
                Benefits for a Prescription Drug Product that was previously excluded under this
                prov1s1on.

            26. Publicly available software applications and/ or monitors that may be available with or
                without a Prescription Order or Refill.

            27. Certain Prescription Drug Products that are FDA approved as a package with a device
                or application, including smart package sensors and/ or embedded drug sensors. This
                exclusion does not apply to a device or application that assists you with the
                administration of a Prescription Drug Product.

            28. A Pharmaceutical Product for which Benefits are provided in the medical (not in Section
                15, Outpatient Prescription Drugs) portion of the Plan.

                  This includes all forms of vaccines/immunizations. This exclusion does not apply to
                  Depo Provera and other injectable drugs used for contraception.

            Note: If an excluded drug is prescribed for a specific medical condition, you may qualify for
            an exception. To request an exception, submit a letter to UnitedHealthcare from your
            Physician stating the medical condition that requires the non-covered drug and the length of


            176                                                SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar184  of 213
                                                                              01 10:22   PAGEID #: 438
                                                                                       AM-24CV001784
OG750 - W43
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            the projected use. The maximum time for which a letter may justify an exception is 12
            months. If your exception is approved, you will be able to purchase your prescription at your
            local network pharmacy or by mail order by paying the applicable Copay or Coinsurance
            amount.

            Glossary - Outpatient Prescription Drugs
           Ancillary Charge - a charge, in addition to the Coinsurance, that you are required to pay
           when a covered Prescription Drug Product is dispensed at your request, when a Chemically
           Equivalent Prescription Drug Product is available. For Prescription Drug Products from
           Network Pharmacies, the Ancillary Charge is calculated as the difference between the
           Prescription Drug Product Charge or Maximum Allowable Cost (MAC) List price for
           Network Pharmacies for the Prescription Drug Product, and the Prescription Drug Product
           Charge or Maximum Allowable Cost (MAC) List price of the Chemically Equivalent
           Prescription Drug Product. For Prescription Drug Products from non-Network Pharmacies,
           the Ancillary Charge is calculated as the difference between the Out-of-Network
           Reimbursement Rate or Maximum Allowable Cost (MAC) List price for non-Network
           Pharmacies for the Prescription Drug Product, and the Out-of-Network Reimbursement
           Rate or Maximum Allowable Cost (MAC) List price of the Chemically Equivalent
           Prescription Drug Product.

            Brand-name - a Prescription Drug Product: (1) which is manufactured and marketed under
            a trademark or name by a specific drug manufacturer; or (2) that UnitedHealthcare identifies
            as a Brand-name product, based on available data resources including, but not limited to,
            medi-span or First DataBank, that classify drugs as either brand or generic based on a
            number of factors. You should know that all products identified as a "brand name" by the
            manufacturer, pharmacy, or your Physician may not be classified as Brand-name by
            UnitedHealthcare.

            Chemically Equivalent - when Prescription Drug Products contain the same active
            ingredient.

            Designated Pharmacy - a pharmacy that has entered into an agreement with
            UnitedHealthcare or with an organization contracting on its behalf, to provide specific
            Prescription Drug Products including, but not limited to, Specialty Prescription Drug
            Products. The fact that a pharmacy is a Network Pharmacy does not mean that it is a
            Designated Pharmacy.

            Generic - a Prescription Drug Product: (1) that is Chemically Equivalent to a Brand-name
            drug; or (2) that UnitedHealthcare identifies as a Generic product based on available data
            resources including, but not limited to, medi-span or First DataBank, that classify drugs as
            either brand or generic based on a number of factors. You should know that all products
            identified as a "generic" by the manufacturer, pharmacy or your Physician may not be
            classified as a Generic by UnitedHealthcare.

            Infertility Maximum Plan Benefit - the maximum amount the Plan will pay for covered
            Prescription Drug Products for Infertility during the entire period of time you are enrolled
            for coverage under the Plan. Refer to the Benefit Information table for details about how the
            Infertility Maximum Plan Benefit applies.


            177                                               SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar185  of 213
                                                                              01 10:22   PAGEID #: 439
                                                                                       AM-24CV001784
OG750 - W44
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


           List of Preventive Medications - a list that identifies certain Prescription Drug Products,
           which may include certain Specialty Prescription Drug Products, on the Prescription Drug
           List (PDL) that are intended to reduce the likelihood of Sickness. You may obtain the List of
           Preventive Medications through the Internet at www.myuhc.com or by calling the number
           on your ID card.

            Maintenance Medication - a Prescription Drug Product anticipated to be used for six
            months or more to treat or prevent a chronic condition. You may determine whether a
            Prescription Drug Product is a Maintenance Medication through the Internet at
            www.myuhc.com or by calling the number on your ID card.

            Mail Order Network Pharmacy - a mail order pharmacy that UnitedHealthcare identifies
            as a preferred pharmacy within the Network.

           Maximum Allowable Cost (MAC) List - a list of Generic Prescription Drug Products that
           will be covered at a price level that UnitedHealthcare establishes. This list is subject to
           UnitedHealthcare's periodic review and modification.

            Network Pharmacy - a pharmacy that has:

            ■     Entered into an agreement with UnitedHealthcare or an organization contracting on its
                  behalf to provide Prescription Drug Products to Covered Persons.
            ■     Agreed to accept specified reimbursement rates for dispensing Prescription Drug
                  Products.
            ■     Been designated by UnitedHealthcare as a Network Pharmacy.
           New Prescription Drug Product - a Prescription Drug Product or new dosage form of a
           previously approved Prescription Drug Product, for the period of time starting on the date
           the Prescription Drug Product or new dosage form is approved by the U.S. Food and Drug
           Administration (FDA) and ending on the earlier of the following dates:

            ■     The date it is assigned to a tier by UnitedHealthcare's Prescription Drug List (PDL)
                  Management Committee.
            ■     December 31st of the following calendar year.
            Out-of-Network Reimbursement Rate - the amount the Plan will pay to reimburse you
            for a Prescription Drug Product that is dispensed at a non-Network Pharmacy. The Out-of-
            Network Reimbursement Rate for a particular Prescription Drug Product dispensed at a
            non-Network Pharmacy includes a dispensing fee and any applicable sales tax.

            Preferred 90 Day Retail Partner - a retail pharmacy that UnitedHealthcare identifies as a
            preferred pharmacy within the Network for Maintenance Medications.

            Prescription Drug Charge - the rate the Plan has agreed to pay UnitedHealthcare on
            behalf of its Network Pharmacies, including the applicable dispensing fee and any applicable
            sales tax, for a Prescription Drug Product dispensed at a Network Pharmacy.




            178                                                 SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar186  of 213
                                                                              01 10:22   PAGEID #: 440
                                                                                       AM-24CV001784
OG750 - W45
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Prescription Drug List (PDL) - a list that categorizes into tiers medications or products
            that have been approved by the U.S. Food and Drug Administration. This list is subject to
            UnitedHealthcare's periodic review and modification (generally quarterly, but no more than
            six times per calendar year). You may determine to which tier a particular Prescription Drug
            Product has been assigned by contacting UnitedHealthcare at the number on your ID card
            or by logging onto www.myuhc.com.

            Prescription Drug List (PDL) Management Committee - the committee that
            UnitedHealthcare designates for, among other responsibilities, classifying Prescription Drug
            Products into specific tiers.

            Prescription Drug Product - a medication, or product that has been approved by the U.S.
            Food and Drug Administration (FDA) and that can, under federal or state law, be dispensed
            only pursuant to a Prescription Order or Refill. A Prescription Drug Product includes a
            medication that, due to its characteristics, is appropriate for self-administration or
            administration by a non-skilled caregiver. For purposes of Benefits under this Plan, this
            definition includes:

            ■     Inhalers (with spacers).
            ■     Insulin.
            ■     The following diabetic supplies:
                     Standard insulin syringes with needles.
                     Blood-testing strips - glucose.
                      Urine-testing strips - glucose.
                      Ketone-testing strips and tablets.
                     Lancets and lancet devices.
                     Glucose meters including continuous glucose monitors.
            ■     Certain vaccines/immunizations administered in a Network Pharmacy.
            ■     Certain injectable medications administered in a Network Pharmacy.
            Prescription Order or Refill - the directive to dispense a Prescription Drug Product issued
            by a duly licensed health care provider whose scope of practice permits issuing such a
            directive.

            Preventive Care Medications (PPACA Zero Cost Share) - the medications that are
            obtained at a Network Pharmacy with a Prescription Order or Refill from a Physician and
            that are payable at 100% of the Prescription Drug Charge (without application of any
            Copayment, Coinsurance, Annual Deductible, Annual Drug Deductible or Specialty
            Prescription Drug Product Annual Deductible) as required by applicable law under any of
            the following:

            ■     Evidence-based items or services that have in effect a rating of "A" or "B" in the current
                  recommendations of the United States Preventive Services Task Force.
            ■     With respect to infants, children and adolescents, evidence-informed preventive care and
                  screenings provided for in the comprehensive guidelines supported by the Health
                  Resources and Services Administration.


            179                                                 SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar187  of 213
                                                                              01 10:22   PAGEID #: 441
                                                                                       AM-24CV001784
OG750 - W46
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■      With respect to women, such additional preventive care and screenings as provided for
                   in comprehensive guidelines supported by the Health Resources and Services Administration.
            You may determine whether a drug is a Preventive Care Medication as well as information
            on access to coverage of Medically Necessary alternatives through the internet at
            www.myuhc.com or by calling UnitedHealthcare at the number on your ID card.

            For the purposes of this definition PPACA means Patient Protection and Affordable Care
            Act of 2010.

            Specialist Physician - a Physician who has a majority of his or her practice in areas other
            than general pediatrics, internal medicine, obstetrics/ gynecology, family practice or general
            medicine.

            Specialty Prescription Drug Product - Prescription Drug Products that are generally high
            cost, self-administered biotechnology drugs used to treat patients with certain illnesses.
            Specialty Prescription Drug Products may include drugs on the List of Preventive
            Medications. You may access a complete list of Specialty Prescription Drug Products
            through the Internet at www.myuhc.com or by calling the number on your ID card.

            Therapeutically Equivalent - when Prescription Drug Products have essentially the same
            efficacy and adverse effect profile.

            Usual and Customary Charge - the usual fee that a pharmacy charges individuals for a
            Prescription Drug Product without reference to reimbursement to the pharmacy by third
            parties. The Usual and Customary Charge includes a dispensing fee and any applicable sales
            tax.




            180                                                   SECTION 15 - OUTPATIENT PRESCRIPTION DRUGS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar188  of 213
                                                                              01 10:22   PAGEID #: 442
                                                                                       AM-24CV001784
OG750 - W47
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            SECTION 16 - IMPORTANT ADMINISTRATIVE INFORMATION: ERISA
              What this section includes:
              ■ Plan administrative information, including your rights under BRISA.

            This section includes information on the administration of the medical Plan, as well as
            information required of all Summary Plan Descriptions by BRISA as defined in Section 14,
            Glossary. While you may not need this information for your day-to-day participation, it is
            information you may find important.

            Plan Sponsor and Administrator
           Jones Lang LaSalle is the Plan Sponsor and Plan Administrator of the Jones Lang LaSalle
           Welfare Benefit Plan and has the discretionary authority to interpret the Plan. You may
           contact the Plan Administrator at:

           Plan Administrator - Medical Plan
           Jones Lang LaSalle
           200 E. Randolph
           45th Floor Benefits Dept.
           Chicago, IL 60601
           (312) 228-2260

            Claims Administrator
           UnitedHealthcare is the Plan's Claims Administrator. The role of the Claims Administrator is
           to handle the day-to-day administration of the Plan's coverage as directed by the Plan
           Administrator, through an administrative agreement with the Company. The Claims
           Administrator shall not be deemed or construed as an employer for any purpose with respect
           to the administration or provision of Benefits under the Plan Sponsor's Plan. The Claims
           Administrator shall not be responsible for fulfilling any duties or obligations of an employer
           with respect to the Plan Sponsor's Plan.

           You may contact the Claims Administrator by phone at the number on your ID card or in
           writing at:

            United Healthcare Services, Inc.
            9900 Bren Road East
            Minnetonka, MN 55343

            Agent for Service ofLegal Process
            Should it ever be necessary, you or your personal representative may serve legal process on
            the agent of service for legal process for the Plan. The Plan's Agent of Service is:

            Agent for Legal Process - Medical Plan

           Jones Lang LaSalle
           200 E. Randolph
           45th Floor Benefits Dept.



            181                                                                       SECTION 16 - ERISA
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar189  of 213
                                                                              01 10:22   PAGEID #: 443
                                                                                       AM-24CV001784
OG750 - W48
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Chicago, IL 60601
            (312) 228-2260

            Other Administrative Information
            This section of your SPD contains information about how the Plan is administered as
            required by ERISA.

              Type ofAdministration
            The Plan is a self-funded welfare Plan and the administration is provided through one or
            more third party administrators.

            The Plan Sponsor also has selected a provider Network established by UnitedHealthcare
            Insurance Company and, within the Harvard Pilgrim Health Care service area, a provider
            Network established by Harvard Pilgrim Health Care.

              Plan Name:                          Jones Lang LaSalle Welfare Benefit Plan
              Plan Number:                         501

              Employer ID:                         XX-XXXXXXX

              Plan Type:                           Welfare benefits plan

              Plan Year:                          January 1 - December 31

              Plan Administration:                 Self-Insured

              Source of Plan Contributions:        Employee and Company
              Source of Benefits:                  Assets of the Company

              Your ERISA Rights
            As a participant in the Plan, you are entitled to certain rights and protections under ERISA.
            ERISA provides that all Plan participants shall be permitted to:

            ■     Receive information about Plan Benefits.
            ■     Examine, without charge, at the Plan Administrator's office and at other specified
                  worksites, all plan documents - including pertinent insurance contracts, collective
                  bargaining agreements (if applicable), and other documents available at the Public
                  Disclosure Room of the Employee Benefits Security Administration.
            ■     Obtain copies of all Plan documents and other Plan information, including insurance
                  contracts and collective bargaining agreements (if applicable), and updated Summary
                  Plan Descriptions, by writing to the Plan Administrator. The Plan Administrator may
                  make a reasonable charge for copies. Requests for available plan documents should be
                  sent to the address provided under How to Appeal a Denied Claim in Section 9, Claims
                  Procedures.




            182                                                                         SECTION 16 - ERISA
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar190  of 213
                                                                              01 10:22   PAGEID #: 444
                                                                                       AM-24CV001784
OG750 - W49
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            You can continue health care coverage for yourself, Spouse or Dependents if there is a loss
            of coverage under the Plan as a result of a qualifying event. You or your Dependents may
            have to pay for such coverage. Review this Summary Plan Description and the Plan
            documents to understand the rules governing your COBRA continuation coverage rights.

           In addition to creating rights for Plan participants, BRISA imposes duties on the people
           who are responsible for the operation of the Plan. The people who operate your Plan, who
           are called "fiduciaries" of the Plan, have a duty to do so prudently and in the interest of you
           and other Plan participants and beneficiaries. No one, including your Employer, your union,
           or any other person may fire you or otherwise discriminate against you in any way to prevent
           you from obtaining a Plan Benefit or exercising your rights under BRISA.

            If your claim for a Plan Benefit is denied or ignored, in whole or in part, you have a right to
            know why this was done, to obtain copies of documents relating to the decision without
            charge, and to appeal any denial, all within certain time schedules. See Section 9, Claims
            Procedures, for details.

            Under BRISA, there are steps you can take to enforce the above rights. For instance, if you
            request a copy of the plan document from the Plan, and do not receive it within 30 days, you
            may file suit in a federal court. In such a case, the court may require the Plan Administrator
            to provide the materials and pay you up to $147 a day until you receive the materials, unless
            the materials were not sent for reasons beyond the control of the Plan Administrator.

            If you have a claim for Benefits, which is denied or ignored, in whole or in part, and you
            have exhausted the administrative remedies available under the Plan, you may file suit in a
            state or federal court. In addition, if you disagree with the Plan's decision or lack thereof
            concerning the qualified status of a domestic relations order, you may file suit in federal
            court. If it should happen that the Plan's fiduciaries misuse the Plan's money, or if you are
            discriminated against for asserting your rights, you may seek assistance from the U.S.
            Department of Libor, or you may file suit in a federal court.

            The court will decide who should pay court costs and legal fees. If you are successful, the
            court may order the person you have sued to pay these costs and fees. If you lose, the court
            may order you to pay these costs and fees; for example, if it finds your claim is frivolous.

            If you have any questions about your Plan, you should contact the Plan Administrator. If
            you have any questions about this statement or about your rights under BRISA, or if you
            need assistance in obtaining documents from the Plan Administrator, you should contact the
            nearest office of the Bmplqyee Benefits Security Administration, U.S. Department ofLabor, listed in
            your telephone directory, or write to the Division of Technical Assistance and Inquiries, Bmplqyee
            Benefits Security Administration, U.S. Department ofLabor, 200 Constitution Avenue NW
            Washington, DC 20210. You may also obtain certain publications about your rights and
            responsibilities under BRISA by calling the publications hotline of the Bmplqyee Benefits
            Security Administration at 1-866-444-3272.




            183                                                                            SECTION 16 - ERISA
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar191  of 213
                                                                              01 10:22   PAGEID #: 445
                                                                                       AM-24CV001784
OG750 - WSO
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


              The Plan's Benefits are administered by Jones Lang LaSalle, the Plan Administrator.
              UnitedHealthcare is the Claims Administrator and processes claims for the Plan and
              provides appeal services; however, UnitedHealthcare and Jones Lang LaSalle are not
              responsible for any decision you or your Dependents make to receive treatment, services
              or supplies, whether provided by a Network or non-Network provider UnitedHealthcare
              and Jones Lang LaSalle are neither liable nor responsible for the treatment, services or
              supplies provided by Network or non-Network providers.




            184                                                                       SECTION 16 - ERISA
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar192  of 213
                                                                              01 10:22   PAGEID #: 446
                                                                                       AM-24CV001784
OG750 - W51
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            ATTACHMENT 1- HEALTH CARE REFORM NOTICES
            Patient Protection and Affordable Care Act ("PPACA")
            Patient Protection Notices
            The Claims Administrator generally allows the designation of a primary care provider. You
            have the right to designate any primary care provider who participates in the Claims
            Administrator's network and who is available to accept you or your family members. For
            information on how to select a primary care provider, and for a list of the participating
            primary care providers, contact the Claims Administrator at the number on your ID card.

            For children, you may designate a pediatrician as the primary care provider.

           You do not need prior authorization from the Claims Administrator or from any other
           person (including a primary care provider) in order to obtain access to obstetrical or
           gynecological care from a health care professional in the Claims Administrator's network
           who specializes in obstetrics or gynecology. The health care professional, however, may be
           required to comply with certain procedures, including obtaining prior authorization for
           certain services, following a pre-approved treatment plan, or procedures for making referrals.
           For a list of participating health care professionals who specialize in obstetrics or
           gynecology, contact the Claims Administrator at the number on your ID card.




            185                                               ATTACHMENT I - HEALTH CARE REFORM NOTICES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar193  of 213
                                                                              01 10:22   PAGEID #: 447
                                                                                       AM-24CV001784
OG750 - W52
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            ATTACHMENT 11- LEGAL NOTICES
            Women's Health and Cancer Rights Act of 1998
            As required by the Women's Health and Cancer Rights Act of 1998, the Plan provides Benefits
            under the Plan for mastectomy, including reconstruction and surgery to achieve symmetry
            between the breasts, prostheses, and complications resulting from a mastectomy (including
            lymph edema).

            If you are receiving Benefits in connection with a mastectomy, Benefits are also provided for
            the following Covered Health Services, as you determine appropriate with your attending
            Physician:

            ■     All stages of reconstruction of the breast on which the mastectomy was performed.
            ■     Surgery and reconstruction of the other breast to produce a symmetrical appearance.
            ■     Prostheses and treatment of physical complications of the mastectomy, including
                  lymph edema.
            The amount you must pay for such Covered Health Services (including Copayments and any
            Annual Deductible) are the same as are required for any other Covered Health Service.
            Limitations on Benefits are the same as for any other Covered Health Service.

            Statement of Rights under the Newborns' and Mothers' Health Protection Act
            Under Federal law, group health Plans and health insurance issuers offering group health
            insurance coverage generally may not restrict Benefits for any Hospital length of stay in
            connection with childbirth for the mother or newborn child to less than 48 hours following
            a vaginal delivery, or less than 96 hours following a delivery by cesarean section. However,
            the Plan or issuer may pay for a shorter stay if the attending provider (e.g., your physician,
            nurse midwife, or physician assistant), after consultation with the mother, discharges the
            mother or newborn earlier.

            Also, under Federal law, plans and issuers may not set the level of Benefits or out-of-pocket
            costs so that any later portion of the 48-hour (or 96-hour) stay is treated in a manner less
            favorable to the mother or newborn than any earlier portion of the stay.

            In addition, a plan or issuer may not, under Federal law, require that a physician or other
            health care provider obtain authorization for prescribing a length of stay of up to 48 hours
            (or 96 hours). However, to use certain providers or facilities, or to reduce your out-of-pocket
            costs, you may be required to obtain prior authorization or notify the Claims Administrator.
            For information on notification or prior authorization, contact your issuer.




            186                                                  ATTACHMENT II - WHCRA & NMHPA NOTICES
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar194  of 213
                                                                              01 10:22   PAGEID #: 448
                                                                                       AM-24CV001784
OG750 - W53
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            ATTACHMENT 111- HEALTH SAVINGS ACCOUNT
              What this attachment includes:
              ■ About Health Savings Accounts.

              ■   Who is eligible and how to enroll.
              ■   Contributions.
              ■   Additional medical expense coverage available with your Health Savings Account.
              ■   Using the HSA for Non-Qualified Expenses.
              ■   Rolling over funds in your HSA.

            Introduction
            This attachment to the Summary Plan Description (SPD) describes some key features of the
            Health Savings Account (HSA) that you could establish to complement the Jones Lang
            LaSalle Welfare Benefit Plan, which is a high deductible medical plan. In particular, and
            except as otherwise indicated, this attachment will address the Health Savings Account, and
            not the high deductible health plan that is associated with the "HSA".

           Jones Lang LaSalle has entered into an agreement with United Healthcare Services, Inc.,
           Minnetonka, MN, ("UnitedHealthcare") under which UnitedHealthcare will provide certain
           administrative services to the Plan.

              UnitedHealthcare does not insure the benefits described in this attachment. Further, note
              that it is the Plan's intention to comply with Department ef L:tbor guidance set forth in Field
              Assistance Bulletin No. 2004-1, which specifies that an HSA is not an ERISA plan if
              certain requirements are satisfied.



              The HSA described in this section is not an arrangement that is established and
              maintained by Jones Lang LaSalle. Rather, the HSA is established and maintained by the
              HSA trustee. However, for administrative convenience, a description of the HSA is
              provided in this section.

            About Health Savings Accounts
            You gain choice and control over your health care decisions and expenditures when you
            establish your HSA to complement the high deductible medical plan described in the SPD.

            An HSA is an account funded by you, your employer, or any other person on your behalf.
            The HSA can help you to cover, on a tax free basis, medical plan expenses that require you
            to pay out-of-pocket, such as Deductibles, Copayments or Coinsurance. It may even be used
            to pay for, among other things, certain medical expenses not covered under the medical plan
            design. Amounts may be distributed from the HSA to pay non-medical expenses, however,
            these amounts are subject to income tax and may be subject to 20% penalty.




            187                                                     ATTACHMENT Ill - HEALTH SAVINGS ACCOUNT
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar195  of 213
                                                                              01 10:22   PAGEID #: 449
                                                                                       AM-24CV001784
OG750 - W54
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            You have three tools you can use to meet your health care needs:

            ■       Jones Lang LaSalle Welfare Benefit Plan, a high deductible medical plan which is
                    discussed in your Summary Plan Description.
            ■       An HSA you establish.
            ■       Health information, tools and support.
            Benefits available under your medical plan are described in your medical plan Summary Plan
            Description (SPD).

                What is an HSA?
                An HSA is a tax~advantaged account Employees can use to pay for qualified health
                expenses they or their eligible dependents incur, while covered under a high deductible
                medical plan. HSA contributions:
                ■ Accumulate over time with interest or investment earnings.

                ■    Are portable after employment.
                ■    Can be used to pay for qualified health expenses tax-free or for non-health expenses
                     on a taxable basis.

            Who Is Eligible And How To Enroll
            Eligibility to participate in the Health Savings Account is described in the SPD for your high
            deductible medical plan. You must be covered under a high deductible medical plan in order
            to participate in the HSA. In addition, you:

            ■       Must not be covered by any high deductible medical plan considered non-qualified by
                    the IRS. (This does not include coverage under an ancillary plan such as vision or dental,
                    or any other permitted insurance as defined by the IRS.)
            ■       Must not participate in a full health care Flexible Spending Account (FSA).
            ■       Must not be entitled to Benefits under Medicare (i.e., enrolled in Medicare).
            ■       Must not be claimed as a dependent on another person's tax return.

            Contributions
            Contributions to your HSA can be made by you, by your employer or by any other
            individual. All funds placed into your HSA are owned and controlled by you, subject to any
            reasonable administrative restrictions imposed by the trustee.

            Contributions can be made to your HSA beginning on the first day of the month you are
            enrolled in the Health Savings Account until the earlier of (i) the date on which you file taxes
            for that year; or (ii) the date on which the contributions reach the contribution maximum.

            Note that if coverage under a qualified high deductible health plan terminates, no further
            contributions may be made to the HSA.




            188                                                       ATTACHMENT Ill - HEALTH SAVINGS ACCOUNT
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar196  of 213
                                                                              01 10:22   PAGEID #: 450
                                                                                       AM-24CV001784
OG750 - W55
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            The contribution maximum is the single and family limits set by federal regulations.
            Individuals between the ages of 55 and Medicare entitlement age may contribute additional
            funds monthly to their HSA up to the maximum allowed by federal regulations. The
            maximum limits set by federal regulations may be found on the IRS website at www.irs.gov.

            If you enroll in your HSA within the year (not on January 1) you will still be allowed to
            contribute the maximum amount set by federal regulations. However, you must remain
            enrolled in a high deductible health plan and HSA until the end of the 12th month from
            your initial enrollment or you will be subject to tax implications and an additional tax of
            10%.

            Note: Amounts that exceed the contribution maximum are not tax-deductible and will be
            subject to an excise tax unless withdrawn as an "excess contribution" prior to April 15th of
            the following year.

            Reimbursable Expenses
            The funds in your HSA will be available to help you pay your or your eligible dependents'
            out-of-pocket costs under the medical plan, including Annual Deductibles, Copayments and
            Coinsurance. You may also use your HSA funds to pay for medical care that is not covered
            under the medical plan design but is considered a deductible medical expense for federal
            income tax purposes under Section 213(d) of the Internal Revenue Code of 1986, as
            amended from time to time. Such expenses are "qualified health expenses". Please see the
            description of Additional Medical Expense Coverage Available With Your Health Savings Account
            below, for additional information. HSA funds used for such purposes are not subject to
            income or excise taxes.

            "Qualified health expenses" only include the medical expenses of you and your eligible
            dependents, meaning your spouse and any other family members whom you are allowed to
            file as dependents on your federal tax return, as defined in Section 152 of the Internal
            Revenue Code of 1986, as amended from time to time.

            HSA funds may also be used to pay for non-qualified health expenses but will generally be
            subject to income tax and a 20% additional tax unless an exception applies (i.e., your death,
            your disability, or your attainment of age 65).

            Additional Medical Expense Coverage Available with Your Health Savings Account
            A complete description of, and a definitive and current list of what constitutes eligible
            medical expenses, is available in IRS Publication 502 which is available from any regional
            IRS office or IRS website.

            If you receive any additional medical services and you have funds in your HSA, you may use
            the funds in your HSA to pay for the medical expenses. If you choose not to use your HSA
            funds to pay for any Section 213(d) expenses that are not Covered Health Services, you will
            still be required to pay the provider for services.

            The monies paid for these additional medical expenses will not count toward your Annual
            Deductible or Out-of-Pocket Maximum.



            189                                                    ATTACHMENT Ill - HEALTH SAVINGS ACCOUNT
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar197  of 213
                                                                              01 10:22   PAGEID #: 451
                                                                                       AM-24CV001784
OG750 - W56
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            Using the HSA for Non-Qualified Expenses
            You have the option of using funds in your HSA to pay for non-qualified health expenses. A
            non-qualified health expense is generally one which is not a deductible medical expense
            under Section 213(d) of the Internal Revenue Code of 1986. Any funds used from your HSA
            to pay for non-qualified expenses will be subject to income tax and a 20% additional tax
            unless an exception applies (i.e., your death, your disability, or your attainment of age 65).

            In general, you may not use your HSA to pay for other health insurance without incurring a
            tax. You may use your HSA to pay for COBRA premiums and Medicare premiums.

            Rollover Feature
            If you do not use all of the funds in your HSA during the calendar year, the balance
            remaining in your HSA will roll-over. If your employment terminates for any reason, the
            funds in your HSA will continue to be owned and controlled by you, whether or not you
            elect COBRA coverage for the accompanying high deductible health plan, as described in
            your medical plan SPD.

            If you choose to transfer the HSA funds from one account to another eligible account, you
            must do so within 60 days from the date that HSA funds are distributed to you to avoid
            paying taxes on the funds. If you elect COBRA, the HSA funds will be available to assist you
            in paying your out-of-pocket costs under the medical plan and COBRA premiums while
            COBRA coverage is in effect.

              Important
              Be sure to keep your receipts and medical records. If these records verify that you paid
              qualified health expenses using your HSA, you can deduct these expenses from your
              taxable income when filing your tax return. However, if you cannot demonstrate that you
              used your HSA to pay qualified health expenses, you may need to report the distribution
              as taxable income on your tax return. Jones Lang LaSalle and UnitedHealthcare will not
              verify that distributions from your HSA are for qualified health expenses. Consult your
              tax advisor to determine how your HSA affects your unique tax situation.

              The IRS may request receipts during a tax audit. Jones Lang LaSalle and the Claims
              Administrator are not responsible or liable for the misuse by Employees of HSA funds
              by, or for the use by Employees of HSA funds for non-qualified health expenses.

            Additional Information About the HSA
            It is important for you to know the amount in your HSA account prior to withdrawing
            funds. You should not withdraw funds that will exceed the available balance.

            Upon request from a health care professional, UnitedHealthcare and/ or the financial
            institution holding your HSA funds may provide the health care professional with
            information regarding the balance in your HSA. At no time will UnitedHealthcare provide
            the actual dollar amount in your HSA, but they may confirm that there are funds sufficient
            to cover an obligation owed by you to that health care professional. If you do not want this




            190                                                  ATTACHMENT Ill - HEALTH SAVINGS ACCOUNT
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar198  of 213
                                                                              01 10:22   PAGEID #: 452
                                                                                       AM-24CV001784
OG750 - W57
                                                              JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            information disclosed, you must notify the Claims Administrator and the financial institution
            in writing.

              You can obtain additional information on your HSA online atwww.irs.gov. You may also
              contact your tax advisor. Please note that additional rules may apply to a Dependent's
              intent to opening an HSA.




            191                                                  ATTACHMENT Ill - HEALTH SAVINGS ACCOUNT
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar199  of 213
                                                                              01 10:22   PAGEID #: 453
                                                                                       AM-24CV001784
OG750 - W58
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            ATTACHMENT IV- NONDISCRIMINATION AND ACCESSIBILITY
            REQUIREMENTS
            When the Plan uses the words "Claims Administrator" in this Attachment, it is a reference to
            United Healthcare, Inc., on behalf of itself and its affiliated companies.

            The Claims Administrator on behalf of itself and its affiliated companies complies with
            applicable Federal civil rights laws and does not discriminate on the basis of race, color,
            national origin, age, disability, or sex. UnitedHealthcare does not exclude people or treat
            them differently because of race, color, national origin, age, disability, or sex.

            The Claims Administrator provides free aids and services to people with disabilities to
            communicate effectively with us, such as:

            ■     Qualified sign language interpreters
            ■     Written information in other formats Oarge print, audio, accessible electronic formats,
                  other formats)
            ■     Provides free language services to people whose primary language is not English, such
                  as: Qualified interpreters
            ■     Information written in other languages
            If you need these services, please call the toll-free member number on your health plan ID
            card, TTY 711 or the Plan Sponsor.

            If you believe that the Claims Administrator has failed to provide these services or
            discriminated in another way on the basis of race, color, national origin, age, disability, or
            sex, you can file a grievance in writing by mail or email with the Civil Rights Coordinator
            identified below. A grievance must be sent within 60 calendar days of the date that you
            become aware of the discriminatory action and contain the name and address of the person
            filing it along with the problem and the requested remedy.

            A written decision will be sent to you within 30 calendar days. If you disagree with the
            decision, you may file an appeal within 15 calendar days of receiving the decision.




            United HealthCare Services, Inc. Civil Rights Coordinator
            UnitedHealthcare Civil Rights Grievance
            P.O. Box 30608
            Salt Lake City, UT 84130
            The toll-free member hone number listed on our health lan ID card, TTY 711
            If you need help filing a grievance, the Civil Rights Coordinator identified above is available
            to help you.




            192                          ATTACHMENT IV - NONDISCRIMINATION AND ACCESSIBILITY REQUIREMENTS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar200  of 213
                                                                              01 10:22   PAGEID #: 454
                                                                                       AM-24CV001784
OG750 - W59
                                                               JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            You can also file a complaint directly with the U.S. Dept. of Health and Human services
            online, by phone or mail:

            Online https:/ / ocrportal.hhs.gov / ocr/portal/lobby.jsf

            Complaint forms are available at http://www.hhs.gov/ ocr/ office/ file/index.html.

            Phone: Toll-free 1-800-368-1019, 800-537-7697 (TDD)

            Mail: U.S. Dept. of Health and Human Services. 200 Independence Avenue, SW Room
            509F, HHH Building Washington, D.C. 20201




            193                        ATTACHMENT IV - NONDISCRIMINATION AND ACCESSIBILITY REQUIREMENTS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar201  of 213
                                                                              01 10:22   PAGEID #: 455
                                                                                       AM-24CV001784
OG750 - W60
                                                                                                                            JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            ATTACHMENT V- GETTING HELP IN OTHER LANGUAGES OR FORMATS
            You have the right to get help and information in your language at no cost. To request an
            interpreter, call the toll-free member phone number listed on your health plan ID card, press
            0. TTY 711.

            This letter is also available in other formats like large print. To request the document in
            another format, please call the toll-free member phone number listed on your health plan ID
            card, press 0. TTY 711, Monday through Friday, 8 a.m. to 8 p.m.

                  Language                                                                                      Translated Taglines
            1. Albanian             Ju keni te drejte te merrni ndihme dhe informacion falas ne gjuhen
                                    tuaj. Per te kerkuar nje perkthyes, telefononi ne numrin qe gjendet ne
                                    karten e planit tuaj shendetesor, shtypni 0. TTY 711.
            2.    Amharic           Yt\ ?11'}?11 hfi:Y OW°W,'~ hC~;rli' (IIJt.'P; fa<J t'it (IIJ{lt At\fu--:: Ailrf'C~a</.                             0


                                    h'}~cf>C{lt\~ h.{.(\7' oms Ti\'} (IIJ,r(Dce_f~t t\~ (l(\Or (l,t~ (IIJ{l(IIJC oAh
                                    ~'PC ~J.Ort\-li' 0'} ~tili/,'t,.:: TfY 711
            3. Arabic                     yl1J -~ (,?1 J,,:...:i LJJ~ ~ wl..~IJ o~WI ~ Jy-a-:JI ~ ~I '21.1
                                         w~ 4-gl.4! (:J~I ~L.ac. '11-./ l..r"'WI _;1+-,11 <...1J"°4-ll ~ Y. J....,:il 'lf _JJ9 r:-- fa
                                           711 (TTY) ~ I ~4-\1 .0 ~ k...;.,IJ , ~ I ~ 4......,L;JI ~~I
            4.    Armenian          f<ru111qtf U1up.1 UJ.U1hU1u2t1n1 hUIUUlJl, qU1uqU1hU1J1b.' p ~b.r
                                    UlDilI]_2lllUJ.UlhU1lJ.U1U bJllllqJlp. p.upunlJa]UlU (ID) tnntfup. ll_rlll
                                    u2ll_U1b U1Ull_i\U1Jl UUI}UlUUtrp. htnU1IunuU1hU1UU1J1Illl, ub.I]_ub.' p
                                    0: TTY711
            5. Ban tu-Kirundi       Urafise uburenganzira bwo kuronka ubufasha n'amakuru mu rurimi
                                    rwawe ku buntu. Kugira usabe umusemuzi, hamagara inomero ya
                                    telephone y'ubuntu yagenewe abanywanyi iri ku rutonde ku
                                    karangamuntu k'umugambi wawe w'ubuzima, fyonda 0. TTY 711
            6.    Bisayan-Visayan   Aduna kay katungod nga mangayo og tabang ug impormasyon sa
                  (Cebuano)         imong lengguwahe nga walay bayad. Aron mohangyo og tighubad,
                                    tawag sa toll-free nga numero sa telepono sa miyembro nga nakalista
                                    sa imong ID kard sa plano sa panglawas, pindota ang 0. TTY 711
            7. Bengali-Bangala      011_<1 Ii,j 4Srn ~ T~ ~ ' ~~ ~~ 11~~"l~ ~
                                    "if~ j       ~ 1'1 ~ le"'-4S,~ '3 ~ ~ ~ ~ j ~ 'GC'1~C Ff
                                    <>l~?rnC ~ Ff ~ I ( 0) "[c.pl Dl~I TTY 711
            8.    Burmese                 ~           ., .•.
                                    --y,~•·r,f;.;.~.•.,.'l,.,.G~~~"'t~"'·~'
                                    -t,_,('f'-
                                                                             ~     <i,''1a
                                                                                    ·.,.~ ~- •yy,,·,··f).i:'J:t''''V.,)
                                               ·1vi.:,,._,_J,....l_.,,,:-,. rt\Y'-·y· .J~.. -....... _J,.->.,.,j,..,'-.. ,•.~.,N
                                                                                                                                  tf
                                                                                                                                   ,. ,.,. .~~---,--),
                                                                                                                                   ·~ .,_.,,   t.,( ..t.~,                                        .R              Sq
                                                                                                                                                               .-~1--r "'•N' ..... ~,.:..,~.fi...-·.JoN'~"-'\,'-,'-•'
                                                                                                                                                      •.,....2_::S..l'
                                                                                                                                                               >l''~ ·x)(r..v:.)t\••,t,            . <~rl''-")::{'... ,,··)"
                                                                                                                                                                                                                         -'~

                                           ~1§·K~ .~(,.
                                    C'f;.,.Q,.\;'f'-'
                                            .                       s, ....... ~ t\y-,,,.-J•. ~r--~, .. t"'-t,,... ~ ~ . . i. i~i-~f ~. r-. ~~.,,st ~ ·'\ ~ ~~ . . ,t~< ,,. ~ is.~ ~.f':,;
                                                      i:)t,., ··~•,-'·'--'-''··'1liLv,;.,v~v'"'''fi°~t....02)~ ~A ..•.1),~4,,,,~X, •,'-'<.°'O?>.,,""t''1f ~;)<,.(ll!(,'.l;<":>,s,'°);,l>f3:lt,8..,ve
                                       t { :;:        ,.,:·       l,.,.,.,             ri'"             \.,..:     ,.,..,;     ~,.1,: . ._.,;,          ,               .: l                       ,.,.

                                    0-..1
                                        •
                                          ¾"'"l~~i..''i•a;;,.·""C'•-:c,')'S~•..,J:."'
                                                 .., ., ' .,
                                                .), ....     ..: i..... ......./   ~\..•
                                                                                           "·t"t"'"--- ....~.......
                                                                                                             ' ·--~
                                                                                                               ~
                                                                                      :-r--:'(,v·)'"'\/'''°'"''··J·
                                                                                           :- ,..,,,. 9\..\~ •'.;o' ' ( ·.i'
                                                                                                                      &''/:;.I~
                                                                                                                                    .,,,, 1 ' 711
                                                                                                                                       ~
                                                                                                                        , :~ ,·1,..,~,;/1·_.
                                                                                                                             ,) ,. t' \. . . . ,,, TT'{                          ~                i      • ..!.




            9.    Cambodian-        1!8fit118Ml(t1~irnt1~ru 1l11~iit118 tl1tnM11UM1!8fi ~1::1ru1h11wf!rni~ ~1"1!U~81e ~l\8fiUfi1!11
                  Mon-Khmer         ~t!i1wq~~1:irnmHiul~f!rniw11uwt11iln ~1rnt118nirn1:ifj~l1Ullijllil JD ili11::1!1~9til~IUM1!8fi imm"ru~r;                                                                                   o~
                                    TTY 711
            10. Cherokee            0 D4w Ff> .1CZi>.1.14ou.1 IrA.Q9W it GVP VJ.l FR .1JAV.1
                                    ACouV .1 l:0.fiou.1T, ov'f()boulo 0. TTY 711



            194                                                ATTACHMENT V - GETTING HELP IN OTHER LANGUAGES OR FORMATS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar202  of 213
                                                                              01 10:22   PAGEID #: 456
                                                                                       AM-24CV001784
OG750 - W61
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                  Language                                     Translated Taglines
            11. Chinese          ffil~tlf1J92,nJ.-11fils{J-BJiis1~~1JJit!l.JJ~Q~fl,~, ~~1iJ-1lZl~mt~ ,
                                                                                            0



                                 ~MB~B~tt~-~~~~92,ttn•~~~~~,~~0°
                                 ~t:1Jiis ~ 9j~~~~}3f~*i 711
            12. Choctaw          Chim anumpa y,a, apela micha nana aiimma yvt nan aivlli keyu hQ ish
                                 isha hinla kvt chim aiivlhpesa. Tosholi ya asilhha chi hokmvt chi
                                 achukmaka holisso kallo iskitini y_a tvli aianumpuli holhtena ya ibai
                                 achvffa yvt peh pila ho ish i_p~ya cha O ombetipa. TTY 711
            13. Cushite-Oromo    Kaffaltii male afaan keessaniin odeeffannoofi deeggarsa argachuuf
                                 mirga ni qabdu. Tutjumaana gaafachuufis sarara bilbilaa kan bilisaa
                                 waraqaa eenyummaa karoora fayyaa keerratti tarreefame bilbiluun, 0
                                 tuqi. TTY 711
            14. Dutch            U heeft het recht om hulp en informatie in uw taal te krijgen zonder
                                 kosten. Om een tolk aan te vragen, bel ons gratis nummer die u op uw
                                 ziekteverzekeringskaart treft, druk op 0. TTY 711
            15. French           Vous avez le droit d'obtenir gratuitement de l'aide et des
                                 renseignements clans votre langue. Pour demander aparler aun
                                 interprete, appelez le numero de telephone sans frais figurant sur
                                 votre carte d'affilie du regime de soins de sante et appuyez sur la
                                 touche 0. ATS 711.
            16. French Creole-   Ou gen dwa pou jwenn ed ak enfomasyon nan lang natifnatal ou
                Haitian Creole   gratis. Pou mande yon entepret, rele nimewo gratis manm lan ki
                                 endike sou kat ID plan sante ou, peze 0. TTY 711
            17. German           Sie haben das Recht, kostenlose Hilfe und lnformationen in lhrer
                                 Sprache zu erhalten. Um einen Dolmetscher anzufordern, rufen Sie
                                 die gebuhrenfreie Nummer auf lhrer
                                 Krankenversicherungskarte an und drucken Sie die 0. TTY 711
            18. Greek            'Ex21s 10 OlXOllwµOl VOl A!X,~818 ~o~8Sl0l :){Q(,l TCAYJG?04JOelsc; 01Y] YAWOOQ(, aOlc;
                                 xwelc; XG?SWOY]. llOl VOl ~¥]1~0818 OlSG?[LYJVSOl, :){Q(,A,8018 10 owesixv OlG?l8µ6
                                 1Y]AS(j)WVOU T[Qt) ~eloX810ll 01Y]V XIXG?10l µs\ouc; OlO(j)IXAlOY]c;, T[Q(,1~018 0.
                                 TTY 711
            19. Gujarati         ct.l-l~ ctra:l.L l;!Ci~ 1-lcc ~~ ct.l-ll~ <H.l"t::lll-ll l-ll~(ctl ilcn.ctctlatl
                                 ~tt.lBL~ ~- ~<H.L"t::Llcl.L 1-ll~ q_ra:l_c-0_ 8~Cll, ct.l-ll~l ic-t:U. "l{.C-llo1. ID
                                 8l~S "Ll~a{l ~<-fil-ll ~l"ll.C-l ~c-t-~~ ill{vt~ ~at atvt~ G"LL~
                                 &C-l 8~, 0 cvllCU.. TTY 711
            20. Hawaiian         He pono ke kokua 'ana aku ia 'oe ma ka maopopo 'ana o keia 'ike ma
                                 loko o kau 'olelo pono'I me ka uku 'ole 'ana.
                                 E kama'ilio 'oe me kekahi kanaka unuhi, e kahea i ka helu kelepona
                                 kaki 'ole ma kou kaleka olakino, a e kaomi i ka helu 0. TTY 711.




            195                             ATTACHMENT V - GETTING HELP IN OTHER LANGUAGES OR FORMATS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar203  of 213
                                                                              01 10:22   PAGEID #: 457
                                                                                       AM-24CV001784
OG750 - W62
                                                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                  Language                                                                Translated Taglines
            21. Hindi           }ITq"       * ~ .w:rafr m1SfT -ti fl$ I.!.I I "C!cf -5-11 chi ;ft ~                   c-1                       ci-1

                                              ~~*~~~*
                                lf{I yc-1 ~chT~6"1

                                ~ , ~ ~ ~ ID chBs ~ {i.~nis!~ll cTc>f-~ ~ ~
                                tnTci-1"
                                 .       cnt ' 0~1 TTY 711
            22. Hmong           Koj muaj cai tau kev pab thiab tau cov ntaub ntawv sau ua koj horn
                                lus pub dawb. Y og xav tau ib tug neeg txhais, hu tus xov tooj rau tswv
                                cuab hu dawb uas sau muaj nyob ntawm koj claim yuaj them nqi kho
                                mob, nias 0. TTY 711.
            23. Ibo             Inwere ikike inweta enyemaka nakwa im\,lta as\,lS\l gi n'efu n'akwughi
                                \lgwQ. Maka ikpot\lr\l onye ns\,lghari okwu, kpoo akara ekwenti nke di
                                nakw\,lkwQ njirimara gi nke emere maka ah\,like gi, pia 0. TTY 711.
            24. Ilocano         Adda karbengam nga makaala ti tulong ken impormasyon iti
                                pagsasaom nga libre. Tapno agdawat iti maysa nga agipatarus,
                                tumawag iti toll-free nga numero ti telepono nga para kadagiti kameng
                                nga nakalista ayan ti ID card mo para ti plano ti salun-at, ipindut ti 0.
                                TTY 711
            25. Indonesian      Anda berhak untuk mendapatkan bantuan dan informasi dalam
                                bahasa Anda tanpa dikenakan biaya. Untuk meminta bantuan
                                penetjemah, hubungi nomor telepon anggota, bebas pulsa, yang
                                tercantum pada kartu ID rencana kesehatan Anda, tekan 0. TTY 711
            26. Italian         Hai il diritto di ottenere aiuto e informazioni nella tua lingua
                                gratuitamente. Per richiedere un interprete, chiama il numero
                                telefonico verde indicato sulla tua tessera identificativa del piano
                                sanitario e premi lo 0. Dispositivi per non udenti/TTY: 711
            27. Japanese         .:'*~O)~i:g~-fj-~- b-~3'tltf.:: LJ,. ,1·wi~~ A-¥ Lt.:: LJ 9 ~
                                 .:.cfi~~*9o *:1-~lif.J,f.J, L)             lvo iliR ~ .:'*~O)~.g-                   *it
                                 Ii .. ~~-:/7 ~O)ID                              tt,,~;e  n- ~'r:::tcti~n                                                      ~,,-mO)
                                 7 ') -~'',-(--v jl,,*~if=-3~ii!i0)...t,. O~t!Jl Lt< t.:: ~ l, 'o TTY
                                :Wfflffi~li 711 ~9 o
                                 ..cJ;';,i,~i-., ..,, · -:~ ,cc~;,J;;{))/:''J:.:ss::\··"'''';.o.;:., '"o":fr,f/:f:)~':(:;:<:\,?>·':';•
            28. Karen                      J .,_. ,··-- : --               '        "'"                                                                                  ,...
                                 1 :\
                                 ,       ,:- .....              ,,        "ii'""""'·'''''·"'
                                                                                             .<\ .," : ' '         ' .._._    "
                                                                                                              ·• ·:: ., .., ...
                                                                                                                                       ..... ':... ._.... :,
                                                                                                                                                ··1 ....
                                                                                                                                                                : .. ;
                                                                                                                                                                 ·,:·                 ,:
                                                                                                                                                                                           .. .,,
                                                                                                                                                                                    ',:\ -.:.,:"
                                                                                                                                                                                '
                                 ~~-:-::s::.s..~;.r~·:~i+:.,~~f~:f o ,-:..:x~:;,r1y711
            29. Korean          :;i-1 o~ := 5:. 3 Jl~ ~ ~ ~ :;i-1 o~ ~I '2:i 0-L~- l::J I ~ ~ 'el fil OI ~ ~                                                                        *
                                V := 2:1 cl]~ V ~LI[~. ~ Q1 N ~ B. ~ 0~ JI ~I oH Al:= :;i-10~ ~I
                                 ~t:t! ID3~cajl JIXH8 ~E. 2.I@ ~2.H~j.2~ ~2.~oHJ:1 o~~
                                ~2~f.12. TTY711
            30. Kru- Bassa      Ni gwe kunde I bat mahola ni mawin u hop nan nipehmes be to
                                dolla. Yu kwel ni Kobol mahop seblana, soho ni sebel numba I ni
                                tehe mu I ticket I docta I nan, bep 0. TTY 711




            196                                      ATTACHMENT V - GETTING HELP IN OTHER LANGUAGES OR FORMATS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar204  of 213
                                                                              01 10:22   PAGEID #: 458
                                                                                       AM-24CV001784
OG750 - W63
                                                                   JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                  Language                                     Translated Taglines
            31. Kurdish-Sorani   w_p. ~L.j ~ ~JG; i..S_J~lj J ~o.oJ-;1 '_Jo+"\_)~G-! oS 0;1oA wo.3o:i i..So.,g\...
                                       J                                             ~                          ~
                                 ~]9 o:i o_JL.j ~ ~ 1..S.liOJ:l°; ,~o)j ~J,LGS._Jo.J ~..ipl.31..l J! -~P_)OJ
                                 0 pl..i O uLl¼ J w ...P- ~J_J.lio:i ~)¼ ~0.l..ll'-¾ ~ J.S 1..S..l I.Su }jJ .3ly.i,J~
                                                                                                           .TTY 711
            32. Laotian          U)')l)lJ::,ow~:::losu:n1u~o€.>CID~CC~t:2D1J2'>0::,')l)U)ClJUW1::,
                                 12f>~Ul'>DUJJ€1'>~~~'>€.>.
                                                              t                           t
                                 CWf)25~~ U1€.> w1::,1, U>WS ID1ID lJ1€.>C~:n U>~:::::,u::,1~u::,:::lJ1
                                 ~nwlo5:::ul.oTuuo::,:::l]')~112f>~U)')l),:rJOC~:n 0. TTY 711
            33. Marathi          3-11q~.q1<>11 3-11q~.q1 ~ qfci.ll.Ji.<>ill ~ ~
                                 J-IRi>OJ<!.lli.11 ~         3-116. ~3-lllSlcl,lfl ~ cl,{OJ<!.llfll61
                                 3-11 q ~.q I 3-11~~ c!J<!.1 .!.1~'5-lci-11 j-l~a5,&qq{lqflc>I ~ cfic>l~<!.11
                                 fl~{ill lfl qfci.ll.Ji.<>ill tnTci-1" aiisl{q{ {4q~c:1, cl,{OJ<!.llfll61 cJis1T 0.
                                 TTY 711
            34. Marshallese
                                 Eor an:, maroii iian bokjipaii im mel_el_e ilo kajin eo an:, ilo
                                 ejjel_qk wor)aan. Nan kajjitok iian juon ri-ukok, kurl_ok
                                 non:,ba eo en:,oj an jeje ilo kaat in ID in karok in ajmour eo
                                 an:,, jiped 0. TTY 711
            35. Micronesian-     Komw ahneki manaman unsek komwi en alehdi sawas oh
                Pohnpeian        mengihtik ni pein omwi tungoal lokaia ni soh isepe. Pwen peki
                                 sawas en soun kawehweh, eker delepwohn nempe ong towehkan
                                 me soh isepe me ntingihdi ni pein omwi doaropwe me pid
                                 koasoandi en kehl, padik 0. TTY 711.
            36. Navajo           T'aa jiik'eh doo biih 'alinig66 bee baa hane'igii t'aa ni nizaad bee
                                 nika'e'eyeego bee na'ahoot'i'. 'Ata' halne'i la yinikeedgo, ninaaltsoos
                                 nitl'izi 'ats'iis bee baa'ahaya bee neehozinigii bikaa' beesh bee
                                 hane'i t'aajiik'eh bee hane'i bika'igii bich'i' hodiilnih d66 O bil
                                 'adidiilchil. TTY 711
            37. Nepali           ~ ~ ~ ~~ ~ \ "1Hchlt1 ~ ~ '11c.il'-'rl1"'-- (1'-tl~;,1
                                 ~1'1-ljc11~ch~~~~~,~~~~~

                                 ~~92c1 c:'@-~~ii'R ;:iq_cs1i;i:i1 ~~ 0 ~~QI~ TTY 711
            38. Nilotic-Dinka    Yin n:JtJ 161J be yi ku:Jny ne wEreyic de th61J du abac ke cin weu taaue
                                 ke piny. Acan ba ran ye be ger thok thieec, ke yin c:Jl namba yene yup
                                 abac de ran t61J ye be waar thok t:J ne ID kat duon de panakim yic,
                                 thany O yic. TTY 711.
            39. Norwegian        Du har rett til a fa gratis hjelp og informasjon pa ditt eget sprak.
                                 For a be om en tolk, ring gratisnummeret for medlemmer som er



            197                             ATTACHMENT V - GETTING HELP IN OTHER LANGUAGES OR FORMATS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar205  of 213
                                                                              01 10:22   PAGEID #: 459
                                                                                       AM-24CV001784
OG750 - W64
                                                                       JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                  Language                                        Translated Taglines
                                 oppf!l)rt pa helsekortet ditt og trykk 0. TTY 711
            40. Pennsylvania     Du hoscht die Recht fer Hilf unn Information in deine Schprooch
                Dutch            griege, fer nix. Wann du en Iwwersetzer hawwe willscht, kannscht du
                                 die frei Telefon Nummer uff dei Gesundheit Blann ID Kaarde yuuse,
                                 dricke 0. TTY 711
            41. Persian-Farsi      .-l:l:lw ~y_)..i 0~1_) _J..Jh <½ 1_) ..iy-. u4j <½ -.::..it.c)l.1.1 J ....5u.S .\.S -l:l)..i ~ w
                                         (s.lL..,\..l..:; w }S _J..l o..i..'.; ¥ u~I_) uill o_)W 4 ~\..i.:; r-- fa ~ly-. _J..l i.S\Y.
                                                       TTY 711 .¥..i _)~ \_) 0 J o..iyJ J,....,h l.J-llL.:i ..iy-. ~I~ .i.....uY.
            42. Punjabi          ~ ~ ~ ~ IB >-kl, fea, l'}fd n, ~o(, al ~ lf3"1l-B

                                 orao t'" ),j t1 fa(, a ~ I -s§l, ~ 2 ~ ~ ~ 1.rwcPw~t"3t efd oTE
                                 c1E ~ W:fd" ~ ~ aa~•Bl 711 d° orE a@", 0 ~I
            43. Polish           Masz prawo do uzyskania bezplatnej informacji i pomocy we
                                 wlasnym j~zyku. Po uslugi tlumacza zadzwon pod bezplatny numer
                                 umieszczony na karcie identyfikacyjnej planu medycznego i wcisnij 0.
                                 TTY 711
            44. Portuguese       Voce tern o direito de obter ajuda e informac;:ao em seu idioma e
                                 sem custos. Para solicitar um interprete, ligue para o numero de
                                 telefone gratuito que consta no cartao de ID do seu piano de
                                 saude, pressione 0. TTY 711
            45. Romanian         Aveti dreptul de a obtine gratuit ajutor ~i informatii in limba
                                 dumneavoastra. Pentru a cere un interpret, sunati la numarul de
                                 telefon gratuit care se gase~te pe cardul dumneavoastra de sanatate,
                                 apasati pe tasta 0. TTY 711
            46. Russian          BbI IIMeeTe rrpaBo Ha 6ecrrAaTHOe ITOAr-reHIIe ITOMOIIJ,II II
                                 IIHcpopMaUIIII Ha BarneM 5I3bIKe. 1IT06bl ITOAaTh 3arrpoc rrepeBOA'IIIKa
                                 rro3BOHIITe rro 6ecrrAaTHOMY HOMepy TeAecpoHa, yKa3aHHOMY Ha
                                 o6paTHOH CTopoHe Baweii IIAeHTIIqJIIKaUIIOHHOH KapTbI II H3)KMIITe
                                 0. AIIHIIJI TTY 711
            47. Samoan-          E iai lou aia tatau e maua atu ai se fesoasoani ma
                Fa'asamoa        fa'amatalaga i lau gagana e aunoa ma se totogi. Ina ia
                                 fa'atalosagaina se tagata fa'aliliu, viii i le telefoni mo sui e le
                                 totogia o loo lisi atu i lau peleni i lau pepa ID mo le soifua
                                 maloloina, oomi le 0. TTY 711.
            48. Serbo-Croation   I mate pravo da besplatno dobijete pomoc i informacije na Vasem
                                 jeziku. Da biste zatrazili prevodioca, nazovite besplatni broj
                                 naveden na iskaznici Vaseg zdravstenog osiguranja i pritisnite 0.
                                 TTY 711.
            49. Spanish          Tiene derecho a recibir ayuda e informaci6n en su idioma sin costo.
                                 Para solicitar un interprete, llame al numero de telefono gratuito para
                                 miembros que se encuentra en su tatjeta de identificaci6n del plan de
                                 salud y presione 0.



            198                              ATTACHMENT V - GETTING HELP IN OTHER LANGUAGES OR FORMATS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar206  of 213
                                                                              01 10:22   PAGEID #: 460
                                                                                       AM-24CV001784
OG750 - W65
                                                           JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                  Language                              Translated Taglines
                                TTY 711
            50. Sudanic-        Dum hakke maacfa mballecfaa kadin ke6aa habaru nder wolde maacfa
                Fulfulde        naa maa a yo6ii. To a yicfi pirtoowo, noddu limngal mo telefol caahu
                                limtaacfo nder kaatiwol ID maacfa ngol njamu, nyo"u 0. TTY 711.




            199                          ATTACHMENT V - GETTING HELP IN OTHER LANGUAGES OR FORMATS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar207  of 213
                                                                              01 10:22   PAGEID #: 461
                                                                                       AM-24CV001784
OG750 - W66
                                                                                             JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                  Language                                                            Translated Taglines
            51. Swahili            Una haki ya kupata msaada na taarifa kwa lugha yako bila
                                   gharama. Kuomba mkalimani, piga nambariya wanachama ya bure
                                   iliyoorodheshwa kwenye TAM ya kadi yako ya mpango wa
                                   afya, bonyeza 0. TTY 711
            52. Syriac-Assyrian                     r<'.h.o...,____~:'10.)JO r<'.h \;.m . .,____.o~.-1..::,,J:1:'1 r<'.h.OJ:J.M . .,____.o."\ ~~.r<' . .,____.0~-1>.i-<
                                       J:.,,__ ...,____.o,J:J ,r<'......___.:;:,~ \~)J :\M )J_:.,,__ r<',.a"\ M.)J-1 ~.r<'......___~.)J ...,____.o."\o......___d..~..::>
                                  TTY . 0 ,-1>):lO r<'-.::;:,Jo-1>:1 r<'.ll~.,9, :i.Jr<' r<',.::,,.~"\ m.~,r<':i . .,____.o...!1>,-1.~ r<'......___• ....____.;p
                                                                                                   711
            53. Tagalog           May karapatan kang makatanggap ng tulong at impormasyon sa iyong
                                  wika nang walang bayad. Upang humiling ng tagasalin, tawagan ang
                                  toll-free na numero ng telepono na nakalagay sa iyong ID card ng
                                  planong pangkalusugan, pindutin ang 0. TTY 711
            54. Telugu             oJeJ"o@.) ~66) eJSJoC° ~ <P°~O' ~a:i.)oe.).) ~a:i).) fv~OOO 5'oCSC

                                  """"~9s ~SJ ~§SJ 5or;S. z.,s~9' O)eJ"~ -go.;;,>e;oe:i, ~ ~e5d ~e:,o;6
                                   o:>~ S"d°CJ ~CS 25"!)&> 6a:i.:>eJ<!c eJeS ~ r\)oeJruSJ 'Sr6 6fu, 0

                                   ~cs.S 6,Sg. TTY 711
            55. Thai               rJillUfl'llli'n'il::; Mf'1Jffll:U'lhm11am1ad1t1]Jf1!'Ufil'hll'\HllrJilli.TT,1ai:uilri11sfr'-01 a
                                   11lfl\l)'tllfll"i"'\Jtlf11:IJ!!'Uf1fil'hll
                                   1'LI"J\oJ 1'11"iff'l"l'll'ol11:IJ11J!a'IJ 1'1l"J'Wj'ntJ~'IJ'U'IJ\oJ"J'U"J::;'ill\ll'Jfll11f'IJ!!Nlll'.('llfil'l"l'\JtilrJill m\''Jfl\oJ 0
                                   rlrnf'LI~'liilm1:u'IJfl'l"l-im'llNflnirnlu11!om"i'l:J\oJ 1'1.J"i,11'11"i"10l11mma'll 711
            56. Tongan-            'Oku ke ma'u 'a e totonu ke ma'u 'a e tokoni mo e 'u fakamatala 'i
                Fakatonga          ho' o lea fakafonua ta' etotongi. Ke kole ha tokotaha fakatonulea, ta ki
                                   he fika telefoni ta'etotongi ma'ae kau memipa 'a ee 'oku lisi 'I ho'o
                                   kaati ID ki ho'o palani ki he mo'uilelei, Lomi'I 'a e 0. TTY 711
            57. Trukese            Mi war omw pwung om kopwe nounou ika amasou noum ekkewe
                (Chuukese)         aninis ika toropwen aninis nge epwe awewetiw non kapasen
                                   fonuom, ese kamo. lka ka mwochen tungoren aninisin chiakku,
                                   kori ewe member nampa, ese pwan kamo, mi pachanong won an
                                   noum health plan katen ID, iwe tiki "O". Ren TTY, kori 711.
            58. Turkish            Kendi dilinizde ucretsiz olarak yard1m ve bilgi alma hakkm1z
                                   bulunmaktad1r. Bir tercuman istemek is;in saghk plarn kimlik kartm1zm
                                   uzerinde yer alan ucretsiz telefon numarasm1 araym1z, sonra 0'a
                                   basm1z. TTY (yaz1h ileti~im) is;in 711
            59. Ukrainian          Y Bae e rrpaBo O'IpHMaTH 6e3KOIIITOBHY AOrroMory Ta impopMauiIO Ha
                                   BaIIIiii piAHiii MOBi. 11.(06 rroAaTH 3arrHT rrpo HaAaHHH rrocAyr
                                   rrepeKAaAa'-Ia, 3aTeAecpoHyiiTe Ha 6e3KOIIITOBHHH. HOMep TeAecpoHy
                                   yqacHHKa, BKa3aHHH. Ha BaIIIiii iAeHTHcpiKauiiiHiii KapTi rrAaHy
                                   MeAH'-IHOro crpaxJEaHHH, HaTHCHiTb 0. TTY 711
            60. Urdu                 u4Y ~ - d ~ ~ c::}.ft J....,t.:.. -::it...~ _)JI~.).,, ws.. Ll:!-" ul./j ~1 fi ~
                                       4 ~,        2
                                                Y.1Y-- Ll:l.ft J£ ...>; Y.AJ. U.J!
                                                                              . . ~ '-5.Y. JYla ' ~              ".ft '--l~ Li•                      2 c                       c
                                                                       TTY 711 -LJ:!.l4~ 0 , d e: _)~ ...>; ~ _)~ '-5 ~ ~1 u)¼



            200                                       ATTACHMENT V - GETTING HELP IN OTHER LANGUAGES OR FORMATS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar208  of 213
                                                                              01 10:22   PAGEID #: 462
                                                                                       AM-24CV001784
OG750 - W67
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN



                  Language                                    Translated Taglines
            61. Vietnamese      Quy vi co quyen dU'qc giup d5' va cap thong tin bang ngon ngfr cua
                                quy vi mien phf. De yeu cau dU'qc thong dich vien giup d5', vui long
                                gQi s6 di~n tha 9 i mien phf danh cha hQi vien dU'qc neu tren the ID
                                chU'O'ng trlnh baa hiem y te cua quy vi, barn s6 0. TTY 711
            62. Yiddish         11~ "7~ 7N7~iV 7l.7"N l'N l.7''.!rn1J7N~J'N 11N ti?':7 ll.71J1j?NJ n ~Jl.77 '1 ~N:7 7'N
                                                                        ~~n , 7l.7iV~l.71J?N1 N ll.7:\JN?7N~ n .?N~~N
                                ID lN?~ ~?l.7:7 7l.7"N ti'1N ~"~iV ON11 7l.71J1J lN~lJ?l.7~ 7l.7J1Jl.71J l.7"7~ ?N~ tll.71
                                                                                 711 TTY .0 ~j:'171 , ?~7Nj?
            63. Yoruba          0 ni ~to lati ri iranwo ati ifit6nileti gba ni ede r~ laisanw6. Lati ba
                                ogbufo kan soro, pe s6ri nomba ~ro ibanisoro laisanw6 ibode ti a to
                                s6ri kadi idanimo ti eto ilera r~, t~ 'O'. TTY 711




            201                            ATTACHMENT V - GETTING HELP IN OTHER LANGUAGES OR FORMATS
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar209  of 213
                                                                              01 10:22   PAGEID #: 463
                                                                                       AM-24CV001784
OG750 - W68
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            ADDENDUM - REAL APPEAL
            This Addendum to the Plan provides Benefits for virtual obesity counseling services for
            eligible Covered Persons through Real Appeal. There are no deductibles, Copayments or
            Coinsurance you must meet or pay for when receiving these services.

            Real Appeal
            The Plan provides a virtual lifestyle intervention for weight-related conditions to eligible
            Covered Persons 18 years of age or older. Real Appeal is designed to help those at risk from
            obesity-related diseases.

            This intensive, multi-component behavioral intervention provides 52 weeks of support. This
            support includes one-on-one coaching with a live virtual coach and online group
            participation with supporting video content. The experience will be personalized for each
            individual through an introductory online session.

            These Covered Health Services will be individualized and may include, but is not limited to,
            the following:

            ■     Virtual support and self-help tools: Personal one-on-one coaching, group support
                  sessions, educational videos, tailored kits, integrated web platform and mobile
                  applications.
            ■     Education and training materials focused on goal setting, problem-solving skills, barriers
                  and strategies to maintain changes.
            ■     Behavioral change counseling by a specially trained coach for clinical weight loss.
            If you would like information regarding these Covered Health Services, you may contact the
            Claims Administrator through www.realappeal.com, or at the number shown on your ID
            card.




            202                                                                      ADDENDUM - REAL APPEAL
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar210  of 213
                                                                              01 10:22   PAGEID #: 464
                                                                                       AM-24CV001784
OG750 - W69
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN



            ADDENDUM - HI HEALTHINNOVATIONS™ HEARING AID PROGRAM
            Introduction
            This Addendum to the Summary Plan Description describes hi Healthlnnovations™, which
            provides discounts for hearing aids and related supplies.

            When the words "you" and "your" are used the Plan is referring to people who are Covered
            Persons as the term is defined in the Summary Plan Description (SPD). See Section 14,
            Glossary in the SPD.

                Important.
                hi Healthlnnovations is not a health insurance plan. You are responsible for the full cost
                of any products purchased, minus the applicable discount. Always use your health
                coverage plan for Covered Health Services described in the Summary Plan Description
                (see Section 5, Plan Highlights) when a benefit is available.

            The hi Healthlnnovations Hearing Aid Program
            Hearing loss is currently the third most common chronic condition among older Americans,
            yet it is under-diagnosed and treatment is often expensive. While more than 90 percent of
            people with hearing loss can benefit from hearing aids, fewer than 20 percent currently use
            them largely due to the high cost. Untreated hearing loss can contribute to serious social,
            medical, and economic consequences.

            There is help: Through hi Healthlnnovations and your medical plan administered by
            UnitedHealthcare, you can get high quality, custom-programmed hearing aids for a fraction
            of the cost of comparable devices at other providers. There is no cost to access the
            hi Healthlnnovations program. You pay only the discounted price for any hearing aid you
            purchase. Your hearing aid is programmed specifically for you. Instead of paying thousands
            of dollars for hearing aids, the cost of your hearing aid will range from $4 79 to $799 each,
            depending on the hearing aid model chosen. See Hearing Aid Description below for further
            details.

            Each hearing aid comes with:

            ■     free batteries and ear tubes /wax guards that will last most users six months;
            ■     a 70-day no-risk trial period; and
            ■     a one-year manufacturer's warranty

            Accessing Program Benefits
            To use the benefits available under the program, follow these steps:

            1. Ask your health care provider for a hearing test - To determine if your medical plan
                  pays for a hearing test, call UnitedHealthcare at the toll-free number on your ID card.
                  Note: Your hearing aid can be custom programmed based on the results from either a
                  routine hearing screening or a hearing aid/hearing loss exam. If you have had a routine



            203                                        ADDENDUM - HI HEALTH INNOVATIONS HEARING AID PROGRAM
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar211  of 213
                                                                              01 10:22   PAGEID #: 465
                                                                                       AM-24CV001784
OG750 - W70
                                                                  JONES LANG LASALLE MEDICAL PPO PLUS PLAN


                  hearing screening or hearing aid/hearing loss exam within the past year, or once you
                  receive your new test, fax your results to (877) 955-4336 or mail them to:

                  hi Healthlnnovations
                  3022 Momentum Place
                  Chicago, IL 60689

                  Please include your phone number, and tell us: (a) if you've worn hearing aids before; (b)
                  if yes, what type of hearing aids; and (c) if you have worn ear molds.

            2.    Order from recommended hearing aids - A week after submitting your test results,
                  call (866) 926-6632 toll free, 8 a.m. to 6 p.m. Central Time, Monday through Friday to
                  find out the type of hearing aids that our hearing professionals have recommended for
                  you.

            3. Use follow-up services if needed - Your hearing aid comes with a 70-day money-back
               guarantee and free programming adjustments. Call (866) 926-6632 toll free if you need
               assistance.

            Customer Support Services
            hi Healthlnnovations offers several support services following your hearing aid purchase:

            ■     education and aural rehabilitation services by hearing professionals in person, over the
                  phone or online;
            ■     hearing health and new-user seminars on topics such as effective communication
                  strategies, led by hearing professionals; and
            ■     online captioned training videos about how to use, clean and maintain hearing aids.

            To locate a hi Healthlnnovations hearing professional or for assistance by phone, call
            (866) 926-6632 toll free, 9 a.m. to 5 p.m. Central Time, Monday through Friday.

            Hearing Aid Description
            hi Healthlnnovations hearing aids use advanced technology to enhance speech
            understanding and listening comfort. Each hearing aid is custom-programmed to your
            specific hearing needs based on your hearing test results. Every hearing test result and
            hearing aid order is reviewed by a licensed hearing professional to determine suitability.

            Technological features include the following:

            ■     12 gain adjustment bands that are custom-programmed to your hearing needs;
            ■     fully automatic digital algorithms that adapt to the user's environment;
            ■     directional processing that enhances the amplification of the sounds in front of you
                  while reducing distracting background noise from the side and behind;
            ■     comfortable, stylish and discreet design; and




            204                                      ADDENDUM - HI HEALTH INNOVATIONS HEARING AID PROGRAM
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar212  of 213
                                                                              01 10:22   PAGEID #: 466
                                                                                       AM-24CV001784
OG750 - W71
                                                                 JONES LANG LASALLE MEDICAL PPO PLUS PLAN


            ■     telecoil option that enhances your ability to hear the magnetic signal generated by
                  electronic devices such as a telephone and audio loops.




            205                                      ADDENDUM - HI HEALTH INNOVATIONS HEARING AID PROGRAM
      Case: 2:24-cv-01519-EAS-CMV
         Franklin                       Doc #:
                  County Ohio Clerk of Courts of 1-2 Filed: 03/29/24
                                                 the Common           Page:
                                                              Pleas- 2024 Mar213  of 213
                                                                              01 10:22   PAGEID #: 467
                                                                                       AM-24CV001784
OG750 - W72
                                                         JONES LANG LASALLE MEDICAL PPO PLUS PLAN




                                                      50253375 SETS 6, 11, 24, 25, 37, 38, 39 & 40 FINAL - 12/29/2021
